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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                               Civil Action No: 18-cv-284-CMR
THE KROGER CO., ALBERTSONS
COMPANIES, LLC, H.E. BUTT GROCERY
COMPANY L.P., AND SMITH DRUG                   JURY TRIAL DEMANDED
COMPANY,

             Plaintiffs,
vs.                                            REDACTED PUBLIC VERSION

ACTAVIS HOLDCO U.S., INC., ACTAVIS
PHARMA, INC., AKORN, INC., ALVOGEN INC.,
AMNEAL PHARMACEUTICALS, INC., APOTEX
CORP., AUROBINDO PHARMA USA, INC.,
BRECKENRIDGE PHARMACEUTICAL, INC.,
CAMBER PHARMACEUTICALS, INC., CITRON
PHARMA, LLC, DR. REDDY’S
LABORATORIES, INC., EMCURE
PHARMACEUTICALS, LTD., ENDO
INTERNATIONAL PLC, EPIC PHARMA, LLC,
FOUGERA PHARMACEUTICALS, INC., G&W
LABORATORIES, INC., GLENMARK
PHARMACEUTICALS INC., USA,
GREENSTONE LLC, HERITAGE
PHARMACEUTICALS, INC., HI-TECH
PHARMACAL CO., INC., IMPAX
LABORATORIES, INC., LANNETT COMPANY,
INC., LUPIN PHARMACEUTICALS, INC.,
MAYNE PHARMA USA INC., MALLINCKRODT
INC., MORTON GROVE PHARMACEUTICALS,
INC., MYLAN PHARMACEUTICALS, INC.,
MYLAN, INC., MYLAN N.V., PAR
PHARMACEUTICAL, INC., PERRIGO NEW
YORK, INC., PFIZER INC., PLIVA, INC.,
SANDOZ, INC., STRIDES PHARMA, INC., SUN
PHARMACEUTICAL INDUSTRIES, INC., TARO
PHARMACEUTICALS USA, INC., TELIGENT,
INC., TEVA PHARMACEUTICALS USA, INC.,
UDL LABORATORIES, INC., UPSHER-SMITH
LABORATORIES, LLC, WEST-WARD
PHARMACEUTICALS CORP., WOCKHARDT
USA LLC, VALEANT PHARMACEUTICALS
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NORTH AMERICA, LLC, VALEANT
PHARMACEUTICALS INTERNATIONAL,
VERSAPHARM, INC., AND ZYDUS
PHARMACEUTICALS (USA) INC.

               Defendants.



[PROPOSED] SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL



       Plaintiffs The Kroger Co., Albertsons Companies, LLC, H.E. Butt Grocery Company L.P.,

and Smith Drug Company (“Plaintiffs”), file this Second Amended Complaint (“Complaint”)

under the antitrust laws of the United States against Defendants Actavis Holdco U.S., Inc., Actavis

Pharma, Inc., Akorn, Inc., Alvogen Inc., Amneal Pharmaceuticals, Inc., Apotex Corp., Aurobindo

Pharma USA, Inc., Breckenridge Pharmaceutical, Inc., Camber Pharmaceuticals, Inc., Citron

Pharma, LLC, Dr. Reddy’s Laboratories, Inc., Emcure Pharmaceuticals, Ltd., Endo International

plc, Epic Pharma, LLC, Fougera Pharmaceuticals, Inc., G&W Laboratories, Inc., Glenmark

Pharmaceuticals Inc., USA, Greenstone LLC, Heritage Pharmaceuticals, Inc., Hi-Tech Pharmacal

Co., Inc., Impax Laboratories, Inc., Lannett Company, Inc., Lupin Pharmaceuticals, Inc., Mayne

Pharma USA Inc., Mallinckrodt Inc., Morton Grove Pharmaceuticals, Inc., Mylan

Pharmaceuticals, Inc., Mylan, Inc., Mylan N.V., Par Pharmaceutical, Inc., Perrigo New York, Inc.,

Pfizer Inc., Pliva, Inc., Sandoz, Inc., Strides Pharma, Inc., Sun Pharmaceutical Industries, Inc.,

Taro Pharmaceuticals USA, Inc., Teligent, Inc., Teva Pharmaceuticals USA, Inc., UDL

Laboratories, Inc., Upsher-Smith Laboratories, LLC, West-Ward Pharmaceuticals Corp.,

Wockhardt USA LLC, Valeant Pharmaceuticals North America, LLC, Valeant Pharmaceuticals

International, Versapharm, Inc., and Zydus Pharmaceuticals (USA) Inc., (collectively

“Defendants”), and allege as follows:


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I.        INTRODUCTION

          1.   This is a civil antitrust action against Defendants and their co-conspirators for

violating Section One of the Sherman Act, 15 U.S.C. § 1, by conspiring to fix, increase, stabilize,

or maintain prices of the specified generic pharmaceutical drugs. As a result of this unlawful

conspiracy, Plaintiffs seek damages against Defendants, jointly and severally, as provided in

Section 4 of the Clayton Act, 15 U.S.C. § 15, injunctive relief, and such other relief as provided

by law.

          2.   The existence of the conspiracy is supported by a number of facts alleged below,

which should be read collectively. Plaintiffs’ allegations are based upon personal knowledge as

well as upon information and belief as to all other matters. Some of the information on which

Plaintiffs rely is based upon information made public during ongoing government investigations

of Defendants’ cartel.

          3.   The existence of the conspiracy alleged in this Complaint is supported by, among

other facts, the fact that Heritage executives Jeffrey Glazer and Jason Malek have pled guilty to

participating in a conspiracy to fix prices of Glyburide and Doxycycline between at least 2013 and

2015. Additionally, Heritage and Co-conspirator Rising Pharma have entered into deferred

prosecution agreements that involved admissions that they conspired to fix the prices of Glyburide

and Benazepril HCTZ, respectively. Heritage also resolved False Claims Act claims brought by

the United States related to its price fixing of Hydralazine and Thephylline ER. By operation of

law, these guilty pleas and judicial admissions merely define the minimum parameters of the

generic drug price fixing conspiracy. Thus, the scope of the conspiracy actionable in this civil

antitrust action may be (and as alleged in this Complaint is) broader than the judicial admissions




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to date. While these admissions establish that a conspiracy did exist, discovery is necessary to

determine the full scope of the conspiracy in terms of products, time period, and participants.

         4.     In a competitive marketplace, each generic drug manufacturer should price its drug

competitively relative to other manufacturers. Accordingly, if any one company decided to raise

prices, it would do so at the risk of losing customers and sales to its rivals with more competitive

prices. But the market for generic drugs has not been characterized by such competition for many

years.

         5.     The Attorney General of Connecticut and the Attorneys’ General of 48 additional

jurisdictions (the “States”) have exposed a marketplace in which generic drug manufacturers

communicated with each other to determine and agree on the amount of market share each

“competitor” would be allocated.       These shares were determined by the timing of each

manufacturer’s entry into the market (with early entrants entitled to a proportionately larger share

than later entrants).

         6.     The purpose of the unlawful “fair share” allocation was to fix, maintain and

stabilize prices – either for a particular generic drug or any number of generic drugs. In this way,

each entrant would benefit from coordination as a whole, even if a manufacturer did not seek a

market allocation for a particular drug. Manufacturers implemented the “fair share” agreement by

refusing to bid for a particular customer or by providing a pretextual bid that they knew would not

be successful. This prevented prices from declining even when a new “competitor” joined the

market.

         7.     Additionally, in conjunction with their market allocation agreement, manufacturers

also agreed to raise prices above competitive levels for certain drugs, and were able to maintain or




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slow the decline of prices for other drugs that would have been lower absent their conspiratorial

agreements.

       8.      Currently, the States are pursing claims against 23 Defendants alleging collusion

that distorted the prices of more than one hundred generic drugs. The States’ investigation is

ongoing, and they have indicated that many other manufacturers and up to three hundred additional

drugs are implicated in widespread anticompetitive conduct.

       9.      Through this industry-wide market allocation agreement, Defendants were also

able to implement substantial price increases on a number of additional generic drugs. As detailed

below, during the conspiracy, Defendants’ price increases were almost always more than 100%

and in some instances approached 5000%. All of these price increases were collusive, and nearly

all of these abrupt and substantial price increases were carried out by two or more Defendants that

are the subject of the pending state and federal enforcement actions.

       10.     Indeed, the United States Department of Justice (“DOJ”) has publicly

acknowledged that its criminal investigation has uncovered evidence that a “significant number”

of the drugs that are not yet the subject of government enforcement actions were nonetheless

subject to collusion. Specifically, the DOJ informed the Court that “[e]vidence uncovered during

the criminal investigation implicates other companies (including a significant number of the

Defendants here) and individual employees in collusion with respect to ... a significant number of

the [additional drugs].” The DOJ further noted that the lack of complete overlap between its

criminal investigation and the drugs that are not yet subject to enforcement actions should not be

read as an indication that any of these drugs was not the subject of collusion by Defendants,

explaining that: “[s]till more companies and individuals, and additional drugs, may be implicated

as the investigation continues to develop.”      Based on the substantial overlap between the




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allegations in this Complaint and the DOJ’s pending investigation, the DOJ has repeatedly sought

to stay discovery by private litigants in MDL 2724.

       11.     Moreover, for the drugs that are not yet the subject of pending enforcement actions,

the collusive nature of Defendants’ price increases on these drugs is supported by the facts from

those enforcement actions that have been made publicly available. Take Digoxin, for example.

Digoxin is an essential heart medication that was widely used in the U.S. prior to the 1938 passage

of the Federal Food, Drug, and Cosmetic Act. Between 2010 and 2013, the price for Digoxin was

remarkably stable, with one tablet costing as little as 12 cents. Beginning in October 2013,

however, Defendants Impax, Lannett, Mylan, Par, Sun, and West-Ward successfully raised prices

from 12 cents per tablet to more than a dollar per tablet, an increase of 750%. We know for certain

(from Glazer’s and Malek’s guilty pleas) that Heritage conspired to fix prices of Doxycycline, and

the States’ investigation confirms that Mylan and Mayne were the unidentified co-conspirators

with which Malek and Glazer pled guilty to conspiring. Additionally, the States’ investigation

further reflects that Mylan, Lannett, Par and Sun adhered to the generic drug industry’s

overarching market allocation agreement. Accordingly, under the circumstances alleged here, the

unprecedented 750% price increase on Digoxin is also shown to be the result of collusion. (Or put

differently, this enormous price increase was not the result of competitive and independent

decision-making by documented conspirators participating in an industry rife with collusion).

       12.     Further, each of the price increases that are the subject of this Complaint was

against each Defendant’s self-interest at the time in the absence of collusion. This is because,

among other reasons, based on fundamental economic theory and the nature of price competition

in the generic drug industry, in the absence of collusion, each Defendant that raised prices would

lose substantial market share to rivals that continued to price competitively. This is particularly




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so where, as here, the price increases were so stunningly large. Thousands of generic drugs have

been sold in the United States since the passage of the Hatch-Waxman Act in 1984. Prior to

approximately 2007, nearly all of the pricing behavior of generic drugs was consistent with

economic theory, i.e., when generic entry occurred, generic drug prices declined. Not so for the

134 generic drugs that are the subject of this Complaint; their pricing pattern – considered alone

or in comparison with Benazepil HCTZ, Doxycycline, and Glyburide – is so unusual and

extraordinary as to demonstrate the existence of a conspiracy. (Plaintiffs reserve the right to amend

this Complaint to add allegations about other generic drugs subject to discovery or further

proceedings in this case.)

        13.      Still other economic evidence confirms the broader scope of the conspiracy alleged

in this Complaint. As alleged below, each of the generic drug price increases covered by this

Complaint is not explained by changes in supply, the costs of production, or demand. Indeed,

there are no market forces that explain the pricing of the drugs identified in this Complaint other

than collusion. Moreover, as alleged below, each Price-Fixed Generic Drug has commodity-like

characteristics, there are barriers to entry of a new competitor, the demand is highly inelastic, and

the market for the sale of each generic drug is relatively concentrated. These economic conditions

make the market for the manufacture and sale of the Price-Fixed Generic Drugs conducive to

cartelization.

        14.      The existence of a broader generic drug price fixing conspiracy is further revealed

or supported by other activities of U.S. law enforcement. The DOJ convened a grand jury to

investigate a number of the Defendants identified in this Complaint. To empanel a grand jury,

DOJ’s Guidelines require senior executives in the Antitrust Division to conclude that sufficient

credible evidence of collusion exists. Upon information and belief, nearly all of the Defendants




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identified in this Complaint were served with grand jury subpoenas. (The following companies

(some of whom are not yet Defendants in this MDL) have publicly acknowledged receiving the

grand jury subpoenas: Aceto (which purchased Citron), Actavis, Aurobindo, Citron, Dr. Reddy’s,

Heritage, Impax, Lannett, Mallinckrodt, Mayne, Mylan, Par, Perrigo, Pfizer, Sandoz, Sun, Taro,

Teva, West-Ward, and Zydus. Privately-held companies are under no obligation to make this

disclosure.) The DOJ also executed search warrants at the corporate offices of Perrigo, Mylan,

and Aceto (which purchased Citron in 2016). For this to occur, DOJ had to persuade a federal

judge that there was probable cause to believe that one or more antitrust violations had occurred,

and that evidence of these violations would be found at the corporate offices of Mylan, Perrigo,

and ACETO. Finally, upon information and belief, the DOJ has granted conditional amnesty to

one of the Defendants in this case. (This company has not yet publicly acknowledged its amnesty

status.) Under the DOJ Guidelines, for DOJ to grant a company conditional amnesty, the amnesty

applicant had to confess to criminal violations of the U.S. antitrust laws and inform on its co-

conspirators based on information known to the amnesty applicant.

       15.     As noted above, the States’ and DOJ’s investigations are ongoing and likely involve

additional conspirators and additional drugs beyond those named in this Complaint. For example,

Pfizer Inc. reported in an SEC filing dated August 10, 2017 that:

               As of July 2017, the U. S. Department of Justice’s Antitrust Division is
               investigating our Greenstone generics business. We believe this is related
               to an ongoing antitrust investigation of the generic pharmaceutical industry.
               The government has been obtaining information from Greenstone.

       16.     In addition to the information made public from these government investigations,

the allegations in this Complaint are further supported by the fact that Defendants engaged in an

extremely high level of interfirm communications. These communications included a large

number of in-person meetings facilitated by an almost constant stream of industry trade events,



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such as the trade association meetings sponsored by the Generic Pharmaceutical Association. In

addition to these in-person meetings, Defendants frequently communicated by telephone, e-mail,

and text message. As demonstrated in this Complaint, these interfirm communications involved

high-level executives with pricing authority and directly affected Defendants’ pricing decisions on

the generic drugs identified in this Complaint.

       17.     Considered collectively – (1) the guilty pleas and judicial admissions; (2) the

States’ civil enforcement action and allegations; (3) the unprecedented price increases with respect

to the generic drugs covered in this Complaint (particularly given the economic and market

conditions in the generic drug industry); (4) the absence of any reasonable economic or market

explanation for these price increases other than collusion; (5) the correlation between the

unprecedented and indisputably collusive pricing on Glyburide, Doxycycline, Hydralazine,

Benazepril HCTZ, and Theophylline ER and the other generic drugs covered in this Complaint;

(6) the economic and structural factors rendering the market for the manufacture and sale of

generic drugs conducive to cartelization; (7) the extremely high level of interfirm communications

by senior executives with pricing authority that occurred in-person through trade association

meetings as well as by telephone, e-mail, and text message; and (8) the other U.S. law enforcement

activities, including the search warrants and criminal subpoenas – all support the existence of the

conspiracy alleged in this Complaint.

       18.     Defendants and their co-conspirators carried out their continuing conspiracy

regarding generic drugs through in-person meetings and communications, including e-mails, text

messages, and telephone calls. During these meetings and communications, they conspired on

the terms alleged in this Complaint, and coordinated price increase announcements or pricing

terms, allocated markets and customers, rigged bids, secretly and collusively exchanged pricing




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information and prospective pricing announcements and business plans, and collectively reduced

quantity and restrained output of generic drugs sold to Plaintiffs and others in the United States.

       19.     Upon information and belief, a single group of core conspirators consisting of

Actavis, Heritage, Mylan, Par, Sun/Taro, Teva, and the Sandoz Defendants (collectively the “Core

Conspirators”) engaged in the conduct alleged in this Complaint and directed the implementation

of an overarching conspiracy. Each of the Price-Fixed Generics alleged in this Complaint were

manufactured by at least one of the Core Conspirators. All other Defendants named in this

Complaint joined the Core Conspirators and were active participants in the overarching

conspiracy. In some cases, some Defendants only manufactured one or two of the Price-Fixed

Generics, but their participation in the overarching conspiracy was necessary to raise the price of

the Price Fixed Generic Drugs that they manufactured because it would have been in their

independent interests not to follow the price increases of the other conspirators and thereby

increase their market share. The existence of the overarching conspiracy permitted the Core

Conspirators to induce all other Defendants to participate as necessary to increase prices on each

of the Price Fixed Generic Drugs to fully implement and maintain the overarching conspiracy.

       20.     The allegations in this Complaint are pled in the alternative if necessary to avoid

inconsistency. Count I alleges an overarching conspiracy among all Defendants regarding all of

the Price-Fixed Generic Drugs in violation of Section 1 of the Sherman Act and Count II, which

is pled in the alternative to Count I, alleges an overarching conspiracy involving only those drugs

identified in the States’ Complaint in Case No. 19-cv-2407-CMR (E.D. Pa.). Counts III through

CXXXVI allege individual-drug conspiracies among the specified Defendants regarding each

individual Price-Fixed Generic Drug in violation of Section 1 of the Sherman Act.




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II.      DRUGS INVOLVED IN THE CONSPIRACY

         21.      As it is used in this Complaint, the term “Price-Fixed Generic Drugs” (individually

or collectively, as context requires) refers to all dosages, strengths, and formulations (if none are

specified) of the following generic drugs.

               Acetazolamide              Drospirenone and ethinyl            Methylphenidate
                                             estradiol (Ocella)
             Adapalene Gel                       Econazole                  Methylprednisolone
                Albuterol                 Enalapril Maleate Tablets        Moexipril HCL Tablets
      Amiloride HCL/HCTZ Tablets                  Entecavir                Moexipril HCL/HCTZ
                                                                                 Tablets
          Amitriptyline                         Epitol Tablets              Nabumetone Tablets
      Amoxicillin/Clavulanate                 Estazolam Tablets              Nadolol Tablets
        Chewable Tablets
 Amphetamine/Dextroamphetamine                 Estradiol Tablets             Niacin ER Tablets
  (aka Mixed Amphetamine Salts)
          Azithromycin                       Ethinyl estradiol and              Nimodipine
                                          levonorgestrel (Portia and
                                                   Jolessa)
                 Baclofen                       Ethosuximide                Nitrofurantoin MAC
                                                                                   Capsules
           Benazepril HCTZ                        Etodolac                 Norethindrone Acetate
      Bethanechol Chloride Tablets               Fenofibrate               Norethindrone/ethinyl
                                                                             estradiol (Balziva)
     Budesonide DR Capsules                  Fluconazole Tablets         Nortriptyline HCL Capsules
      Budesonide Inhalation                      Fluocinonide                      Nystatin
        Bumetanide Tablets                 Fluoxetine HCL Tablets        Omega-3-Acid Ethyl Esters
  Buspirone Hydrochloride Tablets            Flurbiprofen Tablets                Ondansetron
            Cabergoline                      Flutamide Capsules              Oxaprozin Tablets
           Capecitabine                  Fluvastatin Sodium Capsules        Oxybutynin Chloride
                                                                                    Tablets
             Carbamazepine                    Fosinopril HCTZ            Oxycodone/Acetaminophen
                 Cefdinir                    Gabapentin Tablets                  Paricalcitol
            Cefprozil Tablets                Glimepiride Tablets                Paromomycin
                Celecoxib                         Glipizide                Penicillin VK Tablets
         Cephalexin Suspension                    Glyburide                Pentoxifylline Tablets
           Cimetidine Tablets               Glyburide-Metformin                   Piroxicam
       Ciprofloxacin HCL Tablets           Griseofulvin Suspension           Potassium Chloride
       Clarithromycin ER Tablets                 Haloperidol                     Pravastatin
      Clemastine Fumarate Tablets                Hydralazine              Prazosin HCL Capsules
               Clobetasol                  Hydroxyurea Capsules           Prochlorperazine Tablets



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               Clomipramine                 Hydroxyzine Pamoate                   Propranolol
                                                   Capsules
        Clonidine TTS Patch                       Irbesartan                Raloxifene HCL Tablets
   Clotrimazole Topical Solution                   Isoniazid                Ranitidine HCL Tablets
    Cyproheptadine HCL Tablets                   Ketoconazole              Tamoxifen Citrate Tablets
   Desmopressin Acetate Tablets              Ketoprofen Capsules                Temozolomide
    Desogestrel/Ethinyl Estradiol          Ketorolac Tromethamine              Theophylline ER
          Tablets (Kariva)                          Tablets
              Desonide                      Labetalol HCL Tablets                  Tizanidine
   Dexmethylphenidate HCL ER               Lamivudine/Zidovudine                  Tobramycin
              Capsules                        (generic Combivir)
   Dextroamphetamine Sulfate ER                  Leflunomide              Tolmetin Sodium Capsules
    Diclofenac Potassium Tablets                Levothyroxine                    Tolterodine
   Dicloxacillin Sodium Capsules             Lidocaine-Prilocaine            Topiramate Sprinkle
                                                                                  Capsules
        Diflunisal Tablets                Loperamide HCL Capsules           Trifluoperazine HCL
              Digoxin                    Medroxyprogesterone Tablets              Ursodiol
      Diltiazem HCL Tablets                      Meprobamate                  Valsartan HCTZ
 Disopyramide Phosphate Capsules             Methotrexate Tablets                 Verapamil
          Divalproex ER                         Metronidazole              Warfarin Sodium Tablets
    Doxazosin Mesylate Tablets                     Mimvey                     Zoledronic Acid
                                           (Estradiol/Norethindrone
                                               Acetate) Tablets
               Doxycycline                      Metformin ER


III.     VENUE AND JURISDICTION

         22.      This civil antitrust action arises under Section 1 of the Sherman Act, 15 U.S.C. § 1,

for treble damages and injunctive relief pursuant to Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§ 15(a) and 26.

         23.      This Court has subject matter jurisdiction of each of the claims in this action

pursuant to 28 U.S.C. §§ 1331 & 1337.

         24.      Venue is proper in this Court pursuant to Sections 4 and 12 of the Clayton Act, 15

U.S.C. §§ 15 & 22, and 28 U.S.C. § 1391, for any one or more of the reasons stated in the

subparagraphs below:




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                (a)     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to this claim occurred in this District, including the sale

of generic drugs to one or more Plaintiffs and others at supracompetitive prices;

                (b)     Venue is proper in this District pursuant to 28 U.S.C. § 1391(c) because

each Defendant is subject to personal jurisdiction in this District;

                (c)     Defendants transact business or are found in this District, and, therefore,

venue is proper under 15 U.S.C. § 22; and/or

                (d)     To the extent that there is no District in which this action may otherwise be

brought, then venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because one or more

Defendants is/are found in this District.

        25.     Defendants are subject to the personal jurisdiction of this Court for any one or more

of the reasons stated below:

                (a)     Defendants are amenable to service of process because, as alleged in this

Complaint, each inhabits, transacts business in, has continuous or systematic contacts with, or is

found or has sufficient minimum contacts in the United States sufficient to satisfy due process;

                (b)     Defendants are amenable to service of process because, as alleged in this

Complaint, each inhabits, transacts business in, or is found in this District.            Defendants

headquartered outside this District are nevertheless engaged in the business of developing,

manufacturing, distributing, advertising and/or selling generic drugs throughout the United States,

including in this District;

                (c)     Defendants are amenable to service of process because, as alleged in this

Complaint, each Defendant belonged to the conspiracy alleged in this Complaint, and one or more

of them, and their co-conspirators, performed unlawful acts in furtherance of the conspiracy in this




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District including, without limitation, selling one or more generic drugs to one or more Plaintiffs

and others in this District at artificially inflated prices;

                (d)     Defendants are amenable to service of process pursuant to Rule 4(k)(1)(A)

of the Federal Rules of Civil Procedure and the long-arm statute of the Commonwealth in which

this Federal Court sits because, as alleged in this Complaint, each Defendant has transacted

business in the Commonwealth, each Defendant has contracted to supply services or things in this

Commonwealth, each Defendant has caused harm by acts taken within this Commonwealth, each

Defendant has caused harm in this Commonwealth by acts or omissions outside this

Commonwealth, each Defendant has committed violations of 15 U.S.C. § 1 within this

Commonwealth, and because the Commonwealth’s long-arm statute extends jurisdiction to the

limits of due process and each Defendant has sufficient minimum contacts with the

Commonwealth to satisfy due process; and/or

                (e)     This Court has personal jurisdiction over Defendants because, as alleged in

this Complaint, they and one or more of their co-conspirators contracted to supply services or

goods, including generic drugs, in the Commonwealth where this Federal Court sits; money flowed

from Plaintiffs or other purchasers in the Commonwealth to pay Defendants and their co-

conspirators for generic drugs; Defendants and one or more of their co-conspirators transact

business in the Commonwealth in furtherance of the conspiracy; Defendants and their co-

conspirators did or caused one or more unlawful acts alleged in this Complaint to be done, or

consequences to occur, in the Commonwealth; Defendants and their co-conspirators engaged in

unlawful conduct described in this Complaint outside of the Commonwealth causing injury to one

or more Plaintiffs in the Commonwealth, and because this Court’s exercise of jurisdiction is not

inconsistent with the Constitution of this Commonwealth or the Constitution of the United States.




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               (f)     Based on the allegations in this Complaint, Defendants are subject to the

general and specific personal jurisdiction of this Court because they have purposefully directed

their contacts and conspiratorial conduct at the United States (including the forum

Commonwealth) and have purposefully availed themselves of the laws of the United States. As

alleged in this Complaint, each Defendant, either directly, or indirectly through their subsidiaries,

engaged in price-fixing activities and anticompetitive conduct that were intended to have, and did

have, direct, substantial and reasonably foreseeable effects on the commerce of the forum

Commonwealth and the United States.

IV.     PARTIES

        A.     Plaintiffs

        26.    Plaintiff The Kroger Co. (“Kroger”) is an Ohio corporation with its principal place

of business in Cincinnati, Ohio. Kroger brings this action on its own behalf and as the assignee of

Cardinal Health, Inc. (“Cardinal”), a pharmaceutical wholesaler that, during the relevant period,

purchased Price-Fixed Generic Drugs directly from Defendants for resale to Kroger and has

assigned or agreed to assign its claims arising out of those purchases to Kroger. Kroger owns and

operates retail stores and pharmacies that sell generic drugs. During the time period relevant to

Plaintiffs’ claims, Kroger and/or its assignor directly purchased each of the Price-Fixed Generic

Drugs in the United States from one or more Defendants and/or their co-conspirators and sustained

injury and damage as a proximate result of the antitrust violations alleged in this Complaint.

        27.    Plaintiff Albertsons Companies, LLC, is a Delaware limited liability company with

its principal place of business in Boise, Idaho. Albertsons Companies, LLC is wholly owned by

AB Acquisition LLC (a Delaware limited liability company) and is the parent corporation of

Albertsons LLC, New Albertsons Inc., and Safeway Inc. (collectively “Albertsons”). Albertsons

Companies, LLC, brings this action on its own behalf and as the assignee of Cardinal Health, Inc.


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(“Cardinal”), a pharmaceutical wholesaler that, during the relevant period, purchased Price-Fixed

Generic Drugs directly from Defendants for resale to Albertsons and has assigned or agreed to

assign its claims arising out of those purchases to Albertsons. Albertsons also brings this action

based on an internal assignment from Safeway Inc. Albertsons owns and operates retail stores and

pharmacies that sell generic drugs. During the relevant period, Albertsons and/or its assignor

directly purchased each of the Price-Fixed Generic Drugs in the United States from one or more

Defendants and/or their co-conspirators and sustained injury and damage as a proximate result of

the antitrust violations alleged in this Complaint.

       28.     Plaintiff H.E. Butt Grocery Company (“HEB”) is a Texas limited partnership with

its principal place of business in San Antonio, Texas. HEB brings this action on its own behalf

and, during the relevant period, purchased Price-Fixed Generic Drugs directly from Defendants

and/or their co-conspirators and sustained injury and damage to its business or property as a

proximate result of the antitrust violations alleged in this Complaint. HEB owns and operates

retail stores and pharmacies that sell generic drugs.

       29.     Plaintiff Smith Drug Company (“Smith”), is a South Carolina company with its

principal place of business in Spartanburg, South Carolina. Smith is a drug wholesaler with

distribution centers in Spartanburg, South Carolina, Paragould, Arkansas, Valdosta, Georgia,

Milton, Vermont, and Carey, Ohio. During the relevant period, Smith purchased Price-Fixed

Generic Drugs directly from Defendants and/or their co-conspirators and sustained injury and

damage to its business or property as a proximate result of the antitrust violations alleged in this

Complaint.




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       B.      Defendants

       30.     Defendant Actavis Holdco U.S., Inc. (“Actavis Holdco”) is a Delaware corporation

with its principal place of business in Parsippany, New Jersey. Watson Pharmaceuticals, Inc.,

(“Watson”) acquired Actavis in or about October 2012. The two companies operated as a

single entity, albeit under separate names, until January 2013, when Watson announced that it

had adopted Actavis, Inc. as its new global name. March 2015, Actavis, plc, the parent company

of Defendant Actavis, merged with Allergan, plc (“Allergan”) and adopted Allergan’s name. In

August 2016, Defendant Teva USA purchased Actavis’ generics business, which included Actavis

Inc., Actavis Elizabeth Inc. and Defendant Actavis Pharma Inc., from Allergan, plc. All the assets

of the entities were then transferred to the newly formed Actavis Holdco. The acquisition cost

Teva USA $33.43 billion in cash and approximately 100 million shares of Teva securities. During

the time period relevant to Plaintiffs’ claims, Actavis Holdco directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, knowingly received conspiracy proceeds from Defendant

Actavis Pharma, Inc., and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       31.     Defendant Actavis Pharma, Inc. is a Delaware corporation with its principal place

of business in Parsippany, New Jersey. It is a wholly-owned subsidiary of Actavis Holdco and is

now a principal operating company in the U.S. for Teva’s generic products acquired from Allergan

plc. During the time period relevant to Plaintiffs’ claims, Actavis Holdco directly participated in

the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act. Actavis Holdco (and its




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predecessors, including Watson) and Actavis Pharma are collectively defined as “Actavis.”

Actavis is defined to include its managers, officers, employees, and agents acting on its behalf.

       32.     Defendant Akorn, Inc. (“Akorn”) is a Louisiana corporation with its principal place

of business located in Lake Forest, Illinois. Akorn is the parent company of Defendant Hi-Tech

(defined below). Akorn is defined to include its managers, officers, employees, and agents acting

on its behalf. During the time period relevant to Plaintiffs’ claims, Akorn directly participated in

the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act.

       33.     Defendant Alvogen Inc. (“Alvogen”) is a Delaware corporation with its principal

place of business in Pine Brook, New Jersey. Robert Wessman, the former CEO of Actavis,

stepped down from that position in order to found Alvogen in 2009. Alvogen is defined to include

its managers, officers, employees, and agents acting on its behalf. During the time period relevant

to Plaintiffs’ claims, Alvogen directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       34.     Defendant Apotex Corp. (“Apotex”) is a Florida corporation with its principal place

of business in Weston, Florida. Apotex is defined to include its managers, officers, employees,

and agents acting on its behalf. During the time period relevant to Plaintiffs’ claims, Apotex

directly participated in the conspiracy alleged in this Complaint, produced and sold one or more

Price-Fixed Generic Drugs throughout the United States and its territories, either on its own or




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through its subsidiaries, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

         35.   Defendant Amneal Pharmaceuticals, Inc. (“Amneal”) is a Delaware corporation

with its principal place of business located in Bridgewater, New Jersey. Amneal is defined to

include its managers, officers, employees, and agents acting on its behalf. At all times relevant to

the Complaint, Amneal produced and sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, and engaged in the unlawful conduct alleged in this Complaint in

violation of Section 1 of the Sherman Act.

         36.   Defendant Aurobindo Pharma USA, Inc. (“Aurobindo”) is a Delaware corporation

with its principal place of business located in Dayton, New Jersey. Aurobindo is defined to include

its managers, officers, employees, and agents acting on its behalf. During the time period relevant

to Plaintiffs’ claims, Aurobindo directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

         37.   Defendant Breckenridge Pharmaceutical, Inc. (“Breckenridge”) is a Delaware

corporation with its principal place of business located in Fairfield, New Jersey. Breckenridge is

wholly-owned by Pensa Pharma S.A. Breckenridge is defined to include its managers, officers,

employees, and agents acting on its behalf. During the time period relevant to Plaintiffs’ claims,

Breckenridge directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.




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       38.     Defendant Camber Pharmaceuticals, Inc. (“Camber”) is a Delaware corporation

with its principal place of business in Piscataway, New Jersey. Camber is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiffs’ claims, Camber directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       39.     Defendant Citron Pharma, LLC (“Citron”) is a Delaware corporation with its

principal place of business located in East Brunswick, New Jersey. Citron is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiffs’ claims Citron directly participated in the conspiracy alleged in this Complaint, produced

and sold one or more Price-Fixed Generic Drugs throughout the United States and its territories,

and engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the

Sherman Act.

       40.     Defendant Dr. Reddy’s Laboratories, Inc. (“Dr. Reddy’s”) is a New Jersey

corporation with its principal place of business located in Princeton, New Jersey. Dr. Reddy’s is

a wholly-owned subsidiary of Dr. Reddy’s Laboratories Ltd., an Indian pharmaceutical company.

Dr. Reddy’s is defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiffs’ claims, Dr. Reddy’s directly participated in the

conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct alleged in

this Complaint in violation of Section 1 of the Sherman Act.




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         41.   Defendant Emcure Pharmaceuticals, Ltd. (“Emcure”) is an Indian company with

its principal place of business located in Pune, India. In April 2011, Emcure acquired Defendant

Heritage (defined below).     Heritage, as a subsidiary of Emcure, conducts Emcure’s U.S.

commercial operations. Emcure is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiffs’ claims, Emcure directly

participated in the conspiracy alleged in this Complaint; produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories both directly and through its

wholly owned subsidiaries, directly and/or through its subsidiaries sold Price-Fixed generic drugs

to Plaintiffs and others in the United States, and engaged in the unlawful conduct alleged in this

Complaint in violation of Section 1 of the Sherman Act. In addition, during the time period

relevant to this Complaint, Defendant Emcure purposefully directed its activities at the United

States (including the forum state) and also purposefully derived the benefit of conspiracy proceeds

taken from the United States (including the forum state).

         42.   Defendant Epic Pharma, LLC (“Epic”) is a Delaware limited liability company with

its principal place of business in Laurelton, New York. Epic is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiffs’

claims, Epic directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.

         43.   Defendant Fougera Pharmaceuticals, Inc. (“Fougera”) is a New York corporation

with its principal place of business in Melville, New York. In 2012, Novartis International AG

acquired Fougera. Fougera is defined to include its managers, officers, employees, and agents




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acting on its behalf. During the time period relevant to Plaintiffs’ claims, Fougera directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act. The term “Sandoz

Defendants” refers to Fougera and Sandoz, collectively.

         44.   Defendant G&W Laboratories, Inc. is a New Jersey Corporation with its principal

place of business in South Plainfield, New Jersey. G&W is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiffs’

claims, G&W directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.

         45.   Defendant Glenmark Pharmaceuticals Inc., USA (“Glenmark”) is a Delaware

corporation with its principal place of business located in Mahwah, New Jersey. Glenmark is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiffs’ claims, Glenmark directly participated in the conspiracy alleged

in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, and engaged in the unlawful conduct alleged in this Complaint in

violation of Section 1 of the Sherman Act.

         46.   Defendant Greenstone LLC (“Greenstone”) is a Delaware limited liability company

with its principal place of business in North Peapack, New Jersey. Greenstone is a wholly-owned

subsidiary of Defendant Pfizer Inc. (“Pfizer”), a global pharmaceutical company headquartered in

New York, New York, and has at all relevant times operated as the generic drug division of Pfizer.




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Greenstone operates out of Pfizer’s Peapack, New Jersey campus, and a majority of Greenstone’s

employees are also employees of Pfìzer’s Essential Health Division, including Greenstone’s

President. Greenstone employees also use Pftzer for financial analysis, human resources and

employee benefit purposes, making the two companies essentially indistinguishable. At all times

relevant to the Complaint, Greenstone has – under the direction and control of Pfizer – marketed

and sold generic pharmaceuticals in this District and throughout the United States. Greenstone

and Pfizer are defined to include their managers, officers, employees, and agents acting on its

behalf. During the time period relevant to Plaintiffs’ claims, Greenstone and Pfizer directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, received the proceeds of their

unlawful in the United States, and engaged in the unlawful conduct alleged in this Complaint in

violation of Section 1 of the Sherman Act.

       47.     Defendant Heritage Pharmaceuticals, Inc. (“Heritage”) is a Delaware corporation

with its principal place of business located in Mahwah, New Jersey. In April 2011, Emcure

acquired Heritage. Heritage is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiffs’ claims, Heritage directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       48.     Defendant Hi-Tech Pharmacal Co., Inc. (“Hi-Tech”) is a Delaware corporation with

its principal place of business located in Amityville, New York. Hi-Tech is a wholly-owned

subsidiary of Defendant Akorn, which purchased Hi-Tech in April 2014, for $640 million. Hi-

Tech is defined to include its managers, officers, employees, and agents acting on its behalf.




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During the time period relevant to Plaintiffs’ claims, Hi-Tech directly participated in the

conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct alleged in

this Complaint in violation of Section 1 of the Sherman Act.

       49.     Defendant Impax Laboratories, Inc. (“Impax”) is a Delaware corporation with its

principal place of business located in Philadelphia, Pennsylvania. Defendant Impax is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiffs’ claims, Impax directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       50.     Defendant Lannett Company, Inc. (“Lannett”) is a Delaware corporation with its

principal place of business located in Philadelphia, Pennsylvania. Defendant Lannett is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiffs’ claims, Lannett directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       51.     Defendant Lupin Pharmaceuticals, Inc. (“Lupin”) is a Delaware corporation with

its principal place of business located in Baltimore, Maryland. Lupin is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiffs’ claims, Lupin directly participated in the conspiracy alleged in this Complaint, produced

and sold one or more Price-Fixed Generic Drugs throughout the United States and its territories,




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and engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the

Sherman Act.

       52.     Defendant Mayne Pharma USA, Inc. (“Mayne”) is a Delaware corporation with its

principal place of business located in Paramus, New Jersey. Mayne is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiffs’ claims, Mayne directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       53.     Defendant Mallinckrodt Inc. (“Mallinckrodt”) is a Delaware corporation with its

principal place of business in Webster Groves, Missouri. Mallinckrodt is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiffs’ claims, Mallinckrodt directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       54.     Defendant Morton Grove Pharmaceuticals, Inc. (“Morton Grove”) is a Delaware

corporation with its principal place of business located in Morton Grove, Illinois. Wockhardt,

Ltd., an Indian company, is the parent company of Morton Grove. Defendant Morton Grove is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiffs’ claims, Morton Grove directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout




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the United States and its territories, and engaged in the unlawful conduct alleged in this Complaint

in violation of Section 1 of the Sherman Act.

       55.     Defendant Mylan N.V. is Dutch corporation with its principal place of business and

global headquarters in Canonsburg, Pennsylvania. Mylan N.V. is the direct parent corporation of

Defendant Mylan Inc. and the ultimate parent and owner of Defendants Mylan Pharma and UDL

(both defined below). During the time period relevant to Plaintiffs’ claims, Mylan N.V. directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, either on its own or through

its subsidiaries, and engaged in the unlawful conduct alleged in this Complaint in violation of

Section 1 of the Sherman Act.

       56.     Defendant Mylan Inc. is a Pennsylvania corporation with its principal place of

business in Canonsburg, Pennsylvania. Mylan Inc. is the parent company of Defendant UDL

(defined below) and Defendant Mylan Pharma (defined below). Mylan Inc. is defined to include

its managers, officers, employees, and agents acting on its behalf. During the time period relevant

to Plaintiffs’ claims Mylan Inc. directly participated in the conspiracy alleged in this Complaint,

produced and/or sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, either on its own or through its subsidiaries, and engaged in the unlawful conduct

alleged in this Complaint in violation of Section 1 of the Sherman Act.

       57.     Defendant Mylan Pharmaceuticals, Inc., (“Mylan Pharma”) is a West Virginia

corporation with its principal place of business in Morgantown, West Virginia. Mylan Pharma is

a subsidiary of Defendant Mylan Inc. Mylan Pharma is defined to include its managers, officers,

employees, and agents acting on its behalf. During the time period relevant to Plaintiffs’ claims

Mylan Pharma directly participated in the conspiracy alleged in this Complaint, produced and sold




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one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act. Mylan N.V., Mylan Inc., Mylan Pharma, and UDL (defined below) are collectively defined

as “Mylan.”

       58.     Defendant Par Pharmaceutical, Inc. (“Par Pharma”) is a New York corporation with

its principal place of business located in Chestnut Ridge, New York. Defendant Par Pharma is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiffs’ claims, Par Pharma directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, and engaged in the unlawful conduct alleged in this Complaint

in violation of Section 1 of the Sherman Act.

       59.     Defendant Endo International plc (“Endo”) is an Irish company with its principal

place of business in Dublin, Ireland, and its U.S. headquarters located in Malvern, Pennsylvania.

Endo is the ultimate parent and owner of Par. Unless addressed individually, Par and Endo are

collectively referred to herein as “Par.” At all times relevant to the Complaint, Endo has marketed

and sold generic pharmaceuticals in this District and throughout the United States participated in

the conspiracy alleged in this Complaint, either on its own or through its owned and controlled

subsidiaries/affiliates, and knowingly received proceeds of the unlawful conduct. In addition,

during the time period relevant to this Complaint, Defendant Endo purposefully directed its

activities at the United States (including the forum state) and also purposefully derived the benefit

of conspiracy proceeds taken from the United States (including the forum state).

       60.     Defendant Perrigo New York, Inc. (“Perrigo”) is a Delaware corporation with its

principal place of business in Allegan, Michigan. Perrigo is a subsidiary of Perrigo Company, plc,




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an Irish company. Perrigo is defined to include its managers, officers, employees, and agents acting

on its behalf. During the time period relevant to Plaintiffs’ claims, Perrigo directly participated in

the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act.

       61.     Defendant Pliva, Inc. (“Pliva”) is a New Jersey corporation with its principal place

of business in East Hanover, New Jersey. Pliva is a wholly-owned subsidiary of Defendant Teva

(defined below). Pliva is defined to include its managers, officers, employees, and agents acting

on its behalf. During the time period relevant to Plaintiffs’ claims Pliva directly participated in

the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act.

       62.     Defendant Sun Pharmaceutical Industries, Inc. (f/k/a Caraco Pharmaceutical

Laboratories, Ltd.) (“Sun”) is a Michigan corporation with its principal place of business in

Cranbury, New Jersey. Co-conspirator Sun Pharmaceutical Industries Ltd., (“Sun Ltd.”), based in

Mumbai, India, along with certain of its wholly-owned subsidiaries, owns 100% of Sun. Sun Ltd.

also owns approximately 70% of Defendant Taro (defined below) and Taro’s parent, Taro

Pharmaceutical Industries, Ltd. In late 2012, Sun acquired URL Pharma, Inc., which is a wholly-

owned subsidiary of co-conspirator Mutual Pharmaceutical Company, Inc. (“Mutual”). Mutual is

a wholly-owned subsidiary of Sun. Sun is defined to include its managers, officers, employees,

and agents acting on its behalf. During the time period relevant to Plaintiffs’ claims Sun directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-




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Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       63.     Defendant Sandoz, Inc. (“Sandoz USA”) is a Colorado corporation with its

principal place of business located in Princeton, New Jersey. Sandoz USA distributes the drugs

that its parent, Sandoz Germany, develops and manufacturers. Sandoz USA and Sandoz Germany

are both owned by Novartis International AG. Defendant Sandoz USA is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiffs’ claims, Sandoz USA directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act. Sandoz USA is hereinafter referred to as “Sandoz.”

       64.     Defendant Strides Pharma, Inc. (“Strides”) is a New Jersey corporation withs its

princiuple place of business in East Brunswick, New Jersey. Strides is the U.S. subsidiary and

sales agent of Strides Pharma Science Limited, an Indian pharmaceutical conglomerate. Strides is

defeined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiffs’ claims, Strides directly participated in the conspiracy alleged in

this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       65.     Defendant Taro Pharmaceuticals USA, Inc. (“Taro”) is a New York corporation

with its principal place of business in Hawthorne, New York. Taro is a subsidiary of Taro

Pharmaceutical Industries, Ltd., an Israeli corporation. Taro is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiffs’




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claims, Taro directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.

         66.   Defendant Teligent, Inc. (f/k/a IGI Laboratories, Inc.) (“Teligent”) is a Delaware

corporation with its principal place of business located in Buena, New Jersey. Teligent is defined

to include its managers, officers, employees, and agents acting on its behalf. During the time

period relevant to Plaintiffs’ claims Teligent directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

         67.   Defendant Teva Pharmaceuticals USA, Inc. (“Teva”) is a Delaware corporation

with its principal place of business in North Wales, Pennsylvania. Teva is a wholly-owned

subsidiary of Teva Pharmaceutical Industries, Ltd., an Israeli corporation. Teva is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiffs’ claims: Teva directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

         68.   Defendant UDL Laboratories, Inc. (“UDL”) is an Illinois corporation with its

principal place of business in Rockford, Illinois. UDL, n/k/a Mylan Institutional Inc., is a

subsidiary of Defendant Mylan Inc. UDL is defined to include its managers, officers, employees,

and agents acting on its behalf. During the time period relevant to Plaintiffs’ claims, UDL directly




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participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       69.     Defendant Upsher-Smith Laboratories, LLC (f/k/a Upsher-Smith Laboratories,

Inc.) (“Upsher-Smith”) is a Minnesota limited liability company with its principal place of

business located in Maple Grove, Minnesota. During the time period relevant to Plaintiffs’ claims,

Upsher-Smith manufactured generic Baclofen and Propranolol. Upsher-Smith is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiffs’ claims, Upsher-Smith directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       70.     Defendant Valeant Pharmacueuticals International (“Valeant International”) is a

Canadian company with its principal place of business in Bridgewater, New Jersey. Valeant

International was a California company until September 2010, when it merged with Biovail

Corporation, a Canadian company. Defendant Valeant Pharmaceuticals North America, LLC

(“Valeant North America”) is a Delaware corportation with its principal place of business in

Bridgewater, New Jersey. It is a wholly-owned subsidiary of Valeant International. Defendant

Oceanside Pharmaceuticals, Inc. (“Oceanside”) is a Delaware corporation with its principal place

of business in Aliso Viejo, California. Oceanside is a wholly-owned subsidiary of Valeant. In this

Complaint, Valeant International, Valeant North America, and Oceanside are referred together as

“Valeant.” Valeant is defined to include its managers, officers, employees, and agents acting on

its behalf. During the time period relevant to Plaintiffs’ claims, Valeant directly participated in




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the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act.

       71.       Defendant Versapharm, Inc. (“Versapharm”) is a corporation organized and

existing under the laws of the State of Georgia with its principal place of business in Marietta,

Georgia. Versapharm is defined to include its managers, officers, employees, and agents acting

on its behalf.     During the time period relevant to Plaintiffs’ claims, Versapharm directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       72.       Defendant West-Ward Pharmaceuticals Corp. (“West-Ward”) is a Delaware

corporation with its principal place of business located in Eatontown, New Jersey. West-Ward is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiffs’ claims, West-Ward directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, and engaged in the unlawful conduct alleged in this Complaint

in violation of Section 1 of the Sherman Act.

       73.       Defendant Wockhardt USA LLC (“Wockhardt”) is a Delaware corporation with its

principal place of business in Parsippany, New Jersey. Wockhardt is a wholly-owned subsidiary

of Defendant Morton Grove Pharmaceuticals, Inc. Wockhardt is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiffs’

claims, Wockhardt directly participated in the conspiracy alleged in this Complaint, produced and

sold one or more Price-Fixed Generic Drugs throughout the United States and its territories, either




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on its own or through its subsidiaries, and engaged in the unlawful conduct alleged in this

Complaint in violation of Section 1 of the Sherman Act.

       74.     Defendant Zydus Pharmaceuticals (USA) Inc. (“Zydus”) is a New Jersey

corporation with its principal place of business located in Pennington, New Jersey. Zydus is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiffs’ claims, Zydus directly participated in the conspiracy alleged in

this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       C.      Co-Conspirators and Agents

       75.     Other entities and individuals not named as Defendants combined, conspired, or

agreed with Defendants and committed acts in furtherance of the unlawful conspiracy alleged in

this Complaint.

       76.     The true names and capacities of additional co-conspirators, whether individual,

corporate, associate, or representative, are presently unknown to Plaintiffs. Plaintiffs reserve the

right to amend this Complaint to allege the true names and capacities of additional co-conspirators

as they are discovered.

       77.     At all relevant times, other persons, firms, and corporations, referred to in this

Complaint as “co-conspirators,” the identities of which are presently unknown, have willingly

conspired with Defendants in their unlawful scheme as described herein.

       78.     The acts alleged in this Complaint that were done by each of the co-conspirators

were fully authorized by each of those co-conspirators, or were ordered or committed by duly




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authorized officers, managers, agents, employees, or representatives of each co-conspirator while

actively engaged in the management, direction, or control of its affairs.

       79.     The wrongful acts alleged to have been done by any one Defendant or co-

conspirator were authorized, ordered, or done by its directors, officers, managers, agents,

employees, or representatives while actively engaged in the management, direction, or control of

such Defendant’s or co-conspirator’s affairs.

V.     TRADE AND COMMERCE

       80.     During the time period relevant to Plaintiffs’ claims, Defendants and their co-

conspirators engaged in business that affects or is within the flow of interstate or foreign

commerce, and the effect of that business on interstate or foreign commerce is substantial. In

particular, the activities of Defendants and their co-conspirators are within the flow of interstate

and foreign commerce or have a substantial effect upon interstate or foreign commerce in that:

               (a)     Defendants and their co-conspirators sold and shipped substantial quantities

of generic drugs in a continuous and uninterrupted flow in interstate commerce to customers

located in States other than the States in which the Defendants and their co-conspirators produced

the generic drugs;

               (b)     Data, information, correspondence and/or financial material were

exchanged between each Defendant in the State in which each is located, incorporated, or has its

principal place of business and other States;

               (c)     Money flowed between banks outside of the State in which each Defendant

is located, incorporated, or has its principal place of business and other States; and/or

               (d)     Defendants and their co-conspirators imported substantial quantities of raw

materials for generic drugs from outside the United States.




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        81.    The effect of Defendants and/or their co-conspirators’ anticompetitive conduct on

United States commerce gives rise to Plaintiffs’ claims.

VI.     GENERIC DRUGS, THE FDCA AND THE HATCH-WAXMAN AMENDMENTS

        82.    The marketplace for the sale of prescription pharmaceutical products in the United

States suffers from a significant imperfection that brand manufacturers can (and do) exploit in

order to obtain or maintain market power in the sale of a particular pharmaceutical composition.

Markets function best when the person responsible for paying for a product is also the person who

chooses which product to purchase. When the same person both pays for and chooses the product,

the price of the product plays an appropriate role in the person’s choice and, consequently,

manufacturers have an appropriate incentive to lower the prices of their products.

        83.    The pharmaceutical marketplace, however, is characterized by a “disconnect”

between the payment obligation and the product selection. State laws prohibit pharmacists from

dispensing many pharmaceutical products, including each of the Price-Fixed Generics Drugs, to

patients without a prescription written by a doctor. The prohibition on dispensing certain products

without a prescription introduces a disconnect between the payment obligation and the product

selection. The patient (and in most cases his or her insurer) has the obligation to pay for the

pharmaceutical product, but the patient’s doctor chooses which product the patient will buy.

        84.    Brand pharmaceutical sellers exploit this price disconnect by employing large

forces of sales representatives to visit doctors’ offices and persuade them to prescribe the

manufacturers’ products. These sales representatives do not advise doctors of the cost of the

branded products. Moreover, studies show that doctors typically are not aware of the relative costs

of brand pharmaceuticals and, even when they are aware of the relative costs, they are insensitive




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to price differences because they do not have to pay for the products. The result is a marketplace

in which the price plays a comparatively unimportant role in product selection.

       85.      The relative unimportance of price in the pharmaceutical marketplace reduces what

economists call the price elasticity of demand – the extent to which unit sales go down when price

goes up. This reduced price elasticity in turn gives brand manufacturers the ability to raise price

substantially above marginal cost without losing so many sales as to make the price increase

unprofitable.

       86.      Due to this disconnect, retailers like Plaintiffs play an important role in driving

down prescription drug costs in the United States. The most important tool that retailers like

Plaintiffs have at their disposal is the availability of generic drug manufacturers operating in a

competitive marketplace. As explained below, when drug manufacturers begin selling generic

bio-equivalent alternatives to branded prescription drugs that have previously been subject to a

patent, retailers are able to drive the prices paid for those drugs down substantially.

       87.      Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

create a new drug must obtain Food and Drug Administration (“FDA”) approval to sell the product

by filing a New Drug Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include

specific data concerning the safety and effectiveness of the drug, as well as any information on

applicable patents. 21 U.S.C. § 355(a), (b). The Hatch-Waxman Amendments, enacted in 1984,

simplified the regulatory hurdles for prospective generic manufacturers by eliminating the need

for them to file lengthy and costly NDAs. See Drug Price Competition and Patent Term

Restoration Act, Pub. L. No. 98-417, 98 Stat. 1585 (1984). A manufacturer seeking approval to

sell a generic version of a brand drug may instead file an Abbreviated New Drug Application

(“ANDA”). An ANDA relies on the scientific findings of safety and effectiveness included in the




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brand manufacturer’s original NDA by showing that the generic drug contains the same active

ingredient(s), dosage form, route of administration, and strength as the brand drug, and is absorbed

at the same rate and to the same extent as the brand drug – that is, that the generic drug is

pharmaceutically equivalent and bioequivalent (together, “therapeutically equivalent”) to the

brand drug. The FDA assigns generic drugs that are therapeutically equivalent to their brand-name

counterpart an “AB” rating.

       88.     The FDCA and Hatch-Waxman Amendments operate on the presumption that

bioequivalent drug products containing identical amounts of the same active ingredients, having

the same route of administration and dosage form, and meeting applicable standards of strength,

quality, purity, and identity are therapeutically equivalent and may be substituted for one another.

Bioequivalence demonstrates that the active ingredient of the proposed generic drug would be

present in the blood of a patient to the same extent and for the same amount of time as the branded

counterpart. 21 U.S.C. § 355(j)(8)(B).

       89.     Congress enacted the Hatch-Waxman Amendments to expedite the entry of

legitimate generic competitors, thereby reducing healthcare expenses nationwide. Congress also

sought to protect pharmaceutical manufacturers’ incentives to create new and innovative products.

       90.     The Hatch-Waxman Amendments achieved both goals, advancing substantially the

rate of generic product launches, and ushering in an era of historic high profit margins for brand

manufacturers. In 1983, before the Hatch-Waxman Amendments, only 35% of the top-selling

drugs with expired patents had generic alternatives; by 1998, nearly all did. In 1984, prescription

drug revenue for branded and generic drugs totaled $21.6 billion; by 2009, total prescription drug

revenue had soared to $300 billion.




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       91.     Generic versions of brand name drugs contain the same active ingredient, and are

determined by the FDA to be just as safe and effective, as their brand name counterparts. The only

material difference between generic and brand name drugs is their price: generics are usually at

least 25% less expensive than their brand name counterparts when there is a single generic

competitor, and this discount typically increases to 50% to 80% (or more) when there are multiple

generic competitors on the market for a given brand. The launch of a generic drug thus usually

brings huge cost savings for all drug purchasers. The Federal Trade Commission (“FTC”)

estimates that about one year after market entry, the generic version takes over 90% of the brand’s

unit sales and sells for 15% of the price of the brand name product. Because each generic is readily

substitutable for another generic of the same brand drug, the products behave like commodities,

with pricing being the main differentiator and the basis for competition among manufacturers.

Over time, generics’ pricing nears the generic manufacturers’ marginal costs.

       92.     Generic competition usually enables purchasers to purchase generic versions of the

brand drug at a substantially lower price than the brand drug. Generic competition to a single

blockbuster brand drug (i.e., a drug that generates annual sales of $1 billion or more) can result in

billions of dollars in savings to direct purchasers, consumers, insurers, local, state, and federal

governments, and others. Indeed, one study found that the use of generic drugs saved the United

States healthcare system $1.68 trillion between 2005 and 2014.1

       93.     Due to the price differentials between brand and generic drugs, and other

institutional features of the pharmaceutical industry, pharmacists liberally and substantially

substitute for the generic version when presented with a prescription for the brand-name



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        1
             GPhA, Generic Drug Savings in the U.S. (7th ed. 2015) at 1, available at
http://www.gphaonline.org/media/wysiwyg/PDF/GPhA_Savings_Report_2015.pdf.


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counterpart.   Since passage of the Hatch-Waxman Amendments, every State has adopted

substitution laws that either require or permit pharmacies to substitute generic equivalents for

branded prescriptions (unless the prescribing physician has specifically ordered otherwise by

writing “dispense as written” or similar language on the prescription).

       94.     There is an incentive to choose the less expensive generic equivalent in every link

in the prescription drug chain. Pharmaceutical wholesalers and retailers pay lower prices to

acquire generic drugs than to acquire the corresponding brand-name drug. Health insurers and

patients also benefit from the lower prices that result from generic competition.

       95.     Further, the more generic manufacturers that enter a market, the more the price for

the drug decreases. As an FDA study reflects, “generic competition is associated with lower drug

prices, with the entry of the second generic competitor being associated with the largest price

reduction,” as average prices fall to roughly half the price of the branded drug. Further, with the

entry of each additional generic manufacturer up to the ninth manufacturer, the price continues to

fall. In mature markets with 19 or more generic manufacturers, the price of the generic drug is as

low as 6% of the branded version. This phenomenon is demonstrated in the following chart

prepared by the FDA:




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       96.     Generic manufacturers typically report a Wholesale Acquisition Cost (“WAC”) for

their drugs. WAC prices represent the manufacturer’s benchmark or reported list price. The WAC

typically functions as the manufacturer’s list or benchmark price in sales to wholesalers or other

direct purchasers and typically does not include discounts that may be provided, e.g., for volume

sales. Manufacturers generally provide their WACs to purchasers or report them to publishers that

compile that information for the market.2

VII.   THE DOJ AND STATE ATTORNEYS GENERAL INVESTIGATIONS

       97.     As noted above, Defendants’ conduct regarding generic drugs is under

investigation by the DOJ, State Attorneys General, the United States Congress and others.

       A.      The DOJ is Leading a Broad-Ranging Criminal Investigation Into the
               Anticompetitive Conduct of Generic Drug Manufacturers

       98.     No later than November 3, 2014, as noted above, the DOJ opened a wide-ranging

grand jury investigation into the marketing and pricing practices of generic drugs, which has

resulted in the issuance of grand jury subpoenas to several generic drug manufacturers, including

nearly all Defendants and/or their affiliates.

       99.     A source at the Policy and Regulatory Report says “prosecutors see the case much

like its antitrust probe of the auto parts industry, which has gone on for years and morphed into

the department’s largest criminal antitrust probe ever. Like in that case, prosecutors expect to

move from one drug to another in a similar cascading fashion.”3



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               At one time, payors relied on cost-based pricing metrics to reimburse pharmacies
that dispensed drugs to their insured customers, paying the dispensing pharmacies an amount based
on the manufacturer’s list price for the drug, plus a small mark-up or dispensing fee.
       3
               See Eric Palmer, DOJ criminal probe takes a look at trade associations, FIERCE
PHARMA (July 10, 2015), http://www.fiercepharma.com/regulatory/doj-criminal-probe-takes-a-
look-at-trade-associations.


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       100.    According to BLOOMBERG NEWS, the investigation encompasses more than a dozen

companies and at least two dozen generic drugs. The source quoted by the BLOOMBERG article

correctly predicted in November 2016 that the DOJ would file criminal charges against at least

one member of the generic drug price-fixing conspiracy by the end of 2016.4

       101.    Sure enough, on December 12, 2016, DOJ filed criminal charges against Jeffrey

Glazer (the former CEO of Heritage) and Jason Malek (the former president of Heritage). Both

Glazer and Malek have since pled guilty to violations of Section 1 of the Sherman Act for their

participation in conspiracies to fix prices, rig bids, and allocate customers for Glyburide and

Doxycycline. The Hon. Barclay Surrick of this Court determined that there was a factual basis for

both Glazer’s and Malek’s pleas, and convicted each individual of a felony violation of the

Sherman Act. Sentencing for both Glazer and Malek was originally set for April 2017, but both

sentencings have been repeatedly rescheduled as Glazer and Malek continue to cooperate with the

DOJ. As alleged above, by operation of law, these guilty pleas merely define the minimum

parameters of the conspiracy alleged in this Complaint.

       102.    Following the plea agreements of Malek and Glazer, the DOJ has obtained and

executed search warrants against at least Aceto Corporation (which purchased Citron’s generic

drugs business in December 2016), Perrigo, and Mylan in connection with the generic drug price

fixing probe. Accordingly, at least one federal judge has necessarily found probable cause that

such a conspiracy existed, and that it was probable that evidence of the conspiracy would be found

in the offices of Perrigo, Mylan, and Citron.




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               See D. McLaughlin & C. Chen, U.S. Charges in Generic-Drug Probe to be Filed
by Year-End, BLOOMBERG NEWS (Nov. 3, 2016,), available at https://www.bloomberg.com/
news/articles/2016-11-03/u-s-charges-in-generic-drug-probe-said-to-be-filed-by-year-end.


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        103.   In addition to the raid of Perrigo’s, Mylan’s, and Aceto’s corporate offices, the

grand jury empaneled by DOJ as part of its investigation has issued subpoenas to numerous

Defendants and/or their employees. The following companies have publicly acknowledged

receiving grand jury subpoenas: Aceto, Actavis, Aurobindo, Citron, Dr. Reddy’s,

Greenstone/Pfizer, Heritage, Impax, Lannett, Lupin, Mallinckrodt, Mayne, Mylan, Par, Perrigo,

co-conspirator Rising, Sandoz, Sun, Taro, Teva, West-Ward, and Zydus. Upon information and

belief, additional companies have also received subpoenas but have not publicly acknowledged

this fact.

        104.   The fact that most Defendants and/or their employees received criminal subpoenas

from a federal grand jury is significant, as is reflected in Chapter 3 of the 2014 edition of the DOJ’s

Antitrust Division Manual, available at https://www.justice.gov/atr/division-manual. Section F.1

of that chapter notes that “staff should consider carefully the likelihood that, if a grand jury

investigation developed evidence confirming the alleged anticompetitive conduct, the Division

would proceed with a criminal prosecution.” Id. at III-82. The staff request needs to be approved

by the relevant field chief and is then sent to the Antitrust Criminal Enforcement Division. Id.

“The DAAG [Deputy Assistant Attorney General] for Operations, the Criminal DAAG, and the

Director of Criminal Enforcement will make a recommendation to the Assistant Attorney General.

If approved by the Assistant Attorney General, letters of authority are issued for all attorneys who

will participate in the grand jury investigation.” Id. at III-83. “The investigation should be

conducted by a grand jury in a judicial district where venue lies for the offense, such as a district

from or to which Price-Fixed sales were made or where conspiratorial communications occurred.”

Id. Thus, the fact that one or more of the Defendants and certain of their employees received




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federal grand jury subpoenas is an indication that antitrust offenses have occurred involving these

companies.

        105.   Additionally, public sources have reported that at least one Defendant or co-

conspirator has applied for conditional amnesty under ACPERA. That a target has applied for

leniency is significant. As the DOJ notes on its web site (https://www.justice.gov/atr/page/file/

926521/download):

               5.      Does a leniency applicant have to admit to a criminal violation of
               the antitrust laws before receiving a conditional leniency letter?

               Yes. The Division’s leniency policies were established for corporations and
               individuals “reporting their illegal antitrust activity,” and the policies
               protect leniency recipients from criminal conviction. Thus, the applicant
               must admit its participation in a criminal antitrust violation involving price
               fixing, bid rigging, capacity restriction, or allocation of markets, customers,
               or sales or production volumes before it will receive a conditional leniency
               letter. Applicants that have not engaged in criminal violations of the
               antitrust laws have no need to receive leniency protection from a criminal
               violation and will receive no benefit from the leniency program.

               The DOJ further provides that the leniency applicant must also satisfy the
               following condition, among others, to avail itself of the government’s
               leniency: “[t]he confession of wrongdoing is truly a corporate act, as
               opposed to isolated confessions of individual executives or officials.5

Id.

        106.   The DOJ has intervened in MDL 2724 as well as numerous civil antitrust actions

alleging price-fixing, bid rigging, and market and customer allocation of generic pharmaceuticals

stating that these cases overlap with the DOJ’s ongoing criminal investigation. For example, in a

civil antitrust action related to the generic pharmaceutical Propranolol, the DOJ intervened and

requested a stay, stating that “the reason for the request for the stay is the government’s ongoing

criminal investigation and overlap of that investigation and this case,” and that “the government’s


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            https://www.justice.gov/atr/page/file/926521/download.


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ongoing investigation is much broader than the [Glazer and Malek] informations that were

unsealed.’’ The DOJ filed a brief with the United States Judicial Panel on Multidistrict Litigation

noting that: “The complaints in those civil cases – which typically allege that a group of generic

pharmaceutical companies violated Section 1 of the Sherman Act by conspiring to fix prices and

allocate customers for a particular drug - overlap significantly with aspects of the ongoing criminal

investigation.’’ As noted above, the DOJ also filed a motion to stay discovery in MDL 2724,

stating that: “Evidence uncovered during the criminal investigation implicates other companies

and individuals (including a significant number of the Defendants here) in collusion with respect

to Doxy Hyclate, Glyburide, and other drugs (including a significant number of the drugs at issue

here).”6 DOJ has continued to maintain that a Stay of certain discovery is necessary to protect its

investigation even after the judicial admissions by Heritage and Rising.

       107.    Some of the companies that have received subpoenas have confirmed that the

inquiry extends to other drugs. For example, Mayne disclosed that the criminal investigation into

its conduct “is focused on [Doxy DR] and potassium chloride powders,” and Impax disclosed that

the DOJ subpoena sought focused on specific drugs including digoxin and lidocaine/prilocaine.

       108.    The DOJ’s Spring 2017 Division Update notes that:

               Millions of Americans purchase generic prescription drugs every year and
               rely on generic pharmaceuticals as a more affordable alternative to brand
               name medicines. The Division’s investigation into the generics market,
               however, has revealed that some executives have sought to collude on prices
               and enrich themselves at the expense of American consumers.7



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       6
               See Intervenor United States’ Motion to Stay Discovery, In re: Generic Pharm.
Pricing Antitrust Litig., MDL No. 2724, ECF 279 (E.D. Pa. May 1, 2017).
       7
              DOJ Website, Division Update Spring 2017 (Mar. 28, 2017), available at
https://www.justice.gov/atr/division-operations/division-update-spring-2017/division-secures-
individual-and-corporate-guilty-pleas-collusion-industries-where-products.


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       B.      At Least 49 State Attorneys General are Also Investigating the
               Anticompetitive Conduct in the Generic Drug Industry

       109.    In addition to the DOJ’s criminal enforcement action, at least 49 States’ Attorneys

General, led by the State of Connecticut, have also filed several civil enforcement actions based

on their investigation to date into generic drug pricing. To date, the States have identified as co-

conspirators 25 corporate generic drug manufacturers that conspired to fix prices of more than 130

different generic drugs.8

       110.    In essence, the States allege that market for more than 130 generic drugs (along

with many other drugs not included in their Complaints) was cartelized based on an agreement or

understanding between or among Defendants and their co-conspirators to refrain from competing

with each other on the pricing and sale of the generic drugs in the United States. This agreement

or understanding that the Defendants and their co-conspirators adhered to provides that each

generic manufacturer “is entitled to its [predetermined share] of the market, whether the market is

a particular drug, or a number of generic drugs. [The predetermined share] is an approximation of

how much market share each competitor is entitled to, based on the number of competitors in the

particular drug market, with a potential adjustment based on the timing of their entry.... The

objective is to attain a state of equilibrium, where none are incentivized to compete for additional

market share by eroding price.” In other words, generic drug manufacturers followed an express

agreement to apply a negotiated formula that allocated the market share for the manufacturers of

numerous generic drugs.




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                Those companies are Actavis, Ascend, Apotex, Amneal, Aurobindo, Breckenridge,
Citron, Dr. Reddy’s, Emcure, Glenmark, Greenstone, Heritage, Lannett, Lupin, Mayne, Mylan,
Par, Pfizer, Sandoz, Sun, Taro, Teva, Upsher-Smith, Wockhardt, and Zydus.


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       111.    The States establish that this formula was developed and agreed to as the result of

“an almost constant ability for Defendants to meet in person and discuss their business plans.” For

example, anticompetitive agreements are reached at:

               [o]rganized recreational and social events, such as golf outings, lunches,
               cocktail parties, dinners, and other scheduled activities that provide further
               opportunity to meet with competitors outside of the traditional business
               setting. Of particular importance here, generic drug manufacturer
               representatives who attend these functions ... use these opportunities to
               discuss and share upcoming bids, specific generic drug markets, pricing
               strategies and pricing terms in their contracts with customers, among other
               competitively sensitive information.

               These trade shows and customer conferences provide generic drug
               manufacturers, including but not limited to [the identified Defendants], with
               ample opportunity to meet, discuss, devise and implement a host of
               anticompetitive schemes that unreasonably restrain competition in the
               United States’ market for generic drugs.

       112.    In furtherance of the conspiracy, the States allege that Defendants would frequently

rig bids by increasing pricing to existing customers in order to allow another conspirator to win

the business of that customer and obtain the market share to which it was entitled by the

conspiracy’s formula. This process of purposefully abandoning existing customers would occur

most frequently when a new conspirator enters the market for a generic drug.               Whereas

fundamental economic principles dictate that the price of the drug should decrease as the number

of suppliers of that drug increases, the opposite typically occurred as a direct result of the

conspiracy, because the existing competitors would walk away from their customers in order to

allow the new entrant a portion of the market.

       113.    These market allocation and price-fixing agreements were often negotiated across

more than one generic drug. In order to maintain supracompetitive prices, “customers in one drug

market might be traded for customers in another drug market.... Alternatively, competitors might




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allow price increases on one or more generic drugs without competing based on a quid pro quo

from other competitors on different drugs.”

       114.    For example, Rajiv Malik of Mylan, N.V., spoke with Jeffrey Glazer of Heritage,

and Malik agreed that Mylan would walk away from two large accounts for Doxycycline DR so

that Heritage could win this business. Malik noted that Mylan’s consideration for abandoning this

business had been provided previously, when Heritage intentionally forfeited accounts to Mylan

on a different drug. During this exchange, as with all collusive communications involving Mylan

alleged in this Complaint, the senior executive from Mylan (in this case Mr. Malik) acted on behalf

of and reached an agreement that bound all of the Mylan entities identified in this Complaint.

       115.    By adhering to the common understanding regarding the market share that each

conspirator was entitled to, the Defendants also facilitated substantial price increases. “As long as

everyone in the ‘sandbox’ is playing fair, and the manufacturers believe that they have their

[predetermined market share], the larger understanding dictates that they will not seek to compete

or take advantage of a competitor's price increase by bidding a lower price to take that business.

Doing so is viewed as ‘punishing’ a competitor for raising prices – which is against the rules.”

       116.    These allegations – and numerous others – from the States’ investigation are

supported by direct evidence from at least six cooperating witnesses. The expected testimony from

these cooperating witnesses will directly support and corroborate the allegations throughout this

Complaint. Some of those cooperating witnesses include:

       117.    A former pricing executive at Defendant Sandoz during the time period relevant to

this Complaint [referred to herein as CW-1];




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        118.   A former sales and marketing executive at Rising Pharmaceuticals, Inc. (“Rising”)

and Defendant Sandoz during the time period relevant to this Complaint [referred to herein as CW-

2];

        119.   A former senior sales executive at Defendant Sandoz during the time period

relevant to this Complaint [referred to herein as CW-3];

        120.   A former senior sales executive at Defendant Sandoz during the time period

relevant to this Complaint [referred to herein as CW-4];

        121.   A former senior executive at Defendant Glenmark during the time period relevant

to this Complaint [referred to herein as CW-5]; and

        122.   Jason Malek (“Malek”), the former Vice President of Commercial Operations at

Defendant Heritage who pled guilty to his role in the price-fixing Glyburide and Doxycycline.

VIII. CONGRESSIONAL RESPONSES TO GENERIC DRUG PRICE INCREASES

        123.   In addition to the investigations by the DOJ and the States, Congress has raised

concerns about the alarming price spikes for numerous generic pharmaceuticals.

        124.   In the fall of 2014, Senator Bernie Sanders and Representative Elijah Cummings

requested information from manufacturers of ten drugs that had experienced extraordinary price

increases.9 In November 2014, Senator Sanders conducted a hearing entitled “Why Are Some

Generic Drugs Skyrocketing in Price?” (“Senate Hearing”). Various witnesses discussed the price

hikes for generic drugs, but none of the industry executives that were invited to testify appeared.10



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        9
               Senator Sanders, Press Release, Congress Investigating Why Generic Drug Prices
Are Skyrocketing (Oct. 2, 2014), available at https://www.sanders.senate.gov/newsroom/press-
releases/congress-investigating-why-generic-drug-prices-are-skyrocketing.
        10
              Senate Hearing (Nov. 20, 2014), available at https://www.help.senate.gov/
hearings/why-are-some-generic-drugs-skyrocketing-in-priced.


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        125.   Senator Sanders and Representative Cummings followed up with a request to the

Office of the Inspector General of the Department of Health & Human Services (“OIG”), asking

it to investigate the effect that price increases of generic drugs have had on the Medicare and

Medicaid programs. The OIG issued its report in December 2015, confirming that price increases

for numerous generic drugs far outpaced inflation.11

        126.   In response to a Congressional request from Senators Susan Collins, Claire

McCaskill, Bill Nelson, and Mark Warner, the United States Government Accountability Office

(“GAO”) issued a report in August 2016 entitled “Generic Drugs Under Medicare: Part D Generic

Drug Prices Declined Overall, but Some Had Extraordinary Price Increases.”12            The GAO

investigation confirmed that in a competitive market, generic drug prices decline and remain

stable, absent shortages or other market disruptions.13 And this was the case for most generics.

But it identified numerous drugs that experienced “extraordinary” increases, which it defined as

an increase of more than 100%.14

IX.     THE GENERIC DRUG INDUSTRY WAS CHARACTERIZED BY AN
        EXTREMELY HIGH LEVEL OF COMPETITOR CONTACTS, WHICH
        FACILITATED COLLUSION BETWEEN DEFENDANTS

        127.   The collusion alleged in this Complaint infected the generic drug industry, and at a

minimum it contaminated the pricing and sale of the Price-Fixed Generic Drugs in this case.




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       11
              HHS OIG, Average Manufacturer Prices Increased Faster than Inflation for Many
Generic Drugs (Dec. 2015), available at https://oig.hhs.gov/oas/reports/region6/61500030.pdf.
        12
              GAO Report to Congressional Requesters, Generic Drugs Under Medicare (Aug.
12, 2016) (“GAO Report”), available at http://www.gao.gov/products/GAO-16-706.
        13
               GAO Report, at 23-25.
        14
               Id. at 1 & Appendix III.


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       128.    As Connecticut’s Attorney General George C. Jepsen commented, there is “a

culture of cronyism [in the generic drugs industry] where, whether it’s over a game of golf or a

dinner or drinks, there’s just systematic cooperation.”15

       129.    As alleged in this Complaint, these numerous competitor contacts resulted in

express agreements between Defendants and their co-conspirators to fix prices, allocate markets,

and rig bids on the pricing and sale of generic drugs sold in the United States to Plaintiffs and

others, including the Price-Fixed Generics. In other words, the Defendants got together and

exchanged assurances of common action and also adopted a common plan to cartelize the pricing

and sale of the Price-Fixed Generic Drugs.

       A.      Defendants Used Trade Association Meetings to Facilitate Their Collusion

       130.    As the civil and criminal enforcement actions indicate, Defendants were members

of numerous trade associations and used the meetings of those associations to facilitate their

collusion. The frequent trade association meetings provided an ideal mechanism through which

Defendants could and did meet in person and reach agreements with their competitors to increase

prices on the Price-Fixed Generic Drugs sold to Plaintiffs and others in the United States.

       131.    Upon information and belief, Defendants’ anticompetitive conduct was a result of

an agreement (or series of agreements) to fix, maintain, and stabilize prices, rig bids, and allocate

customers for the sale of the Price-Fixed Generic Drugs. The agreement (or series of agreements)

was furthered by discussions held at industry meetings and events hosted by various trade

associations, including GPhA, HDMA, ECRM, and MMCAP (all defined below) as well as other

meetings and communications.


______________________
       15
              K. Thomas, 20 States Accuse Generic Drug Companies of Price Fixing, NY TIMES
(Dec. 15, 2016), https://www.nytimes.com/2016/12/15/business/generic-drug-price-lawsuit-teva-
mylan.html?mcubz=3.


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          132.   In formulating and effectuating their conspiracy, Defendants engaged in numerous

anticompetitive activities, including, among other acts:

                 (a)    Participating, directing, authorizing, or consenting to the participation of

subordinate employees in meetings, conversations, and communications with coconspirators to

discuss the sale and pricing of Price-Fixed Generic Drugs in the United States;

                 (b)    Participating, directing, authorizing, or consenting to the participation of

subordinate employees in meetings, conversations, and communications with co-conspirators to

engage in market and customer allocation or bid rigging for Price-Fixed Generic Drugs sold in the

United States;

                 (c)    Agreeing during those meetings, conversations, and communications to

engage in market and customer allocation or bid rigging for Price-Fixed Generic Drugs sold in the

United States;

                 (d)    Agreeing during those meetings, conversations, and communications not to

compete against each other for certain customers for Price-Fixed Generic Drugs sold in the United

States;

                 (e)    Submitting bids, withholding bids, and issuing price proposals in

accordance with the agreements reached;

                 (f)    Selling Price-Fixed Generic Drugs in the United States at collusive and

noncompetitive prices; and

                 (g)    Accepting payment for Price-Fixed Generic Drugs sold in the United States

at collusive and noncompetitive prices.

          133.   To sustain a conspiracy, conspirators often communicate to ensure that all are

adhering to the collective scheme. Here, such communications occurred primarily through: (1)




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trade association meetings and conferences, (2) private meetings, dinners, and outings among

smaller groups of employees of various generic drug manufacturers, and (3) individual private

communications between and among Defendants’ employees through use of the phone, electronic

messaging and similar means.

       134.    These secret, conspiratorial meetings, discussions, and communications helped to

ensure that all Defendants agreed to participate in, implement, and maintain an unlawful bid

rigging, price-fixing, and market and customer allocation scheme.

       135.    The industry intelligence-gathering reporting firm Policy and Regulatory Report

has reportedly obtained information regarding the investigation of generic drug companies by the

DOJ, and has indicated that the DOJ is investigating the extent to which trade associations and

industry conferences have been used as forums for collusion among competing generic drug

companies. The States have similarly noted the centrality of trade associations and industry

conferences in their investigation, stating that they have uncovered evidence that certain generic

drug companies “routinely coordinated their schemes through direct interaction with their

competitors at industry trade shows, customer conferences, and other events, as well as through

direct e-mail, phone, and text message communications.”16

       136.    Defendants were members of numerous trade associations, which they used to

facilitate their conspiratorial communications and implement their anticompetitive scheme to

raise, maintain, and stabilize prices, rig bids, and engage in market and customer allocation




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      16
            http://www.ct.gov/ag/cwp/view.asp?Q=590616&A=2341.


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concerning Price-Fixed Generic Drugs, including but not limited to GPhA and HDMA. In

addition, Defendants regularly attended industry events hosted by the MMCAP.17

       137.    The GPhA bills itself as “the nation’s leading trade association for manufacturers

and distributors of generic prescription drugs, manufacturers of bulk active pharmaceutical

chemicals, and suppliers of other goods and services to the generic industry.” The trade association

was the result of a 2000 merger between the GPhA and two rival trade associations (the National

Association of Pharmaceutical Manufacturers, and the National Pharmaceutical Alliance).

According to GPhA’s website, its “member companies supply approximately 90 percent of the

generic prescription drugs dispensed in the U.S. each year.” The GPhA’s website touts the

“business networking opportunities” and the “peer-to-peer connections” as the primary reasons to

join the trade association. See http://www.gphaonline.org/about/ membership. GPhA members

during the relevant time period have included Defendants Actavis, Amneal, Apotex, Aurobindo,

Cadista, Dr. Reddy’s, Glenmark, Greenstone, Heritage, Impax, Lupin, Mallinckrodt, Mylan, Par,

Perrigo, Sandoz, Sun, Teva, West-Ward, Wockhardt, and Zydus.

       138.    Throughout the period relevant to Plaintiffs’ claims, the GPhA held three

conferences each year. The GPhA’s Fall Technical Conference was held each year in late October

in Bethesda, Maryland. The GPhA’s Annual Meeting was held each year in mid-February in

Orlando, Florida. The GPhA’s CMC Workshop was held each year in early June in Bethesda,

Maryland. Exhibit 1 lists GPhA meetings attended by Defendants.

       139.    Upon information and belief, each of the conspiratorial price increases alleged in

this Complaint was discussed, at least in part, at the GPhA’s three annual meetings (including the


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        17
                Exhibit 1 to the Complaint contains a chart which details all known trade
association meetings, conferences, and/or events attended by Defendants from 2010-2016. The
latter half of Exhibit 1 lists the names of individual attendees at each meeting.


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       141.    In addition to the GPhA meetings, other industry events provided Defendants with

opportunities to collude, and Defendants did in fact use these opportunities to discuss their

unlawful agreements.

       142.    The HDMA (now called HDA) is a national trade association that represents

“primary pharmaceutical distributors” which links the nation’s drug manufacturers and more than

200,000 pharmacies, hospitals, long-term care facilities, and clinics. HDMA holds regular

conferences where its members, including generic drug manufacturers, meet to discuss various

issues affecting the pharmaceutical industry. HDMA members, during the relevant time period,

have included Defendants Apotex, Breckenridge, Citron, Dr. Reddy’s, Heritage, Impax, Lannett,

Lupin, Mayne, Mylan, Par, Sandoz, Sun, Teva, Upsher-Smith, Wockhardt, Zydus. Exhibit 1 lists

HDMA meetings attended by Defendants.

       143.    Other events at which Defendants may have conspired included meetings held by

the Minnesota Multistate Contracting Alliance for Pharmacy (MMCAP) and the Efficient

Collaborative Retail Marketing (ECRM).

       144.    According to its website, MMCAP is a “free, voluntary group purchasing

organization for government facilities that provide healthcare services.      MMCAP has been

delivering pharmacy and healthcare value to members since 1985. MMCAP’s membership

extends across nearly every state in the nation, delivering volume buying power. Members receive

access to a full range of pharmaceuticals and other healthcare products and services; such as,

medical supplies, influenza vaccine, dental supplies, drug testing, wholesaler invoice auditing and

returned goods processing.”

       145.    MMCAP’s Charter provides that “[i]n 1989, the Minnesota Department of

Administration, an agency of the State of Minnesota, began a cooperative purchasing venture




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program to procure pharmaceutical products at the best price possible for the benefit of any other

state interested in participating in the program.... In 1996, the cooperative purchasing venture was

named Minnesota Multistate Contracting Alliance for Pharmacy ... and currently provide

healthcare-related contracting to state and local government members located across the United

States of America. Total purchases by MMCAP member facilities for all MMCAP programs

exceed $1 billion annually.

       146.    MMCAP held its National Member Conference in Bloomington, Minnesota on

May 12-15, 2014. At MMCAP’s 2014 National Member Conference, topics included “RFPs under

consideration for Pharmacy,” “contract evaluation,” and “pharmaceutical price increases.” At the

MMCAP conference, a Heritage employee met in person and discussed price increase strategies

with a number of different competitors and was able to personally confirm agreement to raise

prices of one or more Price-Fixed Generic Drugs. Exhibit 1 lists MMCAP meetings attended by

Defendants.

       147.    According to its website, ECRM conducts Efficient Program Planning Sessions that

are made up one on-on-one strategic meetings that connect decision makers in an effort to

maximize time, grow sales, and uncover industry trends. Exhibit 1 lists ECRM meetings attended

by Defendants.

       148.    At these various conferences and trade shows, representatives from at least some

Defendants, as well as other generic drug manufacturers, discussed their respective businesses and

customers. These discussions would occur at social events, including lunches, cocktail parties,

dinners, and golf outings, that usually accompanied these conferences and trade shows.

Defendants’ employees used these opportunities to discuss and share upcoming bids, specific

generic drug markets, pricing strategies and pricing terms in their contracts with customers.




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          149.   In conjunction with meetings at these conferences and trade shows, representatives

of generic drug manufacturers got together separately, in more limited groups, allowing them to

further meet face-to-face with their competitors and discuss their business. In fact, high-level

executives of many generic drug manufacturers got together periodically for what at least some of

them referred to as industry dinners.

          150.   A large number of generic drug manufacturers, including many Defendants here,

are headquartered in close proximity to one another in New York, New Jersey, and eastern

Pennsylvania, giving them easier and more frequent opportunities to meet and collude. For

example, in January 2014, at a time when the prices of a number of generic drugs were reportedly

soaring, at least thirteen high-ranking male executives, including CEOs, Presidents, and Senior

Vice Presidents of various generic drug manufacturers, met at a steakhouse in Bridgewater, New

Jersey.

          151.   Through these various interactions, Defendants’ employees were often acutely

aware of their competition and, more importantly, each other’s current and future business plans.

This familiarity and opportunity often led to agreements among competitors to fix prices or to

allocate a given market so as to avoid competing with one another on price.

          152.   Defendants also routinely communicated and shared information with each other

about bids and pricing strategy. This included forwarding bid packages received from a customer

(e.g., a Request for Proposal or “RFP”) to a competitor, either on their own initiative, at the request

of a competitor, or by contacting a competitor to request that the competitor share that type of

information. Upon information and belief, these information exchanges were made by individuals

with pricing and bidding authority and impacted the prices charges by Defendants for the Price-

Fixed Generic Drugs.




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       153.    Additionally, Defendants shared information regarding the terms of their contracts

with customers, including various terms relating to pricing, price protection, and rebates.

Defendants used this information from their competitors to negotiate higher prices or superior

terms with their customers, which was to the ultimate detriment of consumers. Again, this

information sharing was undertaken for the purpose of impacting (and increasing) Defendants and

their conspirators’ prices for the Priced Fixed Generic Drugs.

       154.    In sum, during meetings of the GPhA, HDMA, ECRM, and MMCAP, and the other

meetings described in Exhibit 1, Defendants and co-conspirators exchanged confidential,

commercially sensitive information in furtherance of the conspiracy, or agreed to fix prices, or

both of Price-Fixed Generic Drugs.

       B.      Defendants Communicated in Secret Through E-Mail, Telephone, and Text
               Messages

       155.    In addition to the in-person meetings, Defendants also communicated regularly in

furtherance of the conspiracy via e-mail, telephone, and text.

       156.    Telephone records produced to the States establish that senior sales executives and

other individuals with responsibility for pricing at Heritage had at least 513 contacts with

executives from Actavis, Apotex, Aurobindo, Citron, Dr. Reddy’s, Glenmark, Lannett, Mayne,

Par, Sandoz, Sun, Teva, and Zydus.

       157.    Similarly, senior sales executives and other individuals responsible for pricing at

Teva had at least 1,501 contacts with executives from Actavis, Apotex, Aurobindo, Citron, Dr.

Reddy’s, Glenmark, Heritage, Lannett, Mayne, Par, Sandoz, Sun, and Zydus.

       158.    Collusion is the only plausible inference to draw from the extremely high number

of competitors’ contacts revealed by Defendants’ phone records. Upon information and belief,

Defendants used these contacts to discuss the unlawful agreements alleged in this Complaint.



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       C.      The Overarching Conspiracy Between Generic Drug Manufacturers –
               Playing Nice in the Sandbox

       159.    As a result of these communications, sales and marketing executives in the generic

pharmaceutical industry are well aware of their competitors’ current and future business plans.

This reciprocal sharing of inside information greatly facilitates agreements among competitors to

allocate markets to avoid price competition.

       160.    The overarching conspiracy among generic manufacturers, however – which ties

together all of the agreements on individual drugs identified in this Complaint – is an agreed- upon

code that each competitor is entitled to its “fair share” of the market, whether that market is a

particular generic drug, or a number of generic drugs. Coined “fair share,” the term is generally

understood as an approximation of how much market share each competitor is entitled to, based

on the number of competitors in the market, with a potential adjustment based on the timing of

entry. Once a manufacturer has achieved its “fair share,” it is generally understood that the

competitor will no longer compete for additional business. The common goal or purpose of this

overarching agreement is to keep prices high, avoid price erosion and serve as the basis for further

supra-competitive price increases.

       161.    This overarching agreement is widespread across the generic drug industry and is

broader than the Defendant manufacturers named in this Complaint. This Complaint focuses on

the role of these named Defendants and their participation in, and agreement with, this overarching

conspiracy. This Complaint describes conspiracies regarding the sale of specific drugs, and how

these specific conspiracies are also part of the larger overarching conspiracy.

       162.    The exact contours of this “fair share” understanding, which has been in place for

many years (and pre-dates any of the specific conduct detailed herein), has evolved over time

during the numerous in-person meetings, telephonic communications, and other interactions



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between generic manufacturers about specific drugs. These business and social events occur with

such great frequency that there is an almost constant ability for Defendants to meet in person and

discuss their business plans. For example, between February 20, 2013 and December 20, 2013 (a

41-week period), there were at least forty-four (44) different tradeshows or customer conferences

where the Defendants had the opportunity to meet in person. These in-person meetings gave the

Defendants the opportunity and cover to have these conversations, and reach these agreements,

without fear of detection.

       163.    As described in more detail below, when necessary, this larger understanding was

reinforced through phone calls and text messages between the Defendants to discuss “fair share”

and the desire to maintain or raise prices with respect to specific drugs.        These types of

communications occur with great frequency across the industry, including among Defendants.

       164.    For example, from the period of January 1, 2013 through December 31, 2013,

senior sales executives and other individuals responsible for the pricing, marketing and sales of

generic drugs at Defendant Teva spoke to representatives of every significant competitor by phone

and/or text on multiple occasions. Phone calls and text messages with several of those key

competitors during the 2013 calendar year are set forth below. The following Table (Table 1),

which is conservative because it is based on phone and text message records from only some of

the executives and salespeople at issue, and therefore shows only some of the phone calls and text

messages between the Defendants during that period, sheds some light on the frequency with

which Defendants communicated with each other throughout 2013.




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          Teva Phone/Text Communications With Other Defendants (By Month)
                         January 1, 2013 – December 31, 2013




       165.    Of the 1,389 calls listed in Table 1, 1,234 of them – or 89% – involved Green, Patel

and Rekenthaler of Teva speaking with competitors.          Many – though not all – of those

communications involve matters that are addressed throughout this Complaint.

       166.    Similarly, from the period of January 1, 2014 through December 31, 2014, senior

sales executives and other individuals responsible for the pricing, marketing and sales of generic

drugs at Defendant Teva continued to speak to representatives of every significant competitor by

phone and/or text on multiple occasions. Phone calls and text messages with several of those key

competitors during the 2014 calendar year are set forth below. The following Table (Table 2),

which is conservative because it is based on phone and text message records from only some of

the executives and salespeople at issue, and therefore shows only some of the phone calls and text

messages between the Defendants during that period, sheds similar light on the frequency with

which Defendants communicated with each other throughout 2014.

          Teva Phone/Text Communications With Other Defendants (By Month)
                         January 1, 2014 – December 31, 2014




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       167.    Of the 941 calls listed in Table 2, 778 of them – or 83% – involved Patel and

Rekenthaler of Teva speaking with competitors (by this time, Green no longer worked at Teva).

Many – though not all – of those communications involve matters that are addressed throughout

this Complaint.

       168.    It was not just Teva personnel speaking to their competitors, however. All of these

individuals were speaking to each other, when needed, hundreds or even thousands of times to

ensure adherence to the overarching conspiracy. Because it would be too voluminous to list the

total number of calls among all of the Defendants, the following graphic shows the interlocking

web of communications and relationships between just some of the individuals employed by Teva

and its key competitors. Each line in the graphic below demonstrates that at least one phone call

or text message was sent between those individuals (identified by their initials) while they were

competitors.   For many of these individuals, there were hundreds of calls and texts with

competitors, but the volume of those communications is not captured by this graphic.




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       169.    In order to provide some organizational principle around the massive amount of

collusive behavior by the Defendants described in this Complaint, certain sections are centered

around the relationship between Defendant Teva and another conspirator.              However, this

convenience should not imply that the Complaint is solely concerned with bilateral relationships

involving Teva.

       170.    The specific drug agreements often involve overlapping sets of Defendants in

communication with each other, all following their agreed-upon “fair share” code of conduct. For

example, to view only a small portion of the interlocking, overlapping web of collusion formed by

Defendants: Teva, Taro and Wockhardt discussed amongst themselves the allocation of the

Enalapril Maleate market; Teva and Taro communicated with Sandoz concerning the prices for

Ketoconazole Cream; Sandoz worked with Mylan to allocate the market for Valsartan HCTZ;

Teva, Mylan and Par all communicated with each other in the spring of 2014 concerning the market

for Budesonide DR Capsules. These are not isolated, one-off agreements, but rather demonstrate

the ongoing, sprawling nature of the Defendants’ overarching conspiracy.

       171.    Referred to sometimes as the                         ” for the generic drug industry,

the fair share understanding among Defendants dictates that when two generic manufacturers enter

the market at the same time, they generally expect that each competitor is entitled to approximately

50% of the market. When a third competitor enters, each competitor expects to obtain 33% share;

when a fourth competitor enters, each expects 25%; and so on, as additional competitors enter the

market.

       172.    When a generic drug manufacturer is the first to enter a particular drug market on

an exclusive basis it is commonly understood that that manufacturer is entitled to a little more than

its proportional share of the market. For example, when Defendant Dr. Reddy’s was about to enter




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       175.    Although these general parameters are well-known, there is no precise method for

apportioning “fair share” because market share is ultimately determined by either winning or

maintaining the business of various customers, which is inherently variable in a given year. The

shared objective, however, is to attain a state of equilibrium, where no competitors are incentivized

to compete for additional market share by eroding price.

       176.    This common goal was stated succinctly by Aprahamian, who advised the Taro

Pricing Department in training documents from September and November 2013 that



                                                                 As demonstrated throughout the

Complaint, Aprahamian’s idea of “responsibility” meant constantly reaching out to competitors in

order to coordinate giving up share to reach a “fair” allocation and keep prices high.

       177.    This scheme to minimize competition and allocate “fair share” is typically

implemented as follows. First, Defendants allocate the market for an individual drug based on the

number of competitors and the timing of their entry so that each competitor obtains an acceptable

share of the market. Then, the competitors agree on ways to avoid competing on price and, at

times, significantly raise price. This pattern is frequently followed even in the absence of direct

communication between the competitors, demonstrating the universal code of conduct agreed to

by Defendants.

       178.    This “fair share” understanding has been particularly effective when a new

competitor enters the market – a time when, in a free-functioning, competitive market for generic

drugs, prices would be expected to go down. In today’s generic drug markets, a new competitor

will either approach or be approached by the existing competitors. Existing competitors will agree

to “walk away” from a specific customer or customers by either refusing to bid or submitting a




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cover bid. The new competitor’s transition into the market is seamless; the new entrant is ceded

market share and immediately charges a supra-competitive price. The competitors then continue

this process of dividing up customers until the market reaches a new artificial equilibrium. This is

referred to as a “stable” market.

       179.    “Fair share” principles also dictate how generic drug manufacturers respond when

a competitor experiences supply issues. If the disruption is temporary, the existing competitors

will refrain from taking any action that might upset the market balance. By contrast, if the

disruption is for a longer term, the competitors will divide up customers until each player achieves

a revised “fair share” based on the number of players remaining in the market. For example, in

July 2013, a retail pharmacy customer e-mailed Defendant Taro stating that one of Defendant

Mylan’s products was on back order and asked Taro to bid for the business. Aprahamian sent an

internal e-mail stating:




       180.    These rules about “fair share” apply equally to price increases. As long as everyone

is playing fair, and the competitors believe that they have their “fair share,” the larger

understanding dictates that they will not seek to compete or take advantage of a competitor’s price

increase by bidding a lower price to take that business. Doing so is viewed as “punishing” a

competitor for raising prices – which is against the “rules.” Indeed, rather than competing for

customers in the face of a price increase, competitors often use this as an opportunity to follow

with comparable price increases of their own.

       181.    For example, in May 2013 after a Glenmark price increase on a number of different

drugs (discussed more fully below), Teva was approached by a large retail customer requesting a




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       185.    Defendant Sandoz, in turn, uses that same terminology to refer to its competitors

that are acting in accordance with “fair share” principles. For example, in internal company

presentations throughout 2014, Sandoz consistently referred to Defendant Actavis as a

                          and Defendant Taro as a

       186.    Defendant Teva had its own term of art – referring to the competitors it had the

most collusive relationships with as “high quality” competitors. As explored more fully below,

Teva had long-standing relationships with these competitors, including several of the corporate

Defendants, which affected nearly every overlapping drug they sold. As just one example, Patel

of Teva exchanged seven (7) text messages and had two (2) long phone calls with Aprahamian of

Taro on June 3 and 4, 2014. After a lengthy twenty-five (25) minute call with Aprahamian on the

morning of June 4, Patel sent an internal e-mail to                    , a Teva senior marketing

executive, stating:




       187.    Adherence to the rules regarding “fair share” is critical in order to maintain high

prices. Indeed, that is the primary purpose of the agreement. If even one competitor does not

participate (and, thus behave in accordance with) the larger understanding, it can lead to unwanted

competition and lower prices. In the relatively few instances where a competitor prioritizes

gaining market share over the larger understanding of maintaining “fair share,” that competitor is

viewed as “irresponsible,” and is spoken to by other competitors. For example, in March 2015,

Defendant Upsher-Smith learned that Defendant Sandoz had submitted a bid for Chlorpromazine

at one of Upsher-Smith’s GPO customers.                   , a senior account manager at Upsher-




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       190.    Further, in January 2015, Defendant Teva was in discussions with a large retail

customer about the possibility of becoming its supplier for Moexipril HCL HCTZ Tablets. The

customer stated:




       191.    The “fair share” agreement is not limited to any one drug; these principles

constantly inform and guide the market actions that generic drug manufacturers decide to take (or

not take) both within and across individual-drug markets. For example, in November 2013,

Defendant Dr. Reddy’s won the “B” slot18 business at a large wholesale customer on Divalproex

ER. Dr. Reddy’s had previously won the “A” slot business at that customer because Defendant

Mylan had                   ” from the business.             , a senior account executive at Dr.

Reddy’s, sent an internal e-mail stating: “




       192.    Similarly, in October 2013, CW-1, a senior pricing executive at Sandoz, sent an

internal e-mail, including to Kellum, stating that Sandoz had decided not to bid on Haloperidol

and Trifluoperazine at a large retail customer. CW-1 explained his reasoning as follows




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                Sometimes customers contract with multiple suppliers – referring to them as
primary (“A slot”) or secondary (“B slot”) suppliers – so that in the event of a supply disruption
for a particular drug, there is a secondary source of supply.


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                  These decisions were made by Sandoz executives as a direct result of

communications between the competitors, and in the context of an ongoing understanding between

Defendants Sandoz and Mylan to fix prices and avoid competition on a number of different drugs,

including Nadolol and Benazepril HCTZ.

       193.    A similar scenario occurred in August 2015, when Defendant Taro declined to bid

on Etodolac Extended Release (ER) Tablets at a large supermarket chain where Defendant Zydus

was the incumbent. Taro voiced concerns internally that Zydus might retaliate and take share from

them on another product, Warfarin Sodium Tablets.



                                        As discussed more fully below, both Etodolac ER and

Warfarin were drugs where Taro had previously agreed with its competitors, including Teva and

Zydus, to fix prices and allocate customers in 2014. Taro’s focus on playing nice in the sandbox

was merely an extension of those already-existing agreements.

       194.    As these examples make clear, the interdependence among generic manufacturers

transcends product markets as these companies make decisions not only based on what impact

their actions will have in a given product market, but also on how those actions will impact other

product markets where the competitors overlap, and any future markets where they might

eventually compete.

       195.    In fact, as explained in more detail below, certain Defendants had long-standing

agreements with some of their competitors to limit competition on any products on which the

companies overlapped. For instance, shortly after Patel was hired by Teva in 2013, she reached

out to CW-1 and asked how Sandoz handled price increases. Patel explained that she had been




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hired by Teva to identify products where Teva could increase prices. CW-1 told Patel that Sandoz

would follow any Teva price increases and that Sandoz would not poach Teva’s customers after

Teva increased price. CW-1 reiterated his conversation to Kellum, who understood and approved.

       196.    Indeed, generic manufacturers often communicated about, and colluded on,

multiple drugs at any given time. As just one example, in July 2013, Defendant Teva increased

pricing on a list of 21 different products. There was a great deal of internal pressure from

management at Sandoz – including from Kellum and CW-1 – to obtain a copy of the Teva price

increase list. As a result, CW-2 (then a Sandoz employee) reached out to his former colleague,

Rekenthaler, the Vice President of Sales at Teva, to obtain a copy of the full Teva price increase

list. Rekenthaler forwarded the list to his own personal e- mail address before then forwarding it

to CW-2’s personal e-mail address. Upon receiving the list, CW-2 read it to his supervisor – CW-

1 – over the phone. Notably, the Teva list included a number of products that Defendant Sandoz

did not even sell.

       197.    It was not uncommon for generic manufacturers to communicate with each other

about products that they did not sell. In another example, Defendants Teva, Wockhardt, and Mylan

collusively raised pricing on Enalapril in July 2013 (discussed more fully below). After a lengthy

conversation with Patel in the midst of the price increases, Aprahamian of Taro (not in the market

for Enalapril at that time) sent an internal e-mail, including to




           . Taro then re-entered the Enalapril market and matched competitor pricing.




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         198.   In another example, on January 1, 2013 – the day before a substantial Mylan price

increase on a number of items –Green of Teva spoke five (5) times with Nesta of Mylan. The next

day, Green spoke with Kellum of Sandoz. Kellum then sent an internal e-mail to the Sandoz team




                            Despite that fact that Teva did not sell Levothyroxine, Green still

conveyed to Sandoz that Mylan raised price on that product.

         199.   Unlike their branded counterparts, generic drugs are commodities and generic

manufacturers are constantly making decisions to enter new markets and leave existing markets.

Often these decisions are made, at least in part, based on who the competitors are and how strong

the relationship is between the two companies. As one example, in July 2013, Defendant Sandoz

was looking to implement a                    that involved temporarily delisting ten products that

they overlapped on with Defendant Taro. This strategy would allow Taro to raise price on these

products while Sandoz was out of the market, and then Sandoz could re-enter later at the higher

price.

         200.   This interdependence between generic manufacturers is further demonstrated by

the countless examples of companies sharing sensitive information with competitors as a matter

of course. The States have gathered evidence going back more than a decade of generic companies

routinely communicating and sharing information with each other about bids and pricing strategy.

This includes forwarding bid packages received from a customer (e.g., a Request for Proposal or

“RFP”) to a competitor, either on their own initiative, or at the request of a competitor.

         201.   Defendants and other generic drug manufacturers also share information among

themselves regarding the terms of their contracts with customers, including pricing terms, price




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        204.   To avoid creating a potentially incriminating paper trail, Kellum of Sandoz

routinely admonished colleagues for putting information that was too blatant in e-mails,

understanding that it could lead to significant legal exposure for both the company and the

individuals involved.

        205.   It bears noting that the examples referenced in this section, and in the sections that

follow, include only illustrative examples of the types of conduct described. Indeed, to date, many

of the Defendants have made no document productions in connection with the States’ investigation

or MDL 2724, including Defendants Amneal, Apotex, Breckenridge, Glenmark, Lupin, and

Zydus, and several other Defendants have made only limited productions focused on particular

drugs or custodians, including Actavis, Mylan, Par, and Wockhardt. Even Teva, the central figure

in this Complaint, has to date only produced documents from two custodians to the States.

XI.     INDUSTRY COMMENTARY FURTHER SUGGESTS THAT DEFENDANTS’
        COLLUSIVE CONDUCT IS A PLAUSIBLE EXPLANATION FOR THE
        INCREASED PRICES OF THE PRICE-FIXED GENERIC DRUGS

        224.   Comments from industry analysts suggest manufacturers alternative explanations

for the price hikes (e.g., supply disruptions) are mere pretext, intended to shroud the Defendants’

and co-conspirators’ conspiratorial conduct and ends. For instance, Richard Evans at Sector &

Sovereign Research wrote:

               A plausible explanation [for price increases] is that generic manufacturers,
               having fallen to near historic low levels of financial performance are
               cooperating to raise the prices of products whose characteristics – low sales
               due to either very low prices or very low volumes - accommodate price
               inflation.19



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              See Ed Silverman, Generic Drug Prices Keep Rising, but is a Slowdown
Coming?, W   ALL  ST. J. (Apr. 22, 2015), available at http://blogs.wsj.com/pharmalot/2015/
04/22/generic-drug-prices-keep-rising-but-is-a-slowdown-coming/.



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       225.    One study of the generic drug industry concluded that in 2014: “292 generic

medication listings went up by 10% or more, 109 at least doubled in price and 14 went up by ten

or more times in price that year.”20 The GAO Report also noted similar “extraordinary price

increases” across many generic drugs, including Doxycycline, in recent years that could not be

linked to any particular cause.

XII.   CORPORATE AND INDIVIDUAL RELATIONSHIPS THAT ALLOWED THE
       CONSPIRACY TO EVOLVE

       226.    An important event in the evolution of the conspiracy occurred in April 2013, when

Teva took a major step toward implementing more significant price increases by hiring Nisha Patel

as its Director of Strategic Customer Marketing. In hiring Patel, Teva threw gasoline on an already

smoldering conspiracy.

       227.    In this position, Patel’s job responsibilities included, among other things: (1)

serving as the interface between the marketing (pricing) department and the sales force teams to

develop customer programs; (2) establishing pricing strategies for new product launches and in-

line product opportunities; and (3) overseeing the customer bid process and product pricing

administration at Teva.

       228.    Most importantly, she was responsible for – in her own words –



                       In that role, Patel had 9-10 direct reports in the pricing department at Teva.

One of Patel’s primary job goals was to effectuate price increases. This was a significant factor in

her performance evaluations and bonus calculations and, as discussed more fully below, Patel was

rewarded handsomely by Teva for doing it.


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                David     Belk,    MD,     Generic     Medication        Prices,    available     at
http://truecostofhealthcare.net/generic_medication_prices/.


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       229.    Prior to joining Teva, Patel had worked for eight years at a large drug wholesaler,

ABC, working her way up to Director of Global Generic Sourcing. During her time at ABC, Patel

had routine interaction with representatives from every major generic drug manufacturer, and

developed and maintained relationships with many of the most important sales and marketing

executives at Teva’s competitors.

       230.    Teva hired Patel specifically to identify potential generic drugs for which Teva

could raise prices, and then utilize her relationships to effectuate those price increases. Even before

Patel started at Teva, she was communicating with potential future competitors about the move,

and about her new role. For example, on April 2, 2013 – nearly three weeks before Patel started

at Teva – Ara Aprahamian, the Vice President of Sales and Marketing at Defendant Taro, sent an

e-mail to the Chief Operating Officer (“COO”) at Taro stating: “Nisha Going To Teva - Hush Hush

for now....” The COO responded by saying

                 Teva had, up to that point, acquired a reputation in the industry for being slow to

follow price increases, and the Taro COO viewed Patel as someone who would change that mindset

at Teva. Patel had also worked with Aprahamian several years earlier at ABC.

       231.    Patel’s last day at ABC was April 11, 2013, and she started at Teva on April 22,

2013. Patel began communicating with competitors, by phone and text, the day after she left ABC,

before she even started at Teva.

       232.    Once Patel began her employment at Teva, her communications with certain

competitors became much more systematic and frequent – and focused around market events such

as price increases, market entry, customer challenges and loss of exclusivity.




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       A.      Ranking “Quality of Competition” to Identify Price Increase Candidates

       233.    When she joined Teva, Patel’s highest priority was identifying drugs where Teva

could effectively raise price without competition. As part of her process of identifying candidates

for price increases, Patel started to look very closely at Teva’s relationships with its competitors,

and also her own relationships with individuals at those competitors. In a separate tab of the same




       234.    Patel understood – and stressed internally at Teva – that

                                                                                        Thus, it was

very important for Patel to identify those competitors who were willing to share information about

their price increases in advance, so that Teva would be prepared to follow quickly. Conversely, it

was important for Patel to be able to inform Teva’s competitors of Teva’s increase plans so those

competitors could also follow quickly. Either way, significant coordination would be required for

price increases to be successful – and quality competitors were those who were more willing to

coordinate.

       235.    As she was creating the list, Patel was talking to competitors to determine their

willingness to increase prices and, therefore, where they should be ranked on the scale. For

example, in one of her first conversations with CW-1 after Patel joined Teva, Patel told CW-1 that

she had been hired by Teva to identify drugs where Teva could increase its prices. She asked CW-

1 how Sandoz handled price increases. CW-1 told Patel that Sandoz would follow Teva’s price

increases and, importantly, would not poach Teva’s customers after Teva increased.               Not

surprisingly, Sandoz was one of Teva’s highest “quality” competitors. Patel and Teva based many




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       239.    Patel created a formula, which heavily weighted those numerical ratings assigned

to each competitor based on their “quality,” combined with a numerical score based on the number

of competitors in the market and certain other factors including whether Teva would be leading or

following the price increase. According to her formula, the best possible candidate for a price

increase (aside from a drug where Teva was exclusive) would be a drug where there was only one

other competitor in the market, which would be leading an increase, and where the competitor was

the highest “quality.” Conversely, a Teva price increase in drug market with several “low quality”

competitors would not be a good candidate due to the potential that low quality competitors might

not follow Teva’s price increase and instead use the opportunity to steal Teva’s market share.

       240.    Notably, the companies with the highest rankings at this time were companies with

whom Patel and other executives within Teva had significant relationships. Some of the notable

relationships are discussed in more detail below.

               1.     The “High Quality” Competitor Relationships

       241.    The highest quality competitors in Patel’s rankings were competitors where Teva

had agreements to lead and follow each other’s price increases.             The agreements and

understandings regarding price increases were what made each of those competitors a high quality

competitor. As part of their understandings, those competitors also agreed that they would not

seek to compete for market share after a Teva price increase.

                      (a)     Mylan (+3)

       242.    Mylan was Teva’s highest-ranked competitor by “quality.”          The relationship

between these two competitors was longstanding, and deeply engrained. It survived changes in

personnel over time, and pre-dated Patel’s creation of the quality competitor rankings.




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         243.   Kevin Green, who was employed by Teva beginning in 2006 through late October

2013, first began communicating with Jim Nesta of Mylan by telephone on February 21, 2012.

From that time until the time that Green left Teva, Green and Nesta were in almost constant

communication, speaking by phone at least 392 times, and exchanging at least twelve (12) text

messages – including at or around every significant price increase taken by either company. This

amounts to an average of nearly one call or text message every business day during this period.

         244.   Shortly after Patel started her employment at Teva, she called Nesta on May 10,

2013 and the two spoke for over five (5) minutes. Because Green had already established a

relationship with Mylan, Patel did not need to speak directly with Nesta very often. Typically,

Patel would e-mail Green and ask him to obtain market intelligence about certain Mylan drugs;

Green would then speak to Nesta – often about a long list of drugs – and report his findings back

to Patel. Several examples of these communications are outlined more fully in various sections

below.

         245.   When Green left Teva to join Zydus in late October 2013, the institutional

relationship and understanding between Teva and Mylan remained strong. Rekenthaler promptly

took over the role of communicating with Nesta. Starting in December 2013, through the time that

Rekenthaler left Teva in April, 2015, Rekenthaler spoke to Nesta 100 times. Prior to Green leaving

Teva in late- October 2013, Rekenthaler and Nesta had only spoken by phone once, more than a

year earlier in 2012.

         246.   The relationship between Teva and Mylan even pre-dated the relationship between

Green and Nesta. For example, between January 1, 2010 and October 26, 2011, Robert Cunard, a

senior executive at Teva, communicated                  , a senior executive counterpart at Mylan,

by phone or text at least 135 times. The pace of communications between the two companies




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slowed dramatically in November 2011 after Cunard left Teva and before Green began

communicating with Nesta – but continued nevertheless as needed during that time through

communications between Rekenthaler and Potter at Mylan.

                       (b)    Watson/Actavis (+3)

       247.    Actavis was Teva’s next highest quality competitor by ranking. Patel had strong

relationships with several executives at Actavis, including Rogerson, the Executive Director of

Pricing and Business Analytics, and Andy Boyer, a senior sales executive at Actavis. Rekenthaler

also communicated frequently with Allan Slavsky, a senior sales executive at Actavis – a

relationship that pre-dated Patel joining Teva.

       248.    Patel contacted Boyer shortly after she started her employment at Teva, as she was

creating the quality competitor rankings. She called him on April 30, 2013, and the two exchanged

several text messages the next day, May 1, 2013. But as detailed herein, Patel communicated on

a more frequent basis with Rogerson, her counterpart in the pricing department at Actavis. From

May 2, 2013 through November 9, 2015, Patel spoke and/or texted with Rogerson 157 times,

including calls at or around every significant price increase taken by the respective companies.

       249.    In August 2013, Defendant Marc Falkin joined Actavis and the relationship

between Teva and Actavis grew stronger through his communications with Rekenthaler. From

August 7, 2013 through the date that Rekenthaler left Teva in April, 2015, Rekenthaler and Falkin

communicated by phone or text at least 433 times.

       250.    Maureen Cavanaugh also had a very strong relationship with Falkin. The two

communicated with great frequency. From August 7, 2013 through the end of May 2016,

Cavanaugh and Falkin spoke or texted with each other 410 times.




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                      (c)       Sandoz (+3)

        251.   Sandoz was also considered a top-quality competitor by Teva. Patel had a very

strong relationship with CW-1 at Sandoz.

        252.   Beginning on April 12, 2013 – the day after Patel’s last day at ABC – until August

2016, Patel and CW-1 spoke 185 times by phone, including at or around every significant price

increase taken by either company. As detailed above, in one of her initial calls with CW-1 after

she joined Teva, Patel asked CW-1 how Sandoz handled price increases. Patel explained that she

had been hired at Teva to identify products where Teva could increase prices. CW-1 reassured

Patel that Sandoz would follow any Teva price increases on overlapping drugs, and that Sandoz

would not poach Teva’s customers after Teva increased price.

        253.   Green and Rekenthaler of Teva also both had a very strong relationship with CW-

2, who was – at that time – a senior Sandoz executive. These relationships pre-dated Patel joining

Teva.

                      (d)       Glenmark (+3)

        254.   Glenmark was one of Teva’s highest-ranked competitors primarily because Patel

had very significant relationships with several different individuals at Glenmark, including CW-5,

Brown and Jessica Cangemi, a sales and marketing executive at Glenmark.

        255.   As stated above, Patel began communicating with CW-5 even before she began her

employment at Teva. Patel was also communicating frequently with both CW-5 and Cangemi

during the time she created the quality competitor rankings, and agreed to follow several Glenmark

price increases, in May 2013.

        256.   Patel and CW-5 communicated by phone with great frequency – including at or

around the time of every significant price increase affecting the two companies – until CW-5 left

Glenmark in March 2014, at which point their communication ceased for nearly six (6) months.


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After CW-5 left Glenmark, Patel began communicating with Brown with much greater frequency

to obtain competitively sensitive information from Glenmark. Patel and Brown had never spoken

by phone before Patel started at Teva, according to the phone records produced.

                      (e)     Taro (+3)

       257.    Taro was highly rated because of Patel’s longstanding relationship with the Vice

President of Sales at Taro, Defendant Ara Aprahamian. Patel had known Aprahamian for many

years, dating back to when Patel had started her professional career as an intern at ABC.

       258.    Even though she knew Aprahamian well, they rarely ever spoke or texted by phone

until Patel started at Teva. From April 22, 2013 through March 2016, however, Patel and

Aprahamian spoke or texted at least 100 times, including calls or text messages at or around the

time of every significant price increase affecting the companies during those years.

                      (f)     Lupin (+2)

       259.    Although initially not the highest ranked competitor, Lupin was assigned a high

rating because of Patel’s strong relationship with David Berthold, the Vice President of Sales at

Lupin. The relationship between Teva and Lupin, however, pre-dated Patel. Prior to Patel starting

at Teva, Green and others at Teva conspired directly with Berthold. Between January 2012 and

October 2013, Berthold and Green, for example, communicated by phone 125 times.

       260.    From May 6, 2013 through April 8, 2014, Patel and Berthold communicated by

phone 76 times, including at or around the time of every significant drug price increase where the

two companies overlapped.

       261.    Demonstrating the strength of the relationship between the two companies, the

price increase coordination continued between Defendants Teva and Lupin even when Green had

left Teva and when Patel was out on maternity leave. For example, in October 2013, Lupin was

preparing to increase its pricing on the drug Cephalexin Oral Suspension. Without Green or Patel


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to communicate with, Berthold instead communicated with Rekenthaler and Sherman-Mouro of

Teva in order to coordinate the price increase.

       B.      Individual Relationships

       262.    In addition to the corporate relationships discussed above, individual relationships

were also important to the conspiracy’s evolution.       The following sections discuss certain

individuals who held senior positions at certain Defendants and who played key roles in the

conspiracy’s operation.

               1.      Ara Aprahamian

       263.    Aprahamian is the Vice President of Sales at Defendant Taro and has held that

position since he moved to Taro from Actavis in March 2013.                Aprahamian regularly

communicated with competitors, including with several of his former colleagues at Actavis, and

has established relationships with individuals at many of the corporate Defendants. For example,

between March 2013 and October 2018, Aprahamian exchanged at least 706 phone calls and text

messages with his contacts at Defendants Sandoz, Glenmark, Teva, Dr. Reddy’s, Actavis, Mylan,

Wockhardt, Lannett, Amneal, Aurobindo, and Greenstone.

               2.      David Berthold

       264.    Berthold is the Vice President of Sales at Defendant Lupin and has held that

position since June 2006. During his tenure at Lupin, Berthold has been the primary person at the

company communicating with competitors. Indeed, Berthold has relationships with individuals at

many of the corporate Defendants and is one of the most prolific communicators of all the

individual participants. For example, between March 2011 and October 2018, Berthold exchanged

at least 4,185 phone calls and text messages with his contacts at Defendants Aurobindo, Glenmark,

Actavis, Wockhardt, Zydus, Teva, Breckenridge, Mylan, Sandoz, Dr. Reddy’s, Amneal, Lannett,

and Greenstone.


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              3.      Jim Brown

       265.   Brown is the Vice President of Sales at Defendant Glenmark and has held that

position since November 2012. Brown was one of several Glenmark executives that conspired

with competitors. Although not as prolific in his communications with competitors as some of the

other individuals, he did communicate when necessa1y to further the agreements. For example,

between June 2012 and August 2018, Brown exchanged at least 395 calls and text messages with

his contacts at Defendants Actavis, Teva, Lupin, Amneal, Wockhardt, Breckenridge, Lannett,

Sandoz, Aurobindo, Zydus, Par, Apotex, and Taro.

              4.      Maureen Cavanaugh

       266.   Cavanaugh was the Senior Vice President and Commercial Officer, North America,

at Defendant Teva until April 2018. She is currently the Senior Vice President and Chief

Commercial Officer at Defendant Lannett. During her employment at Teva, Cavanaugh knew that

her subordinates were communicating with competitors about pricing and customer allocation. In

addition, Cavanaugh maintained her own relationships with certain competitors and coordinated

with them directly when necessary to further the agreements. For example, between January 2011

and August 2017, Cavanaugh exchanged at least 612 phone calls and text messages with her

contacts at Defendants Actavis, Amneal, Zydus, Sandoz, Glenmark, and Greenstone.

              5.      Marc Falkin

       267.   Falkin was the Vice President of Marketing, Pricing and Contracts at Defendant

Actavis until Actavis was acquired by Teva in August 2016. For a period of time, Falkin was also

the Senior Vice President, US Generic Sales, at Teva. During his employment at Actavis, which

is the focus of this Complaint, Falkin was a prolific communicator and had established

relationships with executives at many of the corporate Defendants. For example, between August

2013 and July 2016, Falkin exchanged at least 2,562 phone calls and text messages with his


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contacts at Defendants Zydus, Teva, Glenmark, Lannett, Aurobindo, Mylan, Lupin, Par, Apotex,

Taro, Amneal, Sandoz, Wockhardt, and Greenstone.

              6.     Jim Grauso

       268.   Grauso was employed as a Senior Vice President of Commercial Operations at

Defendant Aurobindo until January 2014.      In February 2014, Grauso moved to Defendant

Glenmark and currently holds the position of Executive Vice President, North America,

Commercial Operations. Grauso regularly communicated with competitors while he was at

Aurobindo and continued those relationships when he transferred to Glenmark. For example,

between December 2011 and January 2014, Grauso exchanged at least 1,763 phone calls and text

messages with his contacts at Defendants Lupin, Teva, Actavis, Taro, Zydus, Amneal, Glenmark,

Wockhardt, Breckenridge, and Greenstone.

       269.    Similarly, after moving to Glenmark, Grauso continued to communicate frequently

with his contacts at competitor companies, including his former colleagues at Aurobindo. For

example, between February 2014 and October 2018, he exchanged at least 2,018 phone calls and

text messages with his contacts at Defendants Lupin, Aurobindo, Zydus, Teva, Taro, Wockhardt,

Sandoz, Dr. Reddy’s, Amneal, Rising, Par, Breckenridge, Upsher-Smith, Mylan, and Greenstone.

              7.     Kevin Green

       270.   Green worked at Defendant Teva as a Director of National Accounts until

November 2013 when he took a position with Defendant Zydus. Green is currently the Vice

President of Sales at Zydus. Green developed a number of relationships with individuals at many

of the corporate Defendants. He regularly communicated with competitors while at Teva and then

carried those relationships over to his time at Zydus. For example, between January 2010 and

October 2013, Green exchanged at least 1,410 phone calls and text messages with his contacts at




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Defendants Zydus, Mylan, Dr. Reddy’s, Aurobindo, Lupin, Sandoz, Breckenridge, Wockhardt,

Lannett, and Greenstone.

       271.   Similarly, when Green became employed at Zydus, he continued to communicate

frequently with competitors, including with his former colleagues at Teva. For example, between

November 2013 and August 2018, Green exchanged at least 969 phone calls and text messages

with his contacts at Defendants Teva, Glenmark, Mylan, Lupin, Aurobindo, Rising, Amneal,

Sandoz, Lannett, Dr. Reddy’s, and Greenstone.

              8.      Armando Kellum

       272.   Kellum was the Director of Pricing and Contracts at Defendant Sandoz until July

2015. While at Sandoz, Kellum directed his subordinates, including CW-1, CW-2, CW-3, and

CW-4, to enter into price fixing and market allocation agreements with competitors. In addition,

Kellum had his own relationships with certain competitors and communicated with those contacts

directly when necessary to further the agreements. For example, between May 2011 and April

2015, Kellum exchanged at least 182 phone calls and text messages with his contacts at Defendants

Lupin, Teva, Upsher-Smith, Zydus, Actavis, Amneal, Dr. Reddy’s, and Greenstone.

              9.      Jill Nailor

       273.   Nailor has worked at Greenstone since August 2010 and is currently the Senior

Director of Sales and National Accounts. Nailor directed her subordinate              , a national

account executive, and others at Greenstone to fix prices and allocate customers with competitors

on overlap drugs, including with several of the Defendants. She also instructed them to avoid

putting any evidence of such communications into writing.

       274.   In addition, Nailor regularly communicated directly with competitors herself. For

example, between August 2010 and May 2017, Nailor exchanged at least 4,439 phone calls and

text messages with her contacts at Defendants Amneal, Dr. Reddy’s, Actavis, Aurobindo, Mylan,


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Glenmark, Zydus, Teva, Sandoz, Lupin, Wockhardt, Lannett, Apotex, Upsher-Smith, Par, and

Taro.

               10.    James Nesta

        275.   Nesta started his employment with Mylan in 2000 and is currently the Vice

President of Sales at Defendant Mylan. Nesta communicates regularly with his counterparts at

many of the corporate Defendants. For example, between January 2011 and February 2016, Nesta

exchanged at least 5,293 phone calls and text messages with his contacts at Defendants Amneal,

Teva, Dr. Reddy’s, Zydus, Aurobindo, Actavis, Lupin, Sandoz, Lannett, Taro, Par, and

Greenstone.

               11.    Konstantin Ostaficiuk

        276.   Ostaficiuk is the President of Defendant Camber and has held that position since

2009. During his tenure at Camber, Ostaficiuk has been the primary person responsible for

furthering price fixing and market allocation agreements with his competitors. Indeed, Ostaficiuk

regularly communicated with competitors and maintained relationships with executives at many

of the corporate Defendants. For example, between March 2011 and August 2017, Ostaficiuk

exchanged at least 464 phone calls with his contacts at Defendants Amneal, Lannett, Breckenridge,

Aurobindo, Lupin, Teva, Breckenridge, Taro, Glenmark, Zydus, Dr. Reddy’s, Wockhardt, Sandoz,

and Actavis.

               12.    Nisha Patel

        277.   Patel worked at Defendant Teva from April 2013 to December 2016, first as a

Director of Strategic Customer Marketing and then as a Director of National Accounts. As

discussed in great detail above, Patel was in frequent communication with her counterparts at the

corporate Defendants to fix prices and allocate markets. For example, during her time at Teva,

Patel exchanged at least 1,240 phone calls and text messages with her contacts at Defendants


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Zydus, Sandoz, Actavis, Glenmark, Taro, Lupin, Dr. Reddy’s, Lannett, Par, Apotex, Aurobindo,

Mylan, Amneal, Upsher-Smith, Breckenridge, and Greenstone. As discussed in various sections

of this Complaint, Patel also frequently communicated with competitors using Facebook

Messenger, LinkedIn messaging, and the encrypted messaging application WhatsApp.

              13.    David Rekenthaler

       278.   Rekenthaler was the Vice President of Sales, US Generics at Defendant Teva until

April 2015. Rekenthaler is now the Vice President of Sales at Defendant Apotex. During his time

at Teva, Rekenthaler knew that his colleagues, including Green and Patel, were colluding with

competitors. Indeed, Rekenthaler was also in frequent contact with competitors himself and had

relationships with executives at nearly all the corporate Defendants. For example, between

January 2011 and March 2015, Rekenthaler exchanged at least 1,044 phone calls and text messages

with his contacts at Defendants Actavis, Mylan, Par, Aurobindo, Apotex, Zydus, Sandoz, Rising,

Amneal, Breckenridge, Lupin, Dr. Reddy’s, Glenmark, Taro, Lannett, Wockhardt, and

Greenstone.

              14.    Rick Rogerson

       279.   Rogerson was the Executive Director of Pricing and Business Analytics at

Defendant Actavis until Actavis was acquired by Teva in August 2016. Rogerson now works at

Defendant Amneal as a Senior Director of Marketing and Business Analytics. During his time at

Actavis, Rogerson communicated with his contacts at several corporate Defendants. For example,

between February 2010 and July 2016, Rogerson exchanged at least 635 phone calls and text

messages with his contacts at Defendants Wockhardt, Teva, Dr. Reddy’s, Sandoz, Lannett,

Glenmark, Taro, and Zydus.




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               15.     Tracy Sullivan

       280.    Defendant Tracy Sullivan has been employed at Defendant Lannett since 2007 and

is currently the Director of National Accounts. Sullivan regularly communicated with competitors

and maintained relationships with executives at many of the corporate Defendants. For example,

between March 2011 and August 2016, Sullivan exchanged at least 495 phone calls and text

messages with her contacts at Defendants Zydus, Wockhardt, Teva, Dr. Reddy’s, Par, Amneal,

Aurobindo, Mylan, Breckenridge, and Greenstone.

XIII. THE CONSPIRATORIAL PRICE-FIXING, BID-RIGGING, & MARKET
      ALLOCATION AGREEMENTS

       281.    As a result of their frequent in-person meetings and the collusive communications

that ensued as a result of these meetings via e-mail, telephone, and text messages, Defendants and

their co-conspirators were able to implement, and did implement, radical, extraordinary, and

abrupt price increases on many of the Price-Fixed Generic Drugs identified in this Complaint.

       282.    There were no market-based justifications for any of the abrupt price increases

described below. The increases in price were not necessitated by increased manufacturing costs,

or research and development costs. Federal law requires drug manufacturers to report potential

drug shortages to the FDA, and no supply disruption was reported during the duration of the

alleged conspiracy as to any of the Price-Fixed Generic Drugs (except where expressly alleged

below). Similarly, during the time frame relevant to these allegations, there were no known raw

material shortages affecting the manufacture of any of the Price-Fixed Generic Drugs in the United

States, nor did demand for any of these drugs suddenly increase.

       283.    Each of the conspiratorial price increases would have been against each

Defendant’s self-interest if taken unilaterally and without advance agreement. As the last 30 years

of generic drug pricing has demonstrated, in a competitive industry, a firm would cut its price with



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the expectation of increasing its market share if its competitors were setting prices above marginal

costs.

         284.    This economic reality is further compelled by the existence of MAC prices. As

noted above, a MAC price represents the upper limit that a prescription drug payor will pay a

pharmacy for a generic drug. Payors set the MAC price of a drug based on a variety of factors

including, most significantly, the lowest acquisition cost for each generic drug paid by retail

pharmacies purchasing from a wholesaler for each of a drug’s generic versions. MAC pricing

effectively requires pharmacies to purchase the least costly version of a generic drug available in

the market, without regard to the manufacturer’s list price.

         285.    MAC pricing also incentivizes an individual generic manufacturer to refrain from

unilaterally increasing its prices. Because MAC pricing bases reimbursement on the generic

drug’s lowest acquisition cost, a generic manufacturer that increases its price for a drug while

competing manufacturers do not will swiftly lose sales to a competing generic manufacturer whose

price remains constant.

         286.    Given the existence of MAC pricing and the fact that AB-rated generic drugs are

bioequivalent to both the branded version and also to other AB-rated generic versions of the same

drug, Plaintiffs base their purchasing decisions almost exclusively on price.          Due to this

homogeneity, there is a very high cross-elasticity of demand for generic drugs from different

manufacturers.

         287.    Consequently, in the absence of coordinated pricing activity among generic

manufacturers, an individual generic manufacturer cannot significantly increase its price without

incurring the loss of a significant volume of sales, and the price increases of the Price-Fixed

Generic Drugs described in this Complaint were against each Defendant’s individual self-interest.




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       288.    While drug-specific agreements involve those Defendants that marketed and sold

the particular drug, each Defendant, including the Defendants who did not manufacture the

particular drug involved in each drug-specific agreement, was also a party to the broader,

overarching conspiracy to abide by the “fair share” agreement covering all of the drugs that are

the subject of this Complaint. From this broad agreement among all Defendants sprang additional

agreements among the manufacturers relating to each of the individual drugs. The purpose and

effect of all of these agreements was to lessen competition in the markets for each drug and

throughout the industry.

       289.    When entering a generic drug market, Defendants routinely and systematically

sought out their competitors in an effort to reach agreement to allocate market share, maintain high

prices and/or avoid competing on price. These agreements had the effect of artificially maintaining

high prices for a large number of generic drugs and creating an appearance of competition where

in fact little to none existed. Some illustrative examples of these agreements are set forth below,

describing specific examples relating to specific drugs over time.

       290.    As evident from the many examples below, the overarching “fair share” conspiracy

was well established in the industry by 2012, including among each of the Defendants. Generic

manufacturers replaced competition with coordination in order to maintain their fair share of a

given generic drug market and avoid price erosion. The structure and inner workings of the

agreement were well understood and adopted throughout the industry.

       291.    As further detailed below, manufacturers eventually began to focus more on price

increases than they had in the past. They were no longer satisfied to simply maintain prices at

already supracompetitive levels – there was a concerted effort by many in the industry to




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significantly raise prices. Manufacturers started communicating with each other about those

increases with greater and greater frequency.

       292.    A troubling pattern began to emerge. Starting sometime in 2012 or even earlier,

and continuing for several years, competitors would systematically communicate with each other

as they were identifying opportunities and planning new price increases, and then again shortly

before or at the time of each increase. The purpose of these communications was not only to secure

an agreement to raise prices, but also to reinforce the essential tenet underlying the fair share

agreement – i.e., that they would not punish a competitor for leading a price increase, or steal a

competitor’s market share on an increase. There was an understanding among many of these

generic drug manufacturers – including the Defendants – that a competitor’s price increase be

quickly followed; but even if it could not, the overarching conspiracy dictated that the competitors

who had not increased their prices would, at a minimum, not seek to take advantage of a

competitor’s price increase by increasing their own market share (unless they had less than “fair

share”).

       293.    It is important to note that generic drug manufacturers could not always follow a

competitor’s price increase quickly. Various business reasons – including supply disruptions or

contractual price protection terms with certain customers that would result in the payment of

significant penalties – could cause such delays.      In those instances when a co-conspirator

manufacturer delayed following a price increase, the underlying fair share understanding operated

as a safety net to ensure that the competitor not seek to take advantage of a competitor’s price

increase by stealing market share.

       294.    The following examples of drug-specific collusion, set forth alphabetically by drug,

demonstrate how the conspiracy pervaded the entire industry.




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       A.      Acetazolamide

       295.    Acetazolamide is sold in at least two formulations – tablets (manufactured by Taro

and Lannett) and sustained release capsules (manufactured by Heritage, Zydus, and Teva).

               1.     Acetazolamide Tablets

       296.    The market for Acetazolamide tablets is dominated by Taro and Lannett. Since at

least the spring of 2012, Taro and Lannett have coordinated pricing and market share on

Acetazolamide tablets.

       297.    These tablets come in two dosages: 125 mg and 250 mg. Both Taro and Lannett

make the 250 mg dosage, which is the predominant form. While only Taro makes the 125 mg

dosage, this formulation appears to be included in the agreement between Taro and Lannett to

elevate the prices of Acetazolamide.

       298.    In mid-2012, Taro and Lannett imposed list price increases of 40% to 50%, and

brought list prices for Acetazolamide 250 mg tablets to identical levels.

       299.    By mid-2013, Taro and Lannett appeared to have worked out a remarkably stable

split of the market, taking into account both 125 mg tablets and 250 mg tablets.

       300.    In late 2013, within weeks of each other, Taro and Lannett imposed identical list

prices for Acetazolamide 250 mg tablets. The increases were well over 200%. Taro imposed a

similarly large list price increase on 125 mg tablets around this time. Average wholesale prices

for both products increased dramatically.

       301.    Throughout these coordinated increases, Lannett and Taro captured stable shares

of the 250 mg table market. Lannett claimed approximately 56% and Taro claimed 44%. Taro

was the lone manufacturer of 125 mg tablets and had 100% of sales of that dosage. Interestingly,




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the total dollar sales across both products was virtually identical. Lannett’s larger share of the 250

mg tablet market was offset by Taro’s sales of 125 mg tablets.

       302.    Taro and Lannett’s ability to reach market share and price increase agreements was

aided by the prevalence of trade association events and conferences where the parties were able to

meet in person. For example, in August 2013, not long before the large price increases imposed

by Taro and Lannett, both Defendants attended the NACDS Total Store Expo in Las Vegas.

               2.      Acetazolamide Capsules

       303.    During the relevant time period, Heritage, Teva, and Zydus sold generic

Acetazolamide capsules to Plaintiffs and others in the United States at supracompetitive prices

inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       304.    In April 2014, Malek of Heritage discussed the possibility of a collusive price

increase on Acetazolamide with a senior sales executive at Teva, Nisha Patel (“Patel”). (Heritage

and Teva controlled almost 80% of the market for Acetazolamide.) During an April 15, 2014

phone call, Malek and the Teva sales executive, Patel, agreed that Heritage would lead the price

increase (which would be approximately 75%) and Patel would communicate the details of the

price increase to the sales executive at Zydus                              who was responsible for

Acetazolamide.

       305.    On April 16, 2014, the sales executives responsible for Acetazolamide at Teva and

Zydus (Patel and         ) discussed the collusive price increase by phone for approximately 20

minutes (on April 16) and for 12 minutes (on April 17).

       306.    On April 24, 2014, Malek reached out to            o, the Zydus sales executive, via

LinkedIn, and the two communicated the next day about the Acetazolamide price increase as well.




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       307.    In order to ensure that the price increase was successful, Heritage, Zydus, and Teva

agreed that they would not underbid each other’s Acetazolamide business while they implemented

the price increase. Malek and          confirmed this agreement with each other by telephone on

May 7, 2014.

       308.    On June 26, 2014, as agreed with Zydus and Teva, Heritage began notifying its

customers that it was increasing prices of Acetazolamide by approximately 75%. Heritage fully

implemented this price increase on all its major accounts (at least 17 customers) by July 9, 2014.

       309.    Following Heritage’s lead, Zydus and Teva increased prices of Acetazolamide by

approximately 75% as well.

       B.      Albuterol

       310.    The market for Albuterol is mature, as Albuterol has been available in the United

States for over twenty-five years. The World Health Organization (“WHO”) includes Albuterol

on its list of essential medicines. During the relevant time period, Mylan sold Albuterol pursuant

to an ANDA approved by the FDA in or around January 1991. Sun (either directly or through its

subsidiary Mutual) sold Albuterol to purchasers pursuant to ANDAs that were approved by the

FDA in or around December 1989. Both Mylan and Sun sold Albuterol to Plaintiffs and others in

the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint

       311.    At all times relevant to this lawsuit there has been more than one manufacturer of

Albuterol on the market. Defendants Mylan and Sun dominate the market for Albuterol.

       312.    For more than two years prior to the conspiracy period, Defendants’ average price

in the U.S. for Albuterol was remarkably stable. Beginning in March 2013, the prices rose abruptly

and, for the most part, in unison.




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       317.   On April 20-23, 2013, NACDS held its 2013 Annual Meeting in Palm Beach,

Florida. NACDS’s 2013 Annual Meeting was attended by representatives from Mylan and Sun.

See Ex. 1.

       318.   On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. This meeting

was attended by representatives from Mylan and Sun. See Ex. 1.

       319.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center in Las Vegas, Nevada. This conference was attended by representatives from

both Mylan and Sun. See Ex. 1.

       320.   In 2014, 2015, and 2016, Defendants continued to regularly attend trade association

meetings, conferences and events, including: (i) the February 19-21, 2014 GPhA Annual Meeting

in Orlando, Florida; (ii) the April 26-29, 2014 NACDS Annual Meeting in Scottsdale, Arizona;

(iii) the June 1-4, 2014 HDMA BLC in Phoenix, Arizona; (iv) the June 3-4, 2014 GPhA meeting

in Bethesda, Maryland; (v) the August 23-26, 2014 NACDS Total Store Expo in Boston

Massachusetts; (vi) the October 27-29, 2014 GPhA meeting in Bethesda, Maryland; (vii) the

February 9-11, 2015 GPhA Annual Meeting in Miami, Florida; (viii) the April 14, 2015 HDMA

Seventh Annual CEO Roundtable Fundraiser in New York, New York; (ix) the April 25-28, 2015

NACDS Annual Meeting in Palm Beach, Florida; (x) the June 7-10, 2015 HDMA BLC in San

Antonio, Texas; (xi) the June 9-10, 2015 GPhA meeting in Bethesda, Maryland; (xii) the August

22-25, 2015 NACDS Total Store Expo in Denver, Colorado; (xiii) the April 12, 2016 HDMA

Eighth Annual CEO Roundtable Fundraiser in New York; (xiv) the April 16-19, 2016 NACDS

2016 Annual Meeting in Palm Beach, Florida; (xv) the June 12-16, 2016 HDMA BLC in Colorado

Springs, Colorado; and (xvi) the August 6-9, 2016 NACDS 2016 Total Store Expo in Boston,

Massachusetts.




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       C.      Amiloride HCL/HCTZ

       321.    The market for Amiloride HCL/HCTZ is mature, as the drug has been available in

generic form for more than thirty years to treat edema and hypertension. Moduretic 5-50, the

branded version of Amiloride HCL/HCTZ was patented by Merck prior to 1982.

       322.    At all times relevant to this lawsuit there has been more than one manufacturer of

Amitriptyline on the market. Defendants Mylan and Teva dominate the market for Amiloride

HCL/HCTZ.

       323.    Prior to June 2011, Amiloride HCL/HCTZ were stable at just a few cents per dose.

However, in Summer 2011, Mylan and Teva – applying their common understanding of the Fair

Share overarching agreement – conspired to implement an abrupt and substantial price increase of

more than 300%.

       324.    Mylan and Teva continued to conspire to stabilize and maintain this

supracompetitive price increase. Indeed, after Nisha Patel arrived at Teva, the Defendants targeted

Amiloride HCL/HCTZ for additional price increases in 2013 and 2014. As a result of this

collusion, by 2014, Teva and Mylan were able to charge prices for Amiloride that were up to 700%

higher than they were prior to June 2011.

       325.    These price increase were coordinated by telephone and in-person communications

by high-level sales executives at Teva and Mylan, including Patel, Rekentheler, and Green of Teva,

and James Nesta and Robert Potter of Mylan.

       326.    As a result of these collusive communications, Defendants continue to charge

supracompetitive prices for Amiloride HCL/HCTZ as of the filing of this Complaint.




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       D.        Amitriptyline

       327.      The market for Amitriptyline is mature, as Amitriptyline has been available in the

United States for over sixty years. Amitriptyline is on the WHO’s List of Essential Medicines.

During the relevant time period, Defendants Mylan, Par, and Sandoz sold Amitriptyline to

Plaintiffs and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

       328.      At all times relevant to this lawsuit there has been more than one manufacturer of

Amitriptyline on the market. Defendants Mylan, Par, and Sandoz dominate the market for

Amitriptyline.

       329.      In the years prior to the conspiracy period, Defendants’ average price in the U.S.

for Amitriptyline were remarkably stable. Beginning in May 2014, Defendants increased their

prices abruptly and, for the most part, in unison. Average prices for Amitriptyline increased 300%

to nearly 2,000% across dosage strengths. The Financial Times reported on May 12, 2015 that the

$1.07 price for a 100 mg pill of Amitriptyline “jumped by 2,487 per cent in under two years”

noting that “in July 2013, the same pill cost just 4 cents.”22 The Boston Globe similarly reported:

“The cost of the antidepressant drug Amitriptyline jumped 2,475 percent, from 4 cents for a 10-

milligram pill in 2014 to $1.03 in 2015.”23




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       22
              David Crow, Teva bids for Mylan amid pressure on copycat drugmakers, The
Financial Times (May 12, 2015), available at https://wvv\:v.ft.com/content/8ff2fc5a-f5 l 3-l l e4-
8a42-00l44feab7de.
       23
              Priyanka Dayal McCluskey, As competition wanes, prices.for generics skyrocket,
The Boston Globe (Nov. 6, 2015), available at https://www.bostonglobe.com/business
/2015/11/06/generic-drug-price-increases-alarm-insurers-providers-andconsumers/l-13 iA9CSxA
UylnCdGjLNKVN/story.html.


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furthered at least in part, through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described below.

       334.    For example, on February 20-22, 2013, GPhA held its 2013 Annual Meeting in

Orlando, Florida. GPhA’s 2013 Annual Meeting was attended by representatives of Sandoz,

Mylan, and Par, including key executives such as Mylan’s President, Tony Mauro and Sandoz’s

President, Don DeGolyer. See Ex. 1.

       335.    On June 2-5, 2013, the HDMA held a Business Leadership Conference (“BLC”) in

Orlando, Florida that was attended by representatives from Sandoz, Mylan, and Par, including key

executives for generics prices and sales. For example, all three Defendants sent their National

Account Directors. See Ex. 1.

       336.    On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Defendants Mylan, Par, and Sandoz. See Ex. 1.

       337.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center in Las Vegas, Nevada. NACDS’s August 2013 Total Store Expo was attended

by representatives from Mylan, Par, and Sandoz. See Ex. 1.

       338.    On October 28-30, 2013, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Mylan, Par, and Sandoz. See Ex. 1.

       339.    On December 3, 2013, NACDS held its 2013 Foundation Reception & Dinner that

was attended by representatives from Defendants Mylan and Sandoz. See Ex. 1.

       340.    On February 19-21, 2014, GPhA held its Annual Meeting in Orlando, Florida that

was attended by representatives from Defendants Mylan, Sandoz, and Par. See Ex. 1.

       341.    On April 1, 2014, the HDMA held its Sixth Annual CEO Roundtable Fundraiser in

New York City that was attended by representatives of Mylan and Sandoz. See Ex. 1.




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       342.    On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

NACDS’s 2014 annual meeting was attended by representatives from Mylan, Sandoz, and Par.

See Ex. 1.

       343.    On June 1-4, 2014, the HDMA held a BLC at the JW Marriott Desert Ridge in

Phoneix, Arizona. The June 1-4, 2014 BLC was attended by representatives from Mylan, Sandoz,

and Par. See Ex. 1.

       344.    On June 3-4, 2014, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Mylan, Par, and Sandoz. See Ex. 1.

       345.    On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center in Boston, Massachusetts. NACDS’s August 2014 Total Store Expo was

attended by representatives from Mylan, Sandoz, and Par. See Ex. 1.

       346.    On October 27-29, 2014, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Mylan, Par, and Sandoz. See Ex. 1.

       347.    On December 3, 2014, NACDS held its 2014 Foundation Reception & Dinner that

was attended by Mylan and Sandoz employees. See Ex. 1.

       348.    The price increases on Amitriptyline closely followed Mylan, Sandoz, and Par’s,

participation in the February 2014 GPhA Annual Meeting and their participation in the April 2014

Annual Meeting of the NACDS in Scottsdale, Arizona.

       349.    In 2015 and 2016, representatives of Mylan, Sandoz, and Par continued to regularly

attend trade association meetings and events.

       E.      Amphetamine/Dextroamphetamine

       350.    Amphetamine/Dextroamphetamine Immediate and Extended Release, also known

by the brand name Adderall, is a medication used in the treatment of attention deficit hyperactivity




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        355.   The customer that had sought a price reduction from Teva in April 2012 was not

among those named by Actavis as its targets.

        356.   Upon learning which customers Actavis wanted,               warned colleagues that

this allocation of market share could be tricky. She cautioned that if Teva decided to concede a

particular wholesaler to Actavis, it needed to be             that the wholesaler also did product

warehousing for a different customer whose business Actavis was not soliciting.

        357.   One year later, Teva’s customer renewed its request for a price reduction on MAS-

XR, citing Actavis’s desire to gain a share of the customer’s business for the drug. On May 7,

2013,          informed the customer that Teva would agree to revise its price in order to retain

100% of the customer’s business. She made it clear that Teva had already conceded an appropriate

amount of business to its competitor. She stated:




        358.   Also in 2012, Mallinckrodt entered the market for MAS-IR and sought to add share.

In internal documents, Teva acknowledged that it had willinglyly conceded a number of accounts

to Mallinckrodt, the new competitor, which was wholly consistent with the Fair Share agreement.

        359.   In March 2014, Aurobindo was making plans to enter the market with its MAS-IR

product. On March 18, 2014, Teva’s             shared with her colleagues that Aurobindo’s market

share target for the impending launch was 10%. Teva’s senior marketing operations executive,

           indicated that Teva was aware that both Aurobindo and Actavis were launching.

        360.   A flurry of telephone communications between Teva and these two competitors

took place on the days surrounding the foregoing e-mail. The day before, on March 17, 2014,

Patel had spoken to Actavis’s Director of Pricing, Rick Rogerson, three (3) times. Rekenthaler and




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Falkin of Actavis also spoke once on that day. On March 18, 2014, the day of the e-mail,

Rekenthaler and         , a senior-most executive at Aurobindo, had a thirty (30) minute telephone

conversation. Rekenthaler and Falkin spoke again seven (7) times on March 20, 2014.

       361.     On April 16, 2014, Teva received word from a customer that a new competitor in

the market had offered a lower price than Teva’s current price for MAS-IR. Patel informed

            that the challenge was coming from Actavis and recommended that Teva concede that

customer’s account. At 1:43 pm, she communicated to another colleague that the decision had

been made to concede. Apparently closing the loop, she called Rogerson at Actavis at 1:55 pm.

They spoke for just over four (4) minutes.

       362.     As a result of these collusive communications, Actavis, Aurobindo, Impax,

Mallinckrodt, Sandoz, and Teva were able to charge fix prices for both MAS-XR and MAS-IR,

and those supracompetitive prices persist as of the filing of this Complaint.

       F.       Baclofen

       363.     The market for Baclofen is mature, as Baclofen has been available in the United

States for nearly 50 years. During the relevant time period and continuing today, Defendant

Lannett sells Baclofen pursuant to an ANDA that was approved by the FDA in or around July

2007 and Defendant Par sells Baclofen pursuant to ANDAs approved by the FDA in or around

August 2005. Teva sells Baclofen pursuant to ANDAs approved in February 1992, and Upsher-

Smith sells Baclofen pursuant to ANDAs approved in May 1988 and August 1996. Lannett, Par,

Teva, and Upsher-Smith each sold Baclofen to Plaintiffs and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.




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       364.    At all times relevant to this lawsuit, there has been more than one manufacturer of

Baclofen on the market. Defendants Lannett, Par, Teva, and Upsher-Smith dominate the market

for Baclofen. In the years prior to the conspiracy period, Defendants’ average price in the U.S. for

Baclofen was remarkably stable. Beginning in February 2014, Defendants increased their prices

abruptly and in unison.

       365.    Baclofen is among the drugs identified by the GAO, which concluded that

Baclofen, in both the 10 mg and 20 mg tablet form “[e]xperienced and extraordinary price

increase” in 2014-2015. Similarly, American Pharmacies, a group of independent pharmacists

that monitors the pricing of generic drugs and issues notices to customers, warned in February

2014 of the recently announced “[m]arketwide price increases of more than 500% … occurring on

Baclofen tablets.”

       366.    Effective February 21, 2014, Defendant Upsher-Smith took a significant price

increase on Baclofen, ranging from 350 - 420% to the WAC price, depending on the formulation.

Prior to the increase, Baclofen was not a profitable drug for Upsher-Smith, and Upsher-Smith was

considering whether to exit the market or significantly raise price. It chose the latter.

       367.    The primary competitors in the market for Baclofen at this time were Teva (62.4%),

Qualitest (22.5%), and Upsher-Smith (6.8%).

       368.    Teva initially considered following the Upsher-Smith price increase quickly, as part

of its April 4, 2014 price increases – but decided against it. The primary reason was that Qualitest

was in the market, and Teva considered Qualitest a “low-quality” competitor. In other words,

Qualitest would likely compete for market share if Teva increased its price.

       369.    Starting on April 10, 2014, however, Teva learned that Qualitest was having supply

problems, and could exit the market for at least 3-4 months, if not permanently.




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       370.    Upon learning that the only significant remaining competitor in the market would

now be Upsher-Smith – a high-quality competitor – Teva immediately decided to follow the price

increase. Patel asked one of her direct reports to start working up price increase scenarios for

Baclofen that same day.

       371.    Upsher-Smith was a highly-ranked competitor by Patel (+2) in large part because

of Patel’s relationship and understanding with                    , a national account executive at

Upsher-Smith. In the week before she started her employment at Teva (after leaving her previous

employment), Patel and            exchanged several text messages. During her first week on the

job, as she was beginning to identify price increase candidates and high quality competitors, Patel

spoke to            on April 29, 2013 for nearly twenty (20) minutes.          During these initial

communications, Patel and Leonard reached an understanding that Teva and Upsher-Smith would

follow each other’s price increases, and not compete for each other’s customers after a price

increase. Their agreement was further cemented in June and July 2013, when the two competitors

agreed to substantially raise the price of Oxybutynin Chloride.

       372.    There was no need for the two competitors to communicate directly in this situation

because it was already understood between them that Teva would follow an Upsher-Smith price

increase based on Patel’s prior conversations with           and based on the history of collusion

between the two competitors.

       373.    Effective April 15, 2014, Teva raised its WAC and SWP pricing to match Upsher-

Smith’s pricing exactly. Teva increased its WAC pricing from 350% – 447%, depending on the

dosage strength.   Teva would not have increased its prices on Baclofen unless it had an

understanding in place with Upsher-Smith.




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       G.       Benazepril HCTZ

       385.     Benazepril HCTZ, also known by the brand name Lotensin, is an angiotensin

converting enzyme (ACE) inhibitor that is used to treat high blood pressure.

       386.     The market for Benazepril HCTZ is mature, as Benazepril HCTZ has been available

in the United States for over 25 years. At all times relevant to this lawsuit there has been more

than one manufacturer of Benazepril HCTZ on the market. Defendants Mylan and Sandoz

dominate the market for Benazepril HCTZ, and co-conspirator Rising entered the Benazepril

HCTZ market following collusive discussions with Mylan and Sandoz during which Rising agreed

to follow the conspiracy pricing.

       387.     At issue here are three dosage strengths of Benazerpil HCTZ: 10 mg/12.5 mg, 20

mg/12.5 mg, and 20 mg/25 mg.

       388.     In the years prior to the conspiracy period, Defendants’ average price in the U.S.

for Benazepril HCTZ was remarkably stable. Beginning in August 2013, Defendants increased

their prices abruptly and in unison. This price increase was the result of an agreement reached

during discussions between Mylan and Sandoz.

       389.     In July 2013, Sandoz finalized its plan to re-launch Benazepril HCTZ. However,

because Sandoz executives knew that Mylan planned to increase price on this product, it chose to

wait to re-enter the market until after Mylan increased its price so that Sandoz could enter at the

higher price.

       390.     On July 12, 2013, a marketing executive at Sandoz sent an internal e-mail regarding




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              Similarly, during a Commercial Operations meeting on July 15, 2013, it was

confirmed that Sandoz was just waiting for confirmation of a Mylan price increase before re-

entering the market.

       391.    The next day, on July 16, 2013, CW-4 spoke with Nesta and sent the July 2013 E-

mail outlining the Mylan price increase drugs that Nesta had provided to her (discussed more fully

above). That list did not include Benazepril HCTZ. CW-1 forwarded the July 2013 E-mail to

Kellum stating:




       392.    Over the next few days, CW-4 and Nesta communicated several times, during

which they discussed Benazepril HCTZ. These phone calls are detailed below:




       393.    On August 2, 2013, CW-1 sent a spreadsheet to Kellum entitled,




       394.    One week later, on August 9, 2013, Mylan increased WAC pricing on Benazepril

HCTZ. The increase was large – nearly 334% on all dosage strengths.

       395.    On August 20, 2013, consistent with their agreement to maintain high prices,

Sandoz quickly re-entered the Benazepril HCTZ market and essentially matched Mylan’s WAC

pricing.



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       401.    Teva was preparing to enter the market for Budesonide DR in or about March 2014.

At that time, it was a 2-player market: Par had 70% market share and Mylan had the remaining

30%.

       402.    Shortly before Teva received approval to market Budesonide DR, Par decided to

increase the price of the drug. On April 1, 2014,             , a senior national account executive

at Par, called Rekenthaler at Teva. The two executives spoke for twenty-six (26) minutes. The

next day, April 2, 2014 – which happened to be the same day that Teva received FDA approval to

market Budesonide DR – Par increased its price for Budesonide DR by over 15%.

       403.    That same day, Teva sales employees were advised to find out which customers

were doing business with Par and which were with Mylan, so that Teva would have a better sense

of how to obtain its fair share:



       404.    Par and Mylan were also communicating at this time. On April 3, 2014 – the day

after the Par price increase                  , a senior account executive at Par, spoke to

        a senior account manager at Mylan, for fifteen (15) minutes.

       405.    On April 4, 2014, Rekenthaler informed some members of Teva’s sales force that,

although the company had received approval to market and manufacture Budesonide DR, Teva

was not prepared to launch the product and he did not yet know when it would do so. Nonetheless,

Rekenthaler spoke to both Nesta, the Vice President of Sales at Mylan, and              a similarly

high-level executive at Par, that same day.

       406.    Although Teva did not launch Budesonide DR until approximately June 2016,

company executives clearly attempted to coordinate pricing and market share with its competitors

in anticipation of its product launch date.




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       I.      Budesonide Inhalation

       407.    Budesonide Inhalation, also known by the brand name Pulmicort Respules, is an

anti-inflammatory steroid, administered through inhalers or similar devices, used to prevent

asthma attacks. It belongs to a class of drugs called corticosteroids, and works directly in the lungs

to make breathing easier by reducing the irritation and swelling of the airways.

       408.    Teva obtained approval to market Budesonide Inhalation in November 2008. As

of February 2013, Teva was the only company in the market for generic Budesonide Inhalation

Suspension. Teva knew, however, that a potential legal action challenging the validity of the patent

on the brand drug could allow additional competition into the generic market shortly. So before

any additional competition could enter the market, effective February 8, 2013, Teva raised the

WAC price for its Budesonide Inhalation Suspension by 9%. Although a very modest increase in

percentage terms, the 9% price increase added                to Teva’s annual revenues.

       409.    On April 1, 2013, Actavis won a legal challenge in federal district court against the

brand manufacturer declaring the patent for the brand drug, Pulmicort Respules, invalid. Actavis

immediately began planning to launch the product “at risk,” which is when a generic manufacturer

puts the product on the market before all appeals in the patent lawsuit are formally resolved and

there is still a risk that the new generic entrant might ultimately be found to violate the patent.

That same day, David Rekenthaler of Teva called his counterpart at Actavis,                 – a senior

sales and marketing executive – and they spoke for two (2) minutes. This was the first-ever phone

call between them based on the phone records produced.

       410.    The next day, April 2, 2013, Rekenthaler spoke to A.B two (2) more times,

including one call lasting eight (8) minutes. Actavis then immediately began shipping the product.

Instead of competing to obtain market share as a new entrant, however, Actavis entered the market




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with the exact same WAC price as Teva. Indeed, when Teva inquired of a customer that same day

to confirm Actavis’s pricing, Teva was informed by the customer that Actavis’s pricing was



       411.      At some point thereafter, further legal action from the brand manufacturer

prevented Actavis from permanently entering the market, but in the interim Teva was able to

continue to charge the agreed-upon prices. In addition, once Actavis entered the market in 2015,

Teva immediately conceded customers to Actavis in accordance with the fair share agreement –

after calls between Rekenthaler and Falkin, by then a Vice President at Actavis.

       412.      On February 13, 2015, Rekenthaler informed other Teva employees of Actavis’s

plans to enter the market, saying:                                                       Budesonide

Inhalation. Rekenthaler and Falkin of Actavis had spoken by phone three days earlier on February

10, 2015.

       413.      On February 16, 2015, Rekenthaler and Falkin had another lengthy telephone

conversation lasting twenty-three (23) minutes.         The following morning, Teva’s

confirmed to her colleagues that Teva had conceded the Budesonide Inhalation accounts of two

major customers to Actavis. She explained that Actavis’s sense of urgency to obtain the accounts

was due to concerns about getting its product into market before it faced legal action from the

brand manufacturer. Thus, she explained, she was working with the customers on an

            to get Teva’s product out of the supply channel, so as to streamline Actavis’s entry into

the market.

       J.        Buspirone Hydrochloride Tablets

       414.      Buspirone HCL is an antianxiety drug thay was first approved for medical use in

the United States in 1986.




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         415.   During the time period relevant to this Complaint, Actavis, Mylan, and Teva

dominated the market for Buspirone HCL.

         416.   Buspirone HCL was one of eight drugs that Teva targeted for a price increase

effective July 31, 2012. Prior to implementing the price increase for these drugs, Green and

Rekentheler spoke with their competitors for each targeted drug to ensure that the understanding

to increase prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For

example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of Sandoz, and

   l of Alvogen. On July 31, Green and Nesta spoke five times, and immediately following some

of these calls, Green called     Also, Rekentheler spoke with                of Actavis and

         of Breckenridge. These communications solified the agreement between the Defendants

that each would adhere to the price increases for the drugs that each manufactured.

         417.   As a result of these collusive communications, Defendants have been able to

maintain Buspirone HCL at anticompetitive prices since July 2012.

         K.     Cabergoline

         418.   Cabergoline, also known by the brand name Dostinex, is used to treat medical

problems that occur when too much of the hormone prolactin is produced. It can be used to treat

certain menstrual problems, fertility problems in men and women, and tumors of the pituitary

gland.

         419.   During the time period relevant to this Complaint, the market for Cabergoline is

dominated by Greenstone, Par, and Teva.

         420.   In December 2014, as Greenstone was preparing to enter the market for

Cabergoline, a senior Greeenstone sales executive approached            of Teva on Greenstone’s

behalf to discuss obtaining market share for Greenstone. The Greenstone executive made clear to




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Teva that, in exchange for market share, Greenstone would adhere to the overarching Fair Share

agreement.

        421.      The same day that          e-mailed Greenstone, she also spoke with a senior sales

executive at Par. Upon information and belief, the purpose of this call was so that Coward could

inform Par that Teva was prepared to concede a large customer to Greenstone, consistent with the

overarching Fair Share agreement.

        422.      The next day, after some internal conversation at Teva,




        423.      Pursuant to this agreement, Greenstone was able to acquire ABC as a customer for

Cabergoline without any fear that Teva (or Par) would compete to retain the business. In exchange,

Greenstone agreed to                               – i.e., not compete with Teva for other customers

and drive prices down in the market.

        424.      As a result of these collusive communications, Teva, Par, and Greenstone have been

able to charge supracompetitive prices to Plaintiffs and others for Cabergoline since December

2014.

        L.        Capecitabine

        425.      Capecitabine, also known by the brand name Xeloda, is an anti-cancer

chemotherapy drug used to treat a variety of cancers, including breast and colon cancer.

        426.      To resolve patent litigation, the brand manufacturer, Roche Pharmaceuticals,

entered into settlement agreements with various generic manufacturers – including Teva and

Mylan – that would allow those generic manufacturers to sell generic Capecitabine after a certain

period of time.




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        432.   Cavanaugh responded that she would be in the office the next day and wanted to

discuss it with Rekenthaler in person.

        433.   Less than an hour later, Rekenthaler sent another e-mail, just to Patel, asking her to

run a customer report and indicating that Mylan will

                                                                   Mylan did seek the business for

each of these three companies and Teva conceded each of them, pursuant to the agreement

Rekenthaler had reached with Nesta.

        434.   On August 7, 2014, McKesson informed Teva that it received a bid for

Capecitabine and gave Teva the opportunity to bid to retain the business. Patel then sent an e-mail

to             Rekenthaler, and                   , a senior operations executiv at Teva, to ask if

they had                                                             replied that Teva did

       but        did not want to put the plan in writing. Instead she told Patel she                to

discuss it.            separately questioned whether the competitive bid was coming from Mylan,

and asked Rekenthaler whether he had any additional information. Rekenthaler also did not want

to put that                                                                                      ”

        435.   The “        was the market allocation scheme previously agreed to by Nesta and

Rekenthaler on behalf of Mylan and Teva. The same day that Mylan put a bid in to McKesson –

August 7, 2014 – Nesta and Rekenthaler spoke by phone for nearly thirteen (13) minutes. On that

call, Rekenthaler and Nesta discussed Mylan’s bid to McKesson and reconfirmed their market

allocation scheme.

        436.   This market allocation




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       Rekenthaler knew Mylan was targeting Econdisc, even though Econdisc had not contacted

Teva, because he and Nesta had previously discussed it.

        437.      The next morning, at 8:30 am on August 11, 2014, Rekenthaler alerted others at

Teva that Mylan had received formal approval to market Capecitabine and that he was

                       Five minutes later, Rekenthaler received a call from Nesta. After exchanging

voicemails, the two spoke at 8:52 am. The call lasted nearly six (6) minutes. Shortly after hanging

up the phone, at approximately 9:02 am, Rekenthaler e-mailed                Patel and others at Teva

to confirm that                                                                  He added that Teva




        438.      In accordance with their market allocation scheme, Mylan targeted and Teva

conceded the Capecitabine business at ABC, Econdisc, and McKesson/Rite-Aid.

        439.      Teva also conceded some of the                  as well, pursuant to the agreement.

On August 14, 2014, for example, a smaller customer – Cigna – informed Teva that it received a

bid for Capecitabine. On August 18, 2014, Rekenthaler called Nesta to discuss the market

allocation scheme and Mylan’s bid to Cigna. The pair talked for thirteen (13) minutes. The next

day,              circulated an internal e-mail confirming that Teva

at Cigna.

        M.        Carbamazepine

        440.      Carbamazepine tablets, including regular tablets, chewable tablets, and extended

release tablets, are anticonvulsants used to prevent seizures and treat bipolar disorder.




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       441.    During the period relevant to this Complaint, Apotex, Taro and Teva dominated the

market for Carbemazepine tablets (“Tablets”); Taro and Teva dominated the market for

Carbemazepine chewable tablets (“Chewable Tablets”); and Sandoz and Taro dominated the

market for Carbamazepine Extended Release tablets (“Carbamazepine ER”).

       442.                  – a senior sales executive at Taro – and CW-4 – a senior sales

executive at Sandoz – spoke by phone on May 16, 2013, and again on May 17, 2013.

       443.    Upon information and belief, the purpose of these calls was to coordinate a price

increase on Carbamazepine ER.

       444.    Following these calls between               and CW-4, both Taro and Sandoz

implemented substantial and abrupt price increases on Carbamazepine ER of more than 50%.

       445.    One year later, in May 2014, Ara Aprahamian of Taro led price increases on all

three formulations of Carbamazepine.

       446.    Between May and July of 2014, Aprahamian texted or spoke with Nisha Patel of

Teva a number of times. Following their first series of communications in May 2014, Patel added

Carbamazepine to the list of drugs she was then targeting for price increases.

       447.    In early June 2014, Taro increased prices on all forumalations of Carbamazepine

tablets, including price increases on the Carbamazepine Tablets and Chewable Tablets of between

200% and 1000%.

       448.    As a result of the overarching Fair Share agreement, Aprahamian knew that his

competitors would follow these massive price increases – which they did. Teva followed the Taro

price increases on Carbamazepine Tablets and Chewable Tablets in July 2014, and Apotex

increased prices on Carbamazepine Tablets simulataneously with Teva. Sandoz also followed the

Taro price increase on Carbamazapine ER.




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       449.     Aprhamian continued to speak with Patel by phone in June and July 2014.

Additionally, David Rekenthaler of Teva and                         (a senior vice president at Apotex)

texted and spoke by phone a number of times between June and September 2014.

       450.     Due to these collusive communications and each Defendant’s commitment to the

overarching Fair Share agreement, prices on Carbamazepine have remained elevated since May

2013. For example, Defendants continue to sell Carbamazepine Tablets at prices more than 700%

higher than in early 2014. Additionally, Defendants’ prices for Carbamazepine ER are more than

100% higher today than in early 2013, and their prices for Carbamazepine Chewable Tablets are

more than 300% higher than before the collusive price increase.

       N.       Celecoxib

       451.     Celecoxib, also known by the brand name Celebrex®, is a nonsteroidal anti-

inflammatory medication used in the treatment of pain and inflammation associated with arthritis,

juvenile rheumatoid arthritis, and other disorders.

       452.     Teva received approval to market generic Celecoxib in May 2014.

       453.     On November 20, 2014, as Teva was preparing to launch its generic Celecoxib

capsules, a customer informed Teva that Actavis was vying for some of the customer’s Celecoxib

business. The customer indicated that Actavis was preparing for a launch of its own and had

advocated its position by pointing out that it was just trying to                   in light of the fact

that Teva had already secured over 30% of the market.

       454.     Rekenthaler took a cooperative – rather than competitive – stance upon hearing that

news, saying:

       455.     By December 1, 2014, however, the issue of where Actavis would obtain its desired

market share remained undecided. Another customer, a large retail pharmacy chain (“The




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Pharmacy”), became actively involved in trying to broker an agreement between Teva and Actavis

on how much share each company would take upon launch.




       456.    Rekenthaler’s response was consistent with



       457.    In the days leading up to Teva’s December 10, 2014 launch, Teva executives had

numerous telephone conversations with their counterparts at Actavis. Rekenthaler had a six (6)

minute call with Falkin at Actavis on November 25. The two spoke twice more on December 3 –

once for two (2) minutes and another time for one (1) minute. Patel spoke to            , a senior

sales and marketing executive at Actavis, for over eight (8) minutes on December 5, and for over

sixteen (16) minutes on December 8. Rekenthaler and Falkin resumed their communications the

day before the Teva launch – December 9 – with a one (1) minute phone call. On the day of the

launch – December 10 – Rekenthaler and Falkin spoke three times with calls of one (1) minute,

nine (9) minutes, and three (3) minutes in duration.

       458.    As a result of these collusive communications, Defendants have been able to sell

Celecoxib at supracompetitive prices since December 2014.

       O.      Clobetasol

       459.    The market for Clobetasol is mature, as Clobetasol has been available in the United

States for decades. During the relevant time period, Defendants Actavis, Akorn, Hi-Tech, Sandoz,

Fougera, Perrigo, Taro, Wockhardt, and Morton Grove sold Clobetasol to Plaintiffs and others in




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       462.    Upon information and belief, between June and August 2014, Akorn, Morton

Grove, Fougera, and Perrigo all increased their list prices for Clobetasol by similar amounts, even

though these prices were not publicly reported.

       463.    Clobetasol was one of the drugs identified in the GAO Report as having

experienced an “extraordinary price increase” in 2014-15.

       464.    Defendants’ dramatic price increases were not due to supply disruptions because

there is no indication that there was a drug shortage. These dramatic increases cannot be explained

by any other market feature or shock.

       465.    Upon information and belief, the price increases on Clobetasol were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Clobetasol in the United States. These collusive agreements were furthered, at least

in part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications described below.

       466.    For example, on April 20-23, 2013, NACDS held its 2013 Annual Meeting in Palm

Beach, Florida. NACDS’s 2013 Annual Meeting was attended by representatives from Actavis,

Perrigo, Sandoz, Taro, and Wockhardt. See Ex. 1.

       467.    On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland, which was

attended by representatives from Actavis, Fougera, Hi-Tech, Morton Grove, Perrigo, Sandoz, and

Taro. See Ex. 1.

       468.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center in Las Vegas, Nevada. Representatives from Actavis, Akorn, Perrigo, Sandoz,

Taro, and Wockhardt attended the Expo. See Ex. 1.




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         469.   On February 19-21, 2014, GPhA held its Annual Meeting at the JW Marriott in

Orlando, Florida that was attended by representatives from Actavis, Sandoz, Hi-Tech, Perrigo,

Taro, and Wockhardt. See Ex. 1.

         470.   On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

NACDS’s 2014 annual meeting was attended by representatives from Actavis, Perrigo, Sandoz,

Taro, and Wockhardt. See Ex. 1.

         471.   On June 1-4, 2014, the HDMA held a BLC at the JW Marriott Desert Ridge in

Arizona. The June 1-4, 2014 BLC was attended by represnetatives from Actavis, Hi-Tech, Sandoz,

Taro, and Wockhardt. See Ex. 1.

         472.   On June 3-4, 2014, GPhA held a meeting at the Bethesda North Marriott Hotel in

Bethesda, Maryland that was attended by representatives from Actavis, Fougera, Perrigo, Sandoz,

Hi-Tech, and Taro. See Ex. 1.

         473.   On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center in Boston, Massachusetts. NACDS’s August 2014 Total Store Expo was

attended by representatives from Actavis, Hi-Tech, Perrigo, Sandoz, Taro, and Wockhardt. See

Ex. 1.

         474.   On October 27-29, 2014, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Actavis, Sandoz, Fougera, Perrigo, Taro, and Wockhardt. See

Ex. 1.

         475.   On December 3, 2014, NACDS held its 2014 NYC Week and annual foundation

dinner, which was attended by representatives from Actavis, Sandoz, and Perrigo. See Ex. 1.

         476.   On February 9-11, 2015, GPhA held its Annual Meeting in Miami Beach, Florida.

Representatives from Actavis, Sandoz, Akorn, Perrigo, Taro, and Wockhardt attended. See Ex. 1.




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       477.    On April 25-28, 2015, NACDS held its 2015 annual meeting at The Breakers in

Palm Beach, Florida. NACDS’s 2015 annual meeting was attended by representatives from

Actavis, Akorn, Perrigo, Sandoz, Taro, and Wockhardt. See Ex. 1.

       478.    The June 7-10, 2015 HDMA BLC was held in San Antonio, Texas. The June 2015

BLC was attended by representatives from Actavis, Sandoz, and Wockhardt. See Ex. 1.

       479.    On June 9-10, 2015, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Actavis, Fougera, Sandoz, Perrigo, Taro and Wockhardt. See Ex. 1.

       480.    On August 22-25, 2015, NACDS held its 2015 Total Store Expo at the Denver

Convention Center. Representatives from Actavis, Akorn, Perrigo, Sandoz, Taro, and Wockhardt

attended. See Ex. 1.

       481.    In 2016, Actavis, Akorn, Fougera, Perrigo, Sandoz, Taro, and Wockhardt continued

to attend trade association meetings and events. See Ex. 1.

       P.      Clomipramine

       482.    Clomipramine HCL, also known by the brand name Anafranil, is used for the

treatment of obsessive-compulsive disorder, panic disorder, major depressive disorder, and

chronic pain. The market for Clomipramine is mature, as Clomipramine has been available in the

United States for over 20 years. The World Health Organization (“WHO”) includes Clomipramine

on its list of essential medicines. During the relevant time period, Mylan sold Clomipramine

pursuant to ANDAs approved by the FDA in or around January 1998. Sandoz sells Clomipramine

to purchasers pursuant to ANDAs that were approved by the FDA in or around June 1997 and

March 1998. Taro sells Clomipramine to purchasers pursuant to ANDAs approved by the FDA in

December 1996.




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       483.     At all times relevant to this lawsuit there has been more than one manufacturer of

Clomipramine on the market. Defendants Mylan, Sandoz, and Taro sold Clomipramine to

Plaintiffs and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

       484.     For more than two years prior to the conspiracy period, Defendants’ average price

in the U.S. for Clomipramine was remarkably stable. Beginning in approximately May 2013,

Mylan, Sandoz, and Taro increased their prices abruptly and, for the most part, in unison.

       485.     In addition to Defendants Sandoz and Mylan, Defendant Taro also manufactured

Clomipramine HCL. Indeed, it was Taro that led a price increase on this product on May 1, 2013.

The price increase was striking – more than a 3,440% increase to Taro’s WAC pricing on certain

formulations.

       486.     In the weeks leading up to the Taro price increase on Clomipramine, Aprahamian

of Taro spoke several times with both CW-3 at Sandoz and Michael Aigner, a national account

manager at Mylan. In fact, on several occasions during this time period, Aprahamian hung up the

phone with one competitor and immediately called the next. At the same time, CW-4 of Sandoz

was also speaking with Doug Statler, a senior sales and national account executive at Taro. During

these conversations, Defendants Taro, Sandoz, and Mylan agreed to raise the price of

Clomipramine HCL.

       487.     CW-3 of Sandoz also took contemporaneous notes of some of his conversations

with competitors. For example, after speaking with Aprahamian of Taro twice on April 30, 2013,

CW-3 made the notes identifying Clomipramine HCL as one of the products that Taro planned to

increase on May 1st.




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       488.   Indeed, there are notations in CW-3’s notebook that demonstrate that he began

communicating with Aprahamian about Taro’s May 1 increase as early as April 2, 2013.

       489.   As part of the agreement to raise prices and not poach each other’s customers on

Clomipramine, Defendant Sandoz consistently refused to bid for Taro’s customers after Taro

raised its price. For example, on April 30, 2013, Publix e-mailed Sandoz stating that it had

received a price increase letter from Taro regarding several Sandoz overlap products, including

Clomipramine, and asked whether Sandoz wanted to bid for the business. Kellum e-mailed CW-

4 stating:




       490.   Taro did agree to concede one customer to Sandoz so that the competitor could

achieve its fair share of the market. On May 1, 2013, Rite Aid e-mailed Sandoz asking for a bid

on Clomipramine. Kellum responded:




       491.   The next day, on May 2, 2013, Aprahamian of Taro called CW-3 at Sandoz and

they spoke for five (5) minutes. CW-3 hung up the phone and then immediately called Kellum.

The two spoke for eight (8) minutes. First thing the next morning – on May 3, 2013 – CW-3 called

Aprahamian back and they spoke for another five (5) minutes. Within a half hour, CW-3 again

contacted Kellum and spoke for two (2) minutes. Later that day, CW-4 of Sandoz e-mailed Kellum

regarding an upcoming call with Rite Aid stating




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           492.   Ultimately, Sandoz was awarded the Clomipramine business at Rite Aid. When

Rite Aid notified Taro, Aprahamian forwarded the e-mail to



           493.   Mylan was the next to increase price on Clomipramine HCL.       On May 16,

2013,Mylan increased to the same WAC per unit cost as Taro. In the days leading up to the Mylan

price increase, all three competitors were in contact with each other by telephone to coordinate

efforts.

           494.   On July 3, 2013, Plaintiff HEB informed Taro that Mylan was on back order for

Clomipramine HCL and asked Taro to bid for the business. Aprahamian responded that he was




           495.   On July 16, 2013, CW-4 of Sandoz sent the July 2013 E-mail identifying

Clomipramine HCL as a Mylan price increase product. By this time, Sandoz knew that Mylan had

increased its price on this product.

           496.   On July 20, 2013, Taro received a              ” notification that Sandoz was

increasing price on Clomipramine HCL. Aprahamian forwarded the notice




           497.   Two days later – on July 22, 2013 – Sandoz increased its WAC pricing to match

the per unit cost of Taro and Mylan.




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       498.    On August 5, 2013, Walgreens – a Mylan customer – e-mailed Sandoz and

requested a bid on Clomipramine HCL.




       499.    In October 2013, CW-4 and Nesta spoke by phone several times, including multiple

calls on October 3rd and 4th.

       500.    After this series of calls, during the morning of October 15, 2013, CW-4 of Sandoz

called Kellum. The call lasted one minute. Approximately one half hour later, Kellum e-mailed

McKesson and asked if Sandoz could submit a bid for Clomipramine HCL.

       501.    On October 23, 2013, Sandoz submitted a bid to McKesson and the customer

responded that a reduction was needed to bring the pricing in line with their current supplier, Taro.

CW-1 was surprised and forwarded the request to CW-4, copying Kellum, stating:




       502.    In December 2013, Sandoz received an inquiry from a Bloomberg reporter who

questioned the propriety of the large increases that Sandoz had taken in recent months on a whole

host of drugs, including Clomipramine HCL. Kellum prepared a response claiming that Sandoz

had simply followed the market price increase after learning of it through public sources.




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       509.    For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Taro, Sandoz, and Mylan. See Ex. 1.

       510.    On February 20-22, 2013, GPhA held its 2013 Annual Meeting in Orlando,

Florida. GPhA’s 2013 Annual Meeting was attended by representatives of Taro, Sandoz, and

Mylan. See Ex. 1.

       511.    On April 20-23, 2013 NACDS held its 2013 Annual Meeting at The Breakers in

Palm Beach, Florida. NACDS’s Annual Meeting was attended by representatives from Taro,

Sandoz, and Mylan. See Ex. 1.

       512.    On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida.              HDMA’s

June 2013 BLC was attended by representatives from Sandoz and Mylan. See Ex. 1.

       513.    On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Taro, Sandoz, and Mylan. See Ex. 1

       514.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands

Expo Convention Center in Las Vegas, Nevada. NACDS’s August 2013 Total Store Expo was

attended by representatives from Taro, Sandoz, and Mylan. See Ex. 1.

       515.    On October 28-30, 2013, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Taro, Sandoz, and Mylan. See Ex. 1.

       516.    On December 3, 2013, NACDS held its 2013 NACDS Foundation Reception and

Dinner, which was attended by representatives from Defendants Mylan and Sandoz. See Ex. 1.

       Q.      Clonidine-TTS Patch

       517.    Clonidine-TTS Patch – also known by the brand name Catapres-TTS – is a

medication in the form of a transdermal patch that is used to treat high blood pressure.




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       518.     As of September 2011, Mylan and Teva were at rough parity in the market for

generic Clonidine-TTS, with Mylan having                         % market share and Teva having

                        market share. At the end of 2011 and beginning of 2012, however, Teva

began to take more than its “fair share.”

       519.     In November 2011, Teva took over Mylan’s business for Clonidine-TTS at

Walgreens after Walgreens solicited Teva to provide a bid. Then, in late January 2012, Cardinal

Health solicited a bid from Teva for a one-time-buy to cover an alleged short-term

              that Mylan was experiencing. A few days after Teva submitted its offer to Cardinal

for the one-time-buy, Cardinal asked Teva to become Cardinal’s primary supplier for Clonidine-

TTS. Believing that Cardinal’s request was prompted by Mylan having supply issues, Teva

accepted and took over the primary position at Cardinal for Clonidine-TTS.

       520.     On February 10, 2012, the move of Cardinal’s business to Teva prompted

of Teva to order his colleagues to get intelligence on the extent of Mylan’s alleged supply issues.

That same day, Rekenthaler called               a senior national accounts executive at Mylan, to

obtain the information and they spoke for six (6) minutes. Later that day, Rekenthaler reported

back to his Teva colleagues that, contrary to Teva’s assumptions,

                                                  Rekenthaler was concerned that Mylan might

retaliate against Teva for taking more than its “fair share” without consulting with Mylan. With

the awards from Walgreens and Cardinal, Teva was projected to have between 65%-70% market

share for Clonidine-TTS.

       521.     To gain back some market share, Mylan challenged Teva’s Clonidine-TTS business

at McKesson. To de-escalate the situation, Teva

Then, in April 2012, Mylan aggressively challenged Teva’s Clonidine-TTS business at CVS to




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gain back market share and further signal its displeasure with Teva for taking the Cardinal

business. Internally, Teva lamented that Mylan was



       522.    Teva heard Mylan’s retaliatory message loud and clear. On May 4, 2012, just a

few days after losing the CVS Clonidine-TTS business to Mylan, Teva was approached by

Cardinal about a different drug, Doxazosin. At the time, Mylan was the primary supplier for

Doxazosin at Cardinal. Cardinal representatives told Teva that Mylan was on backorder for one

of the four Doxazosin dosage strengths until the end of June 2012, but Cardinal wanted to move

the entire Doxazosin line to Teva. Rather than take this business,                  cautioned his

colleagues that Teva




       523.    On July 18, 2012,



                                                                      ” directly from Mylan over

the course of at least two calls between Green and Nesta on July 17 and the morning of July 18,

2012. Those calls lasted three (3) minutes and five (5) minutes, respectively.

       524.    On the morning of September 28, 2012, Nesta and Green spoke by phone at least

twice, once for four (4) minutes and once for fourteen (14) minutes. On those calls, Nesta informed

Green of Mylan’s impending temporary exit from the Clonidine-TTS market. As expected, later

in the day on September 28, 2012, Teva began getting solicitations from Mylan customers, such

as Wal-Mart and CVS, seeking a bid from Teva for Clonidine-TTS because Mylan had just issued

a temporary discontinuation notice.




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       525.    Mylan’s exit from the Clonidine-TTS market presented an opportunity to raise

prices and collusively reallocate the market at the inflated prices when Mylan fully reentered the

market. For example, in April 2012, before Mylan had challenged Teva’s Clonidine-TTS business

at CVS, Teva’s direct invoice price to CVS for the .1mg, .2mg, and .3mg Clonidine-TTS was

                            , respectively. Mylan’s retaliation against Teva drove the prices for

CVS down to below                                     for those dosages, respectively. Because of

Mylan’s exit from the market, however, when Teva took back the CVS business in October 2012,

Teva was able to charge CVS a direct invoice price of                             , respectively.

       526.    Mylan and Teva maintained regular contact as former Mylan customers came to

Teva because of Mylan’s supply issues with Clonidine-TTS. For example, Teva submitted bids

to CVS and Wal-Mart – which were ultimately accepted by those companies – on October 4, 2012

and October 5, 2012, respectively. In the days leading up to those bids, Teva and Mylan

representatives had at least the following phone calls:




       527.    Teva and Mylan representatives continued to keep in contact going forward so that

if Mylan reentered the Clonidine-TTS market, Mylan could regain market share without eroding

price through competitive bidding. For example, on October 10, 2012, Green and Nesta spoke for

ten (10) minutes. That same day,                   of Teva sent an e-mail to Teva national account

managers and other senior representatives reiterating that Teva representatives should




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       528.    In or about February 2013, Mylan relaunched Clonidine-TTS and began seeking

market share. In early March 2013 Mylan sought to secure the Clonidine-TTS business at

Econdisc. Rather than competitively bid for the business, Teva’s internal documents state that

they chose to “           Econdisc back to Mylan. By April 2013 Teva also



       529.    In a stark admission of Teva’s willingness to help Mylan regain market share

without competition, Rekenthaler acknowledged in an internal e-mail dated February 28, 2013 that

Teva was



                                                              For its part, Teva was “not going to

make any effort in the form of price concessions to retain the CVS business” if CVS brought

Mylan’s price challenge to Teva’s attention. CVS pushed Mylan to lower its bid in light of its

prior prices but, confident that its brinkmanship would work because of Teva’s cooperation, Mylan

would not do so. Ultimately, CVS declined Mylan’s bid because of Mylan’s refusal to lower its

bid in light of its prior pricing. Nonetheless, because Mylan’s bid to CVS was not competitive –

but rather an effort to allocate the market without eroding price – Teva was able to maintain

artificially higher prices at CVS.

       530.    To carry out their scheme to allocate the Clonidine-TTS market without eroding

price, representatives of Teva and Mylan remained in regular contact. In February and March

2013 alone, Teva and Mylan representatives called each other at least 33 different times and spoke

for nearly 2 hours and 45 minutes.

       531.    By April 2013, Teva had




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         534.   The next day, Rekenthaler announced to his colleagues that Actavis was entering

the market.            of Teva responded by requesting that Patel come up with a recommendation

as to which customers Teva should concede to Actavis. At the same time, Teva employees

bemoaned Actavis’s “              low pricing for a new entrant, saying that price “is already eroded

here.”

         535.   On May 8, 2014, Teva personnel accelerated their efforts to convince Actavis to

revise its pricing and market share plans for Clonidine-TTS to more acceptable levels with an even

more intensive flurry of phone calls. On that day, Rekenthaler spoke to Falkin three more times

(5-, 10-, and 8-minute calls). Patel spoke to Rogerson at Actavis four times, the last call coming at

9:54 am. At 10:02 am, she informed her colleagues of the results of the negotiations, instructing

them:

         536.   The following day, May 9, 2014, Patel learned from yet another customer of a

                                on this drug. Suspecting the source of the challenge was Actavis,

Patel called Rogerson three times. Following those conversations, Patel informed her colleagues

that Actavis wanted 25% of the market. She also stated that Actavis would likely want 10%-15%

of that share from Teva. During those conversations, she also likely conveyed her displeasure to

Rogerson about how low Actavis’s pricing was, because not long after those phone calls, she

conveyed to her




         537.   Rekenthaler described to his colleagues the agreement he was willing to strike with

Actavis over market share, saying:




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senior sales executive,          cautioned him on the importance of maintaining a cooperative

stance towards this competitor, saying:



       538.    The market share give-and-take between Teva and Actavis continued over the

coming weeks, with Teva conceding accounts to the new entrant in order to allow Actavis to

achieve its fair share of the market for Clonidine-TTS. On May 14, 2014, for example, Patel told

colleagues that Teva must be

        On May 17, 2014, Teva conceded a large retailer account to Actavis. On May 20, 2014,

Patel again declined to bid at another customer du



       539.                        Teva’s analytics manager, recommended giving up yet another

Clonidine-TTS account to Actavis on May 23, 2014, after several conversations between Patel and

Rogerson the prior day,



       R.      Desogestrel/Ethinyl Estradiol Tablets (Kariva)

       540.    Desogestrel/Ethinyl Estradiol (“Kariva”) is a combination pill containing two

hormones: progestin and estrogen. This medication is an oral contraceptive. Defendant Glenmark

markets this drug under the name Viorele, while Defendant Teva markets the drug under the name

Kariva. These drugs are also known by the brand name, Mircette. Glenmark entered the market

for Kariva 0.15mg/0.02mg tablets on April 4, 2012.

       541.    During the morning of May 19, 2014, Patel learned that Glenmark had bid a low

price for its own version of Kariva – Viorele – at Publix, a retail pharmacy purchaser.

       an analyst at Teva, e-mailed Patel a list of suggested re-bid prices to send to Publix for




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various drugs, including Kariva.



       542.    This sparked a flurry of communications that same day between Patel and three

different Glenmark representatives –                                                   a sales and

marketing executive at Glenmark – as set forth below:




       543.    After this flurry of communications between the two competitors, Patel decided

that Teva would offer Publix a re-bid price

                                    virtually guaranteeing that the business would be awarded to

Glenmark.

       S.      Desonide

       544.    The market for Desonide is mature, as both the ointment and cream form of the

drug have been available in the United States since the 1970s, and generic Desonide has been

available in the United States since 1994.

       545.    During the relevant time period, Defendants Actavis, Perrigo, Sandoz, Fougera, and

Taro sold Desonide to Plaintiffs and others in the United States at supracompetitive prices inflated

by the unlawful and anticompetitive agreements alleged in this Complaint.

       546.    At all times relevant to this lawsuit there has been more than one manufacturer of

Desonide on the market. Defendants Actavis, Perrigo, Sandoz, Fougera, and Taro dominate the

market for Desonide.



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desonide did not experience the same coordinated and extraordinary price increases in May 2013

that the cream and ointment formulations experienced, even though all formulations have the same

active ingredient.

       552.    The abrupt price increases were not due to supply disruptions.

       553.    Upon information and belief, the price increases on Desonide were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Desonide in the United States. These collusive agreements were furthered, at least

in part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications, some of which are described below.

       554.    For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Actavis, Perrigo, Sandoz, and Taro. See Ex. 1.

       555.    On February 20-22, 2013, GPhA held its Annual Meeting at the JW Marriott

Orlando Grand Lake in Orlando, Florida that was attended by representatives from Actavis,

Perrigo, Sandoz, and Taro. See Ex. 1.

       556.    On April 20-23, 2013, shortly before the drastic May 2013 price increases, NACDS

held its annual meeting at The Breakers, Palm Beach, Florida. This event was attended by

representatives from Actavis, Perrigo, Sandoz, and Taro. See Ex. 1.

       557.    On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. HDMA’s June

2013 BLC was attended by representatives from Actavis and Sandoz. See Ex. 1.

       558.    On June 4-5, 2013, GPhA held a CMC Workshop meeting at Bethesda North

Marriott Hotel, Bethesda, Maryland, that was attended by representatives from Actavis, Perrigo,

Sandoz, and Taro. See Ex. 1.




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       559.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center. NACDS’s August 2013 event was attended by representatives from Actavis,

Perrigo, Sandoz, and Taro. See Ex. 1.

       560.    On October 28-30, 2013, GPhA held its 2013 Fall Technical Conference in

Bethesda, Maryland that was attended by representatives from all Defendants. See Ex. 1.

       561.    On December 3, 2013, NACDS held its 2013 NACDS Foundation Reception and

Dinner, which was attended by representatives from Actavis, Sandoz, and Perrigo. See Ex. 1.

       562.    On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

This event was attended by representatives from Actavis, Perrigo, Sandoz, and Taro. See Ex. 1.

       563.    These Defendants continued to attend trade associaition meetings and events

between 2014 and 2016. See Ex. 1.

       T.      Dexmethylphenidate HCL Extended Release

       564.    Dexmethylphenidate HCL Extended Release (“Dexmeth ER”) is a generic version

of the drug Focalin, and it is used to treat attention deficit hyperactivity disorder (ADHD).

       565.    As Sandoz was preparing to enter the market on the 40mg strength of Dexmeth ER

in February 2014, Patel of Teva spoke frequently with CW-1 at Sandoz about how to divide the

market so that Sandoz could obtain its fair share without significantly eroding the price. On

February 10, 2014, for example, CW-1 began internal preparations to pursue the Rite Aid account

for Dexmeth ER 40mg. Later that night, CW-1 called Patel and the two spoke for more than

thirteen (13) minutes. On February 18, Patel left a voicemail for CW-1. That same day, Teva

conceded the Rite Aid account to Sandoz. Patel and CW-1 then spoke again by phone on February

20, 2014.




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surprisingly, she called CW-1 a few days later, on February 27, to further coordinate about

Dexmeth ER.

       571.    Throughout this time period, Sandoz abided by fair share principles and its ongoing

understanding with Teva. In February 2014, Sandoz’s target market share for varying strengths of

Dexmeth ER varied by how many manufacturers were in the market. Teva and Sandoz were not

alone in allocating customers for certain formulations of Dexmeth ER. The agreement was also

carried out by other manufacturers allowing Sandoz to take share from them. In February 2014,

for example, as Sandoz was seeking share on the 15mg dosage strength of Dexmeth ER, Par



                                       , a senior national account executive at Par, right around the

same times that Patel had been speaking to CW-1 – including two calls on February 10 (18 and 3

minutes), two (2) calls on February 19 (2 and 22 minutes), and calls on February 24 and 25, 2014

– in order to effectuate the scheme.

       572.    The market allocation scheme between Teva and Sandoz on Dexmeth ER continued

through at least mid-2015. On May 6, 2015, for example, Teva declined to submit a bid to

Walgreens for Dexmeth ER 5mg on the basis

               Similarly, on June 30, 2015, Sandoz declined to put in a bid to Managed Health

Care Associates, a large GPO, on Dexmeth ER 20mg, on the basis that Sandoz already had 57%

market share – greater than its sole competitor on this dosage strength, Teva. When a Sandoz

national account representative communicated this decision to the customer, he lied and explained

that the decision not to bid was based on limited supply.




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       U.      Dextroamphetamine Sulfate Extended Release

       573.    Dextroamphetamine Sulfate Extended Release, also known by the brand name

Dexedrine® and sometimes referred to as “Dex Sulfate XR,” is a medication used to stimulate the

central nervous system in the treatment of hyperactivity and impulse control.

       574.    During the relevant time period, Actavis, Teva, and Mallinckrodt dominated the

market for Dex Sulfate XR, with Teva having by far the largest share as the first generic entrant.

       575.    In 2012, as Mallinckrodt entered the market for Dex Sulfate XR, internal Teva

documents acknowledged that Teva had “                   (i.e., willingly) conceded a large number

of accounts for the drug to Mallinckrodt solely because it was entering the market and sought to

add share. This was wholly consistent with the Fair Share agreement.

       576.    On June 19, 2014, as Actavis was entering the market for Dex Sulfate XR, Patel

reviewed a profitability analysis for that drug and asked Rekenthaler what share of the market

Actavis was targeting. Rekenthaler                           Rekenthaler knew Actavis’s market

share goals because he and Falkin of Actavis had spoken twice by phone that morning – once for

more than eleven (11) minutes and again for more than nine (9) minutes.

       577.    Five days later on June 24, 2014, Teva                             confirmed to her

colleagues in an e-mail that Actavis had entered the market for Dex Sulfate XR. She remarked

that Teva had a 72.2% share of this

                                                                 – in accordance with the industry

understanding to allocate the market, and Teva’s ongoing agreement with Actavis. Later internal

e-mails confirmed Teva’s decision to concede that customer to Actavis because




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       V.      Digoxin

       578.    The market for Digoxin is mature, as Digoxin has been available in the United

States for more than a decade. Generic Digoxin is prescribed to approximately 6.5 million patients

in the United States and it is considered an essential medicine by the World Health Organization.

Variants of the drug have been in existence since the 18th century. Because Digoxin was in

existence prior to the 1938 passage of the Federal Food, Drug, and Cosmetic Act, the drug was

manufactured and sold by a large number of companies outside the NDA/ANDA process.

       579.    In 1997, GlaxoSmithKline obtained an NDA authorizing it to market Lanoxin, a

branded version of Digoxin. Because Digoxin was not a new chemical compound, its NDA

allowed for just a three-year period of exclusivity, and by 2003 there were at least eight

manufacturers of generic Digoxin in the United States, including Defendants Impax, Lannett,

Mylan, Par, and West-Ward.

       580.    During the relevant time period, Defendants Impax, Lannett, Mylan, Par, and West-

Ward sold Digoxin to Plaintiffs and others in the United States at supracompetitive prices inflated

by the unlawful and anticompetitive agreements alleged in this Complaint.

       581.    At all times relevant to this lawsuit there has been more than one manufacturer of

Digoxin on the market. Defendants Impax, Lannett, Mylan, Par, and West-Ward dominate the

market for Digoxin.

       582.    Due to industry consolidation and manufacturing difficulties experienced by

Mylan, Par, and West-Ward, by the end of 2012, just Lannett and Impax remained active in the

market for generic Digoxin. Despite the existence of a duopoly, until October 2013, the price of

Digoxin charged by Lannett and Impax remained stable.




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       586.    In the fall of 2014, Senator Bernie Sanders and Representative Elijah Cummings

requested information from manufacturers of ten drugs, including Digoxin, which had experienced

extraordinary price increases. In response to a Congressional request from Senators Susan

Collins, Claire McCaskill, Bill Nelson and Mark Warner, in August 2016, the GAO issued a

report in which Digoxin was identified as experiencing an “extraordinary price increase.”

       587.    There were no legitimate justifications for these abrupt shifts in pricing conduct.

There were no drug shortages or supply disruptons which would cause large price spikes.

       588.    Defendants’ pricing of Digoxin is the exact opposite of what one would expect to

see in a competitive market, where the entry of new manufacturers brings the price down. Instead,

as a result of their collusion, Defendants’ pricing for Digoxin in the United States increased as the

number of “competitors” in the market grew. Thus, the pricing of Digoxin mirrors Defendants’

collusion on Glyburide, where Mylan, Heritage, and Mayne agreed to increase prices on the

diabetes drug in advance of the entry into the market by Heritage and Mayne.

       589.    In early 2015, Mylan re-entered the market and Defendants continued to adhere to

their anticompetitive agreements on pricing.

       590.    Upon information and belief, the price increases on Digoxin were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Digoxin in the United States. As a result, Defendants have sold Digoxin at

supracompetitive levels since October 2013.

       591.    These collusive agreements were furthered at least in part, through in-person

discussions conducted at meetings and industry events hosted by GPhA and HDMA as well as

other meetings and communications, some of which are described below.




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       592.   For example, on April 20-23, 2013, NACDS held its 2013 Annual Meeting at the

Sands Expo Convention Center in Palm Beach, Florida.          This meeting was attended by

representatives from Defendants Mylan and Par. See Ex. 1.

       593.   On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. This meeting

was attended by representatives from Impax, Lannett, Mylan, Par, and West-Ward. See Ex. 1.

       594.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands

Expo Convention Center in Las Vegas, Nevada. This TSE was attended by representatives from

Impax, Lannett, Mylan, Par, and West-Ward. See Ex. 1.

       595.   On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale,

Arizona. Representatives from Mylan and Par attended this meeting. See Ex. 1.

       596.   On June 1-4, 2014, the HDMA held a BLC at the JW Marriott Desert Ridge in

Phoenix, Arizona. The meeting was attended by representatives from Impax, Lannett, Mylan,

Par, and West-Ward. See Ex. 1.

       597.   On August 23-26, 2014, NACDS held its 2014 TSE at the Boston Convention

Center in Boston, Massachusetts. This TSE was attended by representatives from Impax, Lannett,

Mylan, Par, and West-Ward. See Ex. 1.

       598.   On February 16-18, 2015 the National Pharmacy Forum (“NPF”) took place at the

Marriott Waterside Hotel & Marina in Tampa, Florida. The speaker topics included: “current

pricing and spending trends”; “a critique of the rationale for high prices offered by

manufacturers”; and “the U.S. pharmaceutical market and the ongoing changes within the

pharmaceutical world,” including “market trends.” The NPF was attended by representatives

of Defendants Mylan and Westward. See Ex. 1.




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       599.   On April 25-28, 2015, NACDS held its 2015 annual meeting at The Breakers,

Palm Beach, Florida. This meeting was attended by representatives from Defendants Mylan,

Par, and West-Ward. See Ex. 1.

        600. Defendants continued to regularly attend trade association meetings, conferences

 and events in 2015-16, including: (a) the June 7-10, 2015 HDMA BLC in San Antonio, Texas;

 (b) the June 9-10, 2015 GPhA meeting in Bethesda, Maryland; (c) the August 22-25, 2015

 NACDS Total Store Expo in Denver, Colorado; (d) the November 2-4, 2015 GPhA meeting

 in Bethesda, Maryland; (v) the February 8-10, 2016 NPF meeting in Scottsdale, Arizona; (e)

 the April 12, 2016 HDMA Eighth Annual CEO Roundtable Fundraiser in New York; (f) the

 April 16-19, 2016 NACDS 2016 Annual Meeting in Palm Beach, Florida; (g) the June 12-

 16, 2016 HDMA BLC in Colorado Springs, Colorado; and (h) the August 6-9, 2016 NACDS

 2016 Total Store Expo in Boston, Massachusetts.

       W.     Divalproex ER

       601.   The market for Divalproex ER is mature, as generic versions of the drug have been

available in the United States for almost a decade. Valproate, the base compound in Divalproex

ER, has been in use for more than a century and is recognized as an essential medicine by the

World Health Organization.

       602.   In 1999, Abbot Laboratories received FDA approval to market Depakote ER, a

branded version of the drug.     Depakote ER was a blockbuster drug that achieved nearly

$1,000,000,000 in sales for Abbot.

       603.   Between January and May of 2009, Mylan, Zydus, and Par (through Anchen

Pharmaceuticals, its predecessor-in-interest) all received ANDAs authorizing them to market




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       612.   On February 20-22, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA Annual Meeting in Orlando, Florida. See Ex. 1.

       613.   On April 20-23, 2013, representatives of Dr. Reddy’s, Mylan, Par, and Zydus,

attended the NACDS 2013 Annual Meeting in Palm Beach, Florida. See Ex. 1.

       614.   Shortly before Mylan’s and Par’s Divalproex ER prices increased, Dr. Reddy’s,

Mylan, Par, and Zydus, attended the HDMA 2013 BLC in Orlando, Florida on June 2-5, 2013.

See Ex. 1.

       615.   On June 4-5, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA CMC Workshop in Bethesda, Maryland. See Ex. 1.

       616.   On August 10-13, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus,

attended the NACDS 2013 Total Store Expo in Las Vegas, Nevada. See Ex. 1.

       617.   On October 28-30, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA Fall Technical Conference in Bethesda, Maryland. See Ex. 1.

       618.   On February 19-21, 2014 representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2014 GPhA Annual Meeting in Orlando, Florida. See Ex. 1.

       619.   On April 26-29, 2014, NACDS held its 2014 Annual Meeting in Scottsdale,

Arizona. NACDS’s 2014 Annual Meeting was attended by representatives from Dr. Reddy’s,

Mylan, Par, and Zydus. See Ex. 1.

       620.   On June 1-4, 2014, the HDMA held a BLC in Arizona. This event was attended by

representatives from Dr. Reddy’s, Mylan, Par, and Zydus. See Ex. 1.

       621.   On June 3-4, 2014, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA CMC Workshop in Bethesda, Maryland. See Ex. 1.




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       622.   On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center. This Expo was attended by representatives from Dr. Reddy’s, Mylan, Par,

and Zydus. See Ex. 1.

       623.   On October 27-29, 2014, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the GPhA Fall Technical Conference. See Ex. 1.

       624.   On October 27-29, 2014, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the GPhA Fall Technical Conference. See Ex. 1.

       625.   On February 9-11, 2015, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the GPhA Annual Meeting in Miami, Beach, Florida. See Ex. 1.

       626.   On June 9-10, 2015, representatives from Dr. Reddy’s, Mylan, Par, and Zydus,

attended the GPhA CMC Workshop. See Ex. 1.

       627.   On November 2-4, 2015, representatives of Dr. Reddy’s, Mylan, Par, and Zydus,

attended the 2015 GPhA Fall Technical Conference in North Bethesda, Maryland. See Ex. 1.

       X.     Doxycycline

       628.   The Doxycycline market is mature, as generic Doxycycline – which includes

generic versions of branded Doxycycline such as Vibramycin, Vibra-Tabs, and Monodox – has

been available in the United States since the mid-1980s in tablet and capsule form. Doxycycline

has been designated by the WHO as an essential medicine. Doxy DR is the generic version of the

branded acne medication, Doryx, for which Warner Chilcott received an NDA in May 2005.

Although Doxy Hyclate and Doxy Mono are not bioequivalent drugs, doctors will often simply

write a prescription for Doxycycline, which allows pharmacists to supply consumers with either

Doxy Hyclate or Doxy Mono.




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       629.    Although there were, at one point, approximately 20 manufacturers of

Doxycycline, by early 2012, the primary manufacturers were Actavis, Par, Sun (including its

subsidiaries Mutual and Caraco), and West-Ward (for Doxy Hyclate) and Heritage, Lannett,

Mylan, and Par (for Doxy Mono). In 2012, Mylan received authorization to market both Doxy

Hyclate and Doxy DR. Because Mylan was the first generic manufacturer to receive an ANDA

for Doxy DR, it received 180 days of exclusivity as the sole authorized generic manufacturer,

which expired in early 2013. Mylan remained the only generic manufacturer of Doxy DR until

Heritage and Mayne entered the market in 2013. Historically, Doxy Mono cost more than Doxy

Hyclate, and for that reason, Doxy Hyclate was the most commonly used version of Doxycycline.

       630.    Defendants Actavis, Heritage, Lannett, Mayne, Mylan, Par, Sun (including Mutual

and Caraco), and West-Ward each sold at least one variation of Doxycycline to Plaintiffs and

others in the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

               1.     The Doxy Hyclate Collusive Price Increase

       631.    Although prices of Doxycycline had remained stable for several years, beginning

in approximately November 2012, Defendants implemented an abrupt and substantial price

increase across all doses of Doxy Hyclate. By May 2013, Defendants’ prices for Doxy Hyclate

increased on certain strengths by as much as 8,000%. For example, in mid-January 2013, West-

Ward and Sun raised prices for a bottle of 500 tablets of 100 mg strength Doxy Hyclate pills from

an average of less than $25 per bottle to approximately $2,000 per bottle.

       632.    Upon information and belief, the agreement to increase prices on Doxy Hyclate was

discussed at the GPhA meetings in October 2012 in Bethesda and February 2013 in Orlando. The

October 2012 meeting was attended by Actavis, Teva, Sun, and Mylan, in addition to the other




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       636.    By April 2014, DAVA launched Doxy Hyclate pursuant to an exclusive supply and

distribution agreement with Chartwell Therapeutics Licensing, LLC and Chartwell

Pharmaceuticals, LLC (“Chartwell”). Around this time, Endo was in discussions with DAVA to

acquire it, which it did in August 2014.

       637.    Following DAVA’s acquisition by Endo, Chartwell and Endo sued each other in

New York state court for alleged failures to comply with the terms of the supply and distribution

agreement for Doxycycline.24 Chartwell alleged that DAVA, DAVA’s former President Aram

Moezinia, and Endo (through its generics subsidiaries) were refusing to take delivery of

Doxycycline shipments from Chartwell despite the fact that there was demand for Doxycycline in

the market. Because Endo (through its generics subsidiaries including DAVA) refused to accept

the available Doxycycline supply, Chartwell attempted to rescind its agreement with DAVA in

order to find other generic drug marketers, which Chartwell claims it was able to accomplish.

       638.    Chartwell recognized that its supply of Doxycycline provided an opportunity to

“reduc[e] prices for consumers, all while earning significant profits.”          But Endo (and,

subsequently, Par) withheld Doxycycline supply from the U.S. market and priced its Doxycycline

at the supracompetitive price of its co-conspirators. Chartwell suggested a reason for Endo’s

economically irrational decision to withhold additional Doxycycline supply when there was ample

demand in the market. It accused Endo and its generic subsidiaries of engaging in an illegal price-

fixing and market allocation scheme: “Having bought DAVA, Endo implemented its withhold-

and-price-gouge scheme, did virtually nothing to sell the Chartwell Entities’ Doxycycline, and, in

collusion with its alleged ’competitors,’ set Doxycycline’s price at the exact same level its



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             See Dava Pharm., LLC v. Chartwell Therapeutics Licensing, LLC, Index No.
502775/15 (N.Y. Supreme Court, County of Kings).


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competitors were charging for the drug.” (Emphasis in original). Chartwell further alleged that

“DAVA and Moezinia dedicated efforts to withhold [Doxycycline] from the marketplace..., to

keep the overall price of Doxy high.” (Emphasis in original). For example, Chartwell cites to an

e-mail dated on or about July 11, 2014 where Moezinia e-mailed Chartwell and stated that

DAVA’s plan was to sell Doxycycline “slowly not to disturb pricing.” Upon information and

belief, all actions taken by DAVA as described in Chartwell’s complaint were done at the direction

of Endo and targeted at the U.S. market.

       639.    Chartwell sought discovery of the materials that Par and Endo have produced to the

DOJ and the States. Notably, the regulators’ inquiries to Endo have focused on at least three drugs

that Endo acquired rights to via DAVA: Doxy Hyclate, doxazosin mesylate, and methotrexate

sodium. Chartwell and Endo settled their claims in November 2016.

               2.     The Doxy Mono Collusive Price Increase

       640.    In February 2013, because the abrupt and substantial price increase on Doxy

Hyclate led it to cost more than Doxy Mono, large purchasers of Doxycycline (such as Plaintiffs)

began to increase their purchases of Doxy Mono, so that they could supply their customers with

the cheaper drug.    In February and March of 2013, Heritage and Lannett recognized this

opportunity to implement a substantial collusive price increase on Doxy Mono as well.

       641.    In February 2013, Heritage believed that demand for some Doxycycline products

was increasing, and wanted to use this as a pretext to raise the prices of Doxy Mono. Accordingly,

Heirtage began reaching out to Lannett, Mylan, and Par to institute a price increase for Doxy

Mono. These pricing discussions occurred at the same time as Heritage and Dr. Reddy’s were

discussing pricing and market share for Zoledronic Acid and Meprobamate, as discussed below.




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       642.    Starting in March 2013, Heritage’s                   , began communicating with

Lannett about pricing for Doxy Mono.

       643.    On March 7, 2013,         spoke with a senior sales executive from Lannett,

           by telephone for approximately 14 minutes, and executives from both companies

followed up on March 13, 2013, through e-mail and a five-minute phone call.

       644.    Throughout the next several months,            and           communicated about

Doxy Mono by phone, text message an in person.

       645.    On April 25,                             spoke on the phone for more than eight

minutes.

       646.    Heritage’s                                attended a conference together on May

14, 2013. At the conference, they discussed a possible increase on Doxy Mono.

       647.    On June 4, 2013,         called and texted with another Lannett employee,

       a Director of National Accounts at Lannett.

       648.    Upon information and belief, these communications resulted in an agreement

between Heritage and Lannett to increase prices on Doxy Mono by approximately 400%.

       649.    However, before they could implement the price increase, Lannett and Heritage had

to confirm that Mylan and Par were on board as well. During a series of industry events in May

and June, executives from all four companies met in person to discuss the Doxy Mono price

increase. Lannett agreed to lead the price increase on June 12, 2013, and communicated this

intention to Mylan, Par, and Heritage. For example, a Lannett executive,                 met with a

Heritage executive, Sather, to discuss the price increase during a trade association event on June

4. Sales executives from                         , and Par,                 , spoke several times

about the price increase by telephone on June 7, and on June 11, a Heritage executive,         and




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a Mylan executive,              spoke by phone, while Lannett’s

communicated through at least nine text messages. The following day, when Lannett announced

the price increase, Lannett’s                              texted at least another nine times.

        650.   Upon information and belief, these communications by Mylan, Par, Lannett, and

Heritage resulted in an agreement that each would follow Lannett’s price increase of

approximately 400% on Doxy Mono, which each Defendant did. For example, Par provided

instructions to its sales employees to begin implementing the price increase of August 13, 2013.

And upon information and belief, Mylan began announcing price increases on Doxy Mono to

customers during Summer 2013 as well.

        651.   Although Heritage had supply chain issues for Doxy Mono for a brief period in

2013 (and had to delay the implementation of the price increase), these issues arose after

Defendants had reached the agreement to increase prices. By October 2013, Heritage began

announcing the price increase on Doxy Mono and fully implemented the price increase by March

2014.

        652.   Additionally, during the period that it delayed announcing the price increase,

Heritage continued to speak with Lannett, Mylan, and Par to ensure that it remained committed to

the price increase, notwithstanding its delay in implementation. For example, Hertiage’s

met with                                 at a conference in August 2013, and Par, Mylan, Lannett,

and Heritage continued to communicate about the pricing of Doxy Mono throughout the Summer

of 2013. Additionally, consistent with the overarching agreement that governed each Defendant’s

market share of each drug in the industry, Mylan, Heritage, and Par agreed to refrain from

competing for any of Lannett’s Doxy Mono business after Lannett led the price increase.




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               3.      Collusion on Doxy DR

       653.    With respect to Doxy DR, as the sole generic manufacturer of the drug for a period

of time in 2012, Mylan was able to charge a supracompetitive price during the period of generic

exclusivity. (As explained in ¶ 95, the FDA estimates that, in a market with one generic

manufacturer, the generic drug will typically sell at 94% of the branded drug.)

       654.    In April 2013, Malek and then-Heritage CEO Jeffrey Glazer traveled to India and

met with two executives of Heritage's parent company, Defendant Emcure, to discuss, among other

things, their plans to enter the Doxy DR market and to coordinate how Heritage and Mylan could

minimize competition between them. It was decided that Satish Mehta, the CEO of Emcure, would

reach out first to a high-level counterpart at Mylan, Rajiv Malik, in order to facilitate subsequent

communications between Glazer and Malek and their Mylan counterparts.

       655.    Beginning in May 2013, Heritage reached out to Mylan for the purpose of colluding

to allocate the Doxy DR market without disturbing the supracompetitive price. On May 2, 2013,

Malek of Heritage contacted a senior executive at Mylan through the social networking website

LinkedIn, and on May 7 and 8, 2013, Glazer of Heritage spoke with Rajiv Malik senior executive

by e-mail and then by telephone, first writing: “Rajiv: Would like to schedule a time for a call to

catch up and discuss some recent Heritage news. Please let me knowwhen you are available and

we'll pencil it in.” Malik responded with a phone number where he could be reached in England,

and the two spoke the next day.

       656.    Upon information and belief, these discussions between Glazer and Malik – which

were facilitated by Satish Mehta of Emcure – resulted in an agreement that Mylan would concede

significant business in the Doxy DR market that accounted for approximately 30% of that market.




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Malik noted that Mylan was agreeing to concede this business to Heritage because Heritage had

previously agreed to concede market share to Mylan for another generic drug.

       657.    In July 2013, Heritage began to sell Doxy DR to Plaintiffs and others in the United

States subject to the terms of its unlawful agreement with Mylan. Again, Satish Mehta of Emcure

spoke with Rajiv Malik of Mylan on July 18, 2013, to coordinate Heritage’s entry into the market.

Following Mehta’s entreaty, Glazer spoke with Malik againt to finalize the details. Following

these calls between Mehta, Glazer, and Malik, Mylan arranged to put in a bid at Walgreens that it

knew would be above Heritage’s bid, so that Heritage could take this business and get its “fair

share” of the market.

       658.    In January 2014, Mayne informed Heritage and Mylan that it planned to enter the

Doxy DR market as well. For example, a senior executive with Mayne spoke with a senior

executive with Heritage on January 7, 2014, about making room for Mayne in the market allocation

agreement between Heritage and Mylan.

       659.    Senior executives from Heritage, Mylan, and Mayne communicated frequently via

e-mail, text, and phone about their collusive market allocation agreement throughout 2014.

Executives from Heritage and Mayne also met in person at the American Society of Health System

Pharmacist’s conference in Anaheim, California in December 2014.

       660.    Mayne, Emcure, Heritage, and Mylan continued to adhere to their collusive

agreements. For example, in May 2014, Heritage walked away from a large account so that Mayne

could win the bid. Similarly, in January 2015, Heritage submitted a bid to Econdisc, a group

purchasing organization, that it knew would be above Mayne’s bid, so that Mayne could win the

Econdisc business.




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       661.    As a result of their collusion, the price in the United States for Doxy DR has

remained at elevated and supracompetitive levels since 2013, despite the entry of two additional

generic manufacturers. Indeed, whereas the FDA study mentioned in ¶ 95 would predict a market

price of 44% of the branded price, Mylan, Emcure, Heritage, and Mayne, charged – and continue

to charge – Plaintiffs the same or similar price that Mylan charged during its period of generic

exclusivity. Accordingly, Plaintiffs have paid, and continue to pay, substantial overcharges to

Defendants on Doxy DR.

       662.    The market allocation agreement on Doxy DR and the price-fixing agreements on

Doxy Hyclate and Doxy Mono still remain in force or effect (or both).

       Y.      Drospirenone and ethinyl estradiol (Ocella)

       663.    Drospirenone and ethinyl estradiol, commonly known by the brand name Ocella®,

is a pair of drugs used in combination as an oral contraceptive. This drug is also marketed under

the brand names Yaz, Yasmin and Gianvi.

       664.    Barr Pharmaceuticals received approval to market generic Ocella in 2008, and Teva

continued to market the drug after the acquisition of Barr in 2011 under the name Gianvi.

       665.    In late 2012, Lupin received approval to market a generic Ocella product.

       666.    By April 2013, Lupin was making plans for a summer 2013 entry into the market

and contacted Teva to initiate negotiations on how the competitors would allocate fair share

between themselves. On April 24, 2013, Berthold of Lupin called          at Teva. The two spoke

for over three (3) minutes. Berthold called      two more times the following day.

       667.    The negotiations intensified the following week among Teva, Lupin, and a third

competitor – Actavis. In preparation, on April 29, 2013,           of Teva asked a colleague for




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current market share figures along with a list of Teva’s generic Ocella customers. The colleague

responded with a customer list, estimating Teva’s current share of the market at 70-75%.

       668.     The next day, April 30,               , a senior sales and marketing executive at

Actavis, and Rekenthaler of Teva spoke twice by phone. That same day, Patel of Teva also called

Boyer. On May 1, Patel sent          four (4) text messages.

       669.     The competitors’ communications continued into early May. On May 6, Patel and

Berthold spoke twice by phone; the second call lasting twenty-two (22) minutes.                 and

Berthold also spoke that same day. On May 7, Patel and Berthold had yet another call, this one

lasting over ten (10) minutes. Patel also placed a call to Rogerson at Actavis, which lasted thirty-

nine seconds.

       670.     Faced with the news it had received from a major customer on May 8 – that Actavis

had bid for that customer’s business for generic Ocella – Teva doubled down on its efforts to reach

a deal with its competitors that would give each its fair share. Patel called Rogerson on May 8,

and they spoke for nineteen (19) minutes. On May 9,            spoke with Berthold twice, for one

(1) and twelve (12) minutes, respectively.

       671.     The following day, Teva’s Liz Ricketts complied with Rekenthaler’s request for an

analysis of the business Teva would lose by conceding its two major customers for this drug to

Actavis and/or Lupin. Armed with that analysis, Patel spoke to Berthold three times that afternoon

– with one call lasting over seventeen (17) minutes. Patel also called Rogerson at Actavis and the

two spoke for more than five (5) minutes.

       672.     On May 14, 2013,               of Teva recommended to Rekenthaler that Teva

concede the business to Actavis. Rekenthaler replied simply: “




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       673.    On July 10, 2013,           spoke to Berthold twice (for more than eight (8) minutes

and more than two (2) minutes). After the first of those calls,      requested specific information

from a colleague to help him continue to negotiate with Lupin:




       674.    Later that day,         called and spoke to Patel for more than seven (7) minutes,

conveying what he had learned from Berthold. During that call, the two decided that Patel would

call Berthold back and confirm the agreement between Teva and Lupin. Patel called Berthold

shortly after and the two spoke for more than four (4) minutes. They spoke again first thing the

next morning, for nearly one (1) minute.

       675.    The next day, Patel e-mailed




       676.    Discussions between Teva and Lupin continued on July 17, 2013 with a call

between         and Berthold that lasted twenty (20) minutes.

       677.    On July 29, 2013,



       678.    The lines of communication between competitors Teva and Lupin remained open

and active over the next few months as they worked on the details of which company would take


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which generic Ocella accounts. On September 5, 2013, for example, Rekenthaler conveyed to a

colleague the importance of retaining a particular customer’s account, along with his

understanding of            discussions with Berthold about Lupin’s desired market share.

spoke to Berthold by phone twice the following day to confirm the understanding between the two

companies.

       679.     On September 9, 2013,             of Teva sent an internal e-mail to his colleagues

conveying his thoughts about Lupin’s bid for a portion of another customer’s generic Ocella

business. He informed them that because Teva had secured two other significant customer



       680.     In mid-October 2013, as Teva and Lupin finalized the allocation of accounts

between them,             sent a word of caution to a co-worker, reminding her of the parameters

of the furtive arrangement. He told her to be careful before conceding large customers on a “bucket

basis” rather than drug-by-drug in order to “make sure we are not giving up volume on products

where we do not have our fair share.”

       Z.       Econazole

       681.     The market for Econazole is mature, as Econazole has been available in the United

States for almost 20 years. Defendants Taro and Fougera sell generic Econazole pursuant to

ANDAs approved by the FDA in November 2002. Defendant Perrigo sells Econazole pursuant to

an ANDA approved in 2004. Teligent sells Econazole pursuant to an ANDA it acquired in

February 2013.

       682.     During the relevant time period, Defendants Fougera, Perrigo, Taro, and Teligent

sold Econazole to purchasers throughout the United States.




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       683.    At all times relevant to this lawsuit there has been more than one manufacturer of

Econazole on the market. Defendants Fougera, Perrigo, Taro, and Teligent sold Econazole to

Plaintiffs and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

       684.    Between 2009 and September 2013, Defendants’ prices for Econazole remained

relatively stable. However, beginning in September 2013 and continuing thereafter, Defendants

began implementing abrupt and substantial price increases on Econazole.

       685.    Between September 2013 and the Summer of 2014, Econazole, which had cost

roughly 12 cents/unit shot up to more than four dollars/unit.

       686.    This skyrocketing price cannot be explained by supply shortages or other market

events. The only material change in the months preceding the price increases was Teligent’s entry

into the market.

       687.    On Feburary 1, 2013, Teligent acquired an ANDA for Econazole from Prasco LLC.

During that month, the CEO of Teligent attended trade conferences with Perrigo and Taro, where

the three Defendants had an opportunity to discuss Teligent’s entry into the market.

       688.    During this same time period, Teligent also became interested in entering the

market for other generic pharmaceuticals. Teligent launched its first topical generic drug in late

2012, followed by its acquisition of the Econazole ANDA in February 2013. By September 2013,

Teligent had 12 ANDAs pending for FDA approval. By June 20, 2014, that number had jumped

to 17, with four additional ANDAs submitted under joint-development plans with other

manufacturers and another five ANDAs planned for submission by the end of 2014.

       689.    When Teligent acquired the right to sell Econazole from Prasco LLC, it was the

beginning of a publicly announced plan that would place Teligent in direct competition with Taro




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and Perrigo across numerous drugs. Teligent now makes 20 topical drugs. Seventeen of these

drugs are also made by Taro; fifteen are made by Perrigo.

       690.    Teligent’s entry into the Econazole market demonstrates a “fair share” agreement.

Where a drug manufacturer, like Teligent, plans to enter a market with established manufacturers,

and where the established manufacturers are competitors across multiple drugs, such a situation

sets the groundwork for a “fair share” agreement. Rather than allow the new entrant to drive the

price of drugs lower, the incumbent manufacturers and the new entrant can “play nice in the

sandbox” and keep prices high. The conduct of Teligent, Perrigo, Fougera and Taro after Teligent

entered the Econazole market is the result of a market allocation or “fair share” agreement among

these Defendants.

       691.    Teligent launched Econazole under its own label in September 2013.            In a

competitive generic drug market, new market entrants typically price their product below the

prevailing market price in order to gain market share. Teligent, however, announced a list price

(WAC) increase in July 2013, even before its first sale of Econazole under its own label. Rather

than competing for market share by lowering prices, Teligent made the economically irrational

decision to raise prices. Upon information and belief, Teligent’s conduct reflected an agreement

with Perrigo, Fougera, and Taro that Teligent would enter with higher – rather than lower – prices

in exchange for the incumbents’ promise to cede market share to Teligent.

       692.    On October 28-30, 2013, right before Teligent’s higher prices took effect in the

marketplace, representatives from Perrigo, Taro, Fougera and Teligent, met at a GPhA conference

where they had an opportunity to discuss Econazole market shares and pricing. See Ex. 1.




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       698.    In the Fall of 2014, Senator Bernie Sanders and Representative Elijah Cummings

requested information from manufacturers of ten drugs, including Econazole, which had

experienced extraordinary prices increases. In response to a Congressional request from Senators

Susan Collins, Claire McCaskill, Bill Nelson, and Mark Warner, in August 2016, the GAO issued

a report in which Econazole was identified as experiencing an “extraordinary price increase.”

       699.    Although the conspirators have not been able to maintain their full conspiracy price

increase, Defendants continue to charge an average of more than $2.00 per dose for Econazole,

which is roughly four times the prevailing market price before the conspiratorial price increases in

late 2014.

       700.    Upon information and belief, the price increases on Econazole were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Econazole in the United States. These collusive agreements were furthered at least

in part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications such as those identified below.

       701.    For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives of Defendants Perrigo, Fougera, and Taro. See Ex. 1.

       702.    On February 20-22, 2013, GPhA held its 2013 Annual Meeting in Orlando,

Florida that was attended by representatives from Perrigo, Taro, and Teligent. See Ex. 1.

       703.    On February 24-27, 2013, representatives from Perrigo, Fougera, Taro, and Teligent

attended ECRM’s Annual Retail Pharmacy and Efficent Program Planning Session. See Ex. 1.

       704.    On April 20-23, 2013, NACDS held its 2013 Annual Meeting at The Breakers in

Palm Beach, Florida. NACDS’s 2013 Annual Meeting was attended by representatives of

Perrigo and Taro. See Ex. 1.




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         705.   On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives of Perrigo, Fougera, and Taro. See Ex. 1.

         706.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands

Expo Convention Center in Las Vegas, Nevada. NACDS’s August 2013 Total Store Expo was

attended by representatives from Defendants Perrigo, Fougera, and Taro. See Ex. 1.

         707.   On October 28-30, 2013, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Perrigo, Fougera, Taro, and Teligent. See Ex. 1.

         708.   On February 19-21, 2014, GPhA held its Annual Meeting at the JW Marriott in

Orlando, Florida that was attended by representatives from Defendants Perrigo, Taro, and

Teligent. See Ex. 1.

         709.   On February 23-26, 2014, representatives from Perrigo, Taro, and Teligent attended

ECRM’s Annual Retail Pharmacy and Efficient Program Planning Session. See Ex. 1.

         710.   On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale,

Arizona. NACDS’s 2014 annual meeting was attended by representatives from Defendants

Perrigo and Taro. See Ex. 1.

         711.   On June 3-4, 2014, GPhA held a meeting at the Bethesda North Marriott Hotel in

Bethesda, Maryland that was attended by representatives from Perrigo, Fougera, and Taro. See

Ex. 1.

         712.   On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center in Boston, Massachusetts. NACDS’s August 2014 Total Store Expo was

attended by representatives from Defendants Perrigo and Taro. See Ex. 1.

         713.   On October 27-29, 2014, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives of Perrigo, Fougera, Taro, and Teligent. See Ex. 1.




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       714.    The GPhA Annual Meeting in Miami Beach, Florida on February 9-11, 2015 was

attended by representatives of Perrigo, Taro, and Teligent. See Ex. 1.

       715.    On February 22-25, 2015, representatives from Perrigo, Taro, and Teligent attended

ECRM’s Annual Retail Pharmacy and Efficient Program Planning Session. See Ex. 1.

       716.    On April 25-28, 2015, NACDS held its 2015 annual meeting at The Breakers,

Palm Beach, Florida. NACDS’s 2015 annual meeting was attended by representatives from

Defendants Perrigo and Taro, who were key executives for generic drug sales and pricing. See Ex.

1.

       717.    On June 9-10, 2015, GPHA held a meeting in Bethesda, Maryland that was

attended by representatives of Perrigo and Taro. See Ex. 1.

       718.    On August 22-25, 2015, NACDS held its 2015 Total Store Expo at the Denver

Convention Center in Denver, Colorado. NACDS’s August 2015 Total Store Expo was attended

by representatives from Perrigo and Taro. See Ex. 1.

       719.    On November 2-4, 2015, GPHA held a meeting in Bethesda, Maryland that was

attended by representatives of Perrigo and Taro. See Ex. 1.

       720.    Defendants continued to attend trade association meetings and conference

throughout 2016, including: (i) NACDS’s 2016 annual meeting at The Breakers, Palm Beach,

Florida on April 16-19, 2016; and (ii) NACDS’s 2016 Total Store Expo at the San Diego

Convention Center in San Diego, California on August 19-22, 2016. See Ex. 1.

       721.    A number of individuals with leadership roles at Teligent have ties to other

Defendants that are implicated in the conspiracy.

       722.    For example, Jason Grenfell-Gardner (“Grenfell-Gardner”) joined Teligent as CEO

in July 2012. Prior to that time, he had served in a number of roles at West-Ward.




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       723.    Damian Finio, who worked with Grenfell-Gardner at West-Ward, served briefly on

Teligent’s Board in 2014 before leaving that job to become the CFO of Heritage. In 2018, he

returned to Teligent and is now Teligent’s CEO.

       724.    Carole Ben-Maimon joined the Teligent Board in 2016. She has held leadership

positions at Impax, Par, and Teva.

       725.    Narendra Borkar served on the Board of Teligent and is the former CEO of

Aurobindo and Caraco (now part of Sun).

       726.    Bhaskar Chaudhuri served on the Teligent Board and previously worked for

Valeant and Mylan.

       AA.     Enalapril Maleate

       727.    Enalapril Maleate (“Enalapril”), also known by the brand name Vasotec®, is a drug

used in the treatment of high blood pressure and congestive heart failure.

       728.    In 2009, Taro discontinued its sales of Enalapril under its own label and effectively

exited the market.    It continued supplying Enalapril thereafter only to certain government

purchasers under the “TPLI” label.

       729.    By mid-2013, the Enalapril market was shared by three players: Mylan with 60.3%,

Wockhardt with 27.5%, and Teva with 10.7%. Those three companies coordinated a significant

anticompetitive price increase for Enalapril in July 2013.

       730.    Shortly before the Teva and Wockhardt price increases, on or about July 12, 2013,

Aprahamian, the Vice President of Sales and Marketing at Taro, was considering whether to renew

or adjust Taro’s price on Enalapril for its national contract (for government purchasers), which

was slated to expire in September 2013.




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       735.    In the coming months, both Teva and Taro engaged in intensive analyses of how

the market should look after Taro’s re-launch so that each competitor would have its desired, or

“fair,” share of the market.

       736.    On July 31, 2013, for example, Patel provided her analysis of the drugs Teva should

bid on in response to a request for bids from a major customer, which was largely based on whether

Teva had reached its “fair share” targets. Enalapril was one of the drugs where, according to Patel,

Teva was                       so she authorized the submission of a bid. Prior to sending that e-mail,

Patel had spoken to Aprahamian on July 30 (11 minute call) and July 31, 2013 (4 minute call).

Based on the agreement between the two companies, and in accordance with the industry’s “fair

share” code of conduct, Taro understood that it would not take significant share from Teva upon

its launch because Teva had a relatively low market share compared to others in the market.

       737.    Meanwhile, as he worked on pricing for Taro’s upcoming re-launch, Aprahamian

emphasized to his colleagues that Taro’s final prices would be set largely based on

                                          ”

       738.    In early December 2013, Taro was fully ready to re-enter the Enalapril market. On

December 3, 2013, Aprahamian consulted twice by phone with Mylan’s senior account executive,

                , during conversations of two (2) and eleven (11) minutes.

       739.    On December 4, 2013, one customer that had recently switched from Wockhardt to

Teva expressed an interest in moving its primary business to Taro for the 2.5mg, 5mg, 10mg, and

20mg strengths. At 4:30 pm that afternoon, Aprahamian instructed a colleague to prepare a price

proposal for that customer for all four products.




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       740.    Before sending the proposal to the customer, however, Aprahamian sought the

input of his competitor, Teva. On December 5, 2013, he and Patel spoke by phone for nearly five

(5) minutes.

       741.    Taro’s fact sheet for the Enalapril re-launch generated on the day of Aprahamian’s

call with Teva showed a

nearly identical to Wockhardt’s and Mylan’s.

       742.    Taro began submitting offers on Enalapril the following day, December 6, 2013.

But even with the bidding process underway, Aprahamian made certain to communicate with

Mylan’s         during a brief phone conversation that afternoon. This particular communication

was important since Mylan was the market share leader and Taro was targeting more of Mylan’s

customers than those of other competitors.

       743.    Over the next ten days, the discussions between Taro and Mylan continued over

how to allocate the Enalapril market. Aprahamian and             talked for ten (10) minutes on

December 11, and for seven (7) minutes on December 12.

       744.    Thereafter, and with the likely consent of Mylan, Aprahamian reported on an

internal Sales and Marketing call on December 16, 2013, that Taro’s prior target Enalapril market

share goal of 15% had been raised to 20%.

       745.    Taro continued to gain share from both Mylan and Wockhardt, and to coordinate

with both. For example, in late December, Taro submitted a competitive offer to Morris &

Dickson, a Wockhardt customer. This caused                  of Wockhardt to call Aprahamian on

December 31, 2013, to discuss the situation. During the call,            agreed that so long as

Wockhardt was able to retain McKesson as a customer, it would concede Morris & Dickson to




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       750.   On August 28, 2014, Rekenthaler informed Teva sales employees that Teva had

received approval on Entecavir and would circulate offers later that day or the next day.

Rekenthaler noted:

                        Rekenthaler also noted that Teva would be pricing as if they were

“



       751.   The same day, August 28, 2014, Rekenthaler had three phone calls with

      , a senior national account executive at Par. The two spoke two (2) more times the next

day, August 29, 2014.

       752.   On August 29, a Teva sales employee reported that a customer had informed her

that Par was launching Entecavir at a lower price point than Teva. The employee inquired whether

Teva might consider reducing its price as well. Rekenthaler, after speaking with            at Par

several times on August 28 and 29, replied that Teva would remain firm on the price and noted

that he was                                         Despite Teva’s refusal to lower its price, that

customer signed an agreement with Teva to purchase Entecavir.

       753.   Also on August 29, Rekenthaler e-mailed              asking if she had received any

feedback from CVS on Entecavir.            replied that she had not, and followed up later saying

that ABC had indicated that it would sign Teva’s offer letter. Rekenthaler replied:




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        754.     Teva and Par both launched their respective Entecavir products on September 4,

2014.   Within days of its launch, Teva had captured 80% of the market for new generic

prescriptions and 90.9% of the total generic market (new prescriptions and refills).

        755.     Within a few weeks, however, Teva’s share of the market was much more in line

with “fair share” principles – 52.6% for new generic prescriptions, and 47% of the total generic

market (new prescriptions and refills).

        756.     On October 9, 2014, another customer, who had already received a discount on

Entecavir, asked for an additional discount to




        757.     The two-player market for Entecavir remained stable over time. By January 2,

2015, Teva’s share of the market for new generic prescriptions was 52.2%, and its share of the

total generic market (new prescriptions and refills) was 46.7%.

        CC.      Estradiol Tablets

        758.     Estradiol is a form of estrogen that used to treat symptoms of menopause. During

the time period relevant to this Complaint, Actavis, Mylan, and Teva dominate the market for

Estradiol tablets.

        759.     Estradiol was one of eight drugs that Teva targeted for a price increase effective

July 31, 2012. Prior to implementing the price increase for these drugs, Green and Rekentheler

spoke with their competitors for each targeted drug to ensure that the understanding to increase

prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For example, in July

2012,          spoke by phone with Nesta of Mylan, CW-2 of Sandoz, and William Hill of Alvogen.

On July 31,          and Nesta spoke five times, and immediately following some of these calls,




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       called Hill. Also, Rekentheler spoke with                  of Actavis and              of

Breckenridge. These communications solified the agreement between the Defendants that each

would adhere to the price increases for the drugs that each manufactured.

           DD.    Estradiol/Norethindrone Acetate Tablets (Mimvey)

           760.   Estradiol/Norethindrone Acetate Tablets (“Mimvey”) contains estrogen and

progestin and is used to reduce the symptoms of menopause. During the time period relevant to

this Complaint, Breckenridge and Teva dominate the market for Estradiol/Norethindron Acetate

tablets.

           761.   Estradiol/Norethindrone Acetate was one of eight drugs that Teva targeted for a

price increase effective July 31, 2012. Prior to implementing the price increase for these drugs,

Green and Rekentheler spoke with their competitors for each targeted drug to ensure that the

understanding to increase prices would hold, including Mylan, Actavis, Breckenridge, and

Alvogen. For example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of

Sandoz, and                   of Alvogen. On July 31,           and Nesta spoke five times, and

immediately following some of these calls,                   . Also, Rekentheler spoke with

                                                             These communications solified the

agreement between the Defendants that each would adhere to the price increases for the drugs that

each manufactured.

           762.   On November 14, 2013, Breckenridge increased its pricing on both Mimvey and

Cyproheptadine HCL Tablets. For Cyproheptadine, Breckenridge increased its WAC pricing by

as high as 150%, and raised its customer contract pricing even higher – 400%. The increases to

Mimvey were a more modest 20-27% for both the WAC and customer pricing.




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       763.    In the weeks leading up to those increases – when Patel was still out on maternity

leave – Rekenthaler had several phone calls with           at Breckenridge to coordinate the price

increases. The two spoke twice on October 14, 2013 and had a twenty-six (26) minute call on

October 24, 2013. After those calls, they did not speak again until mid- January 2014, when Teva

began preparing to implement its increase.

       764.    Over the next several months – during the period of time before Teva was able to

follow the Breckenridge price increases – Teva followed the “fair share” understanding to the letter

and refused to increase market share while it had a lower price than its competitors.

       765.    On April 4, 2014, Teva followed the Breckenridge price increases with a substantial

increase of Mimvey (contract increases of as much as 393%. In addition, Teva increased the WAC

price on Mimvey (Estradiol/Norethindrone Acetate Tablets) by 26% to exactly match

Breckenridge’s WAC price.

       EE.     Ethinyl Estradiol and Levonorgestrel

       766.    Ethinyl estradiol and levonorgestrel, when used in combination, is an oral

contraceptive used to prevent pregnancy. During the relevant time period, both Teva and Sandoz

marketed ethinyl estradiol and levonorgestrel under multiple names – including both Portia and

Jolessa.

       767.    In or around May 2012, Teva had much higher market share than Sandoz for both

Portia and Jolessa. Teva’s market share for Portia was 37% compared to Sandoz’s 17%, while

Teva’s market share for Jolessa was 43% compared to Sandoz’s 11%.

       768.    On May 11, 2012, Walmart contacted Teva with a right of first refusal and

explained that another supplier had made an offer for the sale of four drugs, including Portia and

Jolessa.                 , a senior sales executive at Teva, responded:




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       769.     After sending out a competitive offer for the sale of three drugs, including Portia

and Jolessa, to the customer on May 16, 2012 and an even more competitive offer on May 18 –

Teva abruptly backtracked on May 23, 2012 and removed Portia and Jolessa from the offer. The

night before this change in plans, on May 22,         of Teva spoke on the phone with CW-2, then

at Sandoz, for five (5) minutes, and agreed to withdraw the offer for Portia and Jolessa. The

decision to concede the Walmart business to Sandoz led to a more equal share split between the

companies for both Portia and Jolessa. Teva discussed the decision internally and explained that

the reason for the



       770.     Sandoz continued to coordinate with Teva to achieve its “fair share” of the markets

for both Portia and Jolessa. On July 2, 2013, another key customer contacted Teva stating it had

received bids on Portia and Jolessa and in order for Teva to retain the business, Teva would need

to submit its               On July 9, 2013, CW-1 of Sandoz called Patel and left a voicemail.

Shortly thereafter, they connected for a sixteen (16) minute call. On July 10, Teva learned that the

challenger was Sandoz. At 12:16 pm, Rekenthaler forwarded an e-mail to Patel and posed the

question:                                   Patel did not respond by e-mail, but due to the close

proximity of their offices she likely related her conversation with CW-1 directly to Rekenthaler.

       771.     Rekenthaler then called CW-2 at Sandoz at 1:26 pm that same day and they spoke

for two (2) minutes. CW-2 called Rekenthaler back a few minutes later and they spoke for nine




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(9) minutes. CW-2 and Rekenthaler would speak once more later that day, at 4:48 pm, for seven

(7) minutes. Later that same evening, Teva submitted a cover bid to the customer for Portia and

Jolessa, which the customer described as                           for their primary supply. Teva

submitted an intentionally inflated bid for the two drugs in order to ensure that Sandoz obtained

the primary award with the customer.

       FF.     Etodolac

       772.    Etodolac, also known by the brand name Lodine, is a medication known as a non-

steroidal anti-inflammatory drug (NSAID). It is used to reduce pain, swelling and joint stiffness

from arthritis. It works by blocking the body’s production of certain natural substances that cause

inflammation. An extended release version of Etodolac – Etodolac ER –also known by the brand

name Lodine XL, is also available.

       773.    Apotex, Taro, Teva and Sandoz dominated the market for Etodolac tablets; Teva,

Taro, and Zydus dominated the market for Etodolac ER tablets; and Apotex, Teva, and Taro

dominated the market for Etodolac capsules.

       774.    In early 2012, Apotex (which had received an ANDA to market Etodolac capsules

in 2000) was planning to re-enter the market for the drug while Teva was planning to exit the

market. Although the number of competitors in the market would remain the same, Apotex and

Taro were able to coordinate a large price increase due to the overarching Fair Share Agreement.

       775.    As a result of this coordination, Taro was able to lead a price increase that more

than tripled its previous price for Etodolac capsules from early 2012, while Apotex was able to

enter the market at the higher price and gain its “Fair Share.” As a result, between May and August

of 2012, Taro and Apotex were able to coordinate to increase prices by more 200%.




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(immediate release). She instructed them to




tablet and Etodolac ER price increases (among other things). Between July 29 and August 2, 2013,

for example, Patel engaged in the following series of calls with CW-1 of Sandoz and Aprahamian

at Taro:




       787.    Aprahamian was also speaking to his contact at Sandoz – CW-3 – during this time,

including the following calls:




       788.    On August 1, 2013 - shortly after speaking with Patel – Aprahamian instructed a

colleague at Taro to begin implementing a price increase on Etodolac tablets and Etodolac ER.

Aprahamian stated:




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       793.    Defendants continued to allocate the market. On May 14, 2014, Anda, a wholesaler

customer of Teva, notified Teva that Zydus had submitted a bid for its Etodolac ER business. That

same day, Patel exchanged eight (8) text messages and had a four (4) minute call with Aprahamian.

The next day, on May 15, 2014, Green called Patel and they spoke for twenty (20) minutes.

       794.    On May 20, 2014, Green called Patel and they spoke for four (4) minutes. That

same day,               , a senior sales executive at Zydus, also exchanged two (2) text messages

and had a 39-second call with Maureen Cavanaugh of Teva. The next day – May 21, 2014 – Green

called Patel again and they spoke for twenty- eight (28) minutes. That same day,         of Zydus

and Cavanaugh of Teva exchanged four (4) text messages.

       795.    The next day, on May 22, 2014,            otts, Senior Analyst, Strategic Support at

Teva, sent an internal e-mail to certain Teva employees, including Patel, stating: “I have proposed

we concede Anda as they are a small percent of market share and we will have to give up some



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share with a new market entrant. Anda is looking for a response today.” Patel responded: “agree

with concede.”

       796.    Similarly, on June 27, 2014, Econdisc, a Teva GPO customer, notified Teva that it

had received a competitive offer for its Etodolac ER business. Later that day, Patel spoke with

Aprahamian at Taro for fourteen (14) minutes.

       797.    On July 2, 2014, Patel called Green and left a four-second voicemail. The next day,

on July 3, 2014, Patel sent an internal e-mail advising that:                        Later that day,

Teva told Econdisc that it was unable to lower its pricing to retain the business.

       798.    When Patel’s supervisor,




       GG.     Fenofibrate

       799.    Fenofibrate – also known by brand names such as Tricor – is a medication used to

treat cholesterol conditions by lowering “bad” cholesterol and fats (such as LDL and triglycerides)

and raising “good” cholesterol (HDL) in the blood.

       800.    By the end of 2012, Teva and Lupin were the only major suppliers of generic

Fenofibrate 48mg and 145mg tablets, with Teva having approximately 65% market share and

Lupin having approximately 35% market share.

       801.    Based on the Fair Share agreement, between late 2012 and March 2014, three new

competitors entered the Fenofibrate market – Mylan, Perrigo, and Zydus. Consistent with the

conspiracy, when each competitor entered, the existing manufacturers coordinated to cede market

share to the new entrant.




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        805.   In one striking example of the coordination between the three companies, Nesta

called Green at 2:42 pm on May 7 and they spoke for more than eleven (11) minutes. Immediately

after hanging up the phone – at 2:54 pm – Nesta called Berthold and spoke for nearly three (3)

minutes.

        806.   On May 10, 2013,              received the Teva sales and profitability information

he requested. After having the information for barely a half hour, and before there was even a

formal price challenge by Mylan at any of Teva’s customers,              concluded that

                                                                                                By

conceding Econdisc to Mylan, Teva would walk away from its single biggest customer (in terms

of gross profit) for the 48mg tablets and the third largest out of six customers (in terms of gross

profit) for the 145mg tablets. Patel, who had been at Teva for only two weeks at that point, said

she                                                                                  The logic, of




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course, was to allocate a customer of sufficient size to Mylan so that Mylan would be comfortable

with its “fair share” and not need to compete on price to acquire market share.

       807.    Teva executives immediately reached out to executives at Mylan and Lupin through

a series of phone calls. These calls include at least those listed below. On these calls, executives

of Teva, Mylan, and Lupin confirmed the market allocation scheme.




       808.    Teva made good on its agreement to concede Econdisc to Mylan. On May 15, 2013,

Econdisc informed Teva that a new market entrant had submitted a competitive offer for

Fenofibrate 48mg and 145mg tablets and asked Teva for a counteroffer to retain Econdisc’s

business. Less than an hour after receiving the notice of the price challenge, Green recommended

conceding Econdisc based on



       809.    Following Teva’s internal confirmation of the market allocation scheme, Teva

executives spoke with executives at Mylan and Lupin numerous times. These calls include at least

those listed below. On these calls, executives of Teva, Mylan, and Lupin confirmed that Teva was

sticking to the market allocation scheme by conceding Econdisc to Mylan.




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       810.    In February 2014, Zydus was preparing to launch into the Fenofibrate market.

Green, now at Zydus, colluded with Patel, Rekenthaler, Nesta, Berthold, and Perrigo’s

        to share pricing information and allocate market share to his new employer, Zydus.

       811.    On February 21, 2014, Teva’s Patel sent a calendar invite to Rekenthaler and to her

supervisor,            Senior Director, Marketing Operations, for a meeting to discuss

                                        n February 24, 2014. One discussion item was Zydus’s

anticipated entry into the Fenofibrate market. Notably, Defendant Zydus did not enter the

Fenofibrate market until a few weeks later on March 7, 2014.

       812.    In the days leading up to the meeting, between February 19 and February 24, Patel

and Green spoke by phone at least 17 times – including two calls on February 20 lasting twenty-

seven (27) minutes and nearly nine (9) minutes, respectively; one call on February 21 lasting

twenty-five (25) minutes; and a call on February 24 lasting nearly eight (8) minutes.



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       813.    On or about March 7, 2014, Defendant Zydus entered the Fenofibrate market at

WAC pricing that matched Defendants Teva, Mylan, and Lupin. In the days leading up to the

launch, Defendants from all four competitors were in regular contact with each other to discuss

pricing and allocating market share to Zydus. Indeed, between March 3 and March 7, these

competitors exchanged at least 26 calls with each other. These calls are detailed in the table below:




       814.    During the morning of March 17, 2014, Patel and Green had two more phone calls,

lasting nearly six (6) minutes and just over five (5) minutes. During those calls they were

discussing how to divvy up the market for several products where Zydus was entering the market.

A half an hour after the second call, Patel e-mailed her supervisor,              identifying



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                  for several products on which Teva overlapped with Defendant Zydus - including

Fenofibrate. With respect to Fenofibrate, Patel recommended                                   Later

that same day, Patel called Green again and they spoke for more than eleven (11) minutes.

         815.   In the months that followed, Teva                          ” several customers to

Zydus in accordance with the agreement they had reached.

         816.   For example, on Friday March 21, 2014,                   , a Director of National

Accounts at Teva, sent an internal e-mail to certain Teva employees, including Patel and

Rekenthaler, notifying them that Zydus had submitted an unsolicited bid to a Teva customer,

OptiSource. Patel responded that Teva was “

         817.   That morning, Patel sent a calendar invite to Rekenthaler and to

scheduling a meeting to discuss



         818.   The following Monday – March 24, 2014 – Patel sent internal e-mails directing that

Teva “            OptiSource and Humana to Zydus. Patel further stated that Teva provided a

                      to a third customer, NC Mutual, but stated that Teva should

                                      That same day, Patel called Green and they spoke for more

than fourteen (14) minutes. She also spoke with Berthold of Lupin for nearly twelve (12) minutes.

         819.   In the meantime, Zydus bid at another Teva customer, Ahold. On March 25, 2014,

Patel e-mailed Rekenthaler stating:                     NC pending, and new request for Ahold.

We may not be aligned.” Patel then sent an internal e-mail directing that Teva “                the

Ahold business. Later that day, Patel called Green. He returned the call and they spoke for nearly

eight (8) minutes. Patel also called Berthold of Lupin and they spoke for five (5) minutes.




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          HH.    Fluocinonide

          825.   The market for Fluocinonide is mature, as the drug has been available in the United

States for more than 40 years. Fluocinonide, also known by the brand name Lidex, is a topical

corticosteroid used for the treatment of a variety of skin conditions, including eczema, dermatitis,

psoriasis, and vitiligo. It is one of the most widely prescribed dermatological drugs in the United

States.

          826.   There are several different formulations of Fluocinonide including, among others:

Fluocinonide 0.05% cream, Fluocinonide 0.05% emollient-based cream, Fluocinonide 0.05% gel

and Fluocinonide 0.05% ointment.

          827.   As an established generic drug that had been on the market for a long period of

time, in early 2014, the price of generic Fluocinonide was fairly stable. As of June 2014, Teva,

Taro and Sandoz were the only three manufacturers actively selling any of the four Fluocinonide

formulations mentioned above. On June 11, 2014, Teva identified the market-share breakdown

for each of the different formulations of those drugs as follows:




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          842.   During one of the calls on June 20 referenced above, Aprahamian dictated to CW-

3 over the telephone specific Taro contract price points for each of the same classes of trade that

he had provided to Patel, for Fluocinonide ointment, Fluocinonide gel, and various other drugs

that Taro had increased that overlapped with Sandoz. CW-3 took very detailed notes of the pricing

information Aprahamian provided, which again were not publicly available. Based on a history

and pattern of practice between CW-3 and Aprahamian, it was understood that Sandoz would

follow the Taro price increase.

          843.   On June 26, 2014, Teva sent out a calendar notice to a number of sales and pricing

employees- including Patel and Rekenthaler – for a 3:00 pm conference call that day. The notice

stated:



                                                                              The next morning, at

9:57 am, Patel and Aprahamian spoke again for nearly thirteen (13) minutes.

          844.   Taro and Teva set identical WAC prices within a month of each other in the

Summer of 2014, reflecting increases of more than 200%:




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2014 by raising its prices to the exact WAC prices as Teva and Taro. The Actavis price increase

on Fluocinonide cream was effective December 19, 2014. Not surprisingly, in the days and weeks

leading up to the Actavis price increase, the co-conspirators at Actavis, Taro and Teva were all

communicating frequently. At least some of those communications are set forth below:




       849.    As a result of thise communications, Defendants Sandoz, Taro, Teva, and Actavis

sold Fluocinonide to Plaintiffs and others in the United States at supracompetitive prices inflated

by the unlawful and anticompetitive agreements alleged in this Complaint.

       II.     Fosinopril HCTZ

       850.    Fosinopril HCTZ is the generic version of Monopril HCT, a drug developed by

Bristol Meyers Squibb in 1994 to treat hypertension. The market for Fosinopril HCTZ is mature.

The primary marketers of Fosinopril HCTZ are Aurobindo, Citron, Glenmark, Heritage, and

Sandoz, and each sold Fosinopril HCTZ to Plaintiffs and others in the United States at




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supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

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       851.    During an April 22, 2014 internal call at Heritage, Malek informed the sales team

that he wanted Heritage to take a price increase on Fosinopril HCTZ. Both Malek and Glazer

pushed the Heritage sales team members to communicate with their competitors to obtain

agreements to raise prices.

       852.    In early May 2014, sales executives with pricing authority for Fosinopril HCTZ

from Heritage, Glenmark, and Aurobindo began to discuss a collusive price increase for the drug.

For example, on May 2, 2014, the Heritage executive,                                    reached

out to his counterpart at Glenmark, the Executive Vice President of Generics. On May 8, 2014,

the Fosinopril HCTZ sales executives from each of the three companies spoke several times by

telephone in order to discuss and coordinate the price increase.

       853.    On May 14, 2014, at the MMCAP conference, executives from Sandoz, Aurobindo,

and Heritage met in person to discuss raising prices on Fosinopril HCTZ. Heritage’s

                                                                                 ).   also spoke

with CW-3, a National Accounts Executive at Sandoz. The next day, Aurobindo’s               and

Sandoz’s CW-3 communicated by text messages about the price increase.

       854.    Also on May 15, 2014, Heritage agreed to walk away from a large pharmacy

account, so that it could concede this business to Aurobindo. This act against Heritage’s self-

interest was done to ensure that Aurobindo participated in the price increase.

       855.    On May 21, 2014, Heritage’s             exchanged texts with Sandoz’s CW-3 to

confirm that each had the other’s mobile phone numbers.




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       856.       On June 3, 2014, following an HDMA conference held that day, Heritage’s

met for drinks with her counterpart at either Sandoz or Aurobindo (or both). During the week that

followed this conference, the sales executives from Aurobindo, Sandoz, and Glenmark spoke by

phone at least nine times and also exchanged numerous text messages about the Fosinopril HCTZ

price increase.

       857.       On June 16, 2014, a different Glenmark employee called a different Aurobindo

employee and they spoke for twenty-two minutes. Again, these discussions were presumably

about the pricing of various Drugs at Issue, including Fosinopril HCTZ.

       858.       On June 25, 2014,

                  spoke by phone for approximately 18 minutes. Upon information and belief, during

that call, Heritage informed the Aurobindo executive that Heritage would increase Fosinopril

HCTZ prices by approximately 200% beginning the next day, and the Aurobindo executive

ensured Heritage that each of Aurobindo, Glenmark, and Sandoz would follow Heritage’s price

increase.

       859.       That same day, Glenmark’s sales executive spoke with the sales executive at Citron

with responsibility for both Glyburide and Fosinopril HCTZ,                                 . Upon

information and belief, during the discussion, Citron informed Glenmark that Citron would be

entering the Fosinopril HCTZ market, and Glenmark informed Citron about the agreement

between Glenmark, Heritage, Aurobindo, and Sandoz to follow Heritage’s forthcoming price

increase.

       860.       Beginning on June 26, 2014, Heritage began to implement the 200% price increase

on Fosinopril HCTZ with its customers.




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       861.    On June 27, 2014, executives from Aurobindo and Glenmark discussed the price

increase on Fosinopril HCTZ. Upon information and belief, each confirmed to the other that the

two companies would follow Heritage’s price increase.

       862.    On July 1, 2014, Citron’s         the Citron employee that had discussed the price

increase with Glenmark reached out to Heritage’s                   to discuss the price increases of

both Glyburide and Fosinopril HCTZ.                                that communications should not

be done through e-mail (this would leave evidence of the conspiracy), and instead, Heritage should

communicate only by phone with a specific Citron executive,

       863.    On July 2, 2014, Heritage’s           spoke with the specified Citron representative,

      for approximately 22 minutes. Upon information and belief, during that call, Citron agreed

to follow Heritage’s price increases on both Fosinopril HCTZ and Glyburide. The two executives

continued to speak frequently about both drugs for the rest of July 2014.

       864.    By July 9, 2014, Heritage had fully implemented the price increase of 200% on

Fosinopril HCTZ. That same day, Citron executives spoke internally about their intention to

follow through on their agreement to increase prices of Fosinopril HCTZ, as well as other drugs

(including Glyburide).

       865.    A few days later, on July 14, 2014, Citron’s                 spoke with a Glenmark

employee on the phone for about 20 minutes.

       866.    The next day, July 15, 2014, Citron began announcing to customers its pricing of

Fosinopril HCTZ (which was in line with the increased prices announced by Heritage).

       867.    The Defendants continued to communicate in mid- and late-July 2014 regarding

the Fosinopril HCTZ price increase. For example, Heritage’s              spoke with her Glenmark

counterpart for about 23 minutes on July 18 and for approximately 5 minutes on July 30, and




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Aurobindo’s              and Citron’s          spoke for about 24 minutes on July 28. Upon

information and belief, Defendants communicated to each other during these calls their

commitment to the agreement to follow Heritage’s increased prices.

       868.    By January 2015, each of the Defendants fully implemented the increased pricing

on Fosinopril HCTZ.

       869.    As alleged above, the price increases regarding Fosinopril-HTCZ were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Fosinopril HCTZ to Plaintiffs and others in the United States.

These collusive agreements were furthered, at least in part, by the communications between and

among Defendants and co-conspirators alleged above.

       JJ.     Gabapentin Tablets

       870.    Gabapentin, also known by the brand name Neurontin, is part of a class of drugs

called anticonvulsants. The medication is used to treat epilepsy and neuropathic pain.

       871.    During the time period relevant to this Complaint, Aurobindo, Glenmark, and Teva

dominate the market for Gabapentin 600mg and 800mg tablets.

       872.    On October 13 and 14, 2014, Patel attended the Annual Meeting of the

Pharmaceutical Care Management Association (“PCMA”) in Rancho Palos Verdes, California,

along with a number of Teva’s competitors, including executives at Glenmark and Aurobindo.

The PCMA described its Annual Meeting as




       873.    Shortly after returning from that meeting, during the morning of October 15, 2014,

Patel informed colleagues at Teva that Glenmark would be taking a price increase on Gabapentin,




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and suggested that this would be a great opportunity to pick up some market share. The Glenmark

increase had not yet been made public, and would not be effective until November 13, 2014.

Nonetheless, Patel informed her colleagues in an e-mail that same day that there would be a WAC

increase by Glenmark effective November 13, and that she had already been able to obtain certain

contract price points that Glenmark would be charging to distributors. At around the time she sent

the e-mail, Patel exchanged two (2) text messages with Brown of Glenmark.

       874.    Also in October 2014, Jim Grauso of Glenmark was speaking frequently with

               , the CEO of Aurobindo, and                was speaking frequently with Teva’s

Rekenthaler.

       875.    Having relatively little market share for Gabapentin, Teva discussed whether it

should use the Glenmark price increase as an opportunity to pick up some market share. Over the

next several weeks, Teva did pick up



       876.    These communications reflect that, even in instances when competitors took share

from each other, it was fully in line with the conspiracy’s Fair Share principles. Indeed, the fact

that these high-level conspirators were actively communicating about confidential pricing

information while also taking market share from each other demonstrates that Teva’s act of taking

market share from Glenmark was the conspiracy functioning on a business as usual basis.

       KK.     Glipizide-Metformin

       877.    The market for Glipizide is mature, as the drug has been available in generic form

since 2005. During the relevant time period, Heritage, Teva, and Mylan sold Glipizide to Plaintiffs

and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.




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       878.    During the same April 15, 2014 phone call between Malek and the Teva’s Patel

alleged above that resulted in an agreement between the two companies to increase prices on Doxy

Mono, Malek informed Teva’s Patel that Heritage wanted to raise prices on Glipizide. Teva agreed

that it would either match Heritage’s price increase or commit to not bidding against Heritage’s

business.

       879.    Around the same time, a second Heritage employee,                              who

was tasked with coordinating price increases with Mylan discussed the Glipizide price increase

with his Mylan contact,         On April 23, 2014,                      e-mailed Malek to confirm

to him that Mylan agreed to the Glipizide price increase as well. (They also agreed to raise prices

on Doxy Mono and Verapamil in the same communication.)

       880.    Pursuant to the agreement with Teva and Mylan, Heritage began informing

customers of the price increase in late June, and had fully implemented the price increase by July

9, 2014.

       881.    In furtherance of the agreement, Teva and Mylan did not bid for any of Heritage’s

Glipizide business. Additionally, in those instances where Heritage’s customers sought out bids

from Teva, Teva responded with pricing that it knew was higher than Heritage’s pricing.

       882.    As alleged above, the price increases regarding Glipizide were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Glipizide to Plaintiffs and others in the United States. These

collusive agreements were furthered, at least in part, by the communications between and among

Defendants and co-conspirators alleged above.




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       LL.     Glyburide

       883.    The market for Glyburide is mature, as Glyburide has been available in the United

States for decades and has been available in generic form in the United States for more than 20

years. Prior to September 2015, the primary manufacturers were Heritage, Teva, Citron, and

Aurobindo (Citron entered the market in 2014 through a manufacturing partnership with

Aurobindo), and each sold Glyburide to Plaintiffs and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       884.    Glazer’s plea agreement with DOJ, which provided the factual basis for his felony

conviction imposed by Judge Surrick, states that: “[i]n furtherance of the conspiracy, [Glazer] and

his co-conspirators at [Heritage], including individuals the defendant supervised, engaged in

discussions and attended meetings with co-conspirators involved in the production and sale of

Glyburide. During such discussions and meetings, agreements were reached to allocate customers

and fix and maintain the prices of Glyburide sold in the United States.”

       885.    Similarly, Malek’s plea agreement with DOJ, which provided the factual basis for

his felony conviction imposed by Judge Surrick, states that: “[i]n furtherance of the conspiracy,

[Malek] and his co-conspirators at [Heritage], including individuals the defendant supervised,

engaged in discussions and attended meetings with co-conspirators involved in the production and

sale of Glyburide. During such discussions and meetings, agreements were reached to allocate

customers and fix and maintain the prices of Glyburide sold in the United States.”

       886.    On or about April 22, 2014, Heritage held an internal teleconference during which

Malek identified drugs that could be targeted for price increases. Glyburide was one of the drugs

on Malek’s list. During the call or shortly thereafter, Malek instructed Heritage sales executives




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to contact their counterparts at Teva and Aurobindo and to reach an agreement to raise prices on

Glyburide.

          887.   Malek himself spoke to a senior executive at Teva, Patel, about Glyburide and

several other drugs on his list, including an 18 minute call on April 15, 2014 (one week before and

after the April 22 conference call). During Malek’s communications with the Teva’s Patel, an

agreement was reached that both companies would raise their prices on Glyburide sold to Plaintiffs

and others in the United States.

          888.   After successfully reaching an agreement with Teva in late April, Malek and Glazer

pressured their sales executives to reach agreement with Aurobindo as well in order to allow the

collusive Glyburide price increase to succeed.

          889.   While Malek was responsible for communicating with Teva (among other

Defendants), Heritage’s                 was assigned to communicate with Aurobindo. Malek and

Glazer asked                for updates about his communications with Aurobindo on April 28, 29,

and 30.                 eventually connected with his contact at Aurobindo on May 8, 2014, when

the two spoke for sixteen minutes. During this call, they agreed to rise the price of a number of

drugs, including Glyburide.

          890.   On May 9, 2014, Heritage’s sales team had another internal call to share the results

of their conversations with competitors and further discuss the contemplated prices increases for

other generic drugs, including Glyburide.

          891.   At the MMCAP conference in Bloomington, Minnesota, between May 12-15, 2014,

Heritage’s          met with a number of competitors and held collusive discussions on a number

of generic drugs.     Among her conspiratorial meetings, Sather met with an executive from

Aurobindo,                who also attended the conference and confirmed that each of the three




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generic manufacturers of Glyburide (Aurobindo, Heritage and Teva) would increase prices on

Glyburide sold in the United States. Sather confirmed that Aurobindo was committed to the

agreement in an e-mail to Malek on May 15, 2014.

       892.       But the Defendants were not done. On June 23, 2014, Heritage held another

teleconference during which the company determined that the price of Glyburide could be raised

by 200%, notwithstanding the fact that Citron was planning to enter the market through its

partnership with Aurobindo. (As noted earlier, the FDA has documented that, with each new

competitor that enters a market for a generic drug, the price of the drug typically declines

substantially.)

       893.       In June and July 2014, executives from Heritage communicated with executives

from Citron via text message, phone, and e-mail in order to ensure that Citron would abide by the

collusive agreement already in place between the three existing manufacturers of generic

Glyburide. Citron agreed to increase prices on Glyburide, but Citron’s            requested that there

be no communication to Citron via e-mail in order to prevent the unlawful agreement from being

exposed. Citron requested that the collusive communications be conveyed by telephone and

directed to a specific individual within the company,

       894.       By early July 2014, with Citron, Heritage, Aurobindo, and Teva all committed to

the collusive price increase, these four Defendants had successfully implemented the collusive

price increase and were able to raise their prices for Glyburide to Plaintiffs and others in the United

States to supracompetitive levels.

       895.       Thereafter, Citron, Heritage, Aurobindo, and Teva adhered to the collusive

agreement. In July 2014, a purchaser of Glyburide sought a request for proposal from Teva on

Glyburide, in response to Heritage’s price increase. Teva sales executives declined to bid based




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on their agreement with Defendants, and referenced the agreements on both Glyburide and another

drug as the basis for refusing to issue a competitive bid to the potential customer. Defendants also

engaged in discussions about how Citron could acquire market share without disrupting the

collusive conspiracy agreement.

       896.    Through their continued collusion, Citron, Heritage, Aurobindo, and Teva were

able to maintain their collusive pricing on Glyburide until at least December 2015.            This

conspiratorial agreement continues to impact prices that Plaintiffs and others in the United States

pay for Glyburide.

       897.    As alleged above, the price increases regarding Glyburide were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Glyburide to Plaintiffs and others in the United States. These

collusive agreements were furthered, at least in part, by the communications between and among

Defendants and co-conspirators alleged above, and at trade association events and conferences.

       MM. Glyburide-Metformin

       898.    The market for Glyburide-Metformin is mature, as the drug has been available in

generic form since 2004. During the relevant time period, Heritage, Teva, Aurobindo, Actavis,

and Citron sold Glyburide-Metformin to Plaintiffs and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       899.    During the same April 15, 2014 phone call alleged above when they discussed a

number of other collusive price increases, Malek and the senior Teva sales executive, Patel, agreed

to increase prices on Glyburide-Metformin.




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       900.    On April 22, 2014, Heritage held an internal call during which Malek identified a

large number of drugs that Heritage targeted for price increases, including Glyburide-Metformin.

After the call, Malek assigned              to contact Aurobindo about Glyburide-Metformin, and

       was assigned to Actavis to discuss Glyburide-Metformin.

       901.    After the internal conference call, Heritage’s Sather spoke with a senior executive

at Actavis,                              on April 22, 2014 about the Glyburide-Metformin price

increase. Upon information and belief, during this call, the executives from Heritage and Actavis

agreed to increase prices on both Glyburide-Metformin and another drug (Verapamil). As with all

collusive communications identified in this Complaint involving Actavis, the Actavis

representative acted on behalf of and reached an agreement that was followed by all Actavis

entities identified in this Complaint.

       902.    On May 8, 2014, Heritage’s               spoke with Aurobindo’s              about

the Glyburide-Metformin price increase. Heritage and Aurobindo executives followed up this

phone call with an in-person meeting, during which – upon information and belief – the Glyburide-

Metformin price increase was discussed (along with price increases on other drugs).

       903.    Executives from the four companies continued to communicate regarding the price

increase for the next month. For example, the Actavis executive spoke with Teva by phone on

May 1 and May 6, and the two exchanged at least 30 text messages about pricing agreements on

Glyburide-Metformin and other drugs. The same Actavis executive also spoke with Aurobindo’s

CEO regarding the pricing agreement.

       904.    Heritage also communicated the terms of the agreement to Citron and Sun. Because

Citron had agreed to increase prices of Glyburide, Heritage sought to ensure that Citron (which

had authority to market Glyburide-Metformin, but did not actively manufacture the drug at that




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time) did not take any steps that would undermine or reveal the collusion on Glyburide-Metformin.

Accordingly, a Heritage sales executive discussed the Glyburide-Metformin price agreement by

text. Additionally, to facilitate collusion on other drugs, Heritage informed Sun through a chain

of text messages sent in August 2014 about the successful price increases on Glyburide-Metformin

and Verapamil.

       905.    In Summer 2014, Aurobindo, Actavis, Heritage, and Teva increased their WAC

pricing on Glyburide-Metformin.

       906.    In August 2014, Heritage’s             texted a Sun employee regarding agreements

Heritage had reached with Actavis to increase the prices of both Glyburide-Metformin and

Verpamil. Such a communication highlights the overarching nature of the conspiracy; Sun was

kept apprised of agreements (in this case between Actavis and Heritage) relating to drugs that it

did not market or sell.

       907.    By September 2014, Citron had mobilizied to enter the Glyburide-Metformin

market. Instead of undercutting the prices of Actavis, Aurobindo, Heritage, and Teva in an effort

to gain market share, Citron announced list prices higher than all of them.

       908.    As alleged above, the price increases regarding Glyburide-Metformin were the

result of collusive agreements between and among Defendants and co-conspirators to increase

pricing and restrain competition for the sale of Glyburide-Metformin to Plaintiffs and others in the

United States. These collusive agreements were furthered, at least in part, by the communications

between and among Defendants and co-conspirators alleged above.

       NN.     Hydralazine

       909.    Hydralazine HCL is a drug used to treat high blood pressure. It is also known by

the brand names Apresoline and Dralzine.




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       910.    During the relevant time period, Teva, Par, Heritage, Strides, Camber, and

Glenmark dominated the market for Hydralazine tablets.

       911.    In approximately August 2014, Defendants applied the “fair share” understanding

to the market for Hydralazine in order to prevent any price erosion for the drug.

       912.    As of August 2014, Defendant Strides was in the process of ramping back up its

domestic operations, following its 2013 sale of its specialty injectables business to Defendant

Mylan. As a result of this ramp up, Strides sought to obtain its “fair share” of the Hydralazine

market, consistent with the principles of Defendants’ fair share agreement. As a company with

more share for Hydralazine than the market allocation scheme allowed, it was up to Heritage to

concede business to Strides.

       913.               joined Defendant Heritage as VP of Marketing on August 1, 2014. One

of his first acts of business for Heritage was to facilitate an agreement to allow Defendant Strides

to obtain market share for Hydralazine.

       914.    In early August 2014,                                   , an executive working with

co-conspirator TruPharma, who relayed the message that Strides would submit an unsolicited bid

to Morris & Dickson, a wholesaler, for its Hydralazine business. Through                    Strides

requested that Heritage concede the business.

       915.    On August 20, 2014,              informed Malek that Strides wanted Morris &

Dickson’s Hydralazine business.           advised Malek that Heritage should concede this business

to Strides. Malek also looped in                 , who was responsible for the Morris & Dickson

account.




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       916.    On September 5, Morris & Dickson informed                   that it had received a

competing bid for its Hydralazine business and asked for Heritage to provide a better price for

Hydralazine.

       917.    Consistent with the fair share understanding, Heritage declined to match Strides’

bid and instead conceded the Morris & Dickson business to Strides.

       918.    Upon information and belief, Heritage’s decision to concede this business to Strides

was communicated to Teva, Par, Camber, and Glenmark, so that each of these Defendants would

know that Heritage was complying with the fair share agreement for the benefit of each Defendant.

       919.    As a result of the overarching fair share agreement, Defendants have been able to

maintain the market allocation agreement for Hydralazine tablets since at least August 2014, which

has allowed them to sell Hydralazine at supracompetitive prices to Plaintiffs and other.

       OO.     Irbesartan

       920.    Irbesartan is a drug used in the treatment of hypertension. It prevents the narrowing

of blood vessels, thus lowering the patient’s blood pressure. Irbesartan is also known by the brand

name Avapro®.

       921.    Teva received approval to manufacture generic Irbesartan in March 2012.

       922.    On March 6, 2012, Teva’s                    polled the Teva sales team seeking

information about competitors that were also making offers to supply Irbesartan.

       923.    At 11:27 am,                 , an account manager at Teva responded:




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        931.   Rekenthaler was not satisfied, however. In order to confirm that Actavis was also

still committed to maintain high pricing on Labetalol, Rekenthaler called and spoke

        , a senior sales executive at Actavis, four (4) times on October 18, 2012.

        QQ.    Lamivudine/Zidovudine (generic Combivir)

        932.   Lamivudine/Zidovudine, also known by the brand name Combivir, is a

combination of medications used in the treatment of human immunodeficiency virus (HIV)

infection. This combination of drugs is often prescribed to decrease the chances that an HIV-

positive patient will develop acquired immunodeficiency syndrome (AIDS) or other related

illnesses.

        933.   Teva launched its generic Combivir product in December 2011.

        934.   In mid-May 2012, two competitors – Lupin and Aurobindo – received FDA

approval for generic Combivir and were preparing to enter the market.

        935.   Even before those two companies obtained FDA approval, Teva was

communicating with both about how to share the market with the new entrants. Rekenthaler was

speaking to                , a senior-most executive at Aurobindo, while Green was speaking to

Berthold of Lupin and Grauso of Aurobindo.

        936.   For example, on April 24, 2012,             of Teva asked her co-workers whether

they had heard about any new entrants to the market for generic Combivir. Rekenthaler responded

immediately that Aurobindo was entering. When                questioned that information based on

her understanding of how quickly the FDA typically approved new product applications,

Rekenthaler assured her that the information was coming from a reputable source:




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       940.    During this four-day period, the three individuals were negotiating and discussing

the specific customers that Teva would concede and retain in order to make Lupin and Aurobindo’s

entry into the generic Combivir market as seamless as possible. The phone records demonstrate

several instances during this 4-day period where two of the individuals referenced above (Green,

Berthold and/or Grauso) would speak, followed by a phone call by one of those two individuals to

the individual that was not part of the original conversation.




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       944.    In a separate e-mail exchange with              on that same day, May 11, 2012,




       945.    Lupin was able to enter the market for generic Combivir and obtain more than a

30% market share without significantly eroding the price due to the understanding with Teva and

Aurobindo that each was entitled to its fair share of the market.

       RR.     Leflunomide

       946.    The market for Leflunomide is mature, as the drug has been available in generic

form since 2005. During the relevant time period, Defendants Apotex, Heritage, and Teva sold

Leflunomide to Plaintiffs and others in the United States at supracompetitive prices inflated by the

unlawful and anticompetitive agreements alleged in this Complaint.

       947.    During their April 15, 2014 phone call alleged above, Malek and the Teva’s Patel

also discussed Leflunomide and targeted it for a price increase.

       948.    During the first week of May 2014, executives from Teva, Heritage and Apotex

spoke several times by telephone. During these phone calls, all three companies agreed to increase

prices on Leflunomide and to refrain from submitting competitive bids to each other’s customers.

These conversations also resulted in an agreement that Apotex would lead the price increase, which

it did on May 9, 2014.




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       949.    Pursuant to the agreement between the three companies, Heritage began to

announce the price increase in June, and had fully implemented the price increase on all its major

Leflunomide accounts by early July.

       950.    In early July, after the price increase on Leflunomide was implemented, Teva exited

the market for the drug. Because the price increase was successful, this action was against Teva’s

self interest. Upon information and belief, Heritage induced Teva’s exit by agreeing to concede

market share to Teva on other drugs.

       951.    As alleged above, the price increases regarding Leflunomide were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Leflunomide to Plaintiffs and others in the United States. These

collusive agreements were furthered, at least in part, by the communications between and among

Defendants and co-conspirators alleged above.

       SS.     Levothyroxine

       952.    Levothyroxine is a synthetic form of the thyroid hormone thyroxine used to treat

hypothyroidism, goiter, thyroid cancer, and cretinism. The market for Levothyroxine is mature,

as Levothyroxine has been available in the United States for over 50 years. Levothyroxine is on

the WHO’s list of essential medicines. Levothyroxine is often featured on lists of the top ten most

prescribed generic drugs and, as of June 2015, it was the most prescribed generic drug in the United

States and constituted 2.7% of the entire generic drug market by number of prescriptions. Over

120 million prescriptions are written annually for Levothyroxine in the United States, treating 15%

of the population over the age of 55.

       953.    Since approximately December 2010, Defendants Mylan, Sandoz, and Lannett

have dominated the generic Levothyroxine market.




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       954.    In 2013 and 2014, the three competitors coordinated to significantly raise the price

of Levothyroxine. Nesta of Mylan spearheaded the discussions by speaking                        ,a

senior sales executive at Lannett, and with CW-4 of Sandoz. In addition to communicating directly

with CW-4 on this drug, Nesta also communicated indirectly with Sandoz through a mutual contact

at a competitor company – Green of Teva. Notably, Levothyroxine was not a drug that Teva sold.

       955.    As detailed above, Mylan increased prices on a number of drugs on January 4, 2013,

including Levothyroxine. The day before the Mylan increase, on January 3, 2013, Nesta of Mylan

and Green of Teva spoke at least four times by phone. The next morning – the day of the Mylan

price increases – Green spoke twice with Kellum, including a six (6) minute call at 9:34 am.

       956.    Shortly after hanging up the phone with Green, Kellum sent an internal e-mail

stating, among other things, that he




       957.    That same morning, Smith of Lannett called Nesta of Mylan. The phone call lasted

44 seconds. Then, on January 10, 2013, Nesta called Smith back and they spoke for more than six

(6) minutes. That same day, McKesson e-mailed Sandoz and requested a price reduction on

Levothyroxine. Kellum responded internally:



       958.    The following Monday – January 14, 2013 – Lannett raised its WAC pricing for

Levothyroxine to match Mylan. Notably, after these phone calls, Nesta would not speak again

with Smith of Lannett until August 6, 2013 – three days before Mylan increased its prices for

Levothyroxine a second time.




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       959.   On July 16, 2013 – as detailed above – CW-4 spoke with Nesta and sent the July

2013 E-mail identifying the Mylan price increases. The price list included Levothyroxine and

noted that Lannett had followed.

       960.   On August 6, 2013, Nesta called CW-4 two times. Both calls lasted less than a

minute. A few minutes after the second call, Nesta called       at Lannett. The call lasted 24

seconds (likely a voicemail). Three days later, on August 9, 2013, Mylan increased WAC pricing

on Levothyroxine for a second time.

       961.   On August 10, 2013,




       962.   Pursuant to their ongoing understanding, Lannett followed quickly and matched

Mylan’s WAC pricing on August 14, 2013.

       963.   On August 14, 2013,




       964.   On September 5, 2013, Cigna – a Mylan customer – contacted Lannett and

requested a bid on Levothyroxine.




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       972.    As a result of the overarching “fair share” understanding and these collusive

communications, Defendants Lannett, Mylan, and Sandoz all sold Levothyroxine to Plaintiffs and

others in the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

       973.    Mylan, Sandoz, and Lannett have maintained their prices at these supracompetitive

levels and, as a result, Plaintiffs have been forced to pay supracompetitive prices for generic

Levothyroxine since January 2013.

       TT.     Lidocaine-Prilocaine

       974.    The market for Lidocaine-Prilocaine is mature, as Lidocaine-prilocaine has been

available in the United States for decades. It is marketed in the United States under the brand

name EMLA. Defendants Akorn, Hi-Tech, Impax, Sandoz, and Fougera have all sold Lidocaine-

prilocaine throughout the United States.

       975.    At all times relevant to this lawsuit there has been more than one manufacturer of

Lidocaine-prilocaine on the market. Defendants Akorn, Hi-Tech, Impax, Sandoz, and Fougera

sold Lidocaine-prilocaine to Plaintiffs and others in the United States at supracompetitive prices

inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       976.    For more than two years prior to the conspiracy period, Defendants’ average price

in the U.S. for Lidocaine-prilocaine was remarkably stable. Beginning in mid-2014, Defendants

increased their prices abruptly and, for the most part, in unison.

       977.    Upon information and belief, Akorn, Hi-Tech, Impax, Sandoz, and Fougera

reached an agreement to increase prices for Lidocaine-Prilocaine in the United States from an

average of 47 cents per dose in April 2014 to an average price of $1.20 by January 2015.




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       978.    These extraordinary price increases were not the result of supply shortages, demand

spikes, or other competitive market conditions. There were no relevant labelling changes or

reported drug shortages that might have led to price increases. Nor was there a spike in demand

that could explain the price hikes.

       979.    Upon information and belief, this agreement to increase prices on Lidocaine-

Prilocaine was the result of collusive communications between and among Defendants that were

initiated by Sandoz and Fougera to increase pricing and restrain competition for the sale of

Lidocaine-Prilocaine in the United States, and this agreement to increase prices was facilitated

because each Defendant adhered to the overarching market allocation agreement in the generic

drug industry. The collusive agreement to increase prices on Lidocaine-Prilocaine was furthered,

at least in part, through in-person discussions conducted at meetings and industry events hosted by

GPhA and HDMA as well as other meetings and communications such as those described below.

       980.    For example, on October 1-3, 2012, representatvies from Fougera, Impax, and

Sandoz attended the GPhA Annual Meeting in Orlando, Florida. See Ex. 1.

       981.    On February 20-22, 2013, GPhA held its Annual Meeting in Orlando, Florida that

was attended by Akorn, Impax, and Sandoz. See Ex. 1.

       982.    On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida, which was

attended by Akorn, Impax, and Sandoz. See Ex. 1.

       983.    On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by Fougera, Hi-Tech, Impax, and Sandoz. See Ex. 1.

       984.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo in Las Vegas. This

event was attended by representatives from Akorn, Hi-Tech, Impax, and Sandoz. See Ex. 1.




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       985.    On October 28-30, 2013, GPhA held a meeting in Maryland that was attended by

Akorn, Fougera, Hi-Tech, Impax, and Sandoz representatives. See Ex. 1.

       986.    On February 28-30, 2013, GPhA held its Annual Meeting in Orlando, Florida that

was attended by representatives from Hi-Tech, Impax, and Sandoz. See Ex. 1.

       987.    On June 1-4, 2014, HDMA held a BLC in the Marriott in Phoenix, Arizona.

Representatives from Akorn, Sandoz, and Impax attended. See Ex. 1.

       988.    On June 3-4, 2014, GPhA held a meeting in Maryland that was attended by

representatives from Hi-Tech, Fougera, Impax, and Sandoz. See Ex. 1.

       989.    On August 23-26, 2014, NACDS held its 2014 Total Store Expo in Boston.

Representatives from Akorn, Impax, and Sandoz attended. See Ex. 1.

       990.    On October 27-29, 2014, GPhA held its Fall Conference in Bethesda, Maryland.

Representatives from Impax, Fougera, and Sandoz attended. See Ex. 1.

       991.    Akorn, Hi-Tech, Impax, Sandoz, and Fougera continued to attend trade association

events in 2015 and 2016.

       UU.     Loperamide HCL Capsules

       992.    Mylan and Teva dominate the market for Loperamide HCL capsules.

       993.    Loperamide HCL was one of eight drugs that Teva targeted for a price increase

effective July 31, 2012. Prior to implementing the price increase for these drugs, Green and

Rekentheler spoke with their competitors for each targeted drug to ensure that the understanding

to increase prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For

example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of Sandoz,

    of Alvogen. On July 31, Green and Nesta spoke five times, and immediately following some

of these calls, Green called    Also, Rekentheler spoke with                of Actavis and




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       of Breckenridge. These communications solified the agreement between the Defendants

that each would adhere to the price increases for the drugs that each manufactured.

       994.    As a result of these collusive communications, Mylan and Teva were able to

increase prices on Loperamide HCL. By adhering to the Fair Share agreement and through the

numerous other examples of collusion between Teva and Mylan, Defendants have been able to

maintain prices for Loperamide HCL at supracompetitive levels since July 2012.

       VV.     Meprobamate

       995.    The market for Meprobamate is mature, as the drug has been available in the United

States since 1955. Heritage and Dr. Reddy’s sold Meprobamate to Plaintiffs and others in the

United States at supracompetitive prices inflated by the unlawful and anticompetitive agreements

alleged in this Complaint.

       996.    On March 21, 2013, Heritage’s Malek e-mailed                and instructed him to

contact Dr. Reddy’s about a possible increase in Meprobamate prices.

       997.    On March 22, 2013,

                                  ) to propose that both companies increase their prices for

Meprobamate in the United States.

       998.    On March 22, 2013, Heritage’s                                                  by

phone for about nine minutes. Upon information and belief, during the phone call, the two

companies agreed to increase prices on Meprobamate in the United States. The terms of the

agreement were further confirmed in e-mails exchanged between

between March 22 and March 25, 2013.

       999.    On March 27, 2013, Malek forwarded an RFP to            that Heritage had received

from a prospective purchaser of Meprobamate. Through e-mails that followed and through about




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a four minute phone call on March 29, 2013 between                                , Heritage and Dr.

Reddy’s took steps to ensure that neither submitted bids that undercut the other’s pricing for

Meprobamate.

       1000. In April 2013, Dr. Reddy’s requested that Heritage allow Dr. Reddy’s to increase

its market share for Meprobamate. Dr. Reddy’s wanted to achieve this by reaching an agreement

that Heritage would walk away from its existing Meprobamate business with a national pharmacy

chain. Heritage quickly agreed to give this business to Dr. Reddy’s, and by April 2013, Heritage

took steps to give up this business so that Dr. Reddy’s could take it.

       1001. Malek and other employees continued to e-mail and speak by phone throughout

May 2013 to ensure that the market for Meprobamate in the United States was allocated to the

liking of both Dr. Reddy’s and Heritage.

       1002. As a result of this anticompetitive conduct, Heritage and Dr. Reddy’s increased the

prices for Meprobamate sold to Plaintiffs and others in the United States to supracompetitive

levels. This market allocation and price-fixing agreement and the ensuing supracompetitive

pricing continued in either force or effect (or both) until at least the end of 2016.

       WW. Metronidazole

       1003. The market for Metronidazole is mature, as the drug has been available in the

United States since the 1970s. Defendants G&W, Impax, Sandoz, Teva, and Valeant sold

Metronidazole to Plaintiffs and others in the United States at supracompetitive prices inflated by

the unlawful and anticompetitive agreements alleged in this Complaint.             There are several

formulations of Metronidazole including cream, jelly, lotion, and vaginal formulations.

               1.      Metronidazole Cream

       1004. Defendants G&W, Sandoz, and Teva were the primary manufacturers of the cream

formulation in 2011. Beginning around June 2011, G&W, Sandoz, and Teva engaged in price


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increases on Metronidazole Cream of more than 400%. Prices have remained at artificially high

levels since 2011.

        1005. The GAO Report listed Metronidazole Cream as having experienced an

“extraordinary price increase.”

        1006. These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

                2.      Metronidazole Jelly

        1007. Defendants G&W, Sandoz, Taro, and Teva were the primary manufacturers of the

jelly formulation in 2011. Impax entered the market in 2012.

        1008. Beginning around June 2011, G&W, Sandoz, Taro, and Teva engaged in price

increases of Metronidazole Jelly of more than 400%. When Impax entered the market in 2012, it

did not disturb the artificially inflated pricing.

        1009. The GAO Report listed Metronidazole Jelly as having experienced an

“extraordinary price increase.”

        1010.    These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

                3.      Metronidazole Lotion

        1011. Defendants Sandoz and Teva were the primary generic manufacturers of

Metronidazole Lotion in 2011.

        1012. Beginning in June 2011, Defendants Sandoz and Teva engaged in a multifold

coordinated price increase of Metronidazole Lotion of more than 400%.




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       1013. The GAO Report listed Metronidazole Lotion as having experienced an

“extraordinary price increase.”

       1014. These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

               4.     Metronidazole Vaginal

       1015. Defendants Sandoz and Valeant were the primary generic manufacturers of generic

Metronidazole Vaginal in 2015.

       1016. Prior to January 2015, prices for Metronidazole Vaginal remained stable for years.

       1017. Beginning in around February 2015, Defendants Sandoz and Valeant engaged in

price increases of more than 300%.

       1018. Notably, the price increase on Metronidazole Vaginal occurred around the same

time that news sources reported that Valeant was dramatically increasing prices on other drugs.

       1019. These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

       1020. Upon information and belief, the agreement to increase prices on all formulations

of Metronidazole was the result of collusive communications between and among Defendants, and

this agreement to increase prices was facilitated because each Defendant adhered to the

overarching market allocation agreement in the generic drug industry. The collusive agreement to

increase prices on Metronidazole was furthered, at least in part, through in-person discussions

conducted at meetings and industry events hosted by GPhA and HDMA as well as other meetings

and communications such as those described below.




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         1021. For example, on August 30-31, 2010, representatives from G&W, Sandoz, and

Teva attended the NACDS Pharmacy and Technology Conference in San Diego, California. See

Ex. 1.

         1022. On August 27-30, 2011, NACDS held a Pharmacy and Technology Conference in

Boston. Representatives from G&W, Sandoz, and Teva attended. See Ex. 1.

         1023. On April 24-27, 2012, NACDS held its Annual Meeting. Representatives from

G&W, Impax, Sandoz, and Teva attended. See Ex. 1.

         1024. On February 20-22, 2013, GPhA held its annual meeting in Orlando, Florida.

Representatives from G&W, Impax, Sandoz, and Teva attended. See Ex. 1.

         1025. On December 3, 2014, NACDS held its Foundation and Reception Dinner in New

York City. Representatives from Sandoz, Valeant, and Teva attended. See Ex. 1.

         1026. On April 25-28, 2015, NACDS held its annual meeting in Florida. Representatives

from G&W, Impax, Sandoz, Teva, and Valeant attended. See Ex. 1.

         XX.    Metformin ER

         1027. Metformin ER, the generic version of Fortamet, is prescribed to treat adult-onset

diabetes.

         1028. During the time period relevant to this Complaint, Actavis, Amneal, Lupin, Sun,

and Teva dominated the market for Metformin ER tablets.

         1029. Lupin led the price increase in August 2015, by raising prices by approximately

200%. Between August 2015 and January 2016, Actavis, Amneal, Sun, and Teva all supported

Lupin’s price increase by following it themselves and by refraining from adding market share

beyond each Defendant’s “fair share” of the market.




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       1030.    Senior sales executives from each Defendant were in active contact with each other

during the period in which they implemented the price increase, both by telephone and at trade

shows and industry events.

       1031. For example, and as detailed in the phone records tables depicted throughout this

Complaint, between July 2015 and February 2016, David Berthold of Lupin was in frequent

contact with                                                                and with Mark Falkin and

                of Actavis. Similarly, during this same time period, Ara Aprahamian (on behalf

of Taro’s corporate parent, Sun) was in frequent contact with was in frequent contact with

                 ; Rick Rogerson, Mark Falkin, and                      of Actavis; and Nisha Patel

of Teva.

       1032. As a result of these collusive communications, Defendants have been able to

maintain prices at supracompetitive levels on Metformin ER tablets since July 2015.

       YY.     Methylphenidate

       1033. Methylphenidate – the generic version of the branded drug Ritalin – is a central

nervous system stimulant prescrived to treat attention deficit disorder.

       1034. During the time period relevant to this Complaint, Actavis, Impax, Mallinckrodt,

Par, Sandox, and Sun dominated the market for Methylphenidate.

       1035. In early March 2013, Mallinckrodt announced that it would have a temporary

supply disruption. Whether Mallincrkodt truly had a supply disruption or not remains unclear;

what is clear though, is that immediately after this announcement, Sandoz and Mallincrkodt began

coordinating to exploit this purported supply disruption to raise prices.

       1036. Between March 1, 2013, and March 8, 2013, CW-3 (a senior sales executive at

Sandoz) and                      (a Vice President of Mallinckrodt) spoke by phone four times.




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Following their fourth call of the week on March 8, 2013, Sandoz announced that it was raising its

prices on Methylphenidate by 400%.

       1037. Following Sandoz’s announcement,                         one, a Director of National

Accounts at Watson (a predeccor to Actavis) spoke with                  , the VP of Generic Sales of

Sandoz for more than 20 minutes on April 21, 2013. Upon information and belief,

confirmed to         that Actavis would follow Sandoz’s price increase.

       1038. Two days after the call between                                                  of Sun

reported to her superior that Actavis/Watson would raise price effective May 25 (even though

Actavis had not yet announced a price increase) and that Mallinckrodt would follow this price

increase when it resolved its supply issue.

       1039. Sure enough, on April 25, 2013, Actavis/Watson announced that it was matching

Sandoz’s 400% price increase.

       1040. Less than a week later, Mallinckrodt sought to re-enter the market and regain the

share that it had forfeited during the period of its claimed supply disruption – which lasted just two

months. Despite selling the product at competitive levels in February 2013, Mallinckrodt reentered

the market at the elevated price set by Sandoz and Actavis.

       1041. The day after Mallinckrodt announced that its supply disruption had been resolved,

                – a national accounts director at Mallinckrodt – spoke by phone with CW-3, his

former colleague from Sandoz. Upon information and belief, the purpose of this call was to

determine which customers that Sandoz would concede to Mallinckrodt so that it could regain its

market share.




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       1042.   And that is just what happened. In August 2013, CW-2 and Armando Kellum –

both of Sandoz – acknowledged conceding a large customer



       1043. In late 2014, Sun’s market share was well below what it determined would be its

fair share of 17% in what was then a five-manufacturer market.                                 gh of

Sun then coordinated with the other Defendants to arrange for Sun to increase its market share on

Methylphenidate.

       1044. In 2014 and 2015, Impax and Par entered the Methylphenidate market at the

elevated prices set by Sandoz, Actavis, and Mallinckrodt. Consistent with the overarching Fair

Share agreement, Impax and Par communicated with the existing manufacturers to arrange for the

seamless transfer of a “fair share” of the market without disrupting the price. For example,



           – both senior sales executives at Par – to coordinate Par’s entry into the market and

arrange for Par to receive Fair Share in mid-2015.

       1045. As a result of these collusive communications, Defendants have been able to

maintain prices for Methylphenidate at supracompetitive levels since March 2013.

       ZZ.     Methylprednisolone

       1046. Methylprednisolone, the generic version of the branded drug Medrol manufactured

by Defendant Pfizer, is a corticosteroid that is prescribed to reduce inflammation and treat a wide

range of conditions including arthritis, ulcerative colitis, psoriasis, and endocrine disorders.

Methylprednisolone is most typically sold in 4 mg tablets, but is also occasionally sold in higher-

dose tablets ranging from 8 mg to 32 mg.




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       1047. The market for Methylprednisolone is mature, as the drug has been available in the

United States for more than 60 years.

       1048. During the time period relevant to this Complaint, Breckenridge, Cadista,

Greenstone, Par, and Sandoz dominated the market for Methylprednisolone.

       1049. In early 2011, Methylprednisolone cost just a few cents per tablet. For example,

Cadista sold packages of 21 4 mg tablets for 85 cents each. Between March and June 2011,

however, Defendants colluded to implement a massive price increase.

       1050. Cadista and Sandoz both raised their prices by more than 2000%. For example, the

same 21 tablet package that Cadista sold for 85 cents in March cost more than $19.00 by June.

Sandoz concurrently imposed the same price increase as Cadista.

       1051. Par – which was obligated by contractual price protections to maintain its current

prices for large customers – complied with the fair share agreement by declining to supply

Cadista’s and Sandoz’s customers. As Par’s contractual price obligations for Methylprednisolone

phased out, Par also raised its prices in accordance with Sandoz and Cadista.

       1052. Between October 2011 and October 2012, Greenstone and Breckenridge entered

the market for Methylprednisolone. Consistent with the Fair Share agreement, Greenstone and

Breckenridge communicated with the other Defendants and confirmed their intentions to enter the

market at the elevated price. For example,                  of Breckenridge communicated with

               , Par’s Vice President for Generic Sales prior to Breckenridge’s entry into the

market. In return, and Cadista, Par, and Sandoz conceded market share to the new entrants so that

they could receive their “fair share.”

       1053. In response to this price increase, customers pushed back on the Defendants to

lower their pricing on Methylprednisolone. For example, Walgreens – who was supplied to




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Cadista – solicited Sandoz to submit a bid in December 2012. Upon learning that Walgreens was

soliciting                       e, the Vice President of Sales & Marketing at Sandoz, instructed

his sales associate that




                                      confirmed this instruction with Armando Kellum of Sandoz.

        1054. Walgreens continued to seek a lower price on Methylprednisolone in 2013. In

September 2013, Kellum of Sandoz intervened again to prevent a sales associate from bidding on

the large account, which still belonged to Cadista. Upon learning that a sales executive was

working on a bid for Walgreens for Methylprednisolone, Kellum instructed




        1055. Par also openly acknowledged in a 2013 internal quarterly business review prepared

in July 2013, that it had




        1056. As a result of these collusive communications and each Defendants’ adherence to

the fair share agreement, the price increase on Methylprednisolone stuck, and Defendants have

been able to sell the drug at supracompetitive levels ever since. Indeed, in August 2012, roughly

a year after the initial Methylprednisolone price increase, Kellum of Sandoz conducted an analysis

to determine how likely its price increases were to “      He determined that, of the




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       BBB. Nadolol

       1065. As early as 2012, Teva was speaking to competitors about the drug Nadolol.

Nadolol, also known by the brand name Corgard, is a “beta blocker” which is used to treat high

blood pressure, reducing the risk of stroke and heart attack. It is also used to treat chest pain

(angina).

       1066. In 2012 and 2013, Teva’s only competitors for Nadolol were Mylan and Sandoz.

All three companies experienced supply problems of some sort during that time period, but they

were in continuous communication to coordinate pricing and market allocation in order to maintain

market stability. Nadolol was a high volume drug and one of the most profitable drugs where

Teva, Mylan and Sandoz overlapped, so it was very important that they maintain their

coordination.

       1067. Teva’s relationships with Mylan and Sandoz are discussed more fully below, but

by 2012 an anticompetitive understanding among those companies was firmly entrenched.

       1068. Teva raised its price on Nadolol on July 31, 2012. In the days leading up to that

increase – following a pattern that would become routine and systematic over the following years

Kevin Green, at the time in the sales department at Teva, was in frequent communication with

executives at both Sandoz and Mylan. Green spoke to CW-2 from Sandoz twice on July 29, 2012,

and again on the day of the price increase, July 31, 2012. Similarly, Green was communicating

with Nesta of Mylan often in the days leading up to the increase, including five (5) calls on the

day of the price increase.

       1069. Sandoz followed with its own increase on August 27, 2012. The increases were

staggering – varying from 746% to 2,762% depending on the formulation. The day before the

Sandoz increase, Defendant Armando Kellum, then the Senior Director of Pricing and Contracts




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         1072. Kellum’s phone records demonstrate that he did not speak with any customers

during the morning of January 4, 2013. At 11:50 am the same morning, Green also called CW-2

at Sandoz and they spoke for fifteen (15) minutes.

         1073. Significantly, Green was not speaking with his Sandoz contacts solely about

Nadolol, the common drug between Teva and Sandoz, but was also conveying information to

Sandoz about a Mylan price increase on another drug that Teva did not even sell – Levothyroxine.

Such conversations further demonstrate the broad, longstanding agreement among each of these

competitors to share market intelligence in order to facilitate the scheme.

         1074. In 2014, Greenstone entered the market for Nadolol and abided by the overarching

Fair Share agreement in the process.            of Greenstone was in frequent contact with Kellum

of Sandoz, Nesta of Mylan, and Patel of Teva around the time that Greenstone entered the market.

Through these conversations, the competitors arranged for Greenstone to obtain its “Fair Share”

of the Nadolol market, and Greenstone agreed to enter the market at the existing supracompetitive

price.

         1075. To put the Nadolol price increases into context, the Connecticut Attorney General’s

Office received a complaint from a Connecticut resident who has been prescribed Nadolol for

approximately the last 15 years. In or about 2004, that individual paid between $10 and $20 in

out-of-pocket costs for a 90-day supply of Nadolol. Today, that same 90-day supply of Nadolol

would cost the complainant more than $500.

         1076. As discussed more fully below, Teva continued to conspire with Mylan and Sandoz

about Nadolol and many other drugs throughout 2013 and into the future.




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       CCC. Niacin ER

       1077. Niacin Extended Release (“ER”), also known by the brand name Niaspan Extended

Release, is a medication used to treat high cholesterol.

       1078. Defendant Teva entered the Niacin ER market on September 20, 2013 as the first-

to-file generic manufacturer and was awarded 180 days of exclusivity. Teva’s exclusivity was set

to expire on March 20, 2014.

       1079. Teva had advance knowledge that Defendant Lupin planned to enter on March 20,

2014 and that Lupin would have 100 days or until June 28, 2014 before a third generic

manufacturer would be allowed to enter. Teva also knew that Defendant Zydus planned to enter

on June 28, 2014.

       1080. Armed with that knowledge, Teva increased price on Niacin ER on March 7, 2014

in advance of the competitors’ entry. In the days leading up to the price increase, all three

competitors exchanged several calls during which they discussed, among other things, the price

increase on Niacin ER and the allocation of customers to the new entrants, Zydus and Lupin. The

communications between Green and Patel and Rekenthaler of Teva, and Berthold of Lupin are

detailed in the chart below.




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       1083.             responded that Patel should schedule an internal meeting to discuss their

strategy for Niacin ER, and include Rekenthaler.

       1084. Over the next several days, Patel and Rekenthaler exchanged several calls with

Green. Green also exchanged several calls with Berthold of Lupin.

       1085. Ultimately, the competitors agreed that Teva would retain ABC and concede

McKesson, another large wholesaler, to Zydus.

       1086. On May 29, 2014,




           After receiving the e-mail, Rekenthaler called Green. The call lasted two (2) minutes.

Green returned the call a few minutes later and they spoke for twenty-eight (28) minutes. Later

that day, Patel called Green and they spoke for nearly twenty-one (21) minutes.

       1087. On June 2, 2014,




          Later that morning, Green called Rekenthaler. The call lasted two (2) minutes. Green

then called Patel and they spoke for nearly six (6) minutes.

       1088. On June 5, 2014,




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       1089. On June 28, 2014, Zydus formally launched Niacin ER and published WAC pricing

that matched the per-unit cost for both Teva and Lupin.

       DDD. Nimodipine

       1090. The market for Nimodipine is mature, as the drug has been available in the United

States in generic form for more than 10 years. Heritage, Sun (through Caraco), and Teva sold

Nimodipine in the United States to Plaintiffs and others in the United States at supracompetitive

prices inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       1091. In June 2012, Malek instructed a Heritage employee, Sather, to reach out to a sales

executive at Caraco to discuss an agreement to raise prices and confirm the market allocation that

the two companies would abide by in the U.S. market for Nimodipine.                 The ensuing

communications between Heritage’s               and Caraco’s                                    ”)

resulted in an agreement to increase prices on Nimodipine.

       1092. In furtherance of this agreement to increase prices, Heritage agreed to submit a

sham bid to an RFP from Cardinal, with Heritage intentionally quoting a price to Cardinal that

Heritage knew was higher than the price that Caraco was quoting.

       1093. In late 2012, the FDA issued a recall on the Nimodipine that Caraco was selling in

the United States, which required Caraco to briefly exit the market.

       1094. In late April or early May 2013, Malek learned that Caraco would seek to re-enter

the Nimodipine market by July 2013. Malek initiated discussions with Caraco that resulted in an

agreement that both companies would continue charging elevated prices on Nimodipine, and

Heritage would allow Caraco to retake a certain percentage of the market.

       1095. Caraco ultimately reentered the Nimodipine market in November 2013 and

implemented the agreement with Heritage by charging the agreed-upon prices. Upon information




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and belief, Heritage reciprocated by allowing Sun and Caraco to retake the agreed-upon percentage

of the Nimodipine market.

       1096. These anticompetitive agreements by Heritage and Sun (through Caraco) resulted

in supracompetitive prices for Nimodipine in the United States that have persisted since June 2012.

       1097. As alleged above, the price increases regarding Nimodipine were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Nimodipine to Plaintiffs and others in the United States. These

collusive agreements were furthered, at least in part, by the communications between and among

Defendants and co-conspirators alleged above.

       EEE. Nitrofurantoin Macrocrystal Capsules

       1098. Nitrofurantoin Macrocrystal, also known by the brand name Macrodantin, is a

medication used to treat certain urinary tract infections.

       1099. In 2012, Mylan and Teva dominated the market for Nitrofurantoin Macrocrystal

capsules, and Alvogen also maintained approximately 10% market share.

       1100. Nitrofurantoin Macrocrystal was one of eight drugs that Teva targeted for a price

increase effective July 31, 2012. Prior to implementing the price increase for these drugs, Green

and Rekentheler spoke with their competitors for each targeted drug to ensure that the

understanding to increase prices would hold, including Mylan, Actavis, Breckenridge, and

Alvogen. For example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of

Sandoz, and                l of Alvogen. On July 31, Green and Nesta spoke five times, and

immediately following some of these calls, Green called        Also, Rekentheler spoke with

                                          of Breckenridge. These communications solified the




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       1105. On September 9, 2014, a customer approached Teva asking if Teva would lower its

pricing on certain drugs, including Norethindrone Acetate. One of Teva’s competitors for

Norethindrone Acetate was Defendant Amneal. The same day, Patel received phone calls from

two different Amneal employees –                         a senior sales executive (call lasting more

than three (3) minutes), and                , a senior sales and finance executive (almost twenty-

five (25) minutes). These were the first calls Patel had with                             since she

joined Teva in April 2013. That same day,            also spoke several times with Jim Brown, Vice

President of Sales at Glenmark – the only other competitor in the market for Norethindrone

Acetate.

       1106. After speaking with the two Amneal executives, Teva refused to significantly

reduce its price to the customer; instead providing only a nominal reduction so as not to disrupt

the market. At that time, market share was almost evenly split between the three competitors.

When discussing it later, Patel acknowledged internally that Teva had



              By bidding high and not taking the business from Amneal, in anticipation of a future

price increase, Teva reinforced the fair share understanding among the competitors in the market.

       GGG. Norethindrone/ethinyl estradiol (Balziva®)

       1107. Norethindrone/ethinyl estradiol, also known by the brand name Ovcon®35, is a

combination of medications used as an oral contraceptive. Teva markets its generic version of this

combination medication under the name Balziva®.

       1108. On January 23, 2014, a customer informed Teva that a new market entrant was

seeking a share of its business. Teva employees surmised that the entrant was Lupin, as it had

recently obtained approval to begin marketing its generic of Ovcon®35.




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          1109. Teva employees discussed internally how to make room for this new player in the

market, with one expressing concern that



          1110. The discussions about how to share the market with the recent entrant were not

limited to internal communications, however. On January 24, 2014, Patel spoke to Berthold at

Lupin twice by phone.

          1111. Five days later, on January 29, Patel informed Rekenthaler of her recommendation

based on her communications with Berthold, to take a cooperative stance towards this competitor,

saying:



          1112. On February 4, Patel received the profitability analysis she requested in order to

determine how much of the customer’s business to hand over to Lupin. That same day, she spoke

to Berthold two more times to further coordinate Lupin’s seamless entry into the market.

          HHH. Nortriptyline Hydrochloride

          1113. Nortriptyline Hydrochloride (“Nortriptyline”), also known by the brand name

Pamelor, is a drug used to treat depression.

          1114. While Taro was approved in May 2000 to market generic Nortriptyline, it

subsequently withdrew from the market. As of early 2013, the market was shared by only two

players – Teva with a 55% share, and Actavis with the remaining 45%.

          1115. By February 2013, Taro personnel had come to believe that they should reclaim a

portion of this market, one opining that




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       1116.




       1118. Two days later, on November 8, Aprahamian received confirmation that McKesson

was a Teva customer.

       1119. Several days of conversations ensued among the affected competitors in an effort

to sort out how Teva and Actavis would make room for Taro in this market. For example,

Rekenthaler of Teva and Falkin of Actavis spoke twice by phone on November 10, 2013.

       1120. Then, on November 12, 2013, Taro’s Aprahamian called Patel at Teva. Their

conversation lasted almost eleven (11) minutes. That same day, Aprahamian announced to his




       1121. The discussions of how to accommodate Taro into the Nortriptyline market were

far from over, however. Falkin of Actavis and Rekenthaler of Teva spoke on November 14, 15

and 18. Falkin also exchanged two text messages with Maureen Cavanaugh of Teva on November

17, and one on November 18, 2014.

       1122. Immediately following this series of discussions, Aprahamian began delivering a

new message to his team: Taro had enough offers out on Teva customers – it needed to take the

rest of its share from Actavis. On November 19, 2013 when a colleague presented an opportunity




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to gain business from Teva customer HD Smith, Aprahamian flatly rejected the idea, saying:



       1123. The next day, November 20, 2013, another Taro employee succeeded in finding an

Actavis customer that Taro might pursue. Armed with this new information, Aprahamian wasted

no time in seeking Actavis’s permission, placing a call to                  , a senior national

account executive at Actavis, less than four hours later. They ultimately spoke on November 22,

2013 for more than eleven (11) minutes.

       1124.




                                                                                          .

       1127. Aprahamian also continued to coordinate with Teva. He called Patel on January 28,

2014, but she did not pick up. The dialogue continued on February 4, 2014 when Patel called

Aprahamian back. The two talked for nearly twenty-four (24) minutes.

       1128. Two days later, on February 6, a potential customer solicited Taro to bid on its

business. When a colleague informed Aprahamian of that fact and asked if he wanted to pursue




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the opportunity, Aprahamian responded firmly that Teva had already done enough to help Taro

with its re-launch and thus only Actavis accounts should be pursued:




       1129. Over the first ten days of March, executives at Teva, Taro and Actavis called and

texted each other frequently in their continuing efforts to work out the details of Taro’s re-entry.

These calls include at least those listed below:




       1130. At the end of this flurry of communications, Teva documented its internal game

plan for Nortriptyline. Prior to this time, particularly in early 2014, Nortriptyline had been listed

by Teva as a potential candidate for a price increase. On March 10, 2014, however, as Patel was

revising that list of price increase candidates (and the same day she spoke to Aprahamian for more


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than five (5) minutes), she removed Nortriptyline from contention in order to accommodate Taro’s

entry.




         1131. Green left Teva in November 2013 and moved to Zydus where he took a position

as an Associate Vice President of National Accounts. Once at Zydus, Green capitalized on the

relationships he had forged with his former Teva colleagues to collude with Teva (and other

competitors) on several Teva/Zydus overlap drugs.

         1132. In the spring/early summer of 2014 in particular, Zydus was entering four different

product markets that overlapped with Teva. During that time period, Green was in frequent contact

with Patel and Rekenthaler, and others, to discuss pricing and the allocation of customers to his

new employer, Zydus. Indeed, given the close timing of entry on these four products, Green, Patel,

and Rekenthaler were often discussing multiple products at any given time.

         III.   Nystatin

         1133. The market for Nystatin is mature, as the drug has been available in the United

States since 1950. The drug is considered an essential medicine by the World Health Organization.

Actavis, Par, Perrigo, Sandoz, Taro, Teva, Heritage, and Sun (through Mutual) sold Nystatin to

Plaintiffs and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

         1134. During the relevant period, Defendants Actavis, Par, Perrigo, Sandoz, and Taro

were the primary manufacturers of Nystatin external cream.




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       1135. During the relevant period, Defendants Actavis, Perrigo, and Sandoz were the

primary manufacturers of Nystatin ointment.

       1136. During the relevant period, Defendants Teva, Heritage, and Sun (through Mutual)

were the primary manufacturers of Nystatin tablets.

               1.     Nystatin Cream

       1137. In late 2011, Taro, Perrigo, Par, and Actavis all raised the list prices of Nystatin

cream. Taro and Perrigo increased their prices in very close succession in late 2011. Par followed

the price increase in August and Actavis joined in November 2011. Sandoz joined the price

increase when it re-entered the market in 2013.

       1138. In June 2011, Taro announced a dramatic price increase of more than 600%. Rather

than compete on price in order to gain market share, Perrigo followed Taro’s increase and raised

its own prices to almost identical levels. Perrigo increased production and managed to gain some

market share from 2011-2013, but, consistent with the overarching market allocation (or “fair

share”) agreement, market prices remained relatively stable.

       1139. In August 2011, Par, which only had about 1% of the market, followed the Taro

and Perrigo price increase. Rather than competing on price in order to gain market share, Par

followed this price increase. Over the next few years Par grew its market share, but it did so

without competing on price, just as the fair share agreement intended.

       1140. In November, Actavis ramped up production of Nystatin cream and re-joined the

market. It, too, immediately elevated its prices to match that of Taro, Perrigo and Par, also

choosing to forgo price competition and the prospect of winning a larger share of the market.

Even a fourth entrant into the Nystatin cream market did not cause prices to erode. Defendants’

agreement was working.




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       1141. Sandoz’s share of the Nystatin cream market was close to 0% until the fall of

2013, at which point it ramped up production for re-entry into the market. Like Perrigo, Par and

Actavis before it, rather than compete on price in order to regain lost market share, Sandoz

priced its Nystatin cream at the same inflated level as its co-conspirators. Prices remained stable

and elevated even with a fifth seller in the market.

       1142. Upon information and belief, the price increases on Nystatin cream were the result

of collusive agreements between and among Defendants to increase pricing and restrain

competition for the sale of Nystatin in the United States. These collusive agreements were

furthered at least in part, through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described in Ex. 1.

                 2.    Nystatin Ointment

       1143. In June 2011, after Sandoz and Actavis had ceded the Nystatin ointment market,

Perrigo implemented a more than 300% increase.

       1144. In early 2012, Actavis increased production of Nystatin ointment. Rather than

compete on price and try to steal market share from Perrigo, Actavis increased its list prices to

high levels to match Perrigo.

       1145. This pattern repeated in the Summer of 2012. Sandoz increased its production.

Rather than compete on price to gain market share, Sandoz raised its list price to identical levels

as Perrigo and Actavis.

       1146. These actions by Actavis and Sandoz reflected the “fair share” agreement

understanding.

       1147. Upon information and belief, the price increases on Nystatin ointment were the

result of collusive agreements between and among Defendants to increase pricing and restrain




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competition for the sale of Nystatin in the United States. These collusive agreements were

furthered at least in part, through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described in Ex. 1.

               3.      Nystatin Tablets

       1148. Beginning in approximately April 2013, Sun (along with its subsidiary, Mutual)

sought to increase the prices of Nystatin. A senior executive from Sun,               discussed the

price increase with           of Heritage on April 16, 2013, during a phone call that lasted

approximately 40 minutes. However, the newly hired senior executive at Teva responsible for

pricing of Nystatin (Nisha Patel) was initially leery about joining Sun’s price increase.

       1149. Malek sought to get Teva on board with the price increase. Malek spoke with

Teva’s Patel by telephone regarding a possible price increase on Nystatin several times in July

2013, including for about 21 minutes on July 9, 10 minutes on July 23 and for more than

approximately 20 minutes on July 30. Heritage’s           also discussed with Sun’s             the

conversations Heritage was having with Teva.

       1150. The discussions between the three companies were put on hold for a period of time

in late 2013, while Teva’s Patel went on maternity leave. Shortly after her return to work, she

spoke with Malek about finally implementing the Nystatin price increase during a February 4,

2014 telephone conversation. Malek and Teva’s Patel spoke several additional times about the

Nystatin price increase in February and March in order to confirm the agreement.

       1151. On April 4, 2014, Teva announced an increase of approximately 100% on its

Nystatin pricing. Around the same time, Malek renewed discussions with Sun to confirm the

timing of Sun’s and Heritage’s price increases. As it was Sun that began the collusive discussions

on Nystatin roughly one year prior, Sun quickly agreed to implement the price increase.




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       1152. Beginning in late June 2014, Heritage began announcing to its customers an

increase on its Nystatin prices of almost 100%. Heritage confirmed to Sun the details of its pricing

announcements in a detailed text message sent on June 25, 2014. By July 9, 2014, Heritage had

fully implemented the Nystatin price increase.

       1153. After Heritage implemented its price increase on Nystatin, a large pharmacy sent

an RFP to Teva seeking a competitive bid on Nystatin pricing. Teva forwarded the RFP to

Heritage, confirming that Teva was following the conspiracy pricing.

       1154. In August 2014, as it had discussed with Teva and Heritage, Sun (and Mutual)

announced and implemented the increased pricing on Nystatin.

       1155. As a result of this collusive agreement on Nystatin pricing, Teva, Heritage, and Sun

(including Mutual) were able to roughly double the prices for generic Nystatin tablets that they

sold to Plaintiffs and others in the United States. This collusive agreement remained in force or

effect (or both) from April 2014 until the present.

       JJJ.    Omega-3-Acid Ethyl Esters

       1156. Omega-3-Acid Ethyl Esters, also known by the brand name Lovaza, is a lipid-

regulating agent used to lower levels of triglycerides.

       1157.




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       1166. By April 2015, Apotex had officially entered the market, and consistent with the

“fair share” understanding, Teva’s market share continued to drop. By April 25, Teva’s share of

the market for new generic prescriptions for Omega-3-Acid Ethyl Esters had dropped to



Rekenthaler was speaking frequently with              at Apotex to coordinate during the time period

of Apotex’s entry in the market.

       KKK. Oxaprozin Tablets

       1167. Oxaprozin, also known by the brand name Daypro, is a nonsteroidal anti-

inflammatory drug (NSAID). It is used to treat rheumatoid arthritis, osteoarthritis, and juvenile

rheumatoid arthritis.

       1168. Prior to July 2012, Teva and Dr. Reddy’s dominated the Oxaprozin market.

However, between July 2012 and March 2013, two additional competitors entered the market, yet

the price of the drug went up more than 500% in the process.

       1169. First, Sandoz entered the market in July 2012. Prior to Sandoz’s entry into the

market, Teva raised its prices by approximately 500%.

       1170. This price increase was made possible by the Fair Share agreement, as Teva knew

that it would not lose market share by raising prices, even with Sandoz’s pending entry into the

market. Indeed, when Sandoz did enter the market in July 2012, it matched Teva’s higher prices

and was still able to gain its “Fair Share” of the market.

       1171. Greenstone entered the market for Oxaprozin 600mg Tablets on March 27, 2013.

It entered with the exact same WAC pricing as Teva. In the days and weeks leading up to

Greenstone’s entry into the market, Green of Teva and                     , an account executive at




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Greenstone, were in frequent communication by phone and text to coordinate the entry, as set forth

in more detail below:




       1172. During these communications, Teva agreed to concede specific customers to

Greenstone in order to avoid competition and price erosion resulting from Greenstone’s entry.

       1173. Part of the understanding between the companies was that Teva would concede at

least two large customers – CVS and Cardinal – to Greenstone, and that Teva would retain

Walmart as a customer. On March 27, 2013, however, Teva learned that Greenstone had either

misunderstood the deal or was trying to cheat on the agreement by approaching Walmart.

       1174. On March 27, 2013,            of Teva forwarded an e-mail that          had received

from Walmart to Green and Rekenthaler. The e-mail from Walmart, sent the same day, requested

that Teva provide a more competitive price on Oxaprozin 600mg tablets because Walmart had

received a new bid from a competitor (Greenstone).

       1175.




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       1178. During those conversations, Greenstone agreed to withdraw the offer to Walmart

and honor the agreement with Teva.

       1179.




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       1181. In early 2013, Dr. Reddy’s began having internal discussions about re-launching

Oxaprozin in June of that year. In March 2013 – when Teva was still the sole generic in the market

– the plan was to target one large chain and one large wholesaler in order to obtain at least 30%

market share. Two months later, in May 2013, Dr. Reddy’s adjusted its market share expectations

down to 20% after Greenstone and Sandoz both re-launched Oxaprozin.

       1182. On June 13, 2013, members of the Dr. Reddy’s sales force met for an “Oxaprozin

Launch Targets Discussion” to



       1183. Dr. Reddy’s re-launched Oxaprozin on June 27, 2013 with the same WAC price as

Teva. At the time, Teva had 60% market share. Dr. Reddy’s almost immediately got the

Oxaprozin business at two customers, Keysource and Premier. Dr. Reddy’s also challenged for

Teva’s business at McKesson, but Teva reduced its price to retain that significant customer.

       1184.




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       1186. While the Dr. Reddy’s offer to Walgreens was still pending – on July 23, 2013 –

Jake Austin of Dr. Reddy’s called Green. That phone call – the only one ever between the two

individuals that is identified in the phone records – lasted for nearly five (5) minutes.

       1187.




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       1191. By September 10, 2013, Dr. Reddy’s had achieved its goal of obtaining 20% share

of the Oxaprozin market. At that time, its customers included Econdisc, Keysource, and Premier.

       1192. As a result of this collusion, Defendants have been able to maintain pricing for

Oxaprozin at supracompetitive levels since July 2012.

       LLL. Oxycodone/Acetaminophen

       1193. Oxycodone/Acetaminophen, which is the generic version of Percocet and is

sometimes abbreviated as “Oxy/Apap” is prescribed to treat chronic or severe pain.

       1194. During the time period relevant to this Complaint, Actavis, Alvogen, Amneal,

Aurobindo, Mallinckrodt, Mayne, Par, and Teva dominated the market for Oxy/Apap. Given the

large number of competitors that entered the market for the drug between 2011 and 2015, pricing

for Oxy/Apap should have fallen substantially over time. Instead, the opposite occurred. For

example, by December 2013, Mallinckrodt, Actavis, Alvogen, Amneal and Par all sold 100-tablet

bottles of 10/325 mg pills that had cost roughly $18 per bottle throughout 2011 and 2012 for more

than $80.

       1195. Although the Defendants did not increase prices on the drug until late 2013,

Defendants ensured that the fair share agreement applied as new competitors entered the market.

For example, Alvogen received approval to launch Oxy/Apap in July 2012. Upon learning that

Alvogen was entering the market for Oxy/Apap,                   of Dr. Reddy’s – which did not

manufacture the drug – reached out to               , Alvoegn’s EVP of US Commercial Sales, to

congratulate him on the approval.        responded that Alvogen’s entry “should be a fun ride.

We’re just trying to find the right spots to fill some holes in the market.” In other words,




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confirmed to a Defendant that did not manufacture the drugf that Alvogen was complying with the

overarching agreement by not seeking any more than its “fair share” of the market.

         1196. Between July and December 2013, Defendants coordinated to more than quadruple

their prices on Oxy/Apap. Mallinckrodt led the price increase, and Actavis, Alvogen, Amneal,

and Par quickly followed. Upon information and belief, the campaign to increase prices on the

drug was spearheaded by Actavis and Mallinckrodt. Between July 2013 and December 2013,

Marc Falkin of Actavis spoke with                   , Alvoegn’s EVP of US Commercial Sales;

                  , VP of Sales at Amneal;              , the CEO of Aurobindo                  ,

Vice President and General Manager at Mallinckrodt;                 , Par’s VP of Sales.

                                       (Amneal) also coordinated with Aurobindo and Actavis,

respectively, during this timeframe.

         1197. On November 19, 2013, Par received an inquiry from Econdisc to bid for

Oxy/Apap. Upon learning that the RFP was requested due to a price increase from the incumbent

supplier. Upon information and belief, Par declined to bid for this business after




         1198. As a Teva sales executive reported internally in a November 26, 2013 e-mail to

Kevin             David Rekenthaler, Nisha Patel, and others,

                                                                                           ” This

information proved accurate, as Actavis followed Mallinckrodt’s price increase just a few days

later.

         1199. Mayne entered the market for Oxy/Apap in late 2014. In planning for the launch,

             , Mayne’s President, encouraged his sales team to engage in




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                 Indeed, upon entry, Mayne received its “fair share” as the eighth entrant into the

market without any disruption to price, in accordance with the overarching conspiracy.

       1200. As a result of these collusive communications, Defendants have been able to

maintain Oxy/Apap at supracompetitive levels since July 2012.

       MMM. Paricalcitol

       1201. Paricalcitol, also known by the brand name Zemplar, is used to treat and prevent

high levels of parathyroid hormone in patients with long-term kidney disease.

       1202. Defendant Teva entered the market on Paricalcitol on September 30, 2013. As the

first generic to enter the market, it was entitled to 180 days of exclusivity.

       1203. In March 2014, with the end of the exclusivity period approaching, Teva began

planning which customers it would need to concede. Teva had advance knowledge that Defendant

Zydus and another generic manufacturer not named as a Defendant in this case planned to enter

the market on day 181, which was March 29, 2014.

       1204.




       1205. In the month leading up to the Zydus launch, Patel and Rekenthaler spoke with

Green and discussed, among other things, which Paricalcitol customers Teva would retain and

which customers it would allocate to the new market entrant.

       1206. On February 28, 2014,                               , a Director of National Accounts at

Teva, sent an internal e-mail to certain Teva employees, including Patel and Rekenthaler, advising

that ABC was requesting bids on two Zydus overlap drugs – Paricalcitol and Niacin ER. After




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receiving that e-mail, Rekenthaler called Green. The call lasted less than one (1) minute (likely a

voicemail). The next business day, on March 3, 2014, Rekenthaler called Green again and they

spoke for twenty (20) minutes. Later that afternoon, Patel also called Green. The two exchanged

four calls that day, including one that lasted nearly twenty (20) minutes. On March 4, Patel called

Green again and left a voicemail.

       1207. On March 12, 2014,                        o e-mailed Patel and Rekenthaler stating that

Zydus had bid on Paricalcitol at ABC. That same day, Patel sent an internal e-mail asking for a

loss of exclusivity report for Paricalcitol, listing out Teva’s customers and the percentage of Teva’s

business they represented. This was typically done by Teva employees before calling a competitor

to discuss how to divvy up customers in a market.

       1208. On March 13, 2014, Patel directed that Teva retain ABC and match the Zydus

pricing. The next day, on March 14, 2014, Patel called Green. A few minutes later, Green returned

the call and they spoke for nineteen (19) minutes. Rekenthaler then called Patel and they spoke

for eleven (11) minutes.

       1209. During the morning of March 17, 2014, Patel and Green had two more phone calls,

lasting nearly six (6) minutes and just over five (5) minutes. During those calls they were

discussing how to divvy up the market for several products where Zydus was entering the market.




                                                                  Later that same day, Patel called

Green again and they spoke for more than eleven (11) minutes.




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       1210. Over the next several weeks, Defendant Teva would “                concede several

customers to the new entrant Zydus.

       1211. For example, on March 27, 2014, Green called Patel. Patel returned the call and

they spoke for nearly nine (9) minutes. The next day, on March 28, 2014, OptiSource, one of

Teva’s GPO customers, notified




       1212. That same day, Defendant Teva was notified by another customer, Publix, that

Zydus had submitted a proposal for its Paricalcitol business. On April 1, 2014, Defendant Teva

conceded the customer to Zydus and noted in Delphi that the reason for the concession was



       1213. Also on April 1, 2014, Defendant Zydus bid for the Parcalcitol business at NC

Mutual, another Teva customer. That same day, Patel called Green and left a 22-second voicemail.

The next day, on April 2, 2014, Patel tried Green twice more and they connected on the second

call and spoke for nearly ten (10) minutes




       1214. On April 15, 2014, Walmart received a competitive bid for its Paricalcitol business

and provided Teva with the opportunity to retain. Two days later, on April 17, 2014,

responded that he thought it might be Zydus. Patel replied:




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       1221.




       1223. Winn-Dixie informed Teva that it had received a competing offer for Paricalcitol

from Dr. Reddy’s. Patel recommended that Teva concede the business. Teva did, and Winn-Dixie

informed Dr. Reddy’s that it had won its Paricalcitol business on July 9, 2014.

       1224. Giant Eagle informed Teva that it had received a competing offer on Paricalcitol

on July 10, 2014. That same day, Borelli of Dr. Reddy’s called Patel and the two spoke for more

than twelve (12) minutes. Shortly after getting off the phone with Borelli, Patel responded to a

question from a colleague regarding an RFP to another supermarket chain.




                                                             .

       1225. The next day, Teva conceded the Giant Eagle business to Dr. Reddy’s.



                                                                 Giant Eagle accepted Dr. Reddy’s

proposal the next day.

       1226. After receiving an offer from Dr. Reddy’s, Schnucks also asked Teva for reduced

pricing in order to retain the business. Teva decided internally to concede Paricalcitol at Schnucks




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market share (and driving price down further) if Teva conceded all of its McKesson business (One

Stop and Rite Aid) to Dr. Reddy’s. Indeed, Dr. Reddy’s confirmed to McKesson (that same day)




       NNN. Paromomycin

       1232. The market for Paromomycin is mature, as the drug has been available in the United

States since 1960. The drug is considered an essential medicine by the World Health Organization.

Heritage and Sun sold Paromomycin to Plaintiffs and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1233. Until April 2014, pursuant to the conspiracy’s overarching agreement on market

allocation, Heritage maintained approximately a 65% market share for Paromomycin and Sun

maintained approximately a 35% market share.

       1234. During a lengthy phone call on April 22, 2014,

      discussed an agreement to raise prices on Paromomycin. Ultimately, it was agreed between

the two companies that Sun would exit the market for Paromomycin. Upon information and belief,




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Heritage agreed to concede market share to Sun on another generic drug in exchange for Sun’s

agreement to stop manufacturing Paromomycin.

       1235. In May 2014, Sun stopped its production of Paromomycin (although it continued

to sell its surplus inventory of the drug until approximately January 2015).

       1236. Knowing that it would have a complete monopoly for the manufacture of generic

Paromomycin in the United States, Heritage decided to raise prices, and on June 26, 2014, Heritage

notified its customers that its prices for Paromomycin would double going forward. Upon

information and belief, Heritage raised its prices by approximately 100%.

       1237. As a result of this unlawful agreement between Heritage and Sun, Defendants have

charged supracompetitive prices on generic Paromomycin sold to Plaintiffs and others in the

United States since at least April 2014.

       OOO. Piroxicam

       1238. Piroxicam, also known by the brand name Feldene, is a nonsteroidal anti-

inflammatory drug (NSAID). Piroxicam is used to treat rheumatoid arthritis, osteoarthritis, and

juvenile rheumatoid arthritis.

       1239. On March 3, 2014, Greenstone received FDA approval to market Piroxicam

Capsules. It entered the market with the exact same WAC pricing as Teva for both the 10mg and

20mg capsules.

       1240. Greenstone immediately began seeking potential customers. At 10:07am on March

5, 2014,           of Teva sent an e-mail to Patel informing her that Greenstone had just received

Piroxicam approval and was challenging Teva on several accounts.               asked Patel:




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       1244. The next day – March 7, 2014 – after the flurry of phone calls detailed above, Patel

sent an e-mail to                , a customer marketing manager at Teva, identifying specific

customers to concede to Greenstone. Based on her several conversations with Greenstone, and

her understanding of the concept of fair share, Patel also noted:




       1245. Additional challenges did come. On March 12, 2014, Patel learned that Greenstone

was challenging Teva at CVS – Teva’s largest account for Piroxicam.




       1246. Teva and Greenstone continued to coordinate their allocation over the coming days

and weeks. On March 17, 2014, Patel called



                                                                               Teva retained the




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CVS account but conceded other customers (representing less market share) to Greenstone through

March and April.

       1247. For example, on March 25, 2014 Teva learned of a challenge from Greenstone at

Anda, a wholesaler distributor. Following an analysis of its market share, Teva determined that it

still had more than its fair share of the market. Pursuant to the understanding among generic

manufacturers alleged above, Teva determined that it was obligated under the unwritten rules of

the Fair Share agreement to concede the Anda business to Greenstone on Piroxicam. Patel agreed

with the decision to concede on April 1, 2014.

       PPP. Potassium Chloride

       1248. Potassium Chloride is prescribed to treat hypokalemia, a condition occurring when

a patient’s blood levels have insufficient potassium.

       1249. During the time period relevant to this Complaint, Actavis, Mylan, Sandoz, Upsher-

Smith, and Zydus dominated the market for Potassium Chloride tablets and capsules.

       1250. In August 2010, Actavis, Sandoz, and Upsher-Smith each implemented abrupt and

substantial parallel price increases on Potassium Chloride. For example, bottles of 100 tablets of

8 MEQ dosage strength that sold for less than $7.00 at the end of July 2010 increased to more than

$42.00 by mid-August.

       1251. Upon information and belief, this price increase was agreed upon during telephone

calls between



                                           . Additionally, representatives of each of the three

companies met at trade shows and other industry events throughout Summer 2010.




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       1252. In mid-2011, Zydus entered the market at the elevated prices established by

Actavis, Sandoz, and Upsher-Smith. Prior to Zydus’ entry,                        – the company’s

Associate Vice President of National Accounts – communicated frequently with CW-4 of Sandoz.

The purpose of these communications was to determine which accounts Zydus would add in order

for the company to receive its “fair share” of the market. In exchange for Zydus’ support of the

supracompetitive conspiracy pricing for Potassium Chloride, Actavis, Sandoz, and Upsher-Smith

each conceded market share to Zydus.

       1253. In late 2014, Mylan also entered the market for Potassium Chloride. Consistent

with the Fair Share agreement, Jim Nesta of Mylan reached out to Marc Falkin of Actavis in

September 2014 to coordinate Mylan’s receipt of its “fair share” of the market. Like Zydus, Mylan

agreed to support the pricing as already fixed by Actavis, Sandoz, and Upsher-Smith, and in return,

the existing manufacturers of Potassium Chloride conceded market share to Mylan.

       1254. Internal Upsher-Smith documents prepared in late 2014 confirmed that the Fair

Share agreement was followed by all competitors, noting tha




       1255. As a result of these collusive communications, Defendants have been able to

maintain supracompetitive pricing for Potassium Chloride tablets and capsules since August 2010.




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       QQQ. Pravastatin

       1256. Pravastatin, also known by the brand name Pravachol, is a medication belonging to

a class of drugs called “statins,” and is used to treat high cholesterol and triglyceride levels. The

market for Pravastatin is mature, as generic Pravastatin has been available in the United States for

over 10 years. In October 1991, Bristol Meyers Squibb received FDA approval to market

Pravachol, which is prescribed to control high cholesterol and triglycerides. Pravastatin is the

generic version of Pravachol.

       1257. Upon the expiration of Bristol Meyers Squibb’s patent in 2006, a number of generic

manufacturers applied for ANDAs to market Pravastatin in the United States. By 2010, Apotex,

Glenmark, Teva, Dr. Reddy’s, Lupin, Zydus, and Mylan had all received ANDAs to manufacture

and sell generic Pravastatin and each sold Pravastatin to Plaintiffs and others in the United States

at supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint. As a result, the average cost of a dose of generic Pravastatin sold at a competitive

price of less than 10 cents between January 2010 and June 2013.

       1258. Beginning in May 2013, Defendants conspired to implement a series of collusive

price increases on Pravastatin. Although the price increases were taken in stair-step fashion, they

could not have been implemented without collusion between and among each of the eight generic

manufacturers of Pravastatin.

       1259. As early as May 2, 2013, Patel engaged in discussions regarding a price increase

for Pravastatin with CW-5, a senior executive at Glenmark. Early in the morning of May 2, as she

was in the process of formulating her list of “high quality” competitors and the list of price increase

candidates, Patel informed a colleague that she expected to have some “priority items” to add to

the price increase list “shortly.” Within minutes, she received a call from CW-5 and they discussed




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price increases for a number of different drugs, including Pravastatin. Shortly after that call, Patel

sent an e-mail to her Teva colleague directing him to add Pravastatin, and several other Glenmark

drugs, to the price increase list. In all, Patel spoke to CW-5 four (4) times throughout the day on

May 2, 2013, as set forth below:




       1260. As of May 2013, the market for Pravastatin included five competitors: Glenmark,

Teva, Lupin, Zydus and Apotex. The number of competitors made it more difficult to coordinate

a price increase. This difficulty stemmed in part because two of those competitors – Zydus and

Apotex – were also the two lowest quality competitors in Patel’s quality of competition rankings,

and any price increase for that drug would require significant coordination and communication

before Teva could feel comfortable raising its own price.

       1261. Teva was able to achieve a sufficient level of comfort and substantially raise prices

for Pravastatin by systematically communicating and reaching agreement with each and every

competitor on that drug over the next several months.

       1262. On May 3, 2013, Green called                        , a senior executive at Zydus, twice

with one call lasting four (4) minutes. Over the next several weeks, Green communicated

numerous times with both                                  , a senior sales executive at Zydus, to

coordinate a Zydus price increase on Pravastatin.

       1263. On May 6 and 7, 2013, Patel communicated with her contacts at Lupin (Berthold)

and Glenmark                       a national account executive) multiple times. Those calls are

detailed below:



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       1264. During one or more of her calls with             and/or CW-5 of Glenmark in early

May 2013, Patel obtained specific price points from Glenmark for its Pravastatin (and other) price

increases – well before the Glenmark increases became public – and documented those price points

in her price increase spreadsheet.

       1265. By May 8, 2013, Teva executives clearly understood that Glenmark would be

leading the Pravastatin price increase, and were comfortable enough with the situation that one

marketing executive at Teva indicated in an e-mail to Patel that he was hoping to raise price on

Pravastatin

       1266. As the Glenmark increase for Pravastatin was approaching, Patel began preparing.

On May 15, 2013 – the day before Glenmark’s increase would become effective – a Teva executive

sent an e-mail out to the pricing team stating that:




       1267. That same day, Glenmark notified its customers that it would substantially raise the

price of Pravastatin, effective May 16, 2013.




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          1268. As was now the practice among co-conspirators, the day before and the day of the

Glenmark increase brought a flurry of phone calls among several of the competitors, including

Teva executives. At least some of those calls are set forth below:




          1269. As of May 16, 2013, Patel was still considering whether Teva should increase its

price for Pravastatin, because she was concerned about whether Zydus would act responsibly and

follow a price increase. At that time, Patel did not view Zydus as a quality competitor. Patel

stated:




          1270. Green was responsible for coordinating with Zydus. As seen in the table above, on

May 15, 2013, Green spoke with three Zydus employees, including a call with             of Zydus

lasting sixteen (16) minutes. The next day, on May 16, Green spoke with            for 4 minutes.

Later that day,                       and the two Zydus executives spoke for more than seventeen

(17) minutes. Green also spoke to Rekenthaler and Patel the same day, conveying what he had

learned from his communications with the Zydus executives.




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        1274. These were the first documented phone calls between Patel and                  since

Patel had joined Teva.

        1275. But even with this agreement in hand, Patel was still hesitant to add Pravastatin to

the price increase list until Apotex actually increased its price. For example, when she sent the

                 spreadsheet to her supervisor          on May 24, 2013, Pravastatin was still not

on the list.

        1276. That would change shorlty. On May 28, 2013, Apotex raised its price for

Pravastatin. That same day, Green also exchanged six (6) text messages with              at Zydus.

The next day, after a conversation with Maureen Cavanaugh, Patel added Pravastatin to the Teva

price increase list.

        1277. The day after the Apotex increase, Green spoke to          at Zydus two more times,

and exchanged four (4) more text messages. Zydus then quickly followed with a price increase of

its own on June 14, 2013.

        1278. Following the normal pattern, Green spoke to            and others at Zydus several

times in the days leading up to the Zydus increase, including at least the following calls and text

messages:




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       1279. Teva ultimately followed Glenmark, Apotex and Zydus with a significant (653%)

price increase of its own on August 9, 2013. As described in more detail above, in the days and

weeks leading up to August 9, Patel and Green were communicating with all of Teva’s competitors

for Pravastatin to coordinate the increase.

       1280. When Patel sent the




       1281. A couple of days after Teva implemented its increase, a colleague at Teva asked

Patel when Zydus and Apotex implemented their price increases. In her response, Patel confirmed

that it was Kevin Green (or          ) who had indeed coordinated the Pravastatin price increase

with Zydus:




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       1286. These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

       1287. Although prices for Pravastatin have receded somewhat from the peak in early

2014, Defendants continue to charge supracompetitive prices for Pravastatin to Plaintiffs and

others in the United States. The conspiracy overcharge remains embedded in the price of

Pravastatin that Defendants charge Plaintiffs and others.

       RRR. Propranolol

       1288. The market for Propranolol is mature, as Propranolol has been available in the

United States for decades. Propranolol, also known by various brand names including Inderal LA,

Inderal XL, Hemangeol and InnoPran XL, is a beta-blocker used to treat high blood pressure,

irregular heartbeats, shaking (tremors), and other conditions. The drug is considered an essential

medicine by the World Health Organization, and is used by millions of patients in the United

States. The price for Propranolol had fallen steadily since its introduction in the 1960s, and as

recently as early 2013, a monthly prescription for Propranolol cost as little as $8.00.

       1289. Actavis, Breckenridge, and Upsher-Smith each manufacture Propranolol in capsule

form, while Actavis, Mylan, Teva, Pliva, UDL, Par, and Heritage manufacture Propranolol in

tablet form. Each sold either Propranolol capsules or tablets (or both) to Plaintiffs and others in

the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

               1.      Propranolol Capsules

       1290. Actavis, Breckenridge, and Upsher-Smith implemented a collusive price increase

beginning in November 2013 on Propranolol capsules. Breckenridge, which had previously had




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lower prices for Propranolol capsules, increased its prices for all dosages by 88% to 140%.

Upsher-Smith followed in December with a corresponding price increase on all dosages of

Propranolol capsules that ranged from 49% to 79%, depending on the dosage strength. In February

2014, Actavis increased prices for all dosages of Propranolol capsules by 64% to 81%, depending

on the dosage strength.       Although prices fell slightly from their peak in 2014, Actavis,

Breckenridge, and Upsher-Smith still continue to price Propranolol capsules at supracompetitive

levels.

          1291. Upon information and belief, the price increases on Propranolol capsules were the

result of collusive agreements between and among Defendants that were initiated by Actavis to

increase pricing and restrain competition for the sale of Propranolol capsules to Plaintiffs and

others in the United States. These collusive agreements were furthered, at least in part, through

in-person discussions conducted at meetings and industry events hosted by GPhA and HDMA as

well as other meetings and communications as described in Ex. 1.

                 2.     Propranolol Tablets

          1292. Although the conspiring Defendants increased prices on Propranolol capsules by

early 2014, Defendants’ prices for Propranolol tablets remained stable throughout 2014.

          1293. Beginning in January 2015, however, Actavis, Mylan, Teva, Pliva, UDL, Par, and

Heritage colluded to increase prices on Propranolol tablets as well.

          1294. On January 15, 2015, Actavis sent a notice to its customers informing them of a

significant increase to its WAC and Suggested Wholesale Prices (SWP) for Propranolol. The

increases would not become effective (and thus publicly visible to the rest of the market) until

February 17, 2015.




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       1298. Teva raised its pricing for Propranolol on January 28, 2015 – before the Actavis

price increase even became effective.        As discussed above, Rekenthaler was in constant

communication with Falkin of Actavis and Nesta of Mylan in the days leading up to Teva’s price

increase.

       1299. When the Actavis price increase on Propranolol did become effective – on February

17, 2015 – Rekenthaler and Falkin continued to discuss pricing. For example, the day before those

price increases became visible to the public – February 16, 2015 – Rekenthaler and Falkin spoke

two times, including one call lasting nearly twenty- three (23) minutes. Rekenthaler then spoke to

Nesta twice on February 18, 2015 and again on February 19, 2015.

       1300. Heritage increased effective prices by 102%-151% in January 2015, and, a few

weeks later, Teva, Pliva, and Actavis increased their own prices in March 2015 by 566%-898%

and 395%-638%, respectively. Mylan and Par began increasing their prices soon after, by amounts

ranging from 55%-607% and 52%-216%, respectively. Actavis, Mylan, Teva, Pliva, Par, and

Heritage continued to increase prices throughout 2015, and by January 2016, Defendants had

increased their prices for some strengths of Propranolol tablets by more than 1700%. For example,

Actavis raised its prices of 80 mg Propranolol tablets from an average of $0.30 to $0.46 per tablet

between December 2014 and November 2015.

       1301. With respect to both the capsule and the tablet price increases, even in those

instances in which the Defendants did not increase prices in perfect unison, they still managed to

align their pricing on a bi-monthly or quarterly basis, which is consistent with an illegal agreement.

       1302. Defendants continue to charge supracompetitive prices for Propranolol tablets as of

the filing of this Complaint.




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       SSS.    Temozolomide

       1303. Temozolomide, also known by the brand name Temodar, is used to treat

glioblastoma multiforme and refractory anaplastic astrocytoma, both cancers of the brain.

       1304. The patent on Temodar was set to expire in early 2014, but both Teva and Sandoz

had independently obtained the right to launch in August 2013 – six months prior to the patent

expiration. Leading up to the launch of the generic, Teva coordinated with Sandoz to divide up

the market.

       1305. On July 18, 2013, a large retail pharmacy customer submitted an RFP to Sandoz

for Temozolomide. Playing by the rules of the road, Sandoz waited to see what Teva was going

to do before submitting their own bid. That same day, CW-1 received a telephone call from Patel.

Patel sought information on Sandoz’s current customers and discussed options to allocate

customers for Temozolomide. Nothing was agreed to on that call.

       1306.




       1307. At the same time, CW-1 was reaching out to Teva directly to get more information.

CW-1 called Patel at approximately 1:45 pm on July 23, 2013. After exchanging voicemails, they

spoke for over fourteen (14) minutes that same afternoon.




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       1314. Going forward, Sandoz and Teva continued to coordinate with respect to

Temozolomide. On August 12, 2013, the same day as Teva’s launch, CW-2 met in person with

Rekenthaler at the Grand Lux Café in Las Vegas during the NACDS Total Store Expo conference.

There, Rekenthaler discussed, among other things, Temozolomide and informed CW-2 that Teva

had officially launched and shipped all formulations of the drug.

       1315. Although Teva initially obtained the CVS account in August 2013 due to Sandoz’s

inability to supply the 250mg strength of Temozolomide, the companies had agreed that the

account would revert back to Sandoz once Sandoz could supply that dosage strength. In an internal

e-mail dated August 16, 2013, a Teva employee confirmed the plan:



       1316. CW-1 spoke to Patel both before and after Sandoz sent out any offers regarding

Temozolomide in an effort to develop and ensure the appropriate fair share balance between the

two competitors.

       TTT. Theophylline ER

       1317. The market for Theophylline ER is mature, as Theophylline has been used to treat

various conditions since approximately 1900. Heritage and Teva sold Theophylline ER to

Plaintiffs and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

       1318. In February 2014, Teva’s Patel spoke with Heritage’s Malek for more than an hour

regarding a number of potential drugs on which prices could be increased. Upon information and

belief, during that conversation, Heritage and Teva agreed that they would increase prices for

Theophylline ER.




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       1319. Teva agreed that it would lead the price increase for Theophylline ER. By late

April 2014, Teva fully implemented a price increase on the drug of approximately 150%.

       1320. During an internal company meeting on April 22, 2014, Malek informed sales

employees at Heritage that Heritage would follow Teva’s price increase and raise prices for

Theophylline ER by approximately 150%.

       1321. Heritage began announcing the price increase to customers in late June 2014, and

by July 9, 2014, it had fully implemented the collusive 150% price increase of Theophylline ER.

       1322. As a result of the unlawful agreement on Theophylline ER between Teva and

Heritage, prices for the drug still remain at supracompetitive levels.

       UUU. Tobramycin

       1323. Tobramycin, also known by the brand name Tobi, is an eye drop used to treat

bacterial infections.

       1324. Beginning in October 2013, prior to the first generic launch of Tobramycin (for

which Teva would have 180-day generic exclusivity), Sandoz began making plans for its entry

after Teva’s exclusivity period




       1325. As expected, Teva was “               when it came time to give up share to Sandoz.

Nearing Teva’s loss of exclusivity and Sandoz’s entry, on July 1, 2014, Teva and Sandoz began

sharing information and coordinating to divide up the market for Tobramycin. Patel exchanged

seven (7) calls with CW-1 on July 1, during which they discussed Sandoz’s launch plans and how




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to divide up the market for Tobramycin. Patel conveyed some of this information in an internal

Teva e-mail the same day, writing:




       1326. On July 7, 2014, Patel and CW-1 spoke fiver more times, including one call lasting

eleven (11) minutes. On these calls, CW-1 and Patel discussed how to divide up the market for

Tobramycin, including specific accounts that that each would maintain or concede to the other.

Patel then memorialized the agreement in an e-mail two days later. The result: Teva would take

Walgreens, McKesson, Econdisc, ABC, and Omnicare. Teva also planned to concede the Cardinal

business to Sandoz.

       1327. Patel told CW-1 specifically that Teva would not even submit a bid to CVS. This

was significant because Tobramycin was a very expensive product, and Sandoz was able to acquire

the CVS business by offering only a nominal reduction to the extremely high Teva price.

       1328. According to plan, Teva conceded the CVS business to Sandoz after CVS contacted

Teva and requested that Teva submit a lower price to retain the business. Rekenthaler wrote in an

internal e-mail:




       1329. CW-1, in turn, told Patel that Sandoz would not pursue business from ABC and

Walgreens. CW-1 spoke with Kellum about his conversations with Patel and the agreement to

stay away from Walgreens and ABC, and Kellum agreed with the plan. Pursuant to that agreement,

Sandoz made no effort to contact those two large customers when it entered the market.




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       1330. CW-1 and Patel also discussed Sandoz’s target market share. CW-1 informed Patel

that Sandoz was seeking a 50% share, but Patel thought that was




       1331. On July 9, 2014, one of the above allocated customers, Kinney Drugs, approached

Teva asking for a lower price on Tobramycin. A Teva analyst stated in an internal e-mail,




                                                                                            Patel’s

direction had come after she had called CW-1 at Sandoz twice on July 9, 2014 and left him a

voicemail. CW-1 then returned her call the same day and the two spoke for four (4) minutes.

       VVV. Tolterodine

       1332. Tolterodine Tartrate, also known by the brand name Detrol, is in the antispasmodics

class of medications and is prescribed to treat an overactive bladder. Tolterodine Extended Release

(“Tolterodine ER”) – also known by the brand name Detrol LA – is an extended release version

of the drug used for the same purpose.

               (a)    Tolterodine ER

       1333. Teva planned to launch the first generic version on January 2, 2014. During the

first half of December 2013, Teva was under the impression – based on conversations with

potential customers – that Mylan was not in a position to launch until 30 to 60 days after Teva




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launched. Nonetheless, Teva was considering how to allocate the market with Mylan when it did

eventually launch




                                                                     .

       1334. Through the first half of December 2013, as Teva was soliciting usage amounts

from potential customers, customers were asking Teva to send in pricing offers before the launch.

Teva resisted sending out those offers and instead did not plan to do so until the January 2, 2014

launch date. Teva’s delay in putting together pricing for potential customers was part of a plan to

drive up the amount it could charge for Tolterodine ER. Specifically, Teva expected that on

January 1, 2014, the price of branded Detrol LA was going to increase. This would allow Teva to

peg its price to the now inflated price of the branded drug and thereby command a higher price for

Tolterodine ER on the January 2, 2014 generic launch date.

       1335. At the end of the day on Friday December 20, 2013,




       1336. Figure it out they did.             informed her Teva colleagues of Mylan’s plans.

          of Teva then worked over the weekend to turn this information into initial pricing for all

of Teva’s potential customers and then shared it internally. In a telling admission that Teva had

no intention to bid competitively for all accounts,           noted that the next step was




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       1340. At 12:12 pm on December 23, 2013,                    circulated a revised version of

Teva’s pricing plan for the Tolterodine ER launch. This new version incorporated Teva and

Mylan’s plan to allocate the market, including the submission of cover bids and abstention from

bidding. Notably, the revised pricing plan identified the major customers (and their associated

market share percentage) that Teva would receive to get close to its desired 60% market share

while Mylan would get its desired 40% share.

       1341. In exchange for Mylan either submitting cover bids or abstaining from bidding on

these customers, Teva reciprocated by submitting cover bids and/or refusing to submit bids to

customers that Mylan targeted. This is demonstrated by the fact that Teva’s newly revised pricing

plan now included considerably higher direct invoice prices for major customers located to Mylan;

Walgreens, Cigna, Humana, Prime Therapeutics, Optum, and Kaiser.

       1342. In addition to submitting inflated bids for the accounts listed above, Teva agreed to

refrain from bidding for certain customers, such as Publix, Ahold, Hannaford, and PVA Health.

       1343. The following day, on December 24, 2013, Rekenthaler and Nesta had two more

calls to confirm and refine Teva and Mylan’s market allocation agreement. Those calls lasted for

nine (9) minutes and eight (8) minutes, respectively.

               (b)    Tolterodine Tartrate

       1344. Greenstone entered the market for Tolterodine Tartrate 1mg and 2mg Tablets

(“Tolterodine”) on January 23, 2014 with the exact same WAC prices as Teva for all formulations.

In the days leading up to Greenstone’s entry,           and Nailor of Greenstone were speaking

frequently to Patel and Rekenthaler of Teva to coordinate Greenstone’s entry into the market.

Those calls and text messages include at least those set forth below:




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       1345. During these calls and text messages, Teva and Greenstone agreed that Teva would

concede business to Greenstone in order to avoid significant price erosion in the market.

       1346. The day after Greenstone’s entry – January24, 2014 – in a message to Teva national

account managers about how important it was for them to determine and document which

competitor was challenging Teva for business in a particular situation (because it would help Teva

determine whether to concede or not) Patel stated:



       1347. On January 28, 2014, Teva was informed by CVS that it had received a competitive

price challenge on Tolterodine.             of Teva immediately asked:

            Rekenthaler responded that it was Greenstone, but did not want to put the details into

writing:




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       1358. Upon information and belief, the price increases on Ursodiol were the result of

collusive agreements between and among Defendants that were initiated by Actavis to increase

pricing and restrain competition for the sale of Ursodiol in the United States. These collusive

agreements were furthered, at least in part, through in-person discussions conducted at meetings

and industry events hosted by GPhA and HDMA as well as other meetings and communications,

some of which are highlighted below.

       1359. For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Actavis and Lannett. See Ex. 1.

       1360. On June 4-5, 2013, the GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Actavis and Lannett. See Ex. 1.

       1361. On June 2-5, 2013, HDMA held its 2013 BLC in Florida. Representatives from

Actavis and Lannett attended the event. See Ex. 1.

       1362. On August 10-13, 2013, NACDS held its 2013 Total Store Expo in Las Vegas.

Representatives from Actavis and Lannett attended. See Ex. 1.

       1363. On October 28-30, 2013, GPhA held a meeting in Maryland that was attended by

representatives from Actavis and Lannett. See Ex. 1.

       1364. On May 12-15, 2014, MMCAP held its National Member Conference which was

attended by representatives from Actavis and Lannett. See Ex. 1.

       1365. On June 1-4, 2014, HDMA held its BLC at the JW Marriott in Arizona. This event

was attended by representatives from Actavis and Lannett. See Ex. 1.

       1366. On June 3-4, 2014, GPhA held a meeting in Maryland that was attended by

representatives from Actavis and Lannett. See Ex. 1.




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       1367. On August 23-26, 2014, NACDS held its 2014 TSE in Boston. Representatives

from Actavis, Epic, and Lannett attended. See Ex. 1.

       1368. On October 27-29, 2014, GPhA held a meeting in Maryland that attended by

Actavis and Lannett. See Ex. 1.

       XXX. Valsartan HCTZ

       1369. Valsartan HCTZ works to lower blood pressure and relax blood vessels so that

blood can flow more easily, in order to prevent strokes, heart attacks, and kidney problems. Mylan

and Sandoz dominate the market for Valsartan HCTZ.

       1370. In September 2012, CW-4 was concerned about her job security at Sandoz and

sought to network with executives at competing companies in the hope of obtaining new

employment. CW-4 contacted Nesta because she was interested in potentially working at Mylan.

CW-4 obtained Nesta’s phone number from a mutual contact and called to introduce herself.

During that phone call, Nesta immediately started talking about competitively-sensitive

information. Although CW-4 was surprised that Nesta was being so blatant, she did not stop him.

       1371. In the year that followed, between September 2012 and October 2013, CW-4 and

Nesta developed an ongoing understanding that they would not poach each other’s customers and

would follow each other’s price increases. Notably, CW-4 and Nesta were not friends and

communicated almost exclusively by phone. Examples of their coordination with respect to

specific drugs are discussed in more detail below.

       1372. The first drug that CW-4 and Nesta coordinated about was Valsartan HCTZ.

Valsartan HCTZ, also known by the brand name Diovan HCT, is used to treat high blood pressure.

       1373. Diovan was a large volume drug that had sales in the United States of

approximately $1.6 billion for the 12 months ending June 30, 2012.




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       1374. Mylan was the first to file an abbreviated new drug application (ANDA) to market

the generic version – Valsartan HCTZ – which, if approved, would give Mylan 180 days of generic

exclusivity. Sandoz manufactured the authorized generic. This meant that Sandoz and Mylan

would be the only two manufacturers of the generic version of the drug for six months.

       1375. Mylan and Sandoz launched Valsartan HCTZ on the same day – September 21,

2012. In the days leading up to the launch, CW-4 and Nesta spoke at least twenty-one (21) times

by phone during which they discussed, among other things, allocating market share for this

product. These calls are detailed in the table below:




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       1382. On November 16, 2012, Sandoz executives met to discuss increasing sales for

Valsartan HCTZ.




       YYY. Verapamil

       1383. The market for Verapamil is mature, as the drug has been available in the United

States since 1981. The drug is considered an essential medicine by the World Health Organization.

Actavis, Heritage, and Mylan sold Verapamil to Plaintiffs and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1384. During phone calls with senior sales executives from Mylan and Actavis on April

22 and April 23, 2014, Heritage, Mylan, and Actavis agreed to raise prices on Verapamil in the

United States.

       1385. Heritage began announcing the price increase to its customers in late June 2014,

and had fully implemented the Verapamil price increase by July 9, 2014.

       1386. During the Summer of 2014, Mylan and Actavis also implemented the collusive

price increase on Verapamil, as agreed by the three Defendants. As a result of this agreement,

prices for Verapamil sold to Plaintiffs and others in the United States still remain at

supracompetitive levels.




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       ZZZ. Zoledronic Acid

       1387. The market for Zoledronic Acid is mature, as the drug has been available in generic

form since 2013. The drug is considered an essential medicine by the World Health Organization.

Heritage and Dr. Reddy’s sold Zoledronic Acid to Plaintiffs and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1388. In early 2013, Heritage received approval to market Zoledronic Acid in the United

States. On January 21, 2013, Malek instructed members of his sales team to reach out to Dr.

Reddy’s – which at the time was the exclusive manufacturer of generic Zoledronic Acid in the

United States – to reach an agreement on the price that the two companies would charge and a

“fair share” market allocation that each would follow once Heritage entered the market.

       1389. Through a number of phone calls in late January 2013 between Heritage’s

and Dr. Reddy’s           an agreement was reached that Heritage would be entitled to a 40%

market share and Dr. Reddy’s could keep the remaining 60% of the market. The two Defendants

also agreed not to compete on pricing for Zoledronic Acid.

       1390. Conversations between the two companies in furtherance of the agreement

continued in early March 2013, in preparation for Heritage’s entry into the market on March 13,

2013. For example, Heritage employees, at Malek’s direction, e-mailed and spoke by telephone

with Dr. Reddy’s employees on March 1, March 4, March 6, and March 12, 2013. Heritage

employees also exchanged a number of texts with their contacts at Dr. Reddy’s on March 12, 2013.

       1391. When Heritage began shipping Zoledronic Acid on March 13, 2013, Malek

confirmed this to Dr. Reddy’s, and he also confirmed the exact prices that Heritage was charging.




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       1392. On April 19, 2013, in order to conceal the conspiracy, Malek instructed his sales

team not to reduce to writing any collusive discussions or agreements relating to Zoledronic Acid

or other drugs.

       1393. In order to ensure that the market allocation agreement (and the resulting

supracompetitive pricing) remained in place, Malek and his counterparts at Dr. Reddy’s discussed

their bids to potential customers. For example, in November 2013, Malek e-mailed Dr. Reddy’s

to discuss an instance in which Dr. Reddy’s responded to an RFP with quoted prices below what

Heritage was charging.

       1394. As a result of these anticompetitive agreements and collusive communications,

prices for Zoledronic Acid sold to Plaintiffs and others in the United States remain at

supracompetitive levels as of the filing of this Complaint.

XIV. THE CONSPIRATORS INCREASE PRICES IN BUNCHES

       1395. As discussed in detail in Section XIII, the overarching “fair share” agreement

allowed the conspirators to maintain supracompetitive prices on numerous drugs, and implement

massive price increases on many others. In this Section, Plaintiffs explain how the overarching

“fair share” agreement allowed competitors to begin increasing prices on drugs in bunches. As

detailed below – including by tying in examples of price-fixing agreement discussed above in

Section XIII – as the rules of the conspiracy became more established and the relationships within

the industry developed, Defendants ramped up their price increase activity substantially.

       A.         Nisha Patel’s First List of Increase Candidates: Adapalene Gel;
                  Nabumetone; Fluconazole Tablets; Ranitidine; Moexipril; Moexipril HCTZ;
                  Pravastatin; and Ondansetron

       1396. As noted above, Patel’s first task at Teva was to identify drugs for which Teva

could increase prices by colluding with its competitors. Through her communications with her

competitors, Patel learned more about their planned price increases and entered into agreements


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for Teva to follow them. On May 2, 2013, Patel spoke to her contacts at Glenmark, Actavis and

Sandoz several times:




       1397.




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approached Teva about bidding on several Glenmark increase drugs:



       1409. Patel did not immediately include all of the Glenmark price increase drugs on

Teva’s price increase list, however, because certain drugs involved competitors that were not of

the highest “quality.” For these drugs, a little more work (and communication) was required before

Patel would feel comfortable moving forward with a price increase.

       1410. For example, the market for Fluconazole Tablets included Greenstone as a

competitor (albeit with relatively low market share) in addition to Teva and Glenmark. As of

Friday May 17, 2013, Patel had not yet decided whether Teva should follow the Glenmark price

increase on Fluconazole, fearing that Greenstone might not be a responsible competitor. In an

internal e-mail that day, Patel indicated to colleagues – including her supervisor,           – that

she was “[g]athering some revised intel” about Fluconazole in order to determine next steps. The

following Monday, May 20, Patel called                  , a national account manager at Greenstone

but was unable to connect. Patel was ultimately not able to communicate with              by phone

until May 28, 2013 when the two had a twenty-one (21) minute call. The next day after speaking

to Hatosy – May 29, 2013 – Patel promptly added Fluconazole to the Teva price increase list.

       1411. As discussed more fully below, Teva followed the Glenmark price increase for

Fluconazole Tablets on July 3, 2013. That same day, Patel spoke to           for nearly sixteen (16)

minutes; she also spoke to CW-5 at Glenmark for almost five (5) minutes.




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       1412. The price increase on Fluconazole Tablets is also reflective of how the overarching

conspiracy operating. The massive price increase on Fluconazole Tablets led to two additional

market entrants: Citron and Dr. Reddy’s. When both of these competitors entered the market for

Fluconazole Tablets, they spoke with the existing entrants to arrange for their “Fair Share” and to

prevent competition for the drug.




               2.     Sandoz

       1413.




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       1417.




       1418. The next day – June 12, 2013 – Patel exchanged at least five (5) calls with CW-1

at Sandoz, including those listed below:




       1419. At 8:27 am, after the first two of the phone calls listed above, Patel sent the

following e-mail clarifying some of the information             had provided, reflecting some

of the conversations about market share she was having with CW-1:




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       1430. Patel – and other executives at Teva –went to great efforts to coordinate these price

increases with competitors prior to July 3, 2013. Some illustrative examples of generic drugs that

were added to the list after May 24, 2013 are set forth in more detail below.

               1.     Upsher-Smith

       1431. On June 13, 2013, as Patel was in the process of finalizing the Teva price increase

list, she learned that Defendant Upsher-Smith had increased its listed WAC prices for the drug

Oxybutynin Chloride Tablets.

       1432. Oxybutynin Chloride, also known by the brand name Ditropan XL, is a medication

used to treat certain bladder and urinary conditions. Belonging to a class of drugs called

antispasmodics, Oxybutynin Chloride relaxes the muscles in the bladder to help decrease problems

of urgency and frequent urination.

       1433. Apotex, Par, Teva, and Upsher-Smith dominated the market for Oxybutynin

Chloride during the time period relevant to this Complaint.

       1434.




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       1436. Patel deemed Upsher-Smith a highly-ranked competitor (+2) in large part because

of her relationship and understanding with




                                                                                            .

       1437.




       1438. On July 3, 2013, Teva implemented a price increase ranging between 1,100 –

1,500% increase on Oxybutynin Chloride, depending on the dosage strength. Like the other drugs

on the list, Teva would not have increased its price without the existence of the Fair Share

agreement, which provided the rules for the industry and generally prevented competitors from

stealing market share from each other.




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               2.     Mylan

       1439.




       1440. The next day, May 7, 2013, Green spoke to Nesta at Mylan three times, including

one call lasting more than eleven (11) minutes. Green also called Patel twice that day to repo1i on

what he had learned. Green and Nesta also spoke a number of times over the next several days,

including on May 8 (3:46), May 9 (4:05) and May 10, 2013 (0:28; 10:46 and 2:19).

       1441.




       1442. On May 29, 2013, after a discussion with Cavanaugh, Patel added four Mylan drugs

to the Teva price increase list: Nadolol, Cimetidine, Prazosin and Methotrexate.

       1443. For Methotrexate, Par had already increased its prices in February 2013 and West-

Ward followed this price increase on May 15, 2013. Consistent with the “Fair Share” agreement,




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Par knew it could lead this price increase without losing market share, and West-Ward knew that

it could follow Par’s increase without losing share to Mylan or Teva as well.

        1444. Discussions between Green and Nesta about specific drugs continued into June, as

Mylan was also preparing for its own major price increase on a number of drugs. From June 24

through June 28, 2013, for example, Green and Nesta had at least the following telephone calls:




        1445. On June 26, 2013, in the midst of this flurry of communications between Teva and

Mylan (and the same day that Green and Nesta had a one-hour phone call), one of Patel’s

colleagues sent her a suggestion with the following list of potential drugs to add to the price

increase list:




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increasing the price of that drug on July 3, 2013.




               3.      Sandoz

       1453. After the large Teva and Mylan price increases on July 2 and 3, 2013, Sandoz

sought to obtain a



Sandoz executives had previously conveyed to their counterparts at both Mylan and Teva that

Sandoz would follow their price increases and not steal their customers after an increase.

Obtaining the comprehensive list of price increase drugs was an effort by Sandoz to ensure it was

aware of every increase taken by both competitors so it could live up to its end of the bargain.

       1454. On July 9, 2013, CW-1 stated in an internal Sandoz e-mail that he would




       1455. Pursuant to that direction, on July 15, 2013 CW-2 of Sandoz called Rekenthaler at

Teva and left a message. Rekenthaler called CW-2 back immediately and the two had a three (3)

minute conversation during which CW-2 asked Rekenthaler to provide him with a full,

comprehensive list of all the Teva price increase drugs – not just those drugs where Teva

overlapped with Sandoz. Rekenthaler complied. Understanding that it was improper to share

competitively sensitive pricing information with a competitor, and in an effort to conceal such

conduct, Rekenthaler first sent the Teva price increase list from his Teva work e-mail account to a

personal e-mail account, and then forwarded the list from his personal e-mail account to CW-2’s

personal e-mail account:




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price increases in early July 2013, Sandoz executives sought to obtain a                        of

those Teva and Mylan price increases. Sandoz sought this information because it did not want to

accidentally compete for market share on any of the Teva or Mylan drugs that overlapped with

Sandoz.

       1459. To that end, on July 15, 2013, Sandoz executives held an internal meeting during

which CW-1 instructed members of the Sandoz sales team, including CW-2 and CW-4,



       1460. That same day, as detailed above, CW-2 contacted his counterpart at Teva,

Rekenthaler, and obtained the list of drugs that Teva increased on July 3, 2013, along with the

percentage increases for each. Similarly, on July 16, 2013, CW-4 called her contact at Mylan,

Nesta. The call lasted two-and-a-half (2.5) minutes. A half hour later, Nesta returned the call and

they spoke for nearly nineteen (19) minutes.

       1461. During those two calls, CW-4 asked Nesta to identify the drugs Mylan had

increased prices on so that Sandoz could follow with its own price increase. Nesta provided CW-

4 with a list of drugs, highlighting that the Nadolol price increase would be large. Nesta also

emphasized that Mylan did not appreciate having its prices challenged and that prices should be

kept high. After the phone call ended, CW-4 sent the following e-mail to her superiors (the “July

2013 E-mail”):




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               1.     Haloperidol and Trifluoperazine HCL

       1465. Haloperidol, also known by the brand name Haldol, and Trifluoperazine HCL, also

known by the brand name Stelazine, are antipsychotic drugs that are used to treat disorders such

as schizophrenia and Tourette syndrome.

       1466. On August 6, 2013, Nesta of Mylan called CW-4 at Sandoz twice. Both calls were

less than a minute long. Three days later, on August 9, 2013, Mylan implemented significant price

increases on both Haloperidol and Trifluoperazine HCL. For Haloperidol, Mylan increased the

WAC price by 250% on several formulations. For Trifluoperazine HCL, Mylan increased the

WAC price by 80% on all formulations.

       1467. On August 19, 2013, Steven Greenstein, a national account executive at Sandoz,

sent an internal e-mail stating that Mylan increased its prices on Haloperidol and Trifluoperazine

and that Sandoz needed to

       1468. On August 22, 2013, CW-2 e-mailed Kellum stating that CVS




       1469. On September 18, 2013, CW-1 e-mailed Kellum with his price increase analyses

for Haloperidol and Trifluoperazine HCL.




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        1473. On October 15, 2013 (the day after the last of the phone calls noted above), CW-1

e-mailed the Sandoz Pricing Committee recommending that Sandoz increase pricing on

Haloperidol and Trifluoperazine HCL. After reviewing the e-mail, O.K., a senior executive

responsible for business planning at Sandoz, recommended approval of the Haloperidol price

increase, but advised that Sandoz wait to increase the price of Trifluoperazine HCL until January

2014 because of price protection penalties that would be triggered if Sandoz increased in October

2013.




        1474. Ultimately, Sandoz followed O.K.’s recommendation and increased its WAC

pricing on Haloperidol to match Mylan’s pricing on October 25, 2013, but waited to follow on

Trifluoperazine HCL until January 31, 2014.

               2.      Tizanidine

        1475. Tizanidine, also known by the brand name Zanaflex, is used to treat muscle

spasticity due to spinal cord injury or multiple sclerosis.

        1476. Tizanidine was a drug that had been on the market for many years and whose price

had eroded as many competitors entered and exited the market depending on the profitability of

the drug. As of May 2013, Defendants Apotex, Dr. Reddy’s, Mylan, Sandoz, and Sun were in the

market for Tizanidine. Dr. Reddy’s led the increase on this product in early May 2013, increasing

its WAC price and raising contract pricing tenfold, and by July 2013, Apotex, Mylan, Sandoz, and

Sun each followed the price increase.

        1477. Sandoz was thrilled when it learned that Dr. Reddy’s had increased its price on

Tizanidine. For example, on May 10, 2013,                       , a national account executive at




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Sandoz, sent an internal e-mail stating that:




       1478. On May 13, 2013, Dr. Reddy’s published its new WAC pricing for Tizanidine.

That same day, Nesta of Mylan called CW-4 at Sandoz and they spoke for 4 minutes. Two days

later, CW-1 of Sandoz sent an internal e-mail to Kellum regarding



       1479. On May 24, 2013, Sandoz followed and matched Dr. Reddy’s WAC pricing on

several formulations, and even exceeded Dr. Reddy’s pricing on one formulation. Sandoz’s WAC

increases were significant – ranging from 248% to 344%, depending on the formulation. In the

days leading up to the Sandoz increase, Nesta of Mylan exchanged phone calls with both CW-4 of

Sandoz and                , a national account executive at Dr. Reddy’s, to coordinate the price

increase regarding Tizanidine. At least some of those calls are set forth in the table below:




       1480. Notably, after this, Nesta would not speak with Austin again until three months

later in August 2013.




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       1481. On May 29, 2013, customer Omnicare e-mailed Sandoz and asked whether it

wanted to submit a bid for Tizanidine. CW-3 of Sandoz forwarded the request internally to CW-

1 and Kellum asking:




       1482. On June 11, 2013,

                                                                Upon information and belief, the

purpose of this call was to confirm that Apotex would support the “Fair Share” agreement and

follow Dr. Reddy’s price increase (which Apotex subsequently did).

       1483. On June 14, 2013, Anda, a wholesale customer,



       had learned of Mylan’s intent to follow the price increase through his prior communications

with Nesta. However, Mylan had not actually raised its price on Tizanidine at the time of the

inquiry, and would not do so until July 2, 2013.

       1484. On June 26, 2013, Meijer, a supermarket chain customer, e-mailed Dr. Reddy’s

requesting a bid for Tizanidine.




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       D.      Enalapril Maleate

       1485. Immediately after the July 3, 2013 price increases, Patel began preparing for what

she called             – another large set of Teva price increases. In the interim, however, Teva

was presented with an opportunity to coordinate a price increase with competitors on a single drug

– Enalapril Maleate Tablets.

       1486. Enalapril Maleate (“Enalapril”), also known by the brand name Vasotec, is a drug

belonging to the class called ACE inhibitors, and is used to treat high blood pressure.

       1487. Mylan previously increased its price for Enalapril effective July 2, 2013. At that

time, there were only three manufacturers in the market: Mylan, Teva and Wockhardt. Enalapril

was on the list of drugs slated for a price increase that Teva had received from Mylan in June 2013,

before those price increases were put into effect.

       1488. Shortly after the Mylan price increase, on July 10, 2013, Teva received a request

from a customer for a lower price on Enalapril. Interestingly, the customer indicated that the

request was due to Wockhardt having supply problems, not because of the Mylan increase.




       1489. The comment from the customer sparked some confusion at Teva, which Teva

quickly sought to clarify. That same day, Green and Nesta had two phone calls, including one

lasting almost sixteen (16) minutes. The next day, July 11, 2013, Green and Nesta spoke two more

times. During these conversations, Nesta explained to Green that Wockhardt had agreed to follow




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       1492. That same day, Patel and Green each started




       1493. On Sunday, July 14, 2013, after Green returned home from the conference, Green

and Patel spoke three times, including one call lasting twenty-one (21) minutes. During these

calls, Green conveyed to Patel what he had learned from      that Wockhardt planned to follow

the Mylan price increase.

       1494. First thing the next morning, on Monday, July 15, 2013, Patel sent an e-mail to a

Teva executive stating:




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       1501. The list included a number of drugs involving the following competitors, primarily:

Actavis, Aurobindo, Glenmark, Heritage, Lupin, Mylan and Sandoz. In the days leading up to

July 11, 2013, Patel was communicating directly with executives at nearly all of those competitors,

including the following:




       1502. Patel was also communicating indirectly with Mylan through Kevin Green. For

example, on July 10, 2013 – the day before Patel sent the preliminary “Round 2” increase list –

Green and Nesta spoke twice. Shortly after the second call, Green called Patel and the two spoke

for just over seven (7) minutes. The next day, on July 11, Nesta and Green exchanged several

more calls. The timing of those calls is set forth below:




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        1507. The only drug on the list that Patel and/or Green were not coordinating with

competitors on in advance (Clemastine Fumarate Oral Liquids) was a drug where Teva was

exclusive and thus had no competitors. Interestingly, that drug was slated for the lowest increase

of all drugs on the list (7%).

        1508. The day before the price increase went into effect – August 8, 2013 – Patel was

particularly busy, spending most of her morning reaching out and communicating with several key

competitors:




        1509. As it turned out, Mylan was also in the process of implementing its own price

increases on August 9, 2013 on several drugs (including several sold by Teva), and it is likely that

Nesta reached out to Patel to coordinate those increases.

                1.      Mylan

        1510. Teva and Mylan were coordinating price increases consistently during this period,

including the time leading up to the August 9, 2013 increases. During each step in the process,

Teva and Mylan executives kept their co-conspirators apprised of their decisions.               The

communications were typically initiated by Patel, who asked Green to communicate with Nesta of

Mylan and obtain what she referred to as “intel” on many different drugs. But at times, Patel

communicated directly with Nesta.




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       1519. Apotex, Taro, Teva and Sandoz dominated the market for Etodolac tablets; Teva,

Taro, and Zydus dominated the market for Etodolac ER tablets; and Apotex, Teva, and Taro

dominated the market for Etodolac capsules.

       1520. In early 2012, Apotex (which had received an ANDA to market Etodolac capsules

in 2000) was planning to re-enter the market for the drug while Teva was planning to exit the

market. Although the number of competitors in the market would remain the same, Apotex and

Taro were able to coordinate a large price increase due to the overarching Fair Share Agreement.

       1521. As a result of this coordination, Taro was able to lead a price increase that more

than tripled its previous price for Etodolac capsules from early 2012, while Apotex was able to

enter the market at the higher price and gain its “Fair Share.” As a result, between May and August

of 2012, Taro and Apotex were able to coordinate to increase prices by more 200%.

       1522. This coordination paved the way for a subsequent price increase on the tablet

formulations of the drug. One year later, when Patel first began planning for “       2” of Teva’s

price increases, Etodolac and Etodolac ER were not slated for increases. For example, when she

circulated a long list of potential “      2” increases on July 11, 2013 (that would later be cut

down substantially) – neither of those drugs was on the list.

       1523. Around that time, Sandoz began identifying a list of drugs where it believed it could

increase price by the end of July. Etodolac was on the list, primarily because Sandoz would be

able to implement a substantial increase without incurring significant price protection penalties

from its customers.

       1524. On July 16, 2013, CW-3, then a senior executive at Sandoz, reached out to

Aprahamian at Taro and they spoke for sixteen (16) minutes. Aprahamian called CW-3 back the

next day and the two spoke again for eight (8) minutes. After hanging up the phone with CW-3,




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               4.      Price Increase Hiatus

       1542. Shortly after the August 9, 2013 price increase went into effect, Patel left the office

for several months while on maternity leave.

       1543. This slowed down Teva’s plans for its next round of price increases. During the

time period while Patel was out on maternity leave, Teva did not implement or plan any additional

price increases, instead waiting for Patel to return and continue her work. Patel began to return to

the office on a part-time basis beginning in November 2013.

       1544. During this time period, Kevin Green left Teva to join Defendant Zydus as the

Associate Vice President of National Accounts. His last day of employment at Teva was October

23, 2013.    This prompted Rekenthaler to assume the role of communicating with specific

competitors, including Mylan. Rekenthaler also identified and began communicating on a more

frequent basis with co-conspirators at different companies to facilitate the price increase process

for Teva.

       1545. As discussed more fully below, although Patel’s absence slowed Teva in its plans

for price increases on additional drugs, it did not stop certain competitors – in particular Lupin and

Greenstone – from attempting to coordinate with Teva regarding their own price increases. In

Patel’s absence, they simply communicated through different channels. These communications

were conveyed to Patel upon her return and she included the information in her efforts to identify

new price increase candidates.

       1546. As discussed more fully below, by early 2014 Patel had picked up right where she

left off planning for the next round of Teva increases.




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       F.       March 7, 2014: (Niacin ER)

       1547. Niacin Extended Release (ER), also known by the brand name Niaspan Extended

Release, is a medication used to treat high cholesterol.

       1548. On September 20, 2013, Teva entered the market for Niacin ER as the first-to-file

generic manufacturer. As the first-to-file, Teva was awarded 180 days of exclusivity to sell the

generic drug before other generic manufacturers could enter the market.

       1549. Teva’s period of exclusivity for Niacin ER was scheduled to expire on March 20,

2014. As that date approached, Teva began to plan for loss of its exclusivity. By at least as early

as February, Teva learned that Defendant Lupin would be the only competitor entering the market

on March 20.

       1550. The first thing Teva sought to do – knowing that a high-quality competitor would

be the only new entrant – was to raise its price. On February 28, 2014, Maureen Cavanaugh

instructed




                 Later that day, Patel called Berthold at Lupin and the two spoke for nearly seven

(7) minutes.

       1551. Within a week, Teva was ready to implement the price increase. On March 5, 2014,

Patel sent an e-mail to the Teva pricing group stating:

                                                                                               The

next day, March 6, Teva notified its customers that it would be implementing a price increase on

Niacin ER effective March 7, 2014.         The increase was for 10% across the board, on all

formulations.




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       1552. Once Teva coordinated the price increase, it next began taking the necessary steps

to divvy up the Niacin ER market with new entrant Lupin so as to avoid competition that would

erode Teva’s high pricing. Patel scheduled a meeting with Rekenthaler for March 6, 2014 to

discuss an




       1553. This situation was no different. During the morning of March 6, 2014, Patel called

Berthold and they spoke for more than seven (7) minutes. During this and several subsequent

calls, discussed in more detail below, Teva and Lupin agreed on which specific customers Teva

would concede to Lupin when it entered the market on March 20, 2014. Teva agreed that it would

concede 40% of the market to Lupin upon entry.

       1554. When Lupin entered the market for Niacin ER on March 20, 2014, it entered at the

same WAC per unit cost as Teva, for every formulation. In the days leading up to Lupin’s entry,

Patel and Berthold were in frequent communication to coordinate the entry, as set forth below:




       1555. In addition, Lupin entered with customer pricing only 10% below Teva’s recently

increased pricing – so it was expected that pricing would remain at least at Teva’s pre-increase

exclusive pricing levels. In other words, there was little or no price erosion as a result of Lupin’s

anticompetitive entry into the market for Niacin ER.


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       1558. The next day – March 25, 2014 –




       G.     April 4, 2014 Price Increases: Azithromycin Suspension and Oral
              Suspension, Bumetanide Tablets, Cephalexin Suspension, Clarithromycin
              ER Tablets, Cyproheptadine HCL Tablets, Dicloxacillin Sodium Capsules,
              Diflunsial Tablets, Estazolam Tablets, Ethosuximide Capsules and Oral
              Suspension, Hyrodxyzine Pamoate Capsules, Ketoconazole (Cream and
              Tablets), Medroxyprogesterone Tablets, Estradiol/Norethindrone Acetate
              Tablets, Nystatin Oral Tablets, Pentoxifylline Tablets, Tamoxifen Citrate
              Tablets, Theophylline ER Tablets

       1559. On April 4, 2014, Teva raised prices on twenty-two (22) different generic drugs.

Again, nearly all of these increases were coordinated with a number of Teva’s high-quality

competitors who by now were familiar co-conspirators, including Defendants Sandoz, Taro,

Actavis, Mylan, Lupin, and Greenstone. But for this price increase, Teva also began coordinating

with some of what it regarded as “lesser-quality” competitors – such as Defendants Breckenridge

and Versapharm, as well as Heritage and Rising – as new sources for anticompetitive agreements.

For this price increase, Teva also decided to lead many more price increases – which was riskier

for Teva and required even greater coordination with competitors.

       1560. Leading more price increases was part of a strategy that Patel memorialized in

writing in January of 2014, documenting in many respects the successful strategy that she had

implemented in 2013, focused on leveraging Teva’s collusive relationships with high-quality

competitors. This strategy was well known, understood and authorized by individuals at much

higher levels at Teva, including Cavanaugh and Rekenthaler, and Patel’s direct supervisor

            For example, on January 16, 2014, Patel sent a document to              titled

                             where she outlined her plan for implementing price increases:



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         1565. On March 17, 2014, Patel sent a near final version of the




                               At least some of those communications are reflected in the table

below:




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      1566. Rekenthaler had also previously spoken with his contact at Versapharm

      , a senior national accounts executive – on January 22, 2014 (a five (5) minute call) and

March 7, 2014 (a three (3) minute call) to secure Versapharm’s agreement to follow the Teva


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                1.     Lupin (Cephalexin Oral Suspension)

       1571. Throughout 2013, David Berthold of Lupin colluded with two different individuals

at Teva: Patel and Green. As discussed above, at times Patel and Green would even coordinate

with each other regarding who would communicate with Berthold, and take turns doing so.

       1572. As of late October, 2013, however, neither of those options was available to

Berthold. Patel was out of the office on maternity leave, and Green had left Teva to join Zydus as

of October 23, 2013.

       1573. This did not deter Berthold; he merely went further down the Teva organizational

chart to find a Teva executive to communicate with. The ongoing understanding between Teva

and Lupin was institutional, not dependent upon a relationship between specific individuals. So

in October 2013, when Lupin decided to raise price on Cephalexin Oral Suspension – a drug where

Teva was the only other competitor in the market – Berthold already knew that Teva would follow

the increase.

       1574. On October 14, 2013, Berthold called Rekenthaler at Teva. They ultimately spoke

for sixteen (16) minutes that day. Communication was rare between those two executives. Prior

to October 14, 2013, the last (and only) time they had spoken by phone was November 21, 2011

according to the phone records produced.

       1575. On October 31, 2013 – the day before Lupin was scheduled to increase its price on

Cephalexin Oral Suspension – Berthold also called                   , a national account executive

at Teva, to notify Teva of the price increase. He called                 at 9:18 am that morning

and left a message.                 o returned the call at 9:57 am, and the two spoke for nearly

five (5) minutes.




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       1580. And discuss they did. When Patel drafted her initial list of possible price increase

candidates and forwarded it to           in January 2014, Cephalexin Oral Suspension was on the

list. Patel coordinated the increase consistently with Berthold throughout the period.

       1581. On April 4, 2014, Teva raised its WAC prices on Cephalexin Oral Suspension to

match Lupin’s prices exactly. The increases to the WAC price ranged from 90% - 185%,

depending on the formulation.

               2.     Greenstone (Azithromycin Oral Suspension, Azithromycin Suspension,
                      and Medroxyprogesterone Tablets)

       1582. In November 2013, Greenstone began planning to increase prices on several drugs,

including some that overlapped with Teva: Azithromycin Oral Suspension, Azithromycin

Suspension and Medroxyprogesterone Tablets. Patel and                         , a national account

executive at Greenstone, were communicating frequently during that time, including exchanging

six (6) text messages on November 16, 2013 and a phone call on November 23, 2013. Because

Greenstone was a high-quality competitor, and because the companies had successfully conspired

to raise prices previously, it was understood between the two that if Greenstone raised prices Teva

would follow and would not seek to poach Greenstone’s customers after the increase.

       1583. On December 2, 2013 - the same day that Greenstone was slated to send out notices

of the price increases to its customers – Patel spoke to Hatosy at Greenstone three times within a

span of twenty (20) minutes, as set forth below:




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       1589. Consistent with the understanding between the two companies, Teva followed

Greenstone’s price increases for Azithromycin Oral Suspension, Azithromycin Suspension and

Medroxyprogesterone Tablets on April 4, 2014. Patel spoke twice with              from Greenstone

that same day.

                 3.    Actavis (Clarithromycin ER Tablets, Tamoxifen Citrate and Estazolam)

       1590. Teva and Actavis were coordinating about several drugs increased by Teva on April

4, 2014. One of them was Clarithromycin ER Tablets. As of December 2013, Teva, Actavis and

Zydus were the only three generic manufacturers actively selling Clarithromycin ER.

       1591. On December 30, 2013, however, Cardinal approached Teva looking for a bid on

Clarithromycin ER because Zydus was exiting the market. Teva informed Cardinal that it would

not have adequate supply to be able to take on this additional market share until April 2014, but if

Cardinal could wait until then for Teva to supply, Teva would make an offer. Cardinal agreed.

       1592. The Cardinal bid request was forwarded to Patel on the morning of January 2, 2014.

At 9:37 am that morning,




       1593. Immediately after receiving that e-mail, at 9:40am, Patel called Rogerson at Actavis

and the two spoke for more than seventeen (17) minutes. Shortly after hanging up the phone with

Rogerson, at 10:12 am, Patel responded to the e-mail, saying




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       1598. In actuality, these increases would not become effective until April 15, 2014, again

demonstrating that Teva knew in advance of its competitors’ price increase plans.

       1599. Within half an hour of sending that e-mail, Patel instructed colleagues to add the

Actavis drugs to the Teva price increase list. She added:

       1600. Less than two hours later, at 12:37 pm, Patel called Rogerson again. They spoke

for more than five (5) minutes. Shortly after hanging up the phone, at 12:51 pm, Patel wrote

another e-mail to certain colleagues at Teva, stating:




       1601. First thing the next business day – which was the following Monday, March 17,

2014 – Patel forwarded the                     list to          at Teva. The list included both

Tamoxifen Citrate and Estazolam. Later that morning, Patel called Rogerson. After quickly

exchanging voicemails, they spoke for more than nineteen (19) minutes. Rekenthaler of Teva and

Falkin of Actavis also exchanged four (4) text messages that day, and had one call lasting more

than six (6) minutes.

       1602. Teva followed the Actavis price increases on Tamoxifen Citrate and Estazolam less

than three weeks later, on April 4, 2014. Patel and Rogerson spoke twice by phone that day.

Rekenthaler and Falkin also spoke by phone that day. Because Teva was able to follow the price

increase so quickly, Teva’s increase became effective even before the Actavis price increase for

those drugs.

       1603. After the price increases became effective, Teva took consistent steps not to disrupt

the market or steal market share from Actavis. For example, on May 14, Patel declined to bid at

ABC on both Tamoxifen Citrate and Estazolam, stating




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       1615. Shortly before sending the e-mail, Patel exchanged several text messages with

Aprahamian at Taro. She would ultimately exchange eight (8) text messages and had one phone

call lasting more than four (4) minutes with Aprahamian on that day.

       1616. Later that same day, Patel also directed that Teva decline to bid for Ketoconazole

at ABC, citing the same logic:

       1617. Sandoz ultimately followed the Teva and Taro increases for Ketoconazole Creamon

October 10, 2014. That same day, Patel and CW-1 at Sandoz spoke for more than three (3)

minutes.

       1618. The Teva increases on Ketoconazole were significant. For the cream, Teva, Taro

and Sandoz all increased the WAC price by approximately 110%. For the tablets, Teva’s WAC

increases were approximately 250%, but its customer price increases were substantially larger –

averaging 528%.

       1619. Following this first successful price increase, Defendants were able to increase

prices again on Ketoconazole Cream when G&W entered the market. Consistent with the

overarching Fair Share agreement, G&W entered the market at prices that were substantially

higher than those charged by the existing manufacturers. Notwithstanding the fact that it was a

new market entrant with a higher price, G&W was able to gain market share as Taro, Sandoz, and

Teva ceded market share to G&W. Further, Taro quickly matched G&W’s price increase. Upon

information and belief, this collusion was facilitated by communications between Aprahamian of

Taro and high level executives at G&W.

              5.      New Relationships Emerge

       1620. By early 2014, the generic drug industry was in the midst of a price increase

explosion. In an internal Teva presentation given shortly after the April 2014 price increases –




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titled




Understanding that many more competitors were enthusiastic about conspiring to raise prices,

Teva began to develop new and additional relationships with certain competitors when

implementing its April 4, 2014 price increases. Some illustrative examples are set forth below.

                       (a)    Breckenridge

         1621. One of those new co-conspirators was Defendant Breckenridge. Patel already had

a relationship with             , a senior sales executive at Breckenridge, and Rekenthaler had a

relationship with              , another senior sales executive at Breckenridge, so Breckenridge

was a prime candidate to coordinate pricing.

         1622. On November 14, 2013, Breckenridge increased its pricing on both

Estradiol/Norethindrone Acetate Tablets (“Mimvey”) and Cyproheptadine HCL Tablets.25 For

Cyproheptadine, Breckenridge increased its WAC pricing by as high as 150%, and raised its

customer contract pricing even higher – 400%. The increases to Mimvey were a more modest 20-

27% for both the WAC and customer pricing.

         1623. In the weeks leading up to those increases – when Patel was still out on maternity

leave – Rekenthaler had several phone calls with          at Breckenridge to coordinate the price

increases. The two spoke twice on October 14, 2013 and had a twenty-six (26) minute call on




______________________
       25
              Breckenridge had acquired the ANDA for Cyproheptadine HCL Tablets in
September 2013 from another manufacturer, and immediately sought to raise the prices previously
charged by the prior manufacturer as it began to sell the product under its own label.


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       1638. Rekenthaler called again and spoke with Josway at Versapharm on March 7, 2014.

Teva then raised prices on both drugs on April 4, 2014. For Ethosuximide Capsules, Teva raised

is WAC price by 87%, and its contract prices by up to 322%. For Ethosuximide Oral Solution,

Teva raised its WAC price by 20% and its contract prices by up to 81%.

       1639. If Versapharm was being tested by Patel and Teva, it passed with flying colors. On

April 9, 2014 – only five days after the Teva increase – Versapharm increased its pricing on both

Ethosuximide Capsules and Oral Solution to a nearly identical price to Teva.

       1640. Following their agreement on those two drugs, and with no reason to speak further,

Rekenthaler and            of Versapharm never spoke by phone again.

               6.        Impact

       1641. A few weeks after Teva’s April 4, 2014 price increases went into effect, Patel

calculated the impact to Teva’s net sales as a result of the April 4 increase. Based on her analysis,

she found that the April 4, 2014 price increases resulted in a net increase in sales to Teva of

              per year.

       H.      August 28, 2014 Price Increases: Amiloride HCL/HCTZ Tablets,
               Amoxicillin/Clavulanate Chewable Tablets, Carbamazepine Chewable
               Tablets, Carbamazepine Tablets, Clemastine Fumarate Tablets,
               Clotrimazole Topical Solution, Desmopressin Acetate Tablets, Diclofenac
               Potassium Tablets, Disopyramide Phosphate Capsules, Enalapril Maleate
               Tablets, Epitol Tablets, Flurbiprofen Tablets, Flutamide Capsules,
               Fluvastatin Sodium Capsules, Hydroxyurea Capsules, Loperamide HCL
               Capsules, Penicillin VK Tablets, Prazosin HCL Capsules, Prochlorperazine
               Tablets, Topiramate Sprinkle Capsules, Warfarin Sodium Tablets

       1642. On August 28, 2014, Teva raised prices on a number of different drugs, including

those set forth below:




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       1645. In addition to those phone communications noted above, representatives from Teva

and every other defendant met in Boston, Massachusetts shortly before the increase, from August

23-26, 2014, for the NACDS annual event, which was the largest pharmaceutical industry meeting

of the year. Cavanaugh, Rekenthaler and Patel, along with many other Teva executives, as well

as executives from every other corporate Defendant, attended.

       1646. For those few drugs where the phone records do not identify direct communications

between Teva executives and their competitors, these executives, at a minimum, communicated

through other competitors.

       1647. For example, with regard to Enalapril, Patel was speaking to Aprahamian at Taro

as shown above. Aprahamian, in turn, spoke to                   , the Vice President of Sales and

Marketing at Wockhardt, on August 8, 2014 for thirteen (13) minutes, and again twice on August

14, 2014, including one call lasting eight (8) minutes.

       1648. Similarly, with regard to the drug Prochlorperazine, Rekenthaler communicated

with Nesta at Mylan on August 7 and August 11, as shown above. Nesta, in tum, communicated

with              , a senior sales executive at co-conspirator Cadista Pharmaceuticals, on the same

days that he had been communicating with Rekenthaler.


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       1649. A large number of the drugs on Teva’s August 28, 2014 price increase list were

selected because Teva was following a “high quality” competitor. The coordination between Teva

and certain co-conspirators regarding those drugs is discussed more fully below.

               1.      Mylan

       1650. Effective April 17, 2014, Mylan increased its WAC pricing on a number of different

drugs, including several that overlapped with Teva. Mylan also increased its contract prices, but

at least some of those price increases would not become effective until mid-May 2014.

       1651. Pursuant to the established understanding between the two companies, Teva

immediately decided that it would follow the Mylan increases. On April 21,

       , a national account executive at Teva, forwarded to Patel two spreadsheets with WAC and

AWP pricing information for the price increases taken by Mylan. The spreadsheets were created

by Mylan personnel.

       1652. Patel, in turn, forwarded the e-mail to the Teva sales team and stated:




            The list that Patel referred to included the following products, several of which had

been the subject of coordinated price increases in 2013 as well: Amiloride HCL/HCTZ Tablets;

Cimetidine Tablets; Enalapril Maleate Tablets; Fluvastatin Sodium Capsules; Loperamide HCL

Capsules; Prazosin HCL Capsules; and Sotalol Hydrochloride Tablets.

       1653. Within days, Teva began receiving requests from its customers for bids due to the

Mylan price increases. On April 24, 2014, Patel began to formulate a

in order to respond to those requests, but noted that Teva was                     about the Mylan

customer contract price points, which were not publicly available. Previously, Patel had relied on




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       1662. Also on the list were three additional Mylan drugs for which Teva would be leading

the price increase: Diclofenac Potassium Tablets; Flurbiprofen Tablets; and Prochlorperazine

Tablets.

       1663. With the list firmly squared away at the end of May, Rekenthaler and Nesta had no

need to speak again until August, when Teva was preparing to implement the price increases. In

the weeks leading up to the August 28, 2014 Teva price increases, Rekenthaler and Nesta spoke

several times to coordinate, including at least the calls set forth below:




               2.      Taro

       1664. As discussed above, Taro implemented a substantial price increase on various

formulations of Fluocinonide on June 3, 2014. In addition to Fluocinonide, Taro also significantly

raised its prices on the following additional drugs, which overlapped with Teva: Carbamazepine

Chewable Tablets, Carbamazepine Tablets, Clotrimazole Topical Solution and Warfarin Sodium

Tablets.

       1665. Patel learned of the prices increases for certain of these drugs in advance, based on

her conversations with Aprahamian. It was understood that Teva would follow the Taro price

increases based on these and prior conversations. In fact, Teva agreed and made plans to follow

them before Taro had even put them into effect.




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One of the options discussed was a price increase.                – aware that Patel had been in

discussions with Aprahamian and had “         regarding the Taro price increase on Carbamazepine

(and other drugs) – stated:

                                                                               In fact, Patel had

communicated with Aprahamian earlier that same day for more than nine (9) minutes.

       1671. One of the drugs that Taro increased on June 3, 2014 was Warfarin Sodium Tablets

(“Warfarin”). Also known by the brand name Coumadin, Warfarin is a blood thinner medication

used to treat and prevent blood clots.

       1672. As of June 2014, there were three competitors in the market for Warfarin: Teva,

Taro and Zydus. Ten days after Taro increased its price, Zydus quickly followed with a price

increase of its own on June 13, 2014. In the days between the Taro and Zydus price increases for

Warfarin, Teva, Taro and Zydus coordinated through various phone communications with each

other, including at least the following:




       1673. On June 13, 2014 – the date of the Zydus increase on Warfarin – Teva was

presented with an offer from a customer for a one-time buy on that drug. Patel responded that

                                                                                            Later

that same day, Patel sent an internal e-mail ale1iing her group, including her supervisor

about a list of drugs on which Teva planned to raise prices. A number of them – including




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       1677. On August 28, 2014, Teva followed the Taro price increases on Carbamazepine

Chewable Tablets, Carbamazepine Tablets, Clotrimazole Topical Solution, and Warfarin Sodium

Tablets. As discussed more fully above, Teva coordinated those increases with Taro (and Zydus)

through direct communications with those competitors in the days leading up to the increase.

               3.      Zydus

       1678. In addition to their agreement on Warfarin, Teva also agreed with Zydus to raise

the price of Topiramate Sprinkle Capsules.

       1679. Topiramate Sprinkle Capsules, also known by the brand name Topamax, is a

medication used to treat seizures caused by epilepsy, and also to treat migraine headaches. As of

June 2014, Zydus and Teva had a large majority of the market share for Topiramate, while Actavis

had just 3% of the market.

       1680. In April 2014, Zydus raised its price for Topiramate Sprinkle Capsules. Patel was

in frequent communication with Green at the time of the Zydus price increase.

       1681. In the days leading up to the June 13 Zydus price increase on Warfarin, which is

discussed more fully above, Kevin Green coordinated with both Patel and Rekenthaler at Teva, as

set forth in the table below:




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       1682. Green was likely speaking to Patel and Rekenthaler about both Warfarin and

Topiramate Sprinkle Capsules during those calls because on June 13 – the same day the Zydus

price increase on Warfarin became effective, and after the conversations noted above – Patel added

Topiramate Sprinkle Capsules to Teva’s price increase list, with a notation:

         Two days before that – the same day that Green had extensive phone calls with both

Rekenthaler and Patel – Rekenthaler also spoke twice with Falkin of Actavis, the only other

competitor in the market for Topiramate Sprinkle Capsules.

       1683. Teva followed the Zydus price increase for Topiramate Sprinkle Capsules on

August 28, 2014. As noted above, Teva coordinated that increase with both Zydus and Actavis in

the days and weeks before it.

               4.     Competitors Follow Teva

       1684. For those drugs where Teva was leading the price increases on August 28, 2014,

several of Teva’s competitors followed in sho1iorder and those price increases were also

coordinated.

       1685. For example, on October 10, 2014 Sandoz followed Teva’s price increases on three

drugs: (1) Amoxicillin/Potassium Clavulanate Chewable Tablets; (2) Diclofenac Potassium

Tablets; and (3) Penicillin V Potassium Tablets. Following the normal pattern, Patel of Teva spoke

to CW-1 of Sandoz on the day of the Sandoz price increases for more than three (3) minutes.




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       1686. Then, on December 19, 2014, Actavis followed the Teva price increase on

Desmopressin Acetate Tablets. Rekenthaler of Teva and Falkin of Actavis spoke frequently in the

days and weeks leading up to the Actavis price increase, including calls on November 18,

November 21 and November 25, 2014.

       1687. Indeed, even before Actavis followed the Teva price increase, Teva knew that

Actavis planned to increase. For example, on October 15, 2014 – approximately six weeks before

Actavis raised its price – Teva received a request from a customer asking Teva to reduce its pricing

on Desmopressin Acetate because it was no longer offering competitive prices. Patel’s initial

response to the customer was:

                                                                                   In a subsequent

internal discussion, Patel expressed how difficult it was to actually keep track of all of Teva’s

different collusive agreements, saying:



       1688. Similarly, on March 4, 2015, Mylan followed the Teva and Sandoz price increases

on Diclofenac Potassium Tablets. Rekenthaler coordinated that price increase with Nesta of Mylan

during two phone calls on February 18 and one call on February 19, 2015.

       I.      January 28, 2015 Price Increases: Bethanechol Chloride Tablets,
               Ciprofloxacin HCL Tablets, Diltiazem HCL Tablets, Estradiol Tablets,
               Fluoxetine HCL Tablets, Glimepiride Tablets, Griseofulvin Suspension,
               Isoniazid, Ketoprofen Capsules, Ketorolac Tromethamine Tablets,
               Nortriptyline HCL Capsules, Propranolol

       1689. Shortly after the August 28, 2014 Teva price increases, Patel accepted a new

position at Teva. She left her position in the pricing department to take on the role of Director of

National Accounts at Teva. Her new position meant new responsibilities, necessitating more




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                1.     Ciprofloxacin HCL and Glimepiride

        1695. Ciprofloxacin HCL Tablets, also known by various brand names including

Cetraxal, Otiprio and Ciloxan, is an antibiotic that fights bacteria in the body. It is used to treat

different types of bacterial infections, including skin infections, bone and joint infections,

respiratory or sinus infections, urinary tract infections, and certain types of diarrhea.

        1696. Glimepiride Tablets, also known by the brand name Amaryl, is a medication used

to control high blood sugar in people with type 2 diabetes.

        1697. Dr. Reddy’s significantly increased its pricing on both Ciprofloxacin HCL and

Glimepiride on August 18, 2014. The increases to the Ciprofloxacin HCL WAC were 201% –

533% depending on the dosage strength.            The increases to the Glimepiride WAC were

approximately 300% for all dosage strengths.

        1698. In the days and weeks leading up to the Dr. Reddy’s price increases for

Ciprofloxacin HCL and Glimepiride,                     , a senior sales executive at Dr. Reddy’s, spoke

frequently with Patel about the planned price increases, including calls on July 10, 18, 21, 22, and

24.

        1699.          continued to communicate with Patel after the Dr. Reddy’s price increases

became effective, in the hope that Teva would quickly follow with its own price increases. The

two exchanged four (4) text messages on August 25, 2014 – only three days before Teva’s

substantial price increase on August 28, 2014 (discussed above).

        1700. Despite Dr. Reddy’s best efforts, Teva was unable to add Ciprofloxacin HCL or

Glimepiride to its August 28 price increase. On the same day that Teva sent its price increase

notices out to its customers,               , a senior account executive at Dr. Reddy’s, obtained a

complete list of Teva’s price increases (including a number of drugs not sold by Dr. Reddy’s).




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       1704. When Teva did follow the Dr. Reddy’s (and Actavis) price increases on

Ciprofloxacin HCL and Glimepiride, on January 28, 2015, Teva raised its WAC pricing to match

Dr. Reddy’s WAC prices exactly. That same day, Dr. Reddy’s was (again) able to obtain a full

copy of Teva’s price increase list. That list included many drugs that Dr. Reddy’s did not market.

               2.      Griseofulvin

       1705. Griseofulvin Microsize Oral Suspension, also known by the brand name Grifulvin

V, is a medication used to treat fungal infections of the skin, hair and nails that do not respond to

creams or lotions. The medication works by stopping the growth of fungi.

       1706. On September 9, 2014, Actavis notified its customers of a price increase on

Griseofulvin Microsize Oral Suspension. In the days leading up to September 9, 2014, Patel and

Rekenthaler of Teva communicated with Falkin and Rogerson of Actavis to coordinate the

increase. Some of those calls are detailed below:




       1707. The Actavis price increase for Griseofulvin became effective on October 6, 2014.

       1708. Teva promptly added Griseofulvin to its own price increase list, with the notation

                                as the reason for the price increase.

       1709. Teva followed the Actavis increase for Griseofulvin during its next price increase

event on January 28, 2015. As discussed above, in the days leading up to that price increase



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Rekenthaler of Teva and Falkin of Actavis coordinated frequently. Teva’s price increase for

Griseofulvin Microsize Oral Suspension matched Actavis’s WAC pricing exactly.

XV.    AFTER SUCCESSFULLY COLLUDING, DEFENDANTS’ QUALITY
       RANKINGS IMPROVE

       1710. A little more than a year after she first circulated her Quality of Competitor List,

Patel finalized an updated list on May 9, 2014. This updated list reflected changes in Teva’s

conspiratorial relationships.

       1711. Although certain competitors retained a high-quality ranking throughout the entire

relevant time period – like Defendants Mylan, Sandoz, Actavis and Taro – other competitors saw

their ranking increase (sometimes dramatically) after successfully colluding with Patel or others

at Teva on one or more drugs during the prior twelve-month period. These changes demonstrate

that Teva’s quality competitor rankings were, in reality, a list of co- conspirators that Teva could

trust to adhere to the illegal agreements.

       A.      Apotex

       1712. Apotex, for instance, was one of Teva’s two lowest-ranked competitors in May

2013 with a ranking of -3. When Patel updated her Quality Competitor rankings in May 2014,

however, Apotex was rated +2 – an increase in five points over that twelve-month period.

       1713. Apotex made this jump in Teva’s quality competitor rankings in large part due to

Patel’s relationship with                    , a sales executive at Apotex, and the successful

coordination between Apotex and Teva in 2013 on Pravastatin and Doxazosin Mesylate.

       1714. As noted above, Patel revised her May 2013 price increase list on May 29, 2013 to

add, inter alia, Pravastatin. The day before – May 28 – Apotex increased its price on Pravastatin

by over 100%. Apotex’s new, higher prices for Pravastatin exactly matched Glenmark’s May 16,

2013 price increase.



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        1715. In the days leading up to Patel’s decision to add Pravastatin to her list of price

increase candidates – and Apotex actually increasing its prices – Patel communicated frequently

with           at Apotex. Between May 20 and May 24, 2013, the two spoke five (5) times.

        1716. Teva ultimately raised its prices on Pravastatin – to follow Glenmark, Apotex and

Zydus – on August 9, 2013. In the days leading up to the Teva price increase, Patel spoke to

          at Apotex three (3) times to coordinate.

        1717. At the same time that Teva raised its prices on Pravastatin in August 2013, it also

increased its pricing on Doxazosin Mesylate. Teva’s new, increased price (a 1,053% increase)

matched Apotex’s (and Mylan’s) recent price increases. Apotex itself had increased the price of

this drug on July 23, 2013.            of Apotex and Patel of Teva had one conversation the week

before Apotex took the increase, in addition to coordinating before Teva followed on August 9,

2013.

        1718. Apotex soared dramatically in the quality competitor rankings for one additional

reason: in April 2013, Apotex hired              as a senior executive. Rekenthaler of Teva and

          began communicating regularly after              was hired by Apotex. There is no record

that they had ever communicated by phone before that.

        1719. That relationship continued through 2014. On April 4, 2014, Teva increased the

price on Pentoxifylline by as much as 69%. Despite the fact that Apotex was the market leader at

that time, Teva chose to lead the price increase on Pentoxifylline. In the weeks leading up to Teva’s

price increase, Rekenthaler of Teva engaged in numerous communications with Hampton at

Apotex. The two spoke twice on March 7, 2014, for two (2) and three (3) minutes, respectively.

They spoke again on March 20 for four (4) minutes, and again on March 25 for two (2) minutes.




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A week after Teva increased its price – on April 11, 2014 – they spoke again for five (5) minutes.

During these calls, Rekenthaler gathered Apotex’s pricing plans and conveyed them to Patel.

       1720. As a result of Patel and Rekenthaler’s successful coordination with Apotex

executives, Patel dramatically increased Apotex’s quality competitor ranking in May 2014.

       B.      Zydus

       1721. Zydus – like Apotex – had been one of Teva’s two lowest-ranked competitors in

May 2013 with a ranking of -3. But, when Patel updated her quality competitor rankings in May

2014, Zydus was rated +2, an increase in five points over a twelve-month period. While Apotex’s

increase in the ranking was due to Teva’s successful collusion with Apotex on several price

increases in 2013 and 2014, Zydus’s increase was more personnel- oriented: Kevin Green, who

had himself conspired with a number of competitors while at Teva (at the direction of and in

coordination with Patel and Rekenthaler at Teva, among others) moved from Teva to Zydus in

November 2013. With Green firmly installed at Zydus, Patel was emboldened to more fully

include Zydus in the conspiracy.

       1722. Patel’s confidence was well-founded. In the year after Green joined Zydus, the two

companies successfully conspired to divide markets and allocate customers relating to Zydus’s

entry into the market for multiple drugs, including: Fenofibrate (February – March 2014),

Paricalcitol (March – April 2014), Niacin (May – June 2014), and Etodolac ER (May – July 2014).

       1723. Teva and Zydus also agreed to increase prices on Topiramate Sprinkles and

Warfarin Sodium tablets. Zydus increased the price for both of those drugs on June 13, 2014. Teva

followed with an increase on both drugs on August 28, 2014. With respect to the Topiramate

Sprinkles, Teva was explicit in its internal communications that its increase was to

             namely Zydus.




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       1724. In the days leading up to both companies’ price increases, Green and Patel

communicated frequently to coordinate the price increases. On June 19, 2014 – four days before

Zydus increased its prices – Green and Patel spoke four (4) times. And on August 27, 2014 – the

day before Teva raised its prices – Green and Patel spoke three (3) times.

       1725. Green was also communicating frequently with Rekenthaler of Teva around the

time of the price increases on Topiramate Sprinkles and Warfarin Sodium tablets. On June 11,

2014, the two men spoke for eight (8) minutes. On August 20, the two exchanged an additional

pair of phone calls.

       1726. Patel and Rekenthaler did not communicate with Green in isolation. The two Teva

executives made sure to keep each other apprised of their conversations with competitors,

including Green. In early 2014, Patel and Rekenthaler both worked largely out of Teva’s home

office. After either one of them engaged in a phone call with a competitor, he or she would be

sure to provide an in-person debrief of the communication so as to avoid putting such information

in writing.

       1727. Even before Green joined Zydus in November 2013, Teva had some success in

coordinating price increases with Zydus. As discussed above, Patel decided to add Pravastatin to

her price increase list only after determining that Zydus agreed to the increase. In the week leading

up to Patel’s decision to revise her price increase list to include Pravastatin, Green (still at Teva)

spoke to Kristy Ronco and Michael Keenley, both senior executives at Zydus.

       1728. Just two weeks later, on June 14, 2013, Zydus increased its price on Pravastin by

over 150%. Green similarly had numerous conversations with Zydus executives in the week prior

to that company’s Pravastatin increase, as shown in the table below:




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       1729. As noted above, Teva ultimately raised its prices on Pravastatin on August 9, 2013.

At that time, Patel recommended that Teva follow the competitors that had already raised their

prices - including Zydus. Prior to Teva raising its prices on August 9, 2013, Green spoke to

       at Zydus three times- twice on August 4, 2013 and once on August 5.

       C.      Heritage

       1730. Heritage, like Apotex and Zydus, was not a highly-ranked competitor when Patel

first created the quality of competitor ranking list in May 2013. Initially, Patel gave Heritage a

ranking of “0.” However, when Patel updated her quality competitor rankings in May 2014,

Heritage received the highest possible ranking of +3.

       1731. The reason for Heritage’s significant improvement in Patel’s quality competitor

rankings was the relationship that Patel established with the Vice President of Heritage, Jason

Malek. After moving to Teva, Patel began communicating with Malek by phone as early as July

9, 2013. From that date until July 25, 2014, the two spoke by phone at least 37 times.

       D.      Lupin

       1732. In Patel’s initial May 2013 quality competitor ranking list, Defendant Lupin was

given a ranking of +2. When Patel updated her quality competitor rankings a year later, Lupin

received the highest possible rating of +3.



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       1733. Defendant Lupin was awarded the highest score in the quality competitor ranking

in 2014 because Berthold of Lupin earned Patel’s trust by consistently agreeing to her price

increase plans. From May 2013 through April 2014, for example, Patel and Berthold spoke at

least 76 times by phone. Green, while still at Teva, also had a very strong relationship with

Berthold. As discussed above, at times Patel and Green would even coordinate with each other

regarding which one of them should coordinate a price increase or customer allocation agreement

with Berthold.

       1734. As discussed more fully above, in 2013 – after Patel joined Teva – Teva and Lupin

conspired to fix and raise prices on at least the following drugs: Cefdinir Oral Suspension and

Capsules, Cefprozil Tablets, and Pravastatin. Then in early 2014, executives at the two companies

coordinated Lupin’s entrance into the market for Balziva.

       1735. The relationship was so strong between Teva and Lupin that even when Green left

Teva, and Patel was out of the office on maternity leave, Berthold still found other executives at

Teva to communicate with regarding a price increase for the drug Cephalexin Oral Suspension.

As discussed above, in October 2013 Berthold called Rekenthaler and                    , a national

account executive at Teva, to coordinate Lupin’s November 1, 2013 price increase for Cephalexin

Oral Suspension. When Patel returned from maternity leave and began planning the next round of

Teva price increases, she continued these communications with Berthold until Teva followed

Lupin’s price increase on April 4, 2014.

       1736. Patel and Berthold also coordinated a price increase and market allocation scheme

with regard to the drug Niacin ER, as Lupin was entering the market in March 2014. Given the

successful track record between the two competitor companies, Lupin warranted a +3 in the quality

competitor rankings when Patel updated them in May 2014.




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       E.       Par

       1737. In Patel’s initial May 2013 quality competitor ranking list, Defendant Par was given

a ranking of +1. When Patel updated her quality competitor rankings a year later, Par improved

to a ranking of +2.

       1738. Defendant Par rose in the rankings largely because of several strong relationships

between executives at the two companies. For example,                         , a national sales

executive at Teva, had a strong relationship with               , a senior sales executive at Par.

The two began communicating by telephone in September 2013. Between September 2013 and

May 2014, the two spoke at least twenty-seven (27) times by phone.

       1739. Similarly, Rekenthaler at Teva had a very strong relationship with another senior

executive at Par,             , Rekenthaler spoke with          frequently throughout 2013 and

2014. From the beginning of 2013 through May 2014, Rekenthaler spoke to             at Par at least

thirty-two (32) times by phone.

       1740. Patel was well aware of these strong relationships, and relied on the information

that                  and Rekenthaler obtained from their communications with senior Par

executives in order to make pricing or bidding decisions for Teva’s drugs. One such example

occurred on Friday, February 7, 2014 when Teva received notice from a customer that it had

received a competitive challenge from Par on the drug Labetalol HCL Tablets. Patel forwarded

the e-mail to




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        1741. The following Monday, Patel also forwarded the original e-mail (discussing the

competitive challenge from Par on Labetalol) to Rekenthaler, saying:




        1742. After these discussions between Teva and Par executives, Teva ultimately offered

only a nominal price reduction to that customer – knowing that this would likely concede the

business to Par.

        1743. As discussed more fully above, Teva continued to conspire with Defendant Par on

various market allocation and price fixing schemes throughout the remainder of 2014 and into

2015.

        F.     Greenstone

        1744. Greenstone was not a highly-ranked competitor when Patel first created the quality

competitor ranking list in May 2013. Patel had, at that time, given Greenstone a ranking of “0.”

However, when Patel updated her quality competitor rankings in May 2014, Greenstone improved

to a +1 ranking.

        1745. One of the reasons for Greenstone’s improvement in the rankings was Patel’s

developing relationship with                         , a national account executive at Greenstone.

Patel and Hatosy were former co-workers at ABC, and had a longstanding relationship. From the

time Patel started her employment at Teva in April 2013, through the time that she updated the

quality competitor rankings in May 2014, Patel and        communicated by phone or text at least




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66 times. Patel also spoke to Hatosy’s supervisor, Jill Nailor of Greenstone, numerous times in

early 2014 to coordinate Greenstone and Teva price increases and customer allocation agreements.

       1746. Patel and           of Greenstone spoke consistently at or around the time of every

price increase effectuated by either company on drugs where they overlapped, including for

example: July 3, 2013 – the day of Teva’s price increase on Fluconazole; December 2, 2013 the

day that Greenstone sent notices to customers of its price increases on Azithromycin Suspension,

Azithromycin Oral Suspension and Medroxyprogesterone; and April 4, 2014 – the day that Teva

followed Greenstone’s price increases on Azithromycin Suspension, Azithromycin Oral

Suspension and Medroxyprogesterone.

       1747. Given the willingness of Greenstone’s executives to coordinate price increases with

Teva, Patel increased Greenstone’s quality competitor ranking in May 2014.

       G.      Amneal

       1748. In Patel’s initial May 2013 quality of competitor ranking list, Defendant Amneal

was given a ranking of +1. When Patel updated her quality competitor rankings a year later,

Amneal improved to a ranking of +2.

       1749. One of the reasons why Defendant Amneal rose in the rankings was because of

several strong relationships between executives at the two companies. For example, Rekenthaler

of Teva had a strong relationship with                 , a senior sales executive at Amneal. From

May 2013 to May 2014, they spoke eight (8) times by phone, and attended many trade association

meetings and customer conferences together as well. Rekenthaler and                 were regular

participants in an annual golf outing hosted by a packaging contractor in Kentucky, where – as

discussed above – the generic drug manufacturer participants (competitors) played golf by day and




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       1752. On the day of this message exchange, Patel and Rutledge also spoke by phone for

nearly five (5) minutes.

       H.       Rising

       1753. In Patel’s initial May 2013 quality competitor ranking list, Rising was given a

ranking of +1. When Patel updated her quality competitor rankings a year later, Rising improved

to a ranking of +2.

       1754. Rising improved in the quality competitor rankings because of the relationship

between Rekenthaler and CW-2. In 2013, CW-2 left Sandoz to join Rising. At that time, Rising

was already preparing to enter the market for a drug called Hydroxyzine Pamoate. Teva was one

of the competitors already in that market. During several calls in early October 2013, CW-2

coordinated with Green and Rekenthaler of Teva to acquire a large customer and facilitate Rising’s

entry into the Hydroxyzine Pamoate market.

       1755. Later, in March 2014, CW-2 sought to return the favor. At that time, Rising

experienced supply problems for the drug Diflunisal Tablets – a two-player market involving only

Teva and Rising. In an effort to “play nice in the sandbox,” and to further the ongoing

understanding between the two competitors, CW-2 contacted Rekenthaler of Teva and informed

him of Rising’s supply problems and the fact that Rising may have to leave the market at some

point in the future. The purpose for the call was to alert Rekenthaler that Teva would have the

opportunity to take a price increase, as Rising would not be in a position to take on any additional

market share.

       1756. On April 4, 2014, Teva increased the price on Diflunisal Tablets (by as much as

182%), as well as Hydroxyzine Pamoate (by as much as 165%). In the weeks leading up to those




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price increases, Rekenthaler communicated several times with CW-2 at Rising to coordinate the

increases. The two spoke by phone twice on March 17, 2014 and once on March 31.

        1757. When Rising decided to leave the Diflunisal market in mid-July 2014, CW-2 called

Rekenthaler to let him know. Four months later – after Rising remedied its supply problems –

Rising re-entered the market for Diflunisal. Consistent with the fair share understanding discussed

above, and the rules of engagement that were generally followed in the industry, CW-2 and

Rekenthaler communicated in advance of Rising’s re-entry to identify specific customers that

Rising would obtain and, most importantly, to ensure the retention of the high prices that Teva had

established through its price increase in April 2014. On December 3, 2014, Rising re-entered the

market for Diflunisal Tablets. Its new pricing matched Teva’s WAC price increase from April

2014.

        1758. Rekenthaler’s successful efforts to coordinate price increases and customer

allocation agreements with CW-2 of Rising led Patel to increase Rising’s quality competitor

ranking in May 2014.

        I.     Breckenridge

        1759. In Patel’s initial May 2013 quality competitor ranking list, she gave Breckenridge

a ranking of +1. When Patel updated her quality competitor rankings a year later, Breckenridge

improved to a ranking of +2.

        1760. Breckenridge improved in the quality competitor rankings largely because of the

strong relationship established between Patel and Rekenthaler and certain executives at

Breckenridge, which led to several successful price increases.

        1761. For example, on November 14, 2013, Breckenridge increased the WAC pricing of

both Mimvey and Cyproheptadine HCL Tablets. In the weeks leading up to those Breckenridge




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price increases, Rekenthaler communicated by phone several times with Dave Nelson, a sales

executive at Breckenridge. The two spoke twice on October 14, 2013 and once on October 24,

2013. The call on October 24 lasted twenty-six (26) minutes.

       1762. On April 4, 2014, Teva followed the Breckenridge price increases on Mimvey

Tablets (increasing the WAC pricing by over 100%) and Cyproheptadine HCL Tablets (increasing

the WAC pricing by over 90%), to match Breckenridge’s WAC pricing on both products. Teva

raised prices even higher on its customer contracts. Teva increased the contract pricing of Mimvey

by as much as 393%, and the contract pricing of Cyproheptadine HCL Tablets by as much as

526%, depending on the dosage strength.

       1763. As Patel planned for Teva’s April 4, 2014 price increases, both she and Rekenthaler

continued to communicate with their counterparts at Breckenridge. Rekenthaler spoke to          n

at Breckenridge on January 15, 2014 – the day after Patel sent her first list of




               .

       1764. As a result of the successful coordination of these price increases between Teva and

Breckenridge, Patel increased Breckenridge’s quality competitor ranking in May 2014.

       J.      Glenmark

       1765. Not every Teva competitor saw its quality competitor ranking increase between

2013 and 2014. Defendant Glenmark, for example, declined slightly in the rankings. In Patel’s




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initial May 2013 quality competitor ranking list, Glenmark was given a ranking of +3. When Patel

updated her quality competitor rankings a year later, Glenmark was given a ranking of +2.

       1766. The reason that Defendant Glenmark declined in the rankings was because Patel

lost her most valuable relationship at that company – CW-5. CW-5 left Glenmark in April 2014.

In the eleven-month period between Patel joining Teva in late April 2013 and CW-5 leaving

Glenmark in April 2014, the two competitors communicated by phone or text message 121 times.

They also communicated frequently using an encrypted messaging application, WhatsApp. As

discussed more fully above, starting in early May 2013 Teva and Glenmark conspired to fix and

raise prices on a number of drugs, including: Adapalene, Nabumetone, Fluconazole Tablets,

Ranitidine, Moexipril, Moexpiril HCTZ and Pravastatin.

       1767. In addition to CW-5, Patel also had other contacts at Glenmark – which is why

Glenmark did not fall dramatically in the quality competitor rankings when CW-5 left the

company. For instance, Patel exchanged 44 phone calls or text messages with                      ,a

sales and marketing executive at Glenmark, between May 2013 and July 2015. Similarly, Patel

exchanged 36 calls with Jim Brown, the Vice President of Sales at Glenmark, between August

2013 and October 2014. As discussed more fully above, Patel continued to coordinate with

         and Brown throughout 2014 on several drugs, including Kariva and Gabapentin Tablets

– demonstrating that Glenmark remained a quality competitor even after CW-5 left the company.

       K.      A Commitment to the Overarching Conspiracy Was Instrumental to the
               Success of the Price-Fixing Agreements

       1768. As detailed above, the overall understanding among the co-conspirators required a

commitment that each competitor was entitled to its “fair share” of a given market. When a

competitor was satisfied that it had its “fair share” of a particular drug market, competition waned

and prices rose. These “fair share” principles were the foundation upon which the price increases



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were built. So long as each competitor had its “fair share,” no competitor was incentivized to

compete for business when another competitor increased price. In short, competition resulted in

lower prices; and as far as Defendants were concerned, nobody won in that scenario. Indeed, it

was generally understood that when a competitor increased price, the other competitors in the same

drug market would either decline to bid for the business or would bid high so as not to punish the

party that took the price increase. Often, the competitor would then follow with a comparable

price increase of its own.

       1769. There are numerous examples throughout this Complaint of competitors refusing

to compete in the face of a price increase so as not to “punish” the leader or “steal” market share.

As just one example, when Defendant Teva was approached by a large retail customer in May

2013 to bid on a drug for which Greenstone had increased prices, Green expressed caution stating:

                                            Teva later declined to bid on the business.

       1770. The concept of “fair share” and price increases went hand in hand. For example,

as discussed above the ongoing understanding between Defendants Teva and Sandoz that they

would follow each other’s price increases was predicated on the agreement that the follower would

not poach the leader’s customers after the increase. The same was true for the understanding

between Sandoz and Mylan. As discussed above, Nesta specifically cautioned CW-4 that Mylan

did not appreciate having its prices challenged after an increase – i.e., Mylan did not want Sandoz

to steal its business by underbidding its customers. Similarly, Aprahamian of Taro often spoke

with CW-3 of Sandoz about coordinating price increases between the two companies. Almost

invariably, he would conclude the conversations with phrases like




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       1771. Further, because of this “fair share” understanding, it was not essential for the

competitors to communicate with each other in advance of every price increase, although they

often did so anyway. So long as the competitor knew before it was approached by customers that

the reason for the solicitation was due to a price increase by the incumbent supplier, the competitor

knew not to compete for the business.        Similarly, the competitor knew it would have the

opportunity, which it often took, to follow the increase with a comparable price increase of its

own.

       L.      “Quality Competitor” Rankings Relate to Price Increases, But Even “Low
               Quality” Competitors Comply With the Overarching Conspiracy

       1772. As a further demonstration that the fair share understanding was universally

accepted and understood in the generic pharmaceutical industry, even companies that Patel and

Teva referred to as “low quality competitors” – because they were not viewed as strong leaders or

followers for price increases – consistently complied with the principles of “fair share” and

“playing nice in the sandbox.”

               1.      Camber and Teva fix prices on Ranitidine HCL

       1773. When Patel first created the quality of competitor rankings in early May 2013, she

gave Defendant Camber a ranking of -2. When Patel revised those rankings one year later in May

2014, Camber’s ranking did not change. It remained one of the lowest ranked of all of Teva’s

competitors.

       1774. Nonetheless, Camber adhered to the fair share understanding, and consistently

applied those rules in dealing with its competitors.

       1775. This was evident when, in September 2014, Camber entered the market for two

different drugs that overlapped with Teva.




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        1776. One of those drugs was Raloxifene Hydrochloride Tablets (“Raloxifene”), also

known by the brand name Evista – a drug used in the treatment of osteoporosis in postmenopausal

women.

        1777. Teva had begun marketing Raloxifene in March of that year. Actavis had received

approval to begin marketing Raloxifene in 2014 as well, but had not yet entered by September

2014.

        1778. The other drug was a generic form of Lamivudine/Zidovudine – a combination

medication also known by the brand name Combivir. Generic Combivir is used in the treatment

of human immunodeficiency virus (HIV). Camber had received approval to market a generic form

of Combivir in February 2014, but as of September 2014 was still in the process of entering the

market. Already in the market were competitors Teva, Aurobindo and Lupin. As discussed more

fully above, Defendants Teva, Lupin and Aurobindo agreed to divvy up the generic Combivir

market in 2012 when Teva was losing exclusivity on that drug.

        1779. As the anticipated product launches for Raloxifene approached, the new entrants

discussed an allocation strategy with Teva to ensure they each received their fair share of the

market. On September 9, 2014, Rekenthaler had a twenty-six (26) minute phone call with

     r, a senior sales and marketing executive at Actavis. A short time later, a Teva executive told

colleagues that she had

        1780. Teva’s discussions with Actavis escalated over the coming week. On September

10, Rekenthaler exchanged two calls with Falkin of Actavis lasting fifteen (15) minutes and one

(1) minute, respectively. On September 11, the men talked for ten (10) more minutes. On

September 16, Rekenthaler spoke by phone a total of six (6) times with different Actavis personnel,

including one call with Andy Boyer lasting thirty-four (34) minutes.




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        1781. The following morning, in response to an inquiry regarding whether Teva intended

to retain a major customer’s Raloxifene business,                        of Teva replied in the

affirmative. Rekenthaler then shared the information he had gathered through his communications

with competitors:

                                                                    That same day, on September

17, 2014, Camber sent an offer for Raloxifene to a large Teva customer, Econdisc.

        1782. Rekenthaler and Kon Ostaficiuk, the President of Camber Pharmaceuticals, spent

the next three days – September 17 through September 19 – playing golf during the day and

socializing at night at an industry outing in Kentucky sponsored by a packaging vendor.

        1783. On September 21, 2014, Ostaficiuk called Rekenthaler and the two spoke for two

(2) minutes. The next day, Rekenthaler initiated a series of four (4) phone calls with Ostaficiuk.

The two spoke for a total of thirty (30) minutes that day. Notably, these are the first identified

phone calls ever between the two competitors. As a result, Camber sent a revised offer to its

potential customer that same afternoon, containing modified prices for Raloxifene.

        1784. On September 24, Patel discussed a Raloxifene allocation strategy with her Teva

colleagues in light of Camber’s offer to the large Teva customer, Econdisc. She emphasized

Camber’s expressed commitment to the overarching conspiracy among the competitors – and

conveyed information she obtained from Rekenthaler during his conversations with Ostaficiuk –

stating: “



        1785. As a part of this discussion,          considered whether Teva should just concede

Econdisc to Camber, and seek to recover that market share with another customer. At 9:07 am




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       1793.                     , a senior sales executive at Camber, replied:




       1794. About a week later, on October 7, 2014, a large Teva customer informed a Teva

sales representative that Camber had made an unsolicited bid for its Raloxifene business.

      , a Director of National Accounts at Teva, sent an e-mail to certain employees at Teva,

including Rekenthaler, notifying them of her conversation with the customer, and expressing

surprise given the agreement Teva had previously reached with Camber:




       1795.

                    and Teva would be surprised if Camber had intended to make an offer to the

customer.   After further discussion with the customer, Teva staff learned that it was a

misunderstanding. Camber never actually made the offer, but had instead complied with its

agreement with Teva.

       1796. The fair share agreement continued to govern as usual until mid-December 2014,

when Camber learned of supply problems at Teva on Raloxifene. A Camber employee described

the prospect of Teva being on backorder for this drug as a




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       1799. But high-level executives at Teva were aware that those laws were being violated

systematically and egregiously, and never instructed Teva employees to stop or to rescind the

agreements that Teva had reached with its competitors.

       1800. For example, when Patel started at Teva in late-April 2013, she immediately began

ranking Teva’s competitors by their “quality.” “Quality” was nothing more than a euphemism for

“good co-conspirator,” and it was well known internally at Teva that Patel was identifying price

increase candidates based on who Teva’s competitors were for those drugs, and whether she or

others at Teva had an understanding in place. Indeed, Patel already had a short list of price increase

candidates in place on the day she started at Teva, which was based at least in part on conversations

she had already been having with Teva’s competitors before she started, including Defendant Ara

Aprahamian at Taro.

       1801. As Patel was starting to create her ranking of quality competitors and identify

candidates for price increases, she sent her very first iteration of the quality competitor ranking to

her supervisor, Kevin             – a senior marketing executive at Teva – on May 1, 2013. That

ranking included, within the category of “Strong Leader/Follower,” the following competitors:

Mylan, Actavis, Sandoz, Glenmark, Taro and Lupin. The preliminary list of price increase

candidates also included the formula that Patel would use to identify price increase candidates

using the quality of competitor scores.

       1802. With                  approval of her methodology for identifying price increase

candidates, Patel continued communicating with competitors and agreeing to price increases. She

also routinely provided            with intelligence that she had received from her communications

with competitors. For example, when Patel sent her very first formal                     spreadsheet

to           on May 24, 2013, she identified, for example, that the drug Nabumetone was a price




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with a competitor, and in an effort to conceal such conduct, Rekenthaler first sent the Teva price

increase list from his work e-mail account to a personal e-mail account, then forwarded the list

from his personal e-mail account to CW-2’s personal e-mail account.

       1810. As another example, when Kevin Green wanted to speak with a particular

competitor, he would routinely send a text message to that competitor, saying only

Again, this was done to avoid putting any potentially incriminating communications in writing.

Patel learned this technique from Green, shortly after starting at Teva, and adopted a similar

strategy for communicating with competitors.

       1811. Armando Kellum of Sandoz was also aware that what he and others at Sandoz were

doing was illegal. Kellum had received antitrust training, and knew that conspiring with

competitors to fix or raise prices, or to allocate customers or markets, was a violation of the

antitrust laws.   Kellum would routinely admonish Sandoz employees for putting anything

incriminating into e-mails, and voiced concern that the conduct they were engaging in – if

discovered – could result in significant liability. As a result of Kellum’s admonishments, Sandoz

employees (including Kellum himself) routinely lied in e-mails about the sources of their

information to camouflage their conduct, claiming they learned the information from a customer

instead of a competitor.

       1812. Similarly, Jill Nailor of Greenstone instructed her subordinates to avoid putting any

sensitive market intelligence in writing.

XVII. THE GENERIC DRUG INDUSTRY WAS SUSCEPTIBLE TO COLLUSION

       1813. Defendants’ anticompetitive conduct alleged in the Complaint constitutes a

conspiracy to fix prices and engage in market customer allocation, which is a per se violation of

Section 1 of the Sherman Act. Therefore, Plaintiffs need not define a relevant market. There are,




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however, features of the industry relevant to this case that show both (i) that the industry is

susceptible to collusion, and (ii) that the price increases were in fact the result of collusion and not

the result of conscious parallelism.

       1814. Indeed, the U.S. market for each of the Price-Fixed Generic Drugs has been

characterized by numerous factors that facilitated Defendants’ conspiracy, including: (i) industry

concentration; (ii) sufficient numbers to drive competition; (iii) substantial barriers to entry; (iv)

demand inelasticity; (v) lack of substitutes; (vi) interchangeability; (vii) absence of non-conspiring

competitors; (viii) opportunities for contact and an extremely high level of inter-firm

communications; (ix) the magnitude of the price increases; and (x) the reimbursement of generic

drugs purchases by third parties.

       1815. Since 2005, consolidation has reduced the number of competitors in the generic

drug industry, which has rendered the market ripe for collusion. For example: Teva acquired Ivax

Corporation in 2006, Barr Laboratories in 2008 (including Defendant Pliva), Ratiopharm

(Germany’s second largest generic drug producer) in 2010, and Allergan’s generics business

(including Actavis) in 2016; Watson Pharmaceuticals acquired Andrx Corporation in 2006; Endo

acquired Qualitest in 2010; Perrigo acquired Paddock Laboratories, Inc. in 2011; and Sandoz

acquired Fougera in 2012. As a result of the industry-wide consolidation, for each of the Price-

Fixed Generic Drugs, there were between two and ten manufacturers of the generic drugs for sale

in the United States during the time period relevant to Plaintiffs’ claims, thus rendering the market

for each drug concentrated.

       1816. Barriers to entry increase a market’s susceptibility to a coordinated effort to

maintain supracompetitive prices because it is difficult for new suppliers to enter the market and

destabilize coordinated supracompetitive prices. Costs of manufacture, intellectual property, and




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expenses related to regulatory oversight create substantial barriers to entry in the generic

pharmaceutical industry.

       1817. Each of the Price-Fixed Generic Drugs is medically necessary to the health and

well-being of the patient for whom it is prescribed. For that reason, each demonstrates substantial

demand inelasticity.    Indeed, notwithstanding the substantial price increases alleged in this

Complaint, demand for each of the Price-Fixed Generic Drugs dropped very little following the

increase in price.

       1818. There are a lack of available substitute products for each of the Price-Fixed Generic

Drugs, because patients face substantial barriers to switching to other drugs, and because patients

often face little incentive to switch as a result of the disconnect described in ¶ 86.

       1819. Because a generic drug must be the therapeutic equivalent of its branded

counterpart, each generic drug that is approved for sale in the United States is interchangeable with

each other generic drug of the same dosage strength. For example, a 40 mg tablet of Pravastatin

manufactured by Glenmark is interchangeable with a 40 mg tablet of Pravastatin manufactured by

Teva. Accordingly, each of the Price-Fixed Generic Drugs is highly interchangeable from

Defendant to Defendant, and the only way that a Defendant can gain market share is by competing

on price.

       1820. The Defendants control the markets for each of the Price-Fixed Generic Drugs,

which enables them to increase prices without losing market share to non-conspirators.

       1821. As alleged throughout this Complaint, there was a high level of interfirm

communications within the generic pharmaceutical industry, and numerous opportunities for such

communications through various trade association and similar meetings.




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       1822. The magnitude of the price increases involved in this case further differentiates

them from parallel price increases.

       1823. As noted above, there are unique features of the generic drug industry, including

the fact that reimbursement for generic drugs to retail pharmacies is limited by MAC pricing,

which is based on the lowest acquisition cost for each generic pharmaceutical paid by retail

pharmacies purchasing from a wholesaler for each of the a pharmaceutical’s generic equivalent

versions. There is therefore, in the absence of collusion, an enhanced incentive to compete on

price within this reimbursement system.

XVIII. DEFENDANTS’ CONSPIRACY WAS EFFECTIVE AND IS STILL ONGOING

       1824. As a proximate result of this conspiracy, and during the time period relevant to

Plaintiffs’ claims, Defendants and co-conspirators charged Plaintiffs and others in the United

States supracompetitive prices (i.e., prices above a competitive level) for each of the Price-Fixed

Generic Drugs.

       1825. Defendants and co-conspirators’ conspiracy alleged in this Complaint overcharged

Plaintiffs on the Price-Fixed Generic Drugs that Plaintiffs directly purchased from one or more

Defendants and co-conspirators. Even in those instances in which Plaintiffs were able to negotiate

Defendants down from the full overcharge agreed to by conspirators, Defendants’ agreements still

impacted and artificially elevated the prices paid by Plaintiffs, because each Defendant knew that

Plaintiffs would not be able to obtain a competitive price from the Defendant’s competitors for

each Price-Fixed Generic Drug. Defendants also knew that any new entrants to the market would

also follow the conspiracy pricing (or even seek to increase it further) based on the conspiracy’s

overarching market allocation agreement.




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       1829. The massive price spikes in the industry may have declined, but the already-high

prices for most of these drugs did not go down. To date, prices for many of these drugs remain

at significantly inflated, anti-competitive levels.

       1830. As alleged in this Complaint, during the conspiracy, Defendants and co-

conspirators applied the “fair share” overarching agreement to each of the Price-Fixed Generic

Drugs. They were successful in achieving price increases on numerous drugs and on allocating

markets for all Price-Fixed Generic Drugs, which enabled them to impose supracompetitive prices

on Plaintiffs and others.      Defendants’ coordinated price increases and market allocation

agreements provided them with a higher, unified starting point negotiating prices with Plaintiffs

and others for each Price-Fixed Generic Drug than would have resulted if each Defendant had

independently and unilaterally set its own price increases for each Price-Fixed Generic Drug.

       1831. The conspiracy alleged in this Complaint remains in either force of effect (or both)

as of the date Plaintiffs filed this Complaint and Defendants continue to charge Plaintiffs

supracompetitive prices for each Price-Fixed Generic Drug as a result of the conspiracy alleged in

this Complaint.

XIX. DISCOVERY WILL ESTABLISH THE FULL SCOPE OF THE CONSPIRACY

       1832. Discovery is necessary to determine the full scope of the conspiracy, including the

time frame, products, and participants. Plaintiffs reserve the right to amend or supplement this

Complaint to add other Defendants, claims, time period, products, or other allegations based upon

discovery and further investigation. Plaintiffs also reserve the right to amend this Complaint in

accordance with Orders from the Court, including – but in no way limited to – any Order setting

cases or claims for trial in MDL 2724. This includes any amendment that may be needed to narrow




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any claim or count in this Complaint to further align, if necessary, with bellwether claim(s) set for

trial by this Court.

XX.       TOLLING OF THE STATUTE OF LIMITATIONS

          1833. The statutes of limitation as to Defendants and their co-conspirators’ continuing

antitrust violations alleged in this Complaint were tolled because of one or more of the following

events:

                 (a)    The pendency of one or more Class Action Complaints, and any

Amendments, against Defendants and their co-conspirators for conspiring to fix prices of each of

the Price-Fixed Generic Drugs tolled the running of the statute of limitations on Plaintiffs’ claims;

                 (b)    On December 12, 2016, the DOJ filed an Information charging Glazer with

the criminal offense of violating the U.S. antitrust laws by participating in a conspiracy to fix, raise

and maintain the prices of generic Doxycycline and Glyburide sold in the United States. The

Glazer criminal proceedings, and the Malek criminal proceedings that were filed one day later, toll

the running of the statutes of limitation on Plaintiffs’ claims during the criminal proceedings and

for one year thereafter by operation of federal statute, under 15 U.S.C. § 16(i); and/or

                 (c)    Defendants’ affirmative and fraudulent concealment of the conspiracy

prevented Plaintiffs from having notice of their claims more than four years before filing this

Complaint, and tolled the statute of limitations on Plaintiffs’ claims.

          1834. Each of the overt acts in furtherance of the conspiracy alleged in this Complaint

was done for the purpose of concealing the conspiracy and preventing Plaintiffs and other

purchasers of generic drugs from learning about the conspiracy’s existence.               Accordingly,

Plaintiffs did not know or reasonably suspect the existence of their claims more than four years

before filing this Complaint, nor were they aware of any facts more than four years before filing




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this Complaint that would have put them on reasonable notice of their claims. More than four

years before Plaintiffs filed this Complaint, Defendants and their co-conspirators fraudulently

concealed the existence of each Plaintiff’s antitrust claim so that each Plaintiff, acting as a

reasonable person, did not know of the existence of its claim at the time.

       1835. During the time period relevant to Plaintiffs’ claims, including the time period more

than four years before Plaintiffs filed this Complaint, Defendants and their co-conspirators

concealed the existence of Plaintiffs’ antitrust claims from Plaintiffs as a result of the self-

concealing nature of the conspiracy; and/or because Defendants and their co-conspirators engaged

in affirmative and deceptive acts of concealment as described below. As a result, Plaintiffs did

not know, and through the exercise of due diligence (which they exercised) could not have known,

about the existence of their antitrust claims more than four years before filing this Complaint.

       1836. During the time period relevant to Plaintiffs’ claims, Plaintiffs exercised diligence

in an effort to ensure that the prices that they were paying Defendants for each generic drug that

is the subject of claims in this Complaint were competitive. For example, Plaintiffs frequently

submitted requests for competitive bids on each of the Price-Fixed Generic Drugs to Defendants.

Unbeknownst to Plaintiffs, Defendants shared these requests for quotations and took steps to

coordinate with their conspirators to ensure that the bids they provided in response to these requests

were rigged and were not competitive.

       1837. Notwithstanding the self-concealing nature of their conspiracy, during the time

period relevant to Plaintiffs’ claims, including more than four years before Plaintiffs filed this

Complaint, Defendants and their co-conspirators affirmatively misled Plaintiffs by wrongfully and

affirmatively concealing the existence of Plaintiffs’ antitrust claims from Plaintiffs. In addition to

the many overt acts alleged above that were undertaken for the purpose of concealing the




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conspiracy, Defendants took additional steps to conceal their illegal conduct from Plaintiffs and

others. For example:

               (a)     During the conspiracy alleged in this Complaint, and as alleged above,

Defendants and co-conspirators spoke and met in secret to affirmatively conceal the existence of

the conspiracy from Plaintiffs and others. For each of the numerous meetings between Defendants

alleged in this Complaint, Defendants took steps to either conceal the existence of the meeting

from Plaintiffs or others, or to create a pretextual explanation for why the meeting occurred.

               (b)     During the conspiracy alleged in this Complaint, Defendants made false and

pretextual statements about the bids they provided to Plaintiffs and others in response to requests

from Plaintiffs and others for competitive bids. For example, upon information and belief, when

Cardinal requested that Heritage provide a competitive bid for Nimodipine in June 2012, Heritage

made representations to Cardinal that the sham bid that Heritage submitted in response (and that

Heritage had coordinated with Sun and Caraco in advance) was the lowest price that Heritage

could provide. In reality, Heritage could have manufactured and sold the drug for substantially

less than it quoted to Cardinal, but Heritage had agreed in advance with Sun and Caraco that

Heritage would not submit a competitive price in response to Cardinal’s request. Accordingly,

Heritage’s false statements to Cardinal were intended to conceal from all purchasers of Nimodipine

(and all other generic drugs) the existence of the conspiracy.

               (c)     During the conspiracy alleged in this Complaint, Defendants took steps to

ensure that their communications in furtherance of the conspiracy were not recorded in writing.

For example, on April 19, 2013, Malek instructed his employees at Heritage not to keep in writing

any evidence of the agreements that Heritage was negotiating (and that it would soon reach) with

other Defendants relating to the Zoledronic Acid (and other drugs). Similarly, during the July 1,




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2014 telephone conversation in which a senior sales executive at Heritage discussed the collusive

price increases of Glyburide and Fosinopril HCTZ with a senior sales executive at Citron, the

Citron representative told the Heritage representative not to communicate with Citron through e-

mail.

               (d)     During the conspiracy alleged in this Complaint, Defendants took steps to

confine knowledge of the conspiracy to a small group of senior executives for the purpose (and

with the effect) of concealing the conspiracy’s existence. For example, during the same July 1,

2014 telephone conversation between Heritage and Citron, the Citron representative told the

Heritage representative to communicate with a specifically designated employee of Citron that

was fully briefed on the conspiracy.

               (e)     During the conspiracy alleged in this Complaint, Defendants discussed and

coordinated the timing of their price increase announcements for the purpose of making each price

increase seem like it was each Defendant’s independent decision to raise prices even though, in

reality, it was not.   For example, Sandoz and Mylan coordinated their price increases on

Amitriptyline and Levothyroxine. For Levothyroxine, Mylan increased its prices on April 25,

2014, and Sandoz issued its matching price increase on May 23, 2014. Also on May 23, 2014,

Sandoz increased its price for Amitriptyline, an increase that Mylan matched on July 16, 2014. By

staggering the announcement of these price increases, Sandoz and Mylan intended to convince

generic drug purchasers such as Plaintiffs and others that the latter price increase was the

independent response to the initial price increase. As the allegations in this Complaint make clear

though, Defendants actively discussed, coordinated, and agreed to these price increases in secret,

in order to conceal the existence of the conspiracy.




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       1838. During the conspiracy, including more than four years before Plaintiffs filed this

Complaint, Defendants and their co-conspirators’ affirmative acts of concealment were intended

by them to conceal the existence of their unlawful actions from Plaintiffs; and Plaintiffs were

unaware, and had no reasonable basis to be aware, of Defendants and their co-conspirators’ acts

of concealment.

       1839. As a direct result of Defendants and their co-conspirators’ affirmative and

fraudulent acts of concealment alleged above, each Plaintiff did not have actual or constructive

knowledge of its antitrust claim, or the facts that might reasonably have led any Plaintiff (or a

reasonable purchaser in Plaintiff’s position) to discover or suspect that it had the antitrust claim

against Defendants and their co-conspirators alleged in this Complaint, more than four years before

Plaintiffs filed this Complaint. Before then, no Plaintiff was aware of the facts that would have

alerted it (or would have alerted a reasonably diligent purchaser in Plaintiff’s position) of the need

to investigate whether it had the antitrust claim alleged in this Complaint.

       A.      Spoliation of Evidence

       1840. Many of the individual participants, and other employees of the various corporate

Defendants, took active steps to delete their conspiratorial communications with competitors, and

destroy evidence of their illegal behavior.

       1841. For example, Nisha Patel produced text messages – in response to the States’

subpoena – going back as far as early 2014. Prior to producing those text messages, however,

Patel had deleted all of her text communications with competitors from the same time period,

including many text messages with Aprahamian, Brown, Cavanaugh, Grauso, Green, Nailor,

Rekenthaler and Sullivan; and many other text messages with employees of Dr. Reddy’s,




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Glenmark (including CW-5), Greenstone (including                       ), Par, Sandoz, Upsher-Smith

and Zydus.

       1842. Patel deleted these text messages after a conversation with Rekenthaler in early

2015, when Rekenthaler warned Patel to be careful about communicating with competitors.

Rekenthaler was aware of the government investigations that had been commenced, and told Patel

that the government was showing up on people’s doorsteps. Sometime after that, Patel deleted her

text messages with competitors.

       1843. Defendant Apotex also destroyed an entire custodial file for one of its key

employees                    , a senior sales executive), after the States requested it through an

investigatory subpoena in July 2017. As discussed above,                was involved in coordinating

two significant price increases with Patel of Teva in 2013, which resulted in Apotex soaring in the

quality competitor rankings. After the States’ subpoena was issued, Defendant Apotex destroyed

             custodial file – and did not inform the States that it had done so for over a year.

       B.       Obstruction of Justice

       1844. Many of the Defendants have been coordinating consistently to obstruct the

ongoing government investigations and to limit any potential response.

       1845. For example, when the federal government executed a search warrant against Patel

at her home on June 21, 2017, she immediately called Rekenthaler (from another phone because

her phone had been seized) even though Rekenthaler was no longer employed at Teva and was by

that point the Vice President of Sales at Defendant Apotex. Rekenthaler then immediately called

Cavanaugh and                     , another senior Teva executive. Rekenthaler spoke several times

to Cavanaugh before then calling his own attorney and speaking twice. Later that day, Patel called

Rekenthaler two more times to coordinate her response to the government.




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          1846. Other Defendants took similar action in response to events in the States’

investigation. Several were speaking frequently at or around the time a subpoena was issued, or

when the States were engaging in substantive discussions with their counsel. As just one example,

on July 17, 2018 the States sent a subpoena to Grauso, through his counsel. That same day, Grauso

spoke to Aprahamian for more than twelve (12) minutes. The States then set up a conference call

with Grauso’s counsel for July 25, 2018. The day before that call – July 24, 2018 – Aprahamian

spoke to his lawyer, and then shortly thereafter called Grauso. The next day, shortly after a

conversation between the States and counsel for Grauso, Aprahamian and Grauso spoke again, this

time for nearly seven (7) minutes.

          1847. Accordingly, Defendants and their co-conspirators’ fraudulent concealment of their

unlawful conduct tolled the statute of limitations for each of Plaintiffs’ claims.

          1848. Plaintiffs’ claims have been brought within the applicable statute of limitations

period.

XXI. ANTITRUST VIOLATIONS

          A.     Count One – Overarching Conspiracy on all Price-Fixed Generic Drugs
                 Against all Defendants

          1849. Plaintiffs incorporate by reference ¶¶ 1 through 1848 above.

          1850. By 2010, as alleged above, the market for manufacture, pricing and sale of Price-

Fixed Generic Drugs had become conducive to cartelization.             The Defendants’ efforts to

manipulate the pricing and sale of some Price-Fixed Generic Drugs as alleged above infected and

over time spread to the pricing and sale of all Price-Fixed Generic Drugs as alleged above.

Beginning at a time yet to be determined, but no later than June 2011, and continuing in force or

effect, or both, through the date of filing of this Complaint, the Defendants engaged in a continuing

agreement, understanding and conspiracy not to compete on the sale of the Price-Fixed Generic



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Drugs in the United States in unreasonable restraint of trade and commerce in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

       1851. Each Defendant consciously committed to a common scheme, the ultimate

objective of which was to cartelize the Price-Fixed Generic Drugs in order to achieve substantial

supracompetitive profits. This objective was a common goal among all the Defendants. In

furtherance of the scheme, each Defendant consciously committed to an overarching market

allocation agreement that governed each of their respective market shares for the Price-Fixed

Generic Drugs.

       1852. Each Defendant had knowledge of the conspiracy to increase prices, allocate

markets, rig bids, and decrease production for each of the Price-Fixed Generic Drugs, and each

Defendant knowingly participated in the conspiracy’s common goal of cartelizing the Price-Fixed

Generic Drugs in order to achieve supracompetitive profits. Each Defendant’s knowledge of the

overarching conspiracy is demonstrated by the fact that the numerous collusive agreements

reached in furtherance of the conspiracy were discussed at the same meetings and social

gatherings, including the industry meetings alleged in Exhibit 1. Further, this overarching

conspiracy contemplated a continuous result that would not continue without the continuous

cooperation of all Defendants.

       1853. Every Defendant intended to join the all-Price-Fixed Generic Drugs conspiracy.

       1854. The Core Conspirators, consisting of Actavis, Heritage, Mylan/UDL, Par, Sun,

Taro, Teva/Pliva, and the Sandoz Defendants, engaged in the conduct alleged in this Complaint

and directed the implementation of the all Price-Fixed Generic Drugs conspiracy. Each of these

Core Conspirators played a prominent role in the overarching all-Price-Fixed Generic Drugs

conspiracy. However, all Defendants named in this Complaint engaged in the conduct alleged in




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this Complaint and were active participants in the overarching conspiracy, despite the fact that

some Defendants sold fewer Price-Fixed Generic Drugs than the Core Conspirators, and some only

sold one Price-Fixed Generic Drug. However, the participation of all Defendants in the all-Price

Fixed Generic Drugs conspiracy was necessary to increase the prices of the generic drugs that they

manufactured. Absent the participation of all other Defendants, the Core Conspirators’ efforts to

increase the prices would have been thwarted because it would have been in the independent

interests of their competitors to increase their market share by refusing to follow the price increases

of the Core Conspirators. A single overarching market allocation agreement facilitated all of the

collusive agreements alleged in this Complaint, and this overarching agreement was negotiated

and policed through the industry meetings attended by all Defendants. In this way, and for the

reasons explained below in ¶¶ 1856 to 1863, there was substantial overlap between all Defendants

in the overarching conspiracy.

       1855. By joining the all-Price-Fixed Generic Drugs conspiracy, the Defendants became

interdependent upon one another, in that their respective benefit depended on the success of the

all-Price-Fixed Generic Drugs Conspiracy. Indeed, each of the conspiratorial price increases and

price-fixing agreements alleged in this Complaint were interdependent for at least six reasons.

       1856. First, every agreement on each of the Price-Fixed Generics was interdependent

because every agreement was the byproduct of the same overlapping overarching market

allocation agreement. Indeed, the interdependent nature of these agreements was what allowed

the Defendants to enforce and police every agreement reached in furtherance of the all-Price-Fixed

Generics Conspiracy. For example, Defendants with a proportionately smaller market shares of

certain drugs agreed not to compete for additional market share in return for an agreement that

their competitors would not compete for additional market share of other drugs for which they




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enjoyed a proportionately larger market share. Further, because each Defendant knew that its

market share was safe from competition, market share itself became a fungible commodity that

could be traded. For example, as alleged in ¶ 656, Mylan agreed to concede market share for

Doxycycline to Heritage in consideration for Heritage conceding market share to Mylan for a

second generic drug.

       1857. The overarching all-Price-Fixed Generics conspiracy also benefitted Defendants

that manufactured just a few, or even just one of the Price-Fixed Generics. For example, as alleged

in ¶¶ 912-917, when Strides sought to reenter the market for Hydralazine in 2014, it knew to

approach Heritage and arrange to receive market share. Because Strides knew that Heritage – a

Core Conspirator – would concede a customer to Strides, Strides was able to put in a bid to that

customers at a supracompetitive price, comfortable in the knowledge that Heritage would concede

the account and the inflated bid would be accepted. Similarly, when Mayne entered the Doxy DR

market that had been cartelized by Core Conspirators Heritage and Mylan, the overarching

conspiracy allowed Defendants to reach an agreement that allocated to Mayne a percentage of the

market and prevented price competition that would have disturbed the prevailing supracompetitive

prices on Doxy DR. The portion of Doxy DR sales allocated to Mayne by agreement with Heritage

and Mylan yielded profits sufficient to compensate Mayne for not competing on price to gain sales

of Doxy DR at the supracompetitive price level.

       1858. In this manner, the existence of the overarching conspiracy permitted the Core

Conspirators to induce the collusive agreements of all Defendants as needed to raise prices on each

of the Price Fixed Generic Drugs. In other words, the Core Conspirators allocated sufficient sales

to all other Defendants to incentivize and compenstate them for adhering to the collusive scheme.

Absent such compensation, non-conspiring manufacturers would have acted in their unilateral self




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interests by lowering their prices to gain profitable sales. For example, the existence of the

overarching conspiracy allowed Core Conspirator Actavis to persuade Defendant Breckenridge to

lead a series of collusive price increases on Propranolol capsules and to persuade Defendant Epic

to raise its prices by more than 1000% on Ursodiol, notwithstanding the fact that the actions taken

by Breckenridge and Epic were against their respective self-interests and would not have been

taken absent collusion. Similarly, the existence of the overarching conspiracy facilitated the ability

of Defendants, including Core Conspirators Actavis, Mylan, and Teva, to reach an agreement with

Defendant Lupin to triple its prices on Pravastatin. And, the overarching conspiracy facilitated the

collusive agreement of Defendants Morton Grove and Wockhardt to raise prices on Clobetasol,

and Defendant Teligent’s collusive agreement to raise prices on Econazole. And although the

Core Conspirators were the primary facilitators of the collusive conduct alleged in this Complaint,

the success of the overarching conspiracy was also dependent on the agreement (or understanding)

that the other Defendants would participate in the overarching conspiracy as well. For example,

Breckenridge’s participation in the conspiracy was dependent on its knowledge – gained in part

from attending the many industry events alleged in Section VIII, supra – that each of the

Defendants would follow the conspiracy’s supracompetitive pricing and market allocation

agreements in the event that any entered the market for Propranolol.

       1859. Second, the success of each conspiratorial price increase, each rigged bid, and/or

each individual market allocation agreement was interdependent, because a given Defendant’s

commitment to one price increase helped solidify and protect other conspiracy price increases that

were implemented. For example, as alleged in ¶ 895, Teva declined to offer a competitive bid to

a customer that sought Glyburide based not only on its agreement with Heritage on Glyburide, but

also based on its collusion with Heritage on other drugs discussed in this Complaint. In other




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words, Teva knew that undercutting the conspiratorial price increase on Glyburide would impact

not only Glyburide, but also the conspiratorial price increases on other drugs. Because most

Defendants manufactured multiple Price-Fixed Generic Drugs, a manufacturer who cheated on the

conspiracy as to one Price-Fixed Generic Drug would be subject or susceptible to punishment by

the cartel with respect to accounts for that drug, along with each of the other Price-Fixed Generic

Drugs that the cheater manufactured. Thus, the overarching conspiracy enhanced Defendants’

ability to enforce the conspiracy, both for conspirators that manufactured many Price-Fixed

Generic Drugs, and for those that manufactured just one.           For example, Mayne (which

manufactured only Doxycycline) knew that Mylan and Heritage had an added incentive to follow

through on the unlawful agreements on Doxycycline, which helped to ensure that Mayne also

committed to the conspiracy. Indeed, Mylan and Heritage shared a strong incentive to reward

Mayne for its adherence to the overarching conspiracy.

       1860. Third, and along the same lines, the coordination of price increases and market

allocation agreements across multiple Price-Fixed Generic Drugs allowed Defendants to police

individual conspiratorial agreements and better conceal the conspiracy from Plaintiffs and others.

For example, Sandoz and Mylan coordinated their price increases on Amitriptyline and

Levothyroxine. For Levothyroxine, Mylan increased its prices on April 25, 2014, and Sandoz

increased its matching price increase on May 23, 2014. That same day, Sandoz increased its price

for Amitriptyline, an increase that Mylan matched on July 16, 2014. By staggering these price

increases in a “my turn, your turn” fashion, Sandoz and Mylan were able to ensure that each would

follow through with its promise to increase prices (as they had unlawfully agreed), while avoiding

announcing price increases on the same day or extremely close in time. And for the same reasons

explained in ¶¶ 1856-1859, the ability of Core Conspirators such as Sandoz and Mylan to compel




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each other’s compliance with the unlawful agreement helped to ensure that other Defendants, some

of whom manufactured just one of the drugs subject to staggered price increases – such as Lannett

(Levothyroxine) or Par (Amitriptyline) – would also commit to the unlawful agreement, because

they were promised a sufficient volume of profitable sales to compensate for their forbearance.

       1861. Fourth, each successful conspiratorial price fixing agreement helped the

Defendants by reducing the quantity produced of the drug, which in turn reduced demand for the

raw materials required to manufacture that drug. Because all of the drugs involved in the

conspiracy shared common inputs such as binding agents, the reduction in supply of Propranolol

(for example) helped to reduce the demand for these inputs, which reduced the cost to produce not

only Propranolol, but also each of the other Price-Fixed Generic Drug that also used the same

binding agents.

       1862. Fifth, with each successful price increase, Defendants were able to commit a

portion of their production capacity to a drug priced substantially above marginal cost. However,

successful price increases also incentivized other manufacturers to substitute capacity towards the

high margin drugs. Accordingly, it was necessary for Defendants to implement the numerous

conspiratorial price increases and price-fixing agreements alleged in this Complaint, so that each

member of the conspiracy could enjoy supracompetitive profits. Further, in the instances, if any,

that Defendants determined that excess capacity was devoted to a particular drug, one conspirator

would agree to discontinue production of that drug. For example, Fougera stopped production of

Fluocinonide in January 2015, after the collusive price increase had been implemented on the drug.

Similarly, Teva discontinued production of Doxy Hyclate in May 2013, after the collusive price

increase had been implemented on the drug.




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       1863. Sixth, certain of the Price-Fixed Generic Drugs are subject to a degree of long-run

demand-side substitution. For example, the topical corticosteroids – Fluocinonide, Desonide, and

Clobetasol – are all used for similar purposes. The same is true of the oral diabetes drugs

(Glipizide, Glyburide, Glyburide-Metformin, and Metformin ER). Accordingly, the success of

certain of the conspiratorial price increases for the Price-Fixed Generic Drugs were relevant to the

long-term success of other of the conspiratorial price increases.

       1864. The contract, combination and conspiracy among Defendants consisted of a

continuing course, pattern, and practice of conduct regarding the production, pricing, marketing,

and/or sale of generic drugs in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       1865. The course, pattern and practice of conduct described above included, among other

things, a continuing agreement, understanding, and concert of action among Defendants, the

substantial terms and purpose of which were one or more of the following:

               (a)     To fix, stabilize, maintain, and/or raise prices of the Price-Fixed Generic

Drugs sold to Plaintiffs and others in the United States;

               (b)     To allocate customers, the volume of sales, and/or market shares of the

Price-Fixed Generic Drugs sold to Plaintiffs and others in the United States;

               (c)     To control the production and/or sale of the Price-Fixed Generic Drugs to

Plaintiffs and others in the United States; and/or

               (d)     To earn supracompetitive profits on the price of the Price-Fixed Generic

Drugs sold to Plaintiffs and others in the United States that resulted from the collusion alleged in

this Complaint.




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       1866. In order to formulate and effect the foregoing illegal combination and conspiracy,

Defendants engaged in one or more of the following overt acts (including those overt acts alleged

above in this Complaint):

               (a)     They agreed to exchange, and did exchange, current and future price

information about the Price-Fixed Generic Drugs sold in the United States, including the prices

quoted or charged to Plaintiffs for the sale of the Price-Fixed Generic Drugs;

               (b)     They agreed to coordinate, and did coordinate, price levels, price terms,

and/or price movements for sale of the Price-Fixed Generic Drugs sold in the United States;

               (c)     They agreed on prices, price levels, and/or production levels of the Price-

Fixed Generic Drugs in the United States; and/or

               (d)     They agreed not to compete for certain customers or sales on certain

products, and/or in certain regions of the United States.

       1867. Defendants entered into and refined their illegal combination and conspiracy

through, among other things, the overt acts described above, including, without limitation,

participating in conversations and meetings to discuss the prices of the Price-Fixed Generic Drugs

to be sold to Plaintiffs and/or others in the United States; participating in conversations and

attending meetings concerning implementation of and adherence to their conspiracy; issuing price

announcements and/or price quotations in accordance with the conspiracy; and/or exchanging

confidential information on the pricing and/or sale of the Price-Fixed Generic Drugs to Plaintiffs

and/or others in the United States.

       1868. As a result of this conspiracy in violation of Section 1 of the Sherman Act, 15

U.S.C. § 1, and during the time period relevant to Plaintiffs’ claims:




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                (a)    Price competition in the sale of the Price-Fixed Generic Drugs among

Defendants to Plaintiffs and others in the United States has been restrained, suppressed, and

eliminated;

                (b)    Prices for the Price-Fixed Generic Drugs sold by Defendants to Plaintiffs

and others have been raised, fixed, maintained and/or stabilized at artificially high and

supracompetitive levels throughout the United States; and

                (c)    Plaintiffs and other direct purchasers of the Price-Fixed Generic Drugs

produced and sold by Defendants have been deprived of the benefit of free and open competition.

         1869. Each Plaintiff and/or its assignor has been injured in its business or property by

reason of the Defendants’ antitrust violations in amounts not yet ascertained. Each Plaintiff’s

injury as a direct purchaser of the Price-Fixed Generic Drugs is an injury of the type the antitrust

laws were designed to prevent and flows from that which makes the Defendants’ conduct unlawful.

         B.     Count Two (Pled in the Alternative to Count One) Against Teva, Actavis,
                Amneal, Apotex, Aurobindo, Breckenridge, Dr. Reddy's, Glenmark,
                Greenstone, Lannett, Lupin, Mylan, Par, Pfizer, Sandoz, Taro, Upsher-
                Smith, Wockhardt, and Zydus

         1870. Plaintiffs incorporate by reference ¶¶ 1 through 1848 above.

         1871. For the pirposes of this Count, the term “Specified Price-Fixed Generic Drugs”

means:

Adapalene Gel                    Benazepril HCTZ                   Cefdinir Capsules
Amiloride HCL/HCTZ Tablets       Bethanechol Chloride Tablets      Cefdinir Oral Suspension
Amoxicillin/Clavulanate          Budesonide DR Capsules            Cefprozil Tablets
Chewable Tablets                 Budesonide Inhalation             Celecoxib
Amphetamine/                     Bumetanide Tablets                Cephalexin Suspension
Dextroamphetamine ER (aka        Buspirone Hydrochloride           Cimetidine Tablets
Mixed Amphetamine Salts)         Tablets                           Ciprofloxacin HCL Tablets
Amphetamine/                     Cabergoline                       Clarithromycin ER Tablets
Dextroamphetamine IR             Capecitabine                      Clemastine Fumarate Tablets
Azithromycin Oral Suspension     Carbamazepine Chewable            Clomipramine
Azithromycin Suspension          Tablets                           Clonidine TTS Patch
Baclofen Tablets                 Carbamazepine Tablets             Clotrimazole Topical Solution


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Cyproheptadine HCL Tablets      Fluocinonide Gel                 Nadolol Tablets
Desmopressin Acetate Tablets    Fluocinonide Ointment            Niacin ER Tablets
Desogestrel/Ethinyl Estradiol   Fluoxetine HCL Tablets           Nitrofurantoin MAC Capsules
Tablets (Kariva)                Flurbiprofen Tablets             Norethindrone/ethinyl estradiol
Dexmethylphenidate HCL ER       Flutamide Capsules               (Balziva)
Capsules                        Fluvastatin Sodium Capsules      Norethindrone Acetate
Dextroamphetamine Sulfate ER    Gabapentin Tablets               Nortriptyline Hydrochloride
Diclofenac Potassium Tablets    Glimepiride Tablets              Capsules
Dicloxacillin Sodium Capsules   Griseofulvin Suspension          Omega-3-Acid Ethyl Esters
Diflunisal Tablets              Haloperidol                      Oxaprozin Tablets
Diltiazem HCL Tablets           Hydroxyurea Capsules             Oxybutynin Chloride Tablets
Disopyramide Phosphate          Hydroxyzine Pamoate Capsules     Paricalcitol
Capsules                        Irbesartan                       Penicillin VK Tablets
Doxazosin Mesylate Tablets      Isoniazid                        Pentoxifylline Tablets
Drospirenone and ethinyl        Ketoconazole Cream               Piroxicam
estradiol (Ocella)              Ketoconazole Tablets             Pravastatin Sodium Tablets
Enalapril Maleate Tablets       Ketoprofen Capsules              Prazosin HCL Capsules
Entecavir                       Ketorolac Tromethamine           Prochlorperazine Tablets
Epitol Tablets                  Tablets                          Propranolol HCL Tablets
Estazolam Tablets               Labetalol HCL Tablets            Raloxifene HCL Tablets
Estradiol Tablets               Lamivudine/Zidovudine            Ranitidine HCL Tablets
Ethinyl estradiol and           (generic Combivir)               Tamoxifen Citrate Tablets
levonorgestrel (Portia and      Levothyroxine                    Temozolomide
Jolessa)                        Loperamide HCL Capsules          Tizanidine
Ethosuximide Capsules           Medroxyprogesterone Tablets      Trifluoperazine HCL
Ethosuximide Oral Solution      Methotrexate Tablets             Tobramycin
Etodolac ER Tablets             Mimvey                           Tolmetin Sodium Capsules
Etodolac Tablets                (Estradiol/Norethindrone         Tolterodine ER
Fenofibrate                     Acetate) Tablets                 Tolterodine Tartrate
Fluconazole Tablets             Moexipril HCL Tablets            Topiramate Sprinkle Capsules
Fluocinonide Cream              Moexipril HCL/HCTZ Tablets       Valsartan HCTZ
Fluocinonide Emollient Cream    Nabumetone Tablets               Warfarin Sodium Tablets

       1872. For the purposes of this Cout, the term “Defendants” means Teva, Actavis, Amneal,

Apotex, Aurobindo, Breckenridge, Dr. Reddy’s, Glenmark, Greenstone, Lannett, Lupin, Mylan,

Par, Pfizer, Sandoz, Taro, Upsher-Smith, Wockhardt, and Zydus.

       1873. The market for manufacture, pricing and sale of the Specified Price-Fixed Generic

Drugs was conducive to cartelization. Beginning in 2012, and continuing in force or effect, or

both, through the date of filing of this Complaint, the Defendants engaged in a continuing

agreement, understanding and conspiracy not to compete on the sale of the Specified Price-Fixed



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Generic Drugs in the United States in unreasonable restraint of trade and commerce in violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       1874. Each Defendant consciously committed to a common scheme, the ultimate

objective of which was to cartelize the Specified Price-Fixed Generic Drugs in order to achieve

substantial supracompetitive profits. This objective was a common goal among all the Defendants.

In furtherance of the scheme, each Defendant consciously committed to an overarching market

allocation agreement that governed each of their respective market shares for the Specified Price-

Fixed Generic Drugs.

       1875. Each Defendant had knowledge of the conspiracy to increase prices, allocate

markets, rig bids, and decrease production for each of the Specified Price-Fixed Generic Drugs,

and each Defendant knowingly participated in the conspiracy’s common goal of cartelizing the

Specified Price-Fixed Generic Drugs in order to achieve supracompetitive profits.            Each

Defendant’s knowledge of the overarching conspiracy is demonstrated by the fact that the

numerous collusive agreements reached in furtherance of the conspiracy were discussed at the

same meetings and social gatherings, including the industry meetings alleged in Exhibit 1. Further,

this overarching conspiracy contemplated a continuous result that would not continue without the

continuous cooperation of all Defendants.

       1876. Every Defendant intended to join the conspiracy to fix the prices of the Specified

Price-Fixed Generic Drugs.

       1877. Teva engaged in the conduct alleged in this Complaint and was a central catalyst

for the implementation of the conspiracy. However, all Defendants engaged in the conduct alleged

in this Complaint and were active participants in the overarching conspiracy, despite the fact that

some Defendants sold fewer Price-Fixed Generic Drugs than Teva. However, the participation of



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all Defendants in the all-Price Fixed Generic Drugs conspiracy was necessary to increase the prices

of the generic drugs that they manufactured.

       1878. By joining the conspiracy to fix the prices of the Specified Price-Fixed Generic

Drugs conspiracy, the Defendants became interdependent upon one another, in that their respective

benefit depended on the success of overarching conspiracy. Indeed, each of the conspiratorial

price increases and price-fixing agreements alleged in this Complaint with respect to the Specified

Price-Fixed Generic Drugs were interdependent for the reasons explained above in Count One.

       1879. The contract, combination and conspiracy among Defendants consisted of a

continuing course, pattern, and practice of conduct regarding the production, pricing, marketing,

and/or sale of generic drugs in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       1880. The course, pattern and practice of conduct described above included, among other

things, a continuing agreement, understanding, and concert of action among Defendants, the

substantial terms and purpose of which were one or more of the following:

               (a)     To fix, stabilize, maintain, and/or raise prices of the Specified Price-Fixed

Generic Drugs sold to Plaintiffs and others in the United States;

               (b)     To allocate customers, the volume of sales, and/or market shares of the

Specified Price-Fixed Generic Drugs sold to Plaintiffs and others in the United States;

               (c)     To control the production and/or sale of the Specified Price-Fixed Generic

Drugs to Plaintiffs and others in the United States; and/or

               (d)     To earn supra-competitive profits on the price of the Specified Price-Fixed

Generic Drugs sold to Plaintiffs and others in the United States that resulted from the collusion

alleged in this Complaint.




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          1881. In order to formulate and effect the foregoing illegal combination and conspiracy,

Defendants engaged in one or more of the following overt acts (including those overt acts alleged

above in this Complaint):

                 (a)    They agreed to exchange, and did exchange, current and future price

information about the Specified Price-Fixed Generic Drugs sold in the United States, including the

prices quoted or charged to Plaintiffs for the sale of the Specified Price-Fixed Generic Drugs;

                 (b)    They agreed to coordinate, and did coordinate, price levels, price terms,

and/or price movements for sale of the Specified Price-Fixed Generic Drugs sold in the United

States;

                 (c)    They agreed on prices, price levels, and/or production levels of the

Specified Price-Fixed Generic Drugs in the United States; and/or

                 (d)    They agreed not to compete for certain customers or sales on certain

products, and/or in certain regions of the United States.

          1882. Defendants entered into and refined their illegal combination and conspiracy

through, among other things, the overt acts described above, including, without limitation,

participating in conversations and meetings to discuss the prices of the Specified Price-Fixed

Generic Drugs to be sold to Plaintiffs and/or others in the United States; participating in

conversations and attending meetings concerning implementation of and adherence to their

conspiracy; issuing price announcements and/or price quotations in accordance with the

conspiracy; and/or exchanging confidential information on the pricing and/or sale of the Specified

Price-Fixed Generic Drugs to Plaintiffs and/or others in the United States.

          1883. As a result of this conspiracy in violation of Section 1 of the Sherman Act, 15

U.S.C. § 1, and during the time period relevant to Plaintiffs’ claims:



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the sale of the generic drug referenced on the table above in the United States in unreasonable

restraint of trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       1888. The contract, combination, and conspiracy among Defendants and their co-

conspirators consisted of a continuing course, pattern, and practice of conduct regarding the

production, pricing, marketing, and/or sale of the specified generic drug in violation of Section 1

of the Sherman Act, 15 U.S.C. § 1.

       1889. The course, pattern, and practice of conduct described above included, among other

things, a continuing agreement, understanding and concert of action among Defendants and their

co-conspirators, the substantial terms and purpose of which were one or more of the following:

               (a)     To fix, stabilize, maintain, and/or raise prices of the specified generic drug

sold to Plaintiffs and others in the United States;

               (b)     To allocate customers, the volume of sales, and/or market shares of the

specified generic drug sold to Plaintiffs and others in the United States;

               (c)     To control the production and/or sale of the specified generic drug and

others in the United States; and/or

               (d)     To earn supracompetitive profits on the price of the specified generic drug

sold to Plaintiffs and others in the United States that resulted from Defendants’ collusion.

       1890. In order to formulate and effect the foregoing illegal combination and conspiracy,

Defendants and their co-conspirators engaged in one or more of the following overt acts (including

those overt acts alleged above in this Complaint):

               (a)     They agreed to exchange, and did exchange, current and future price

information about the specified generic drug sold in the United States, including the prices quoted

or charged to Plaintiffs for the sale of the specified generic drug;



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                 (b)    They agreed to coordinate, and did coordinate, price levels, price terms,

and/or price movements for sale of the specified generic drug sold in the United States;

                 (c)    They agreed on prices, price levels, and/or production levels of the specified

generic drug sold in the United States; and/or

                 (d)    They agreed not to compete for certain customers or sales on certain

products, and/or in certain regions of the United States.

          1891. Defendants and their co-conspirators entered into and refined their illegal

combination and conspiracy through, among other things: the overt acts described above,

including, without limitation, participating in conversations and meetings to discuss the prices of

each the specified generic drug to be sold to Plaintiffs and/or others in the United States;

participating in conversations and attending meetings concerning implementation of and

adherence to their conspiracy; issuing price announcements and/or price quotations in accordance

with the conspiracy; and/or exchanging confidential information on the pricing and/or sale of the

specified generic drug to Plaintiffs and/or others in the United States.

          1892. As a result of Defendants and their co-conspirators’ conspiracy in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1, and during the time period relevant to Plaintiffs’

claims:

                 (a)    Price competition in the sale of the specified generic drug among

Defendants and their co-conspirators to Plaintiffs and others in the United States has been

restrained, suppressed, and eliminated;

                 (b)    Prices for the specified generic drug sold by Defendants and their co-

conspirators to Plaintiffs and others have been raised, fixed, maintained, and/or stabilized at

artificially high and supracompetitive levels throughout the United States; and



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                (c)     Plaintiffs and other direct purchasers of the specified generic drug produced

and sold by Defendants and their co-conspirators have been deprived of the benefit of free and

open competition.

        1893. Each Plaintiff has been injured in its business or property by reason of Defendants

and their co-conspirators’ antitrust violations in amounts not yet ascertained. Each Plaintiff’s

injury as a direct purchaser of the specified generic drug is an injury of the type the antitrust laws

were designed to prevent and flows from that which makes Defendants and their co-conspirators’

conduct unlawful.

XXII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for the following relief:

        A.      A jury verdict in the amount of the compensatory damages sustained by each

Plaintiff.

        B.      A judgment against Defendants, jointly and severally, by the Court, in treble the

amount of the jury verdict, in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15, and

for attorney’s fees, costs, and interest as allowable by law.

        C.      A permanent injunction pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26,

enjoining Defendants from future violations of the antitrust laws and from practices which

facilitate those violations.

        D.      Such other and further relief as the Court may deem just and proper.

                                          JURY DEMAND

        Plaintiffs demand a trial by jury of all issues so triable.




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